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                      EXHIBIT A
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                                                      Plaintiff's Ex. 49



                                                           Hemmers
                                                           11/10/21
                                                     Exhibit 17
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                       EXHIBIT B
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake B

                                                                                                                Receivable                                 Funding
Intake   ClaimId   Lawyer                   Provider                            BillId   Date Paid    Purchase Price            Cost    GFB Amount          Type
S-1/B              Marcus Spagnoletti       Stat Diagnostics                    23842    11/11/2020   $      600.00   $        720.00   $    2,950.00   MRI
S-1/B              Mokaram Law Firm         Stat Diagnostics                    21939     6/9/2020    $    1,200.00   $      1,440.00   $    7,450.00   MRI
S-1/B              Adame & Garza            Stat Diagnostics                    23843    11/11/2020   $    2,400.00   $      2,880.00   $   14,900.00   MRI
S-1/B              Julia Barbani            South Atlanta MUA Center            23856     7/1/2020    $    5,520.50   $      6,624.60   $   22,082.00   Injection
S-1/B              Bobby Johnson            Parkaire Consultants Inc            23605                 $      240.00   $        288.00   $      600.00   Psychotherapy
S-1/B              Bobby Johnson            Parkaire Consultants Inc            23606                 $      240.00   $        288.00   $      600.00   Psychotherapy
                                                                                                                                                                                                                        Case 21-01167-abl




S-1/B              Bobby Johnson            Parkaire Consultants Inc            23607                 $      240.00   $        288.00   $      600.00   Psychotherapy
S-1/B              Bobby Johnson            Parkaire Consultants Inc            23608                 $      240.00   $        288.00   $      600.00   Psychotherapy
S-1/B              Bobby Johnson            Parkaire Consultants Inc            23609                 $      240.00   $        288.00   $      600.00   Psychotherapy
S-1/B              W. Clark Martin IV       Stat Diagnostics                    23855    11/11/2020   $    1,200.00   $      1,440.00   $    7,450.00   MRI
S-1/B              Christopher J. Leavitt   Stat Diagnostics                    23857    11/11/2020   $    1,800.00   $      2,160.00   $   15,275.00   MRI
S-1/B              Christopher J. Leavitt   Stat Diagnostics                    23858    11/11/2020                   $           -     $      289.35   XRAY          Got this for free so no cost for purchase price
                                                                                                                                                                                                                        Doc 75-1




S-1/B              Bo Burke                 Carrollton Orthopaedic Clinic       23041     6/29/2020   $      125.76   $        150.91   $      314.00   Consultation
S-1/B              Reginald A Greene        Athens Orthopedic Clinic            23044     6/29/2020   $      720.09   $        864.11   $    3,664.00   Injection
S-1/B              Jimmy M. Ardoin          Stat Diagnostics                    23859    11/11/2020   $    1,800.00   $      2,160.00   $   11,950.00   MRI
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23048     6/29/2020   $    1,093.05   $      1,311.66   $    2,429.00   Surgery
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23298     6/29/2020   $      432.55   $        519.06   $      917.00   XRAY
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23299     6/29/2020   $      180.45   $        216.54   $      401.00   XRAY
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23300     6/29/2020   $      210.00   $        252.00   $      420.00   Rx
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23916                 $      220.50   $        264.60   $      490.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23917                 $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23918                 $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23919                 $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23920                 $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23921                 $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23922                 $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23923                 $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23924                 $      112.50   $        135.00   $      250.00   PT
                                                                                                                                                                                                                        Entered 04/29/22 00:00:58




S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23925                 $      151.20   $        181.44   $      336.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23926                 $      151.20   $        181.44   $      336.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23927                 $      144.90   $        173.88   $      322.00   PT
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23928                 $       40.00   $         48.00   $       80.00   Supplies
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23929                 $    1,183.95   $      1,420.74   $    2,631.00   EMG
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23930                 $      360.50   $        432.60   $      794.00   Injection
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23931                 $      179.10   $        214.92   $      398.00   Consultation
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23932                 $      180.45   $        216.54   $      401.00   XRAY
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23933                 $    1,132.65   $      1,359.18   $    2,517.00   MRI
S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23934                 $      681.05   $        817.26   $    1,493.00   Consultation
                                                                                                                                                                                                                        Page 11 of 169




S-1/B              Peter Ross               Peachtree Orthopaedic Clinic        23938                 $      108.00   $        129.60   $      240.00   Prep
S-1/B              W. Wright Gammon Jr      The Physicians Spine & Rehabilita   23128     6/29/2020   $      505.20   $        606.24   $    1,263.00   Consultation
S-1/B              W. Wright Gammon Jr      The Physicians Spine & Rehabilita   23129     6/29/2020   $      356.00   $        427.20   $      890.00   PT
S-1/B              W. Wright Gammon Jr      The Physicians Spine & Rehabilita   23144     6/29/2020   $      421.20   $        505.44   $    1,053.00   Drug Test
S-1/B              Christopher J. Leavitt   Stat Diagnostics                    23862    11/11/2020   $      600.00   $        720.00   $    4,500.00   MRI
S-1/B              Kumar Law Firm           Stat Diagnostics                    23863    11/11/2020   $    1,200.00   $      1,440.00   $    7,450.00   MRI
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake B

                                                                                                                    Receivable                                      Funding
Intake   ClaimId   Lawyer                  Provider                            BillId      Date Paid      Purchase Price            Cost        GFB Amount            Type
S-1/B              K Douglas Cook          Pain Management Specialists of A    23042       6/29/2020      $      180.00 $         216.00        $     400.00     Consultation
S-1/B              Javier Marcos           Stat Diagnostics                    23864      11/11/2020      $    1,200.00 $       1,440.00        $ 9,000.00       MRI
S-1/B              Peter A. Ruman          Stat Diagnostics                    23865      11/11/2020      $      600.00 $         720.00        $ 4,500.00       MRI
S-1/B              Peter A. Ruman          Stat Diagnostics                    23913      11/11/2020      $    1,200.00 $       1,440.00        $ 9,000.00       MRI
S-1/B              Sean McEvoy             Safeway Psychological Services      23053       6/29/2020      $      220.00 $         264.00        $     550.00     Psychotherapy
S-1/B              Sean McEvoy             Safeway Psychological Services      23419       6/29/2020      $      220.00 $         264.00        $     550.00     Psychotherapy
S-1/B              Fariba Bayani           (AHI) American Health Imaging       23135       6/29/2020      $      650.00 $         780.00        $ 2,370.00       MRI
                                                                                                                                                                                 Case 21-01167-abl




S-1/B              Fariba Bayani           (AHI) American Health Imaging       23291       6/29/2020      $      650.00 $         780.00        $ 2,225.00       MRI
S-1/B              Samuel Johnson          Perimeter Orthopaedics PC           23055       6/29/2020      $      562.38 $         674.86        $ 1,405.95       Consultation
S-1/B              Timothy Gardner         Pain Management Specialists of A    23052       6/29/2020      $       87.77 $         105.32        $     195.05     Consultation
S-1/B              Sean McEvoy             Parkaire Consultants Inc            23214       6/29/2020      $      240.00 $         288.00        $     600.00     Psychotherapy
S-1/B              Sean McEvoy             Parkaire Consultants Inc            23215      6/29/2020       $      240.00 $         288.00        $     600.00     Psychotherapy
S-1/B              Sean McEvoy             Parkaire Consultants Inc            23216      6/29/2020       $      240.00 $         288.00        $     600.00     Psychotherapy
                                                                                                                                                                                 Doc 75-1




S-1/B              Sean McEvoy             Parkaire Consultants Inc            23217      6/29/2020       $      240.00 $         288.00        $     600.00     Psychotherapy
S-1/B              Nicholas Lasso          Spring Valley Hospital              23032      6/29/2020       $   41,251.70 $      49,502.04        $ 142,293.00     Surgery
                                                                                                          $     75,006.95 $       90,008.34     $ 296,078.35


****     This List of Receivables supporting Series 1-Intake B in the amount of US$296,078.35 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 394.73% of the purchased total of $75,006.95.
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                      EXHIBIT C
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake C

                                                                                                                            Receivable                            Funding
Intake aimLawyer                                 Provider                                   BillId   Date Paid    Purchase Price            Cost    GFB Amount     Type
S-1/C    Sean McEvoy                            Parkaire Consultants Inc                    23218     6/29/2020   $      240.00   $        288.00   $    600.00     PI
S-1/C    Sean McEvoy                            Parkaire Consultants Inc                    23219     6/29/2020   $      240.00   $        288.00   $    600.00     PI
S-1/C    Reginald A Greene                      Pain Management Specialists of Atlanta PC   23476     6/29/2020   $      157.50   $        189.00   $    350.00    PM
                                                                                                                                                                            Case 21-01167-abl




S-1/C    Cassandra Evans-Jones                  Stat Diagnostics                            23866    11/11/2020   $    1,200.00   $      1,440.00   $ 9,000.00     MRI
S-1/C    Sam K. Mukerji                         Stat Diagnostics                            23867    11/11/2020   $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Sam K. Mukerji                         Stat Diagnostics                            23914    11/11/2020   $    1,800.00   $      2,160.00   $ 11,950.00    MRI
S-1/C    Gloria Flores                          Stat Diagnostics                            23868    11/11/2020   $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Manuel Gonzales                        Stat Diagnostics                            23869    11/11/2020                   $           -     $ 1,322.95     MRI
S-1/C    Manuel Gonzales                        Stat Diagnostics                            23870    11/11/2020   $    1,200.00   $      1,440.00   $ 9,000.00     MRI
                                                                                                                                                                            Doc 75-1




S-1/C    Frances N. Nwora                       Stat Diagnostics                            23871    11/11/2020   $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Reginald A Greene                      Polaris Spine & Neurosurgery Center         23890                 $      354.00   $        424.80   $    885.00     PI
S-1/C    John Jackson                           Carrollton Orthopaedic Clinic               23049     6/29/2020   $      790.80   $        948.96   $ 1,977.00      PI
S-1/C    Joe Ray Rodriguez                      Stat Diagnostics                            23872    11/11/2020   $    1,200.00   $      1,440.00   $ 9,275.00     MRI
S-1/C    Kumar Law Firm                         Stat Diagnostics                            23873    11/11/2020   $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Joe Ray Rodriguez                      Stat Diagnostics                            23874    11/11/2020   $    1,200.00   $      1,440.00   $ 9,000.00     MRI
S-1/C    Caroline Owings                        (AHI) American Health Imaging               23589                 $      968.00   $      1,161.60   $ 2,420.00     MRI
S-1/C    Jonathan Broderick                     Pain Management Specialists of Atlanta PC   23164    6/29/2020    $       87.77   $        105.32   $    195.05    PM
S-1/C    Natanya Brooks                         Peachtree Orthopaedic Clinic                23290    6/29/2020    $      106.20   $        127.44   $    236.00     PI
S-1/C    Natanya Brooks                         Peachtree Orthopaedic Clinic                23604                 $      181.80   $        218.16   $    404.00     PI
S-1/C    Miguel A. Adame                        Stat Diagnostics                            23875    11/11/2020   $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Miguel A. Adame                        Stat Diagnostics                            23876    11/11/2020   $    1,200.00   $      1,440.00   $ 9,000.00     MRI
S-1/C    Christopher J. Leavitt                 Stat Diagnostics                            23877    11/11/2020   $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Booker Law Firm                        Stat Diagnostics                            23878    11/11/2020   $    2,400.00   $      2,880.00   $ 15,050.00    MRI
                                                                                                                                                                            Entered 04/29/22 00:00:58




S-1/C    Ian Perez                              South Atlanta MUA Center                    23860      7/1/2020   $    2,380.50   $      2,856.60   $ 9,522.00      PI
S-1/C    Ian Perez                              South Atlanta MUA Center                    23861      7/1/2020   $    2,485.00   $      2,982.00   $ 9,940.00      PI
S-1/C    Schechter McElwee Shaffer & Harris LLP Stat Diagnostics                            23879    11/11/2020   $      600.00   $        720.00   $ 4,500.00     MRI
S-1/C    Natanya Brooks                         Safeway Psychological Services              23301     6/29/2020   $      844.00   $      1,012.80   $ 2,110.00      PI
S-1/C    Christopher J. Leavitt                 Stat Diagnostics                            23880    11/11/2020   $    1,200.00   $      1,440.00   $ 9,611.55     MRI
S-1/C    Kathryn Burmeister                     BENCHMARK PHYSICAL THERAPY                  23102    6/29/2020    $      126.52   $        151.82   $    361.50     PI
S-1/C    Kathryn Burmeister                     BENCHMARK PHYSICAL THERAPY                  23103    6/29/2020    $      126.52   $        151.82   $    361.50     PI
S-1/C    Kathryn Burmeister                     BENCHMARK PHYSICAL THERAPY                  23242    6/29/2020    $      121.80   $        146.16   $    348.00     PI
                                                                                                                                                                            Page 14 of 169




S-1/C    Kathryn Burmeister                     BENCHMARK PHYSICAL THERAPY                  23848                 $      150.68   $        180.82   $    430.50     PI
S-1/C    Kathryn Burmeister                     BENCHMARK PHYSICAL THERAPY                  23849                 $      245.18   $        294.22   $    700.50     PI
S-1/C    Kumar Law Firm                         Stat Diagnostics                            23881    11/11/2020   $    1,800.00   $      2,160.00   $ 11,950.00    MRI
S-1/C    Jonathan Wade                          (AHI) American Health Imaging               23211     6/29/2020   $    1,300.00   $      1,560.00   $ 4,595.00     MRI
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake C

                                                                                                                             Receivable                           Funding
Intake aimLawyer                                 Provider                                    BillId    Date Paid   Purchase Price           Cost   GFB Amount      Type
S-1/C     Salazar & Velazquez P.C.               Stat Diagnostics                            23882    11/11/2020   $      600.00 $        720.00   $ 4,500.00       MRI
S-1/C     Jenaya Lawrence                        Family Dental Solutions                     23212     6/29/2020   $      200.00 $        240.00   $     500.00      PI
S-1/C     William Winters                        Pain Management Specialists of Atlanta PC   23166     6/29/2020   $       87.75 $        105.30   $     195.00     PM
S-1/C     Peter Ross                             Pain Management Specialists of Atlanta PC   23054     6/29/2020   $       87.75 $        105.30   $     195.00     PM
                                                                                                                                                                            Case 21-01167-abl




S-1/C     W. Clark Martin IV                     Stat Diagnostics                            23883    11/11/2020   $    1,200.00 $      1,440.00   $ 7,450.00       MRI
S-1/C     Christopher J. Leavitt                 Stat Diagnostics                            23884    11/11/2020   $      600.00 $        720.00   $ 4,500.00       MRI
S-1/C     Ali Salimi                             Parkaire Consultants Inc                    23040     6/29/2020   $      240.00 $        288.00   $     600.00      PI
S-1/C     Ali Salimi                             Parkaire Consultants Inc                    23101     6/29/2020   $      240.00 $        288.00   $     600.00      PI
S-1/C     Jay Halloway                           South Atlanta MUA Center                    23892      7/1/2020   $    6,255.50 $      7,506.60   $ 25,022.00       PI
                                                                                                                                                                            Doc 75-1




S-1/C     Christopher J. Leavitt                 Stat Diagnostics                            23885    11/11/2020   $    1,200.00 $      1,440.00   $ 5,900.00       MRI
S-1/C     Ali Salimi                             Polaris Spine & Neurosurgery Center         23114     6/29/2020   $      531.60 $        637.92   $ 1,329.00        PI
S-1/C     Jonathan Broderick                     Northside Hospital                          23038     6/29/2020   $   41,425.07 $ 49,710.08       $ 103,562.68      PI
S-1/C     W. Clark Martin IV                     Stat Diagnostics                            23886    11/11/2020   $      600.00 $        720.00   $ 4,500.00       MRI
S-1/C     Rob O. Cantu                           Stat Diagnostics                            23887    11/11/2020   $      600.00 $        720.00   $ 4,500.00       MRI
S-1/C     Hilda L. Sibrian                       Stat Diagnostics                            23888    11/11/2020   $    1,200.00 $      1,440.00   $ 9,150.00       MRI
S-1/C     Hilda L. Sibrian                       Stat Diagnostics                            23889    11/11/2020   $    2,400.00 $      2,880.00   $ 16,600.00      MRI
S-1/C     Sean McEvoy                            Daniel D. Eisenman Ph.D. LLC                23390    6/29/2020    $    3,120.00 $      3,744.00   $ 7,800.00        PI
S-1/C     Javier Marcos                          Stat Diagnostics                            23912    11/11/2020   $    1,200.00 $      1,440.00   $ 9,000.00       MRI
S-1/C     Christopher J. Leavitt                 Stat Diagnostics                            23893    11/11/2020   $    2,400.00 $      2,880.00   $ 20,950.00      MRI
S-1/C     Smith & Hassler                        Stat Diagnostics                            23894    11/11/2020   $    1,800.00 $      2,160.00   $ 10,400.00      MRI
S-1/C     Ronald Chalker                         Atlas Orthopaedics;Duncan Wells MD          23115     6/29/2020   $      121.70 $        146.04   $     304.24      PI
S-1/C     Reginald A Greene                      (AHI) American Health Imaging               23145     6/29/2020   $      381.60 $        457.92   $     954.00     MRI
S-1/C     Reginald A Greene                      Perimeter Orthopaedics PC                   23039     6/29/2020   $      419.74 $        503.69   $ 1,049.35        PI
                                                                                                                                                                            Entered 04/29/22 00:00:58




S-1/C     Reginald A Greene                      Perimeter Orthopaedics PC                   23146     6/29/2020   $    1,082.24 $      1,298.69   $ 2,705.60        PI
S-1/C     Sam K. Mukerji                         Stat Diagnostics                            23895    11/11/2020   $    1,200.00 $      1,440.00   $ 9,000.00       MRI
S-1/C     John Morrison                          Kevin Hicks DO                              23043      6/2/2020   $      240.00 $        288.00   $     240.00      PI
S-1/C     Kherkher Garcia LLP                    Stat Diagnostics                            23896    11/11/2020   $    1,200.00 $      1,440.00   $ 9,000.00       MRI
S-1/C     Adame & Garza                          Stat Diagnostics                            23897    11/11/2020   $      600.00 $        720.00   $ 5,900.00       MRI
S-1/C     Adame & Garza                          Stat Diagnostics                            23898    11/11/2020   $    1,200.00 $      1,440.00   $ 9,000.00       MRI
S-1/C     Schechter McElwee Shaffer & Harris LLP Stat Diagnostics                            23899    11/11/2020   $      600.00 $        720.00   $ 4,500.00       MRI
S-1/C     Casey Geiger                           BENCHMARK PHYSICAL THERAPY                  23241    6/29/2020    $      126.00 $        151.20   $     360.00      PI
S-1/C     Casey Geiger                           BENCHMARK PHYSICAL THERAPY                  23935                 $      147.00 $        176.40   $     420.00      PI
                                                                                                                                                                            Page 15 of 169




S-1/C     Casey Geiger                           BENCHMARK PHYSICAL THERAPY                  23936                 $      126.00 $        151.20   $     360.00      PI
S-1/C     Casey Geiger                           BENCHMARK PHYSICAL THERAPY                  23937                 $      154.88 $        185.86   $     442.50      PI
S-1/C     Casey Geiger                           Legacy Brain & Spine                        23104     6/29/2020   $      220.00 $        264.00   $     550.00      PI
S-1/C     Lozano Law Offices P.C.                Stat Diagnostics                            23900    11/11/2020   $    1,800.00 $      2,160.00   $ 11,950.00      MRI
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake C

                                                                                                                 Receivable                            Funding
Intake aimLawyer                     Provider                                    BillId    Date Paid   Purchase Price             Cost   GFB Amount     Type
S-1/C     Angel Figueredo            Atlas Orthopaedics;Duncan Wells MD          23045     6/29/2020   $      176.50 $          211.80   $    441.24      PI
S-1/C     Hilda L. Sibrian           Stat Diagnostics                            23901    11/11/2020   $    1,200.00 $        1,440.00   $ 9,150.00      MRI
S-1/C     Jonathan Wade              BENCHMARK PHYSICAL THERAPY                  23105     6/29/2020   $      126.52 $          151.82   $    361.50      PI
S-1/C     Jonathan Wade              BENCHMARK PHYSICAL THERAPY                  23106     6/29/2020   $      126.52 $          151.82   $    361.50      PI
                                                                                                                                                                 Case 21-01167-abl




S-1/C     Jonathan Wade              BENCHMARK PHYSICAL THERAPY                  23107     6/29/2020   $      121.80 $          146.16   $    348.00      PI
S-1/C     Jonathan Wade              BENCHMARK PHYSICAL THERAPY                  23108     6/29/2020   $      121.80 $          146.16   $    348.00      PI
S-1/C     Jonathan Wade              BENCHMARK PHYSICAL THERAPY                  23239     6/29/2020   $      121.80 $          146.16   $    348.00      PI
S-1/C     Jonathan Wade              BENCHMARK PHYSICAL THERAPY                  23240     6/29/2020   $      121.80 $          146.16   $    348.00      PI
S-1/C     Jonathan Wade              Legacy Brain & Spine                        23109     6/29/2020   $    2,608.44 $        3,130.13   $ 6,521.10       PI
                                                                                                                                                                 Doc 75-1




S-1/C     Jonathan Wade              Legacy Brain & Spine                        23151     6/29/2020   $      220.00 $          264.00   $    550.00      PI
S-1/C     Adame & Garza              Stat Diagnostics                            23902    11/11/2020   $      600.00 $          720.00   $ 2,950.00      MRI
S-1/C     Stewart J. Guss            Stat Diagnostics                            23903    11/11/2020   $      600.00 $          720.00   $ 4,500.00      MRI
S-1/C     Stewart J. Guss            Stat Diagnostics                            23904    11/11/2020   $      600.00 $          720.00   $ 2,950.00      MRI
S-1/C     Michael Moran              Resurgens Orthopaedics                      23293     6/29/2020   $      124.20 $          149.04   $    276.00      PI
S-1/C     Michael Moran              Roswell Surgery Center                      23915                 $    4,034.70 $        4,841.64   $ 8,966.00       PI
S-1/C     J. Franklin Burns          BENCHMARK PHYSICAL THERAPY                  23116    6/29/2020    $      116.38 $          139.66   $    332.50      PI
S-1/C     J. Franklin Burns          Georgia Spine & Orthopedics                 23213     6/29/2020   $      128.80 $          154.56   $    322.00      PI
S-1/C     Cassandra Evans-Jones      Stat Diagnostics                            23905    11/11/2020   $    1,800.00 $        2,160.00   $ 11,950.00     MRI
S-1/C     Miguel A. Adame            Stat Diagnostics                            23906    11/11/2020   $    1,800.00 $        2,160.00   $ 11,950.00     MRI
S-1/C     Garrett Walker             South Atlanta MUA Center                    23853      7/1/2020   $    4,200.00 $        5,040.00   $ 16,800.00      PI
S-1/C     Reginald A Greene          Pain Management Specialists of Atlanta PC   23449    6/29/2020    $      157.50 $          189.00   $    350.00     PM
S-1/C     Javier Marcos              Stat Diagnostics                            23907    11/11/2020   $    1,200.00 $        1,440.00   $ 9,000.00      MRI
S-1/C     Reginald A Greene          Pain Consultants of Atlanta                 23292     6/29/2020   $      224.20 $          269.04   $    590.00     PM
                                                                                                                                                                 Entered 04/29/22 00:00:58




S-1/C     Sean McEvoy                Parkaire Consultants Inc                    22963     6/29/2020   $      300.00 $          360.00   $    750.00      PI
S-1/C     Sean McEvoy                Parkaire Consultants Inc                    23420     6/29/2020   $      240.00 $          288.00   $    600.00      PI
S-1/C     Holly Salimi               BENCHMARK PHYSICAL THERAPY                  23844                 $      150.68 $          180.82   $    430.50      PI
S-1/C     Holly Salimi               BENCHMARK PHYSICAL THERAPY                  23845                 $      150.68 $          180.82   $    430.50      PI
S-1/C     Holly Salimi               BENCHMARK PHYSICAL THERAPY                  23846                 $      150.68 $          180.82   $    430.50      PI
S-1/C     Holly Salimi               BENCHMARK PHYSICAL THERAPY                  23847                 $      185.68 $          222.82   $    530.50      PI
S-1/C     Holly Salimi               Carrollton Orthopaedic Clinic               23297     6/29/2020   $      125.60 $          150.72   $    314.00      PI
S-1/C     Salazar & Velazquez P.C.   Stat Diagnostics                            23908    11/11/2020   $    1,200.00 $        1,440.00   $ 9,000.00      MRI
S-1/C     Jennifer Dunlap            South Atlanta MUA Center                    23854      7/1/2020   $    4,963.00 $        5,955.60   $ 19,862.00      PI
                                                                                                                                                                 Page 16 of 169




S-1/C     Christopher J. Leavitt     Stat Diagnostics                            23909    11/11/2020   $      600.00 $          720.00   $ 4,500.00      MRI
S-1/C     Salazar & Velazquez P.C.   Stat Diagnostics                            23910    11/11/2020   $      600.00 $          720.00   $ 4,500.00      MRI
S-1/C     Jonathan Wade              BENCHMARK PHYSICAL THERAPY                  23850                 $      217.88 $          261.46   $    622.50      PI
S-1/C     Jonathan Wade              BENCHMARK PHYSICAL THERAPY                  23851                 $      123.38 $          148.06   $    352.50      PI
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake C

                                                                                                                                                                  Receivable                             Funding
Intake aimLawyer                                      Provider                                                           BillId        Date Paid        Purchase Price             Cost   GFB Amount      Type
S-1/C     Jonathan Wade                               BENCHMARK PHYSICAL THERAPY                                         23852                          $      102.38 $          122.86   $    292.50       PI
S-1/C     Jonathan Wade                               BENCHMARK PHYSICAL THERAPY                                         23110         6/29/2020        $      101.85 $          122.22   $    291.00       PI
S-1/C     Jonathan Wade                               BENCHMARK PHYSICAL THERAPY                                         23111         6/29/2020        $      101.85 $          122.22   $    291.00       PI
S-1/C     Jonathan Wade                               BENCHMARK PHYSICAL THERAPY                                         23112         6/29/2020        $      102.38 $          122.86   $    292.50       PI
                                                                                                                                                                                                                   Case 21-01167-abl




S-1/C     Paul Mazur                                  Northside Hospital                                                 23418         6/29/2020        $    1,759.32 $        2,111.18   $ 4,398.30        PI
S-1/C     W. Clark Martin IV                          Stat Diagnostics                                                   23911        11/11/2020        $    1,200.00 $        1,440.00   $ 9,000.00       MRI
S-1/C     Godseg Martin Law Firm                      Preva Advanced Surgicare - The Woodlands LLC                       22551          6/9/2020        $    3,548.78 $        4,258.54   $ 16,130.82       PI
S-1/C     Charles E (Ted) Lake Jr.                    Polaris Spine & Neurosurgery Center                                23220         6/29/2020        $      354.00 $          424.80   $    885.00       PI
S-1/C     CORY HILTON                                 Durango Outpatient Surgery Center                                  23033         6/29/2020        $    2,400.65 $        2,880.78   $ 6,859.00        PI
                                                                                                                                                                                                                   Doc 75-1




S-1/C     John Webb                                   GA Pain Management Center LLC                                      23295         6/29/2020        $    1,643.40 $        1,972.08   $ 3,652.00       PM
S-1/C     John Webb                                   Pain Management Specialists of Atlanta PC                          23296        6/29/2020         $      495.00 $          594.00   $ 1,100.00       PM
S-1/C     John Webb                                   Pain Management Specialists of Atlanta PC                          23389         6/29/2020        $       87.75 $          105.30   $    195.00      PM
S-1/C     Littleton Law Firm                          Preva Advanced Surgicare - The Woodlands LLC                       22552          6/9/2020        $    3,031.16 $        3,637.39   $ 13,778.00       PI

                                                                                                                                                        $   148,380.16 $ 178,056.19       $ 645,886.88

****      This List of Receivables supporting Series 1-Intake C in the amount of US$178,056.19 is in good order as Forget-the-Market Ltd has performed the following:

          a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

          b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
          an explanation as to why.

          c. Confirmed that the value of purchased receivables respecting the listed invoices equals 120.00% of the purchased total of $148,380.16
                                                                                                                                                                                                                   Entered 04/29/22 00:00:58
                                                                                                                                                                                                                   Page 17 of 169
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                      EXHIBIT D
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                       Receivables
Intake Lawyer               Provider                       BillId   Date Paid   Purch Price      Cost        GFB Amount Fund Type

S-1/D   Nicholas Lasso      Buena Vista Medical Services   16403   6/3/2019 $       36.18    $      43.42    $    120.60    Rx
S-1/D   Nicholas Lasso      Buena Vista Medical Services   16404   6/3/2019 $       35.15    $      42.18    $    117.16    Rx
S-1/D   Nicholas Lasso      Buena Vista Medical Services   17080   3/4/2020 $       37.03    $      44.44    $    123.42    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16782 10/1/2019 $        35.50    $      42.60    $    118.32    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16784 11/4/2019 $        37.78    $      45.34    $    125.94    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16785 11/4/2019 $        36.95    $      44.34    $    123.16    Rx
                                                                                                                                    Case 21-01167-abl




S-1/D   Anthony Perez       Buena Vista Medical Services   16786 10/1/2019 $        36.95    $      44.34    $    123.16    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16788   9/3/2019 $      103.84    $     124.61    $    346.12    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16789   9/3/2019 $       36.95    $      44.34    $    123.16    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   16790   9/3/2019 $       35.50    $      42.60    $    118.32    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   17371   4/3/2020 $       37.78    $      45.34    $    125.94    Rx
S-1/D   Anthony Perez       Buena Vista Medical Services   18188   5/5/2020 $       48.07    $      57.68    $    160.22    Rx
                                                                                                                                    Doc 75-1




S-1/D   Anthony Perez       Buena Vista Medical Services   21270   7/2/2020 $       48.07    $      57.68    $    160.22    Rx
S-1/D   Neal Howard         Ensign Legal Support            8301  9/24/2018 $       51.38    $      61.66    $     77.07    MR
S-1/D   Neal Howard         Ensign Legal Support            8334  9/24/2018 $      105.62    $     126.74    $    158.43    MR
S-1/D   Neal Howard         Ensign Legal Support            8449 10/29/2018 $       25.25    $      30.30    $     25.25    MR
S-1/D   Neal Howard         Ensign Legal Support            8479 10/29/2018 $       25.25    $      30.30    $     25.25    MR
S-1/D   Neal Howard         Ensign Legal Support            8494 10/29/2018 $       25.25    $      30.30    $     25.25    MR
S-1/D   Hamed Yazdanpanah   Buena Vista Medical Services   15740 12/3/2019 $        53.04    $      63.65    $    176.80    Rx
S-1/D   Hamed Yazdanpanah   Buena Vista Medical Services   15742 11/4/2019 $        53.04    $      63.65    $    176.80    Rx
S-1/D   Hamed Yazdanpanah   Buena Vista Medical Services   24417            $       30.76    $      36.91    $    102.52    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   16917   3/4/2020 $       16.85    $      20.22    $     56.17    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   16918   3/4/2020 $       36.51    $      43.81    $    121.71    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17008   3/4/2020 $       37.69    $      45.23    $    125.63    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17009            $       37.13    $      44.56    $    123.77    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17010            $       37.60    $      45.12    $    125.32    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17163            $      (37.60)   $     (45.12)   $   (125.32)   Rx
                                                                                                                                    Entered 04/29/22 00:00:58




S-1/D   Bryan Blackwell     Buena Vista Medical Services   17164            $      (37.13)   $     (44.56)   $   (123.77)   Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17294   3/4/2020 $       16.85    $      20.22    $     56.17    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17295   3/4/2020 $       37.69    $      45.23    $    125.63    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   17607   4/3/2020 $       45.02    $      54.02    $    150.08    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   18056   5/5/2020 $       36.51    $      43.81    $    121.71    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   18123   5/5/2020 $       37.53    $      45.04    $    125.10    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   18124   5/5/2020 $       42.82    $      51.38    $    142.73    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   18179   5/5/2020 $       45.02    $      54.02    $    150.08    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   20353   6/1/2020 $       36.51    $      43.81    $    121.71    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   20354   6/1/2020 $       46.12    $      55.34    $    153.73    Rx
                                                                                                                                    Page 19 of 169




S-1/D   Bryan Blackwell     Buena Vista Medical Services   22734   7/2/2020 $      215.32    $     258.38    $    717.73    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   23819   7/2/2020 $       45.02    $      54.02    $    150.08    Rx
S-1/D   Bryan Blackwell     Buena Vista Medical Services   23952            $       28.76    $      34.51    $     95.88    Rx
S-1/D   Nicholas Lasso      Buena Vista Medical Services   15754 11/4/2019 $        48.43    $      58.12    $    161.44    Rx
S-1/D   Nicholas Lasso      Buena Vista Medical Services   15755 11/4/2019 $        35.27    $      42.32    $    117.56    Rx
S-1/D   Nicholas Lasso      Buena Vista Medical Services   15757 12/3/2019 $        35.27    $      42.32    $    117.56    Rx
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15759      2/4/2020   $    48.43 $        58.12   $    161.44   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15760     12/3/2019   $    48.43 $        58.12   $    161.44   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15762     10/1/2019   $    35.27 $        42.32   $    117.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15764      7/3/2019   $    36.00 $        43.20   $    120.00   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15766      7/3/2019   $    35.05 $        42.06   $    116.84   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15768      8/2/2019   $    48.43 $        58.12   $    161.44   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15770      9/3/2019   $    34.82 $        41.78   $    116.08   Rx
                                                                                                                                       Case 21-01167-abl




S-1/D    Nicholas Lasso        Buena Vista Medical Services   15772      9/3/2019   $    48.43 $        58.12   $    161.44   Rx
S-1/D    Daniel Del Rio        Ensign Legal Support           6576      1/10/2018   $    25.00 $        30.00   $     50.00   MR
S-1/D    Daniel Del Rio        Ensign Legal Support           6630      1/10/2018   $    72.00 $        86.40   $    144.00   MR
S-1/D    Daniel Del Rio        Ensign Legal Support           6878     12/22/2017   $    66.25 $        79.50   $    132.50   MR
S-1/D    Daniel Del Rio        Ensign Legal Support           6965     11/15/2017   $    54.75 $        65.70   $    109.50   MR
S-1/D    Daniel Del Rio        Ensign Legal Support           6966     11/15/2017   $    45.50 $        54.60   $     91.00   MR
                                                                                                                                       Doc 75-1




S-1/D    Daniel Del Rio        Ensign Legal Support           7004     10/31/2017   $    74.75 $        89.70   $    149.50   MR
S-1/D    Daniel Del Rio        Ensign Legal Support           7005      4/11/2018   $    10.50 $        12.60   $     21.00   MR
S-1/D    Natanya Brooks        Buena Vista Medical Services   15717      9/3/2019   $    35.87 $        43.04   $    119.56   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   15719     11/4/2019   $    37.52 $        45.02   $    125.08   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   15721     12/3/2019   $    15.48 $        18.58   $     51.60   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16282     10/1/2019   $    34.61 $        41.53   $    115.36   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16284     10/1/2019   $    34.62 $        41.54   $    115.40   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16286     10/1/2019   $    35.14 $        42.17   $    117.12   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16287     10/1/2019   $    34.96 $        41.95   $    116.52   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16288     10/1/2019   $    34.55 $        41.46   $    115.16   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   16293      9/3/2019   $    34.92 $        41.90   $    116.40   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   17016      3/4/2020   $    37.88 $        45.46   $    126.27   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   17017      3/4/2020   $    34.61 $        41.53   $    115.36   Rx
S-1/D    Natanya Brooks        Buena Vista Medical Services   23821      7/2/2020   $    47.71 $        57.25   $    159.04   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   16450      8/2/2019   $    35.04 $        42.05   $    116.80   Rx
                                                                                                                                       Entered 04/29/22 00:00:58




S-1/D    Nicholas Lasso        Buena Vista Medical Services   16452      7/3/2019   $    35.12 $        42.14   $    117.08   Rx
S-1/D    Mark Ruszecki         Buena Vista Medical Services   15804     10/1/2019   $    39.61 $        47.53   $    132.04   Rx
S-1/D    Mark Ruszecki         Buena Vista Medical Services   15806     10/1/2019   $    43.20 $        51.84   $    144.00   Rx
S-1/D    Mark Ruszecki         Buena Vista Medical Services   15808      9/3/2019   $    43.20 $        51.84   $    144.00   Rx
S-1/D    Mark Ruszecki         Buena Vista Medical Services   15810      8/2/2019   $    43.20 $        51.84   $    144.00   Rx
S-1/D    Mark Ruszecki         Buena Vista Medical Services   15811      8/2/2019   $    39.61 $        47.53   $    132.04   Rx
S-1/D    Campbell Williamson   Advanced Home Care             2104      6/24/2016   $ 208.00 $         249.60   $    208.00   PI
S-1/D    Daniel Del Rio        Appleby & Co. Inc              6267     12/10/2017   $    81.36 $        97.63   $    162.72   MR
S-1/D    Daniel Del Rio        Appleby & Co. Inc              6269     12/10/2017   $    54.63 $        65.56   $    109.26   MR
S-1/D    Daniel Del Rio        Appleby & Co. Inc              6272     12/10/2017   $    50.66 $        60.79   $    101.32   MR
                                                                                                                                       Page 20 of 169




S-1/D    Nicholas Lasso        Buena Vista Medical Services   16414      8/2/2019   $    34.78 $        41.74   $    115.92   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   16416      6/3/2019   $    34.81 $        41.77   $    116.04   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   16417      6/3/2019   $    36.18 $        43.42   $    120.60   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15789     11/4/2019   $    28.88 $        34.66   $     96.27   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15791     10/1/2019   $    34.36 $        41.23   $    114.52   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15792     11/4/2019   $    31.59 $        37.91   $    105.30   Rx
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                      Receivables
Intake   Lawyer             Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15794 12/3/2019     $    31.59 $        37.91    $    105.30   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15795 11/4/2019     $    34.75 $        41.70    $    115.84   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15797    9/3/2019   $    34.36 $        41.23    $    114.52   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15798    9/3/2019   $    78.41 $        94.09    $    261.36   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15800 10/1/2019     $    35.22 $        42.26    $    117.40   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15801 10/1/2019     $    34.75 $        41.70    $    115.84   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15802 10/1/2019     $    34.75 $        41.70    $    115.84   Rx
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S-1/D    Nicholas Lasso     Buena Vista Medical Services   18121    5/5/2020   $    37.09 $        44.51    $    123.64   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   18973    6/1/2020   $    57.66 $        69.19    $    192.19   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   17376    4/3/2020   $    38.51 $        46.21    $    128.36   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   17377    4/3/2020   $    18.23 $        21.88    $     60.77   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18005    5/5/2020   $    18.23 $        21.88    $     60.77   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18006    5/5/2020   $    38.51 $        46.21    $    128.36   Rx
                                                                                                                                   Doc 75-1




S-1/D    Diana Tenorio      Buena Vista Medical Services   18194    5/5/2020   $    40.92 $        49.10    $    136.40   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18195               $    18.23 $        21.88    $     60.77   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18490               $   (18.23) $      (21.88)   $    (60.77)  Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   18491    5/5/2020   $    38.51 $        46.21    $    128.36   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   19564    6/1/2020   $    40.92 $        49.10    $    136.40   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   19795    6/1/2020   $    38.51 $        46.21    $    128.36   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   23835    7/2/2020   $    40.92 $        49.10    $    136.40   Rx
S-1/D    Diana Tenorio      Buena Vista Medical Services   23836    7/2/2020   $    38.51 $        46.21    $    128.36   Rx
S-1/D    Omid Khorshidi     Buena Vista Medical Services   19797    6/1/2020   $    47.95 $        57.54    $    159.84   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16408    6/3/2019   $    34.79 $        41.75    $    115.96   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16409    6/3/2019   $    36.18 $        43.42    $    120.60   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16411    6/3/2019   $    35.17 $        42.20    $    117.24   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16412    6/3/2019   $    36.18 $        43.42    $    120.60   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15310    2/4/2020   $    36.64 $        43.97    $    122.13   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15312    1/3/2020   $    23.81 $        28.57    $     79.36   Rx
                                                                                                                                   Entered 04/29/22 00:00:58




S-1/D    Arash Khorsandi    Buena Vista Medical Services   15313    2/4/2020   $    37.36 $        44.83    $    124.53   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15315    2/4/2020   $    36.75 $        44.10    $    122.51   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15316    2/4/2020   $    20.47 $        24.56    $     68.22   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15317    1/3/2020   $    26.43 $        31.72    $     88.10   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15319 12/3/2019     $    28.62 $        34.34    $     95.41   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15321 11/4/2019     $    40.10 $        48.12    $    133.68   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15323 12/3/2019     $    25.99 $        31.19    $     86.62   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15325    1/3/2020   $    24.37 $        29.24    $     81.24   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   15326 12/3/2019     $    18.60 $        22.32    $     62.00   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   17458    4/3/2020   $    69.03 $        82.84    $    230.11   Rx
                                                                                                                                   Page 21 of 169




S-1/D    Arash Khorsandi    Buena Vista Medical Services   17613    4/3/2020   $    69.03 $        82.84    $    230.11   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   17755    4/3/2020   $    69.03 $        82.84    $    230.11   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   17994    5/5/2020   $    69.03 $        82.84    $    230.11   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   18064    5/5/2020   $    40.10 $        48.12    $    133.68   Rx
S-1/D    Arash Khorsandi    Buena Vista Medical Services   19554    6/1/2020   $    40.10 $        48.12    $    133.68   Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23967               $    62.73 $        75.28    $    209.11   Rx
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                             Receivables
Intake   Lawyer                  Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Daniel Del Rio          Ensign Legal Support            6567     1/10/2018   $    59.25 $        71.10   $    118.50   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6779      3/1/2018   $    43.25 $        51.90   $     86.50   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6832    12/22/2017   $    99.00 $       118.80   $    198.00   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6833    12/22/2017   $    25.50 $        30.60   $     51.00   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6879    11/15/2017   $    59.00 $        70.80   $    118.00   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6880    12/22/2017   $    45.50 $        54.60   $     91.00   MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6977    11/15/2017   $    61.25 $        73.50   $    122.50   MR
                                                                                                                                         Case 21-01167-abl




S-1/D    Daniel Del Rio          Ensign Legal Support            7039     4/11/2018   $    41.75 $        50.10   $     83.50   MR
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16622     10/1/2019   $    36.91 $        44.29   $    123.04   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16623     10/1/2019   $    36.38 $        43.66   $    121.28   Rx
S-1/D    Mauro Fiore Jr          Buena Vista Medical Services   16653      7/3/2019   $    35.14 $        42.17   $    117.12   Rx
S-1/D    Mauro Fiore Jr          Buena Vista Medical Services   16654      7/3/2019   $    35.83 $        43.00   $    119.44   Rx
S-1/D    Mauro Fiore Jr          Buena Vista Medical Services   16655      7/3/2019   $    35.05 $        42.06   $    116.84   Rx
                                                                                                                                         Doc 75-1




S-1/D    Christopher Henderson   Buena Vista Medical Services   15348      1/3/2020   $    19.20 $        23.04   $     64.00   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15349      1/3/2020   $    24.29 $        29.15   $     80.96   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15350      1/3/2020   $    23.69 $        28.43   $     78.98   Rx
S-1/D    Reginald A Greene       Buena Vista Medical Services   20366      6/1/2020   $    22.15 $        26.58   $     73.82   Rx
S-1/D    Reginald A Greene       Buena Vista Medical Services   20367      6/1/2020   $    22.29 $        26.75   $     74.30   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16224      8/2/2019   $   34.52 $         41.42   $    115.08   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16225      8/2/2019   $   34.79 $         41.75   $    115.96   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16226      8/2/2019   $   34.66 $         41.59   $    115.52   Rx
S-1/D    Ronald Chalker          Ensign Legal Support            8273    10/29/2018   $    25.50 $        30.60   $     38.25   MR
S-1/D    Ronald Chalker          Ensign Legal Support            8285     9/24/2018   $    32.25 $        38.70   $     48.38   MR
S-1/D    Ronald Chalker          Ensign Legal Support            8286     9/24/2018   $    61.08 $        73.30   $     91.62   MR
S-1/D    Ronald Chalker          Ensign Legal Support            8311     9/24/2018   $    76.93 $        92.32   $    115.40   MR
S-1/D    Omid Khorshidi          Buena Vista Medical Services   15436      1/3/2020   $   50.85 $         61.02   $    169.49   Rx
S-1/D    Omid Khorshidi          Buena Vista Medical Services   15437      1/3/2020   $ 151.53 $         181.84   $    505.09   Rx
S-1/D    Omid Khorshidi          Buena Vista Medical Services   15438      1/3/2020   $   15.48 $         18.58   $     51.60   Rx
                                                                                                                                         Entered 04/29/22 00:00:58




S-1/D    Omid Khorshidi          Buena Vista Medical Services   15440      6/3/2019   $   35.03 $         42.04   $    116.76   Rx
S-1/D    Omid Khorshidi          Buena Vista Medical Services   15441      1/3/2020   $   17.22 $         20.66   $     57.40   Rx
S-1/D    Daniel Del Rio          Compex                          6341     1/10/2018   $    64.80 $        77.76   $    129.60   MR
S-1/D    Daniel Del Rio          Compex                          6342      2/7/2018   $    80.00 $        96.00   $    160.00   MR
S-1/D    Daniel Del Rio          Compex                          6350      2/7/2018   $    90.00 $       108.00   $    180.00   MR
S-1/D    Daniel Del Rio          Compex                          6351      2/7/2018   $    65.20 $        78.24   $    130.40   MR
S-1/D    Daniel Del Rio          Compex                          6352      2/7/2018   $    66.00 $        79.20   $    132.00   MR
S-1/D    Daniel Del Rio          Compex                          6353      2/7/2018   $    67.20 $        80.64   $    134.40   MR
S-1/D    Daniel Del Rio          Compex                          6354      3/1/2018   $    78.80 $        94.56   $    157.60   MR
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15774     12/3/2019   $    20.10 $        24.12   $     67.00   Rx
                                                                                                                                         Page 22 of 169




S-1/D    Jonathan Broderick      Ensign Legal Support           10691     5/22/2019   $    70.58 $        84.70   $    105.87   MR
S-1/D    Jonathan Broderick      Ensign Legal Support           10694     5/22/2019   $    79.28 $        95.14   $    158.56   MR
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   17090      3/4/2020   $   41.55 $         49.86   $    138.51   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   17459      4/3/2020   $   56.59 $         67.91   $    188.62   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16704      7/3/2019   $    34.80 $        41.76   $    116.00   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16705      7/3/2019   $    34.67 $        41.60   $    115.56   Rx
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List of Receivables for Series-1/Intake D
                                                                                     Receivables
Intake   Lawyer            Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16706    7/3/2019   $    48.43 $        58.12   $    161.44   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   17999    5/5/2020   $    72.35 $        86.82   $    241.18   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   18000    5/5/2020   $    39.37 $        47.24   $    131.23   Rx
S-1/D    Ronald Chalker    Ensign Legal Support           8085    8/26/2018   $    66.83 $        80.20   $    100.25   MR
S-1/D    Ronald Chalker    Ensign Legal Support           8272    9/24/2018   $    66.08 $        79.30   $     99.12   MR
S-1/D    Ronald Chalker    Ensign Legal Support           8343    9/28/2018   $    36.75 $        44.10   $     55.13   MR
S-1/D    Ronald Chalker    Ensign Legal Support           8344    9/28/2018   $    25.00 $        30.00   $     37.50   MR
                                                                                                                                 Case 21-01167-abl




S-1/D    Arash Khorsandi   Buena Vista Medical Services   16563    8/2/2019   $    34.84 $        41.81   $    116.12   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17012    3/4/2020   $    37.90 $        45.48   $    126.35   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17013    3/4/2020   $    36.57 $        43.88   $    121.90   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17014    3/4/2020   $    37.37 $        44.84   $    124.56   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17015    3/4/2020   $    36.79 $        44.15   $    122.63   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17370    4/3/2020   $    37.90 $        45.48   $    126.35   Rx
                                                                                                                                 Doc 75-1




S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17752    4/3/2020   $    37.53 $        45.04   $    125.10   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   17753    4/3/2020   $    57.74 $        69.29   $    192.46   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   19776    6/1/2020   $    36.79 $        44.15   $    122.63   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   19777    6/1/2020   $    25.84 $        31.01   $     86.12   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   21268    7/2/2020   $    25.84 $        31.01   $     86.12   Rx
S-1/D    Bryan Blackwell   Buena Vista Medical Services   16845    2/4/2020   $    77.91 $        93.49   $    259.69   Rx
S-1/D    Bryan Blackwell   Buena Vista Medical Services   16846    2/4/2020   $    36.65 $        43.98   $    122.17   Rx
S-1/D    Bryan Blackwell   Buena Vista Medical Services   17083    3/4/2020   $    36.51 $        43.81   $    121.71   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18487    5/5/2020   $   46.64 $         55.97   $    155.47   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18488    5/5/2020   $   44.88 $         53.86   $    149.60   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18489    5/5/2020   $   30.36 $         36.43   $    101.19   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   17305    3/4/2020   $   36.73 $         44.08   $    122.44   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   17306    3/4/2020   $   16.71 $         20.05   $     55.71   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   17621    4/3/2020   $   26.63 $         31.96   $     88.76   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18004    5/5/2020   $   25.73 $         30.88   $     85.78   Rx
                                                                                                                                 Entered 04/29/22 00:00:58




S-1/D    Nancy Bernstein   Buena Vista Medical Services   18133    5/5/2020   $   56.30 $         67.56   $    187.66   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   18134    5/5/2020   $   40.92 $         49.10   $    136.40   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services   19563    6/1/2020   $   40.92 $         49.10   $    136.40   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16667    8/2/2019   $    37.56 $        45.07   $    125.20   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16669 4/30/2019     $    33.22 $        39.86   $    110.72   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16670 4/30/2019     $    32.98 $        39.58   $    109.94   Rx
S-1/D    Arash Khorsandi   Buena Vista Medical Services   16648 10/1/2019     $    42.16 $        50.59   $    140.52   Rx
S-1/D    Arash Khorsandi   Buena Vista Medical Services   16649 10/1/2019     $    36.16 $        43.39   $    120.52   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16360    7/3/2019   $    34.64 $        41.57   $    115.48   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16362    7/3/2019   $    34.64 $        41.57   $    115.48   Rx
                                                                                                                                 Page 23 of 169




S-1/D    Timothy Revero    Buena Vista Medical Services   16364    9/3/2019   $    34.64 $        41.57   $    115.48   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16366    8/2/2019   $    34.64 $        41.57   $    115.48   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16368    4/2/2019   $    34.84 $        41.81   $    116.14   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16369    4/2/2019   $    31.53 $        37.84   $    105.10   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16371    6/3/2019   $    31.47 $        37.76   $    104.91   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16373 4/30/2019     $    34.84 $        41.81   $    116.14   Rx
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List of Receivables for Series-1/Intake D
                                                                                       Receivables
Intake   Lawyer              Provider                       BillId Date Paid    Purch Price      Cost         GFB Amount Fund Type
S-1/D    Timothy Revero      Buena Vista Medical Services   17292    3/4/2020   $    36.51 $        43.81     $     121.71  Rx
S-1/D    Timothy Revero      Buena Vista Medical Services   17293    3/4/2020   $    18.16 $        21.79     $      60.54  Rx
S-1/D    Timothy Revero      Buena Vista Medical Services   23229    7/2/2020   $    33.43 $        40.12     $     111.44  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15691 12/3/2019     $    34.17 $        41.00     $     113.90  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15692 12/3/2019     $    44.28 $        53.14     $     147.60  Rx
S-1/D    KristinH. Cogburn   Buena Vista Medical Services   16480    9/3/2019   $    34.54 $        41.45     $     115.12  Rx
S-1/D    KristinH. Cogburn   Buena Vista Medical Services   16482    8/2/2019   $    35.16 $        42.19     $     117.20  Rx
                                                                                                                                     Case 21-01167-abl




S-1/D    KristinH. Cogburn   Buena Vista Medical Services   16483    8/2/2019   $    36.00 $        43.20     $     120.00  Rx
S-1/D    Brian Nettles       Buena Vista Medical Services   16531 12/3/2019     $    36.23 $        43.48     $     120.78  Rx
S-1/D    Brian Nettles       Buena Vista Medical Services   16532 12/3/2019     $    44.55 $        53.46     $     148.50  Rx
S-1/D    Brian Nettles       Buena Vista Medical Services   16534 11/4/2019     $    44.55 $        53.46     $     148.50  Rx
S-1/D    Brian Nettles       Buena Vista Medical Services   16535 11/4/2019     $    36.23 $        43.48     $     120.78  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15849 10/1/2019     $    34.90 $        41.88     $     116.32  Rx
                                                                                                                                     Doc 75-1




S-1/D    Nicholas Lasso      Buena Vista Medical Services   15851    9/3/2019   $    34.98 $        41.98     $     116.60  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15853    9/3/2019   $    37.24 $        44.69     $     124.12  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15855 10/1/2019     $    34.90 $        41.88     $     116.32  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15856 10/1/2019     $    34.98 $        41.98     $     116.60  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15858 10/1/2019     $    37.24 $        44.69     $     124.12  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15860    7/3/2019   $    37.24 $        44.69     $     124.12  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15862    7/3/2019   $    34.98 $        41.98     $     116.60  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15864    7/3/2019   $    37.24 $        44.69     $     124.12  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15866    8/2/2019   $    34.90 $        41.88     $     116.32  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15868    8/2/2019   $    34.98 $        41.98     $     116.60  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15869    7/3/2019   $    34.90 $        41.88     $     116.32  Rx
S-1/D    D.Hess Panah        Buena Vista Medical Services   16537 11/4/2019     $    35.68 $        42.82     $     118.92  Rx
S-1/D    D.Hess Panah        Buena Vista Medical Services   16539 11/4/2019     $   (35.68) $      (42.82)    $    (118.92) Rx
S-1/D    D.Hess Panah        Buena Vista Medical Services   16541 10/1/2019     $    35.68 $        42.82     $     118.92  Rx
S-1/D    Peter Ross          Ensign Legal Support            8303   9/24/2018   $    25.25 $        30.30     $      25.25  MR
                                                                                                                                     Entered 04/29/22 00:00:58




S-1/D    Peter Ross          Ensign Legal Support            8447 10/29/2018    $    64.74 $        77.69     $      97.11  MR
S-1/D    Peter Ross          Ensign Legal Support           10458               $    (0.25) $        (0.30)   $      (0.25) MR
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15518 11/4/2019     $    31.20 $        37.44     $     104.01  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15520    1/3/2020   $    32.24 $        38.69     $     107.45  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15522    2/4/2020   $    15.47 $        18.56     $      51.57  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15524 11/4/2019     $    34.82 $        41.78     $     116.08  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15525 11/4/2019     $    34.93 $        41.92     $     116.44  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   15526 11/4/2019     $    32.24 $        38.69     $     107.45  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   18978    6/1/2020   $    15.47 $        18.56     $      51.57  Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   22739    7/2/2020   $    15.47 $        18.56     $      51.57  Rx
                                                                                                                                     Page 24 of 169




S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   24413               $    15.47 $        18.56     $      51.57  Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   19568    6/1/2020   $    37.53 $        45.04     $     125.10  Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   19569    6/1/2020   $    47.95 $        57.54     $     159.84  Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   24410               $    76.94 $        92.33     $     256.46  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15477    1/3/2020   $    30.65 $        36.78     $     102.18  Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15479 12/3/2019     $    29.46 $        35.35     $      98.20  Rx
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                       Receivables
Intake   Lawyer              Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15480 12/3/2019     $    62.79 $        75.35   $    209.31   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16197    8/2/2019   $    35.35 $        42.42   $    117.84   Rx
S-1/D    Brittany Young      Buena Vista Medical Services   16625 12/3/2019     $    23.69 $        28.43   $     78.98   Rx
S-1/D    Brittany Young      Buena Vista Medical Services   16626 12/3/2019     $    19.26 $        23.11   $     64.20   Rx
S-1/D    Brittany Young      Buena Vista Medical Services   16809    2/4/2020   $    37.02 $        44.42   $    123.39   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   15729 12/3/2019     $    64.98 $        77.98   $    216.61   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   15730 12/3/2019     $    25.16 $        30.19   $     83.85   Rx
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S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16310 10/1/2019     $    34.84 $        41.81   $    116.12   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16312 10/1/2019     $    34.75 $        41.70   $    115.84   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16314    9/3/2019   $    34.84 $        41.81   $    116.12   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16316 11/4/2019     $    35.48 $        42.58   $    118.28   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16317 11/4/2019     $    34.98 $        41.98   $    116.60   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16318 11/4/2019     $    35.57 $        42.68   $    118.56   Rx
                                                                                                                                   Doc 75-1




S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16320    8/2/2019   $    34.84 $        41.81   $    116.12   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16322    7/3/2019   $    34.70 $        41.64   $    115.68   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16323    7/3/2019   $    34.60 $        41.52   $    115.32   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16325    9/3/2019   $    34.75 $        41.70   $    115.84   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16326    9/3/2019   $    34.84 $        41.81   $    116.12   Rx
S-1/D    ShahabSean Shamsi   Buena Vista Medical Services   16327    8/2/2019   $    34.75 $        41.70   $    115.84   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16838    2/4/2020   $    37.48 $        44.98   $    124.94   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   20363    6/1/2020   $    25.97 $        31.16   $     86.58   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   20364    6/1/2020   $    89.97 $       107.96   $    299.89   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15415 12/3/2019     $    51.26 $        61.51   $    170.86   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15417    1/3/2020   $    36.94 $        44.33   $    123.12   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15419    1/3/2020   $    18.24 $        21.89   $     60.80   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15421 12/3/2019     $    36.94 $        44.33   $    123.12   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15423 10/1/2019     $    34.55 $        41.46   $    115.16   Rx
S-1/D    Kenneth Klein       Buena Vista Medical Services   15424 10/1/2019     $    35.10 $        42.12   $    117.00   Rx
                                                                                                                                   Entered 04/29/22 00:00:58




S-1/D    Kenneth Klein       Buena Vista Medical Services   15426 11/4/2019     $    36.94 $        44.33   $    123.12   Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16799 10/1/2019     $    35.69 $        42.83   $    118.96   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16297    9/3/2019   $   34.52 $         41.42   $    115.08   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16298    9/3/2019   $   35.22 $         42.26   $    117.40   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16300 12/3/2019     $    30.17 $        36.20   $    100.57   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16302    7/3/2019   $   34.64 $         41.57   $    115.48   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16304    9/3/2019   $   34.52 $         41.42   $    115.08   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   16305    9/3/2019   $   35.22 $         42.26   $    117.40   Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16595 11/4/2019     $    35.29 $        42.35   $    117.64   Rx
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16596 11/4/2019     $    45.06 $        54.07   $    150.20   Rx
                                                                                                                                   Page 25 of 169




S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16597 11/4/2019     $    35.36 $        42.43   $    117.88   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   15964 11/4/2019     $    45.56 $        54.67   $    151.85   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   15966 10/1/2019     $    34.81 $        41.77   $    116.04   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   17020    3/4/2020   $    37.04 $        44.45   $    123.46   Rx
S-1/D    Arash Khorsandi     Buena Vista Medical Services   18184    5/5/2020   $    99.86 $       119.83   $    332.85   Rx
S-1/D    Jeff Scarborough    Buena Vista Medical Services   16400    6/3/2019   $    36.18 $        43.42   $    120.60   Rx
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16401    6/3/2019   $    34.81 $        41.77    $     116.04  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16338    9/3/2019   $    35.06 $        42.07    $     116.88  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16340    8/2/2019   $    35.12 $        42.14    $     117.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16342               $   (35.12) $      (42.14)   $    (117.08) Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16343    9/3/2019   $    34.60 $        41.52    $     115.32  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16345    2/4/2020   $    37.82 $        45.38    $     126.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16346    2/4/2020   $    36.92 $        44.30    $     123.08  Rx
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S-1/D    Jeff Scarborough        Buena Vista Medical Services   16348 12/3/2019     $    30.30 $        36.36    $     101.00  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16350    6/3/2019   $    34.82 $        41.78    $     116.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16352    6/3/2019   $    32.93 $        39.52    $     109.78  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16353    6/3/2019   $    31.90 $        38.28    $     106.35  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16354    6/3/2019   $    34.87 $        41.84    $     116.24  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16355               $   (36.18) $      (43.42)   $    (120.60) Rx
                                                                                                                                        Doc 75-1




S-1/D    Jeff Scarborough        Buena Vista Medical Services   16357               $    35.12 $        42.14    $     117.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16358               $    36.18 $        43.42    $     120.60  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   16907    3/4/2020   $    17.47 $        20.96    $      58.24  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   17005    3/4/2020   $    51.92 $        62.30    $     173.08  Rx
S-1/D    Jeff Scarborough        Buena Vista Medical Services   17366    4/3/2020   $    43.63 $        52.36    $     145.43  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   15482    1/3/2020   $    16.74 $        20.09    $      55.80  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   15484 12/3/2019     $    41.52 $        49.82    $     138.41  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   17018    3/4/2020   $    37.13 $        44.56    $     123.77  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15408 12/3/2019     $    33.78 $        40.54    $     112.61  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15410    2/4/2020   $    32.36 $        38.83    $     107.88  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15412 11/4/2019     $    33.01 $        39.61    $     110.03  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15413 12/3/2019     $    32.36 $        38.83    $     107.88  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15396    2/4/2020   $    37.63 $        45.16    $     125.44  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15398 11/4/2019     $    44.28 $        53.14    $     147.60  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15400 11/4/2019     $    33.78 $        40.54    $     112.61  Rx
                                                                                                                                        Entered 04/29/22 00:00:58




S-1/D    Nicholas Lasso          Buena Vista Medical Services   16832    2/4/2020   $    18.02 $        21.62    $      60.08  Rx
S-1/D    Daniel Del Rio          Ensign Legal Support            6786    3/1/2018   $ 109.00 $         130.80    $     218.00  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            6789    3/1/2018   $    42.95 $        51.54    $      85.90  MR
S-1/D    Daniel Del Rio          Ensign Legal Support            7051   4/11/2018   $    60.25 $        72.30    $     120.50  MR
S-1/D    John Shook              Buena Vista Medical Services   16559    4/2/2019   $    33.32 $        39.98    $     111.07  Rx
S-1/D    John Shook              Buena Vista Medical Services   16560    4/2/2019   $    33.05 $        39.66    $     110.18  Rx
S-1/D    John Shook              Buena Vista Medical Services   16561    4/2/2019   $    31.20 $        37.44    $     104.01  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15939 10/1/2019     $    34.84 $        41.81    $     116.12  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15940 10/1/2019     $    39.79 $        47.75    $     132.64  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15942 10/1/2019     $    36.08 $        43.30    $     120.28  Rx
                                                                                                                                        Page 26 of 169




S-1/D    Nicholas Lasso          Buena Vista Medical Services   15944 11/4/2019     $    46.98 $        56.38    $     156.60  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15945 11/4/2019     $    36.08 $        43.30    $     120.28  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15946 10/1/2019     $    36.08 $        43.30    $     120.28  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15948    9/3/2019   $    39.79 $        47.75    $     132.64  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15950    7/3/2019   $    34.81 $        41.77    $     116.04  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15951    7/3/2019   $    35.32 $        42.38    $     117.72  Rx
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15952 10/1/2019     $    34.84 $        41.81    $     116.12  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15953 10/1/2019     $    39.79 $        47.75    $     132.64  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15954    9/3/2019   $    34.84 $        41.81    $     116.12  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   18977    6/1/2020   $    37.86 $        45.43    $     126.21  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   19775    6/1/2020   $    37.86 $        45.43    $     126.21  Rx
S-1/D    D.Hess Panah            Buena Vista Medical Services   16611 10/1/2019     $    36.14 $        43.37    $     120.48  Rx
S-1/D    D.Hess Panah            Buena Vista Medical Services   16613 10/1/2019     $    35.45 $        42.54    $     118.16  Rx
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S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   16514    2/4/2020   $    40.00 $        48.00    $     133.34  Rx
S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   16811    2/4/2020   $    37.70 $        45.24    $     125.67  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16162    6/3/2019   $    36.77 $        44.12    $     122.58  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16163    6/3/2019   $    33.65 $        40.38    $     112.16  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15887    9/3/2019   $    34.68 $        41.62    $     115.60  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15888    9/3/2019   $    34.90 $        41.88    $     116.32  Rx
                                                                                                                                        Doc 75-1




S-1/D    Christopher Henderson   Buena Vista Medical Services   15889    9/3/2019   $    34.79 $        41.75    $     115.96  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15890    9/3/2019   $    34.78 $        41.74    $     115.92  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   15891    9/3/2019   $    36.08 $        43.30    $     120.28  Rx
S-1?d    Brian Matlin            Buena Vista Medical Services   15663 12/3/2019     $   (45.10) $      (54.12)   $    (150.34) Rx
S-1/D    Brian Matlin            Buena Vista Medical Services   15665    2/4/2020   $    42.48 $        50.98    $     141.59  Rx
S-1/D    Brian Matlin            Buena Vista Medical Services   15667 11/4/2019     $    45.10 $        54.12    $     150.34  Rx
S-1/D    Brian Matlin            Buena Vista Medical Services   15668 11/4/2019     $    30.04 $        36.05    $     100.14  Rx
S-1/D    Brian Matlin            Buena Vista Medical Services   18192    5/5/2020   $    26.87 $        32.24    $      89.56  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15541    1/3/2020   $    27.59 $        33.11    $      91.97  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15543 12/3/2019     $    27.59 $        33.11    $      91.97  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15545 12/3/2019     $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15547    2/4/2020   $    27.59 $        33.11    $      91.97  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15548    2/4/2020   $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15549    1/3/2020   $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15551 11/4/2019     $    35.68 $        42.82    $     118.92  Rx
                                                                                                                                        Entered 04/29/22 00:00:58




S-1/D    Nicholas Lasso          Buena Vista Medical Services   15553 10/1/2019     $    34.64 $        41.57    $     115.48  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15555    9/3/2019   $    34.80 $        41.76    $     116.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15557    8/2/2019   $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15559 10/1/2019     $    34.64 $        41.57    $     115.48  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15561 10/1/2019     $    34.90 $        41.88    $     116.32  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15562 10/1/2019     $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   17757    4/3/2020   $    35.68 $        42.82    $     118.92  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   17758    4/3/2020   $    27.59 $        33.11    $      91.97  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   24465               $    38.86 $        46.63    $     129.54  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16565    8/2/2019   $    35.46 $        42.55    $     118.20  Rx
                                                                                                                                        Page 27 of 169




S-1/D    Nicholas Lasso          Buena Vista Medical Services   16566    8/2/2019   $    36.30 $        43.56    $     121.00  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16657    7/3/2019   $    35.36 $        42.43    $     117.88  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16658    7/3/2019   $    36.23 $        43.48    $     120.76  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   18185    5/5/2020   $    54.59 $        65.51    $     181.96  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   18186    5/5/2020   $    63.58 $        76.30    $     211.95  Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   18187    5/5/2020   $    46.05 $        55.26    $     153.50  Rx
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List of Receivables for Series-1/Intake D
                                                                                          Receivables
Intake   Lawyer               Provider                       BillId   Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Morgan Fashchti      Buena Vista Medical Services   16519      2/4/2020   $    38.11 $        45.73    $     127.03  Rx
S-1/D    Morgan Fashchti      Buena Vista Medical Services   16520      2/4/2020   $    37.00 $        44.40    $     123.35  Rx
S-1/D    Peter Ross           Ensign Legal Support           8297      9/24/2018   $    28.75 $        34.50    $      43.12  MR
S-1/D    Peter Ross           Ensign Legal Support           8298      9/24/2018   $ 103.51 $         124.21    $     155.26  MR
S-1/D    Peter Ross           Ensign Legal Support           8299      9/24/2018   $ 394.58 $         473.50    $     591.87  MR
S-1/D    Salar Hendizadeh     Buena Vista Medical Services   24427                 $ 128.33 $         154.00    $     427.77  Rx
S-1/D    Salar Hendizadeh     Buena Vista Medical Services   24428                 $    39.31 $        47.17    $     131.02  Rx
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S-1/D    Daniel Del Rio       Ensign Legal Support           7008     10/12/2017   $    40.50 $        48.60    $      81.00  MR
S-1/D    Daniel Del Rio       Med R                           7120     9/13/2017   $ 100.65 $         120.78    $     201.30  MR
S-1/D    Daniel Del Rio       Med R                           7121     9/13/2017   $    57.00 $        68.40    $     114.00  MR
S-1/D    Daniel Del Rio       Med R                           7122     9/13/2017   $    48.60 $        58.32    $      97.20  MR
S-1/D    Daniel Del Rio       Med R                           7123     9/13/2017   $    77.52 $        93.02    $     155.04  MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7058     8/13/2017   $    66.25 $        79.50    $     132.50  MR
                                                                                                                                                Doc 75-1




S-1/D    Daniel Del Rio       Ensign Legal Support            7059     8/13/2017   $    47.00 $        56.40    $      94.00  MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7061     8/13/2017   $    51.25 $        61.50    $     102.50  MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7062     8/13/2017   $    52.50 $        63.00    $     105.00  MR
S-1/D    Daniel Del Rio       Ensign Legal Support           7023     10/12/2017   $    57.75 $        69.30    $     115.50  MR
S-1/D    Daniel Del Rio       Ensign Legal Support           6963     12/10/2017   $    66.25 $        79.50    $     132.50  MR
S-1/D    Daniel Del Rio       Ensign Legal Support           6964     12/10/2017   $    48.75 $        58.50    $      97.50  MR
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16056     4/30/2019   $    48.85 $        58.62    $     162.82  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16057     4/30/2019   $    46.27 $        55.52    $     154.24  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15428      1/3/2020   $    32.16 $        38.59    $     107.21  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15430      2/4/2020   $    47.92 $        57.50    $     159.74  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15432     12/3/2019   $    49.12 $        58.94    $     163.73  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15434     12/3/2019   $    47.92 $        57.50    $     159.74  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   16830      2/4/2020   $    37.77 $        45.32    $     125.89  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   17019                 $    47.92 $        57.50    $     159.74  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   17167                 $   (47.92) $      (57.50)   $    (159.74) Rx
                                                                                                                                                Entered 04/29/22 00:00:58




S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   17168      3/4/2020   $    47.92 $        57.50    $     159.74  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18182      5/5/2020   $    47.20 $        56.64    $     157.34  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   19782      6/1/2020   $    47.20 $        56.64    $     157.34  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   19783      6/1/2020   $    61.95 $        74.34    $     206.50  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   19784      6/1/2020   $    47.92 $        57.50    $     159.74  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18079      5/5/2020   $    29.14 $        34.97    $      97.12  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18080      5/5/2020   $    72.50 $        87.00    $     241.68  Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18974      6/1/2020   $    47.20 $        56.64    $     157.34  Rx
S-1/D    W. Winston Briggs    Ensign Legal Support           9803      2/21/2019   $ 196.52 $         235.82    $     294.78  MR
S-1/D    Jonathan Broderick   Ensign Legal Support           10681     5/22/2019   $    89.41 $       107.29    $     178.82  MR
                                                                                                                                                Page 28 of 169




S-1/D    Jonathan Broderick   Ensign Legal Support           10683     5/22/2019   $    65.27 $        78.32    $     130.54  MR Missing Lien
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16124      6/3/2019   $    36.83 $        44.20    $     122.76  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16125      6/3/2019   $    39.35 $        47.22    $     131.16  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16126      6/3/2019   $    48.32 $        57.98    $     161.08  Rx
S-1/D    Daniel Del Rio       Keais;Ontellus                  8380     9/20/2018   $ 4,030.60 $     4,836.72    $ 8,061.20    MR
S-1/D    James Grant          Ensign Legal Support           11400     8/15/2019   $    25.25 $        30.30    $      50.50  MR Missing Lien
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    James Grant             Ensign Legal Support           11406 8/15/2019     $    25.25 $        30.30   $     50.50   MR
S-1/D    Michael Shemtoub        Buena Vista Medical Services   17106    3/4/2020   $    37.68 $        45.22   $    125.59   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   17612    4/3/2020   $    26.39 $        31.67   $     87.96   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   17991    5/5/2020   $    49.16 $        58.99   $    163.86   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   17992    5/5/2020   $    53.01 $        63.61   $    176.69   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   19778    6/1/2020   $    84.16 $       100.99   $    280.52   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15602    1/3/2020   $    23.69 $        28.43   $     78.98   Rx
                                                                                                                                       Case 21-01167-abl




S-1/D    Nicholas Lasso          Buena Vista Medical Services   15604    2/4/2020   $    23.69 $        28.43   $     78.98   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15605    1/3/2020   $    23.97 $        28.76   $     79.91   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15606    1/3/2020   $    23.59 $        28.31   $     78.62   Rx
S-1/D    Richard Harris          Buena Vista Medical Services   16029    4/2/2019   $    31.82 $        38.18   $    106.08   Rx
S-1/D    Richard Harris          Buena Vista Medical Services   16030    4/2/2019   $    35.22 $        42.26   $    117.39   Rx
S-1/D    Richard Harris          Buena Vista Medical Services   16032    4/2/2019   $    41.66 $        49.99   $    138.88   Rx
                                                                                                                                       Doc 75-1




S-1/D    HagopJ. Bazerkanian     Buena Vista Medical Services   15640    2/4/2020   $   39.85 $         47.82   $    132.82   Rx
S-1/D    HagopJ. Bazerkanian     Buena Vista Medical Services   15642 12/3/2019     $   39.85 $         47.82   $    132.82   Rx
S-1/D    HagopJ. Bazerkanian     Buena Vista Medical Services   15644 11/4/2019     $   39.85 $         47.82   $    132.82   Rx
S-1/D    HagopJ. Bazerkanian     Buena Vista Medical Services   17024    3/4/2020   $   39.85 $         47.82   $    132.82   Rx
S-1/D    HagopJ. Bazerkanian     Buena Vista Medical Services   17098    3/4/2020   $   37.13 $         44.56   $    123.77   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16005    4/2/2019   $    32.06 $        38.47   $    106.86   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16006    4/2/2019   $    31.72 $        38.06   $    105.73   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16059 4/30/2019     $    31.82 $        38.18   $    106.08   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16061 4/30/2019     $    32.33 $        38.80   $    107.76   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16063    6/3/2019   $    32.96 $        39.55   $    109.86   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16064    6/3/2019   $    33.02 $        39.62   $    110.06   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16066 4/30/2019     $    36.60 $        43.92   $    121.99   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16068 4/30/2019     $    31.76 $        38.11   $    105.88   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16069 4/30/2019     $    32.75 $        39.30   $    109.16   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16070 4/30/2019     $    33.70 $        40.44   $    112.32   Rx
                                                                                                                                       Entered 04/29/22 00:00:58




S-1/D    Christopher Henderson   Buena Vista Medical Services   16071 4/30/2019     $    32.66 $        39.19   $    108.85   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15582    1/3/2020   $    33.01 $        39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15584    2/4/2020   $    16.85 $        20.22   $     56.17   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15585    2/4/2020   $    33.01 $        39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15586    1/3/2020   $    23.61 $        28.33   $     78.70   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15588 11/4/2019     $    33.01 $        39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15589 11/4/2019     $    88.33 $       106.00   $    294.44   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   15590    1/3/2020   $    15.72 $        18.86   $     52.40   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   17027    3/4/2020   $    36.73 $        44.08   $    122.44   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   17101    3/4/2020   $    33.01 $        39.61   $    110.03   Rx
                                                                                                                                       Page 29 of 169




S-1/D    Matthew Hoffman         Buena Vista Medical Services   17375    4/3/2020   $    36.73 $        44.08   $    122.44   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   17464    4/3/2020   $    33.01 $        39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   18070    5/5/2020   $    36.73 $        44.08   $    122.44   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   18980    6/1/2020   $    36.73 $        44.08   $    122.44   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   18981    6/1/2020   $    33.01 $        39.61   $    110.03   Rx
S-1/D    Matthew Hoffman         Buena Vista Medical Services   19558    6/1/2020   $    23.61 $        28.33   $     78.70   Rx
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List of Receivables for Series-1/Intake D
                                                                                         Receivables
Intake   Lawyer               Provider                        BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Matthew Hoffman      Buena Vista Medical Services   21271     7/2/2020   $    36.73 $        44.08    $     122.44  Rx
S-1/D    Matthew Hoffman      Buena Vista Medical Services   21272     7/2/2020   $    33.01 $        39.61    $     110.03  Rx
S-1/D    Matthew Hoffman      Buena Vista Medical Services   23962                $    36.73 $        44.08    $     122.44  Rx
S-1/D    Matthew Hoffman      Buena Vista Medical Services   24419                $    33.01 $        39.61    $     110.03  Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   24476                $    51.36 $        61.63    $     171.19  Rx
S-1/D    Jacob Emrani         Buena Vista Medical Services   18137     5/5/2020   $    29.60 $        35.52    $      98.67  Rx
S-1/D    Jacob Emrani         Buena Vista Medical Services   18180     5/5/2020   $    41.67 $        50.00    $     138.89  Rx
                                                                                                                                               Case 21-01167-abl




S-1/D    Jacob Emrani         Buena Vista Medical Services   19549     6/1/2020   $    29.60 $        35.52    $      98.67  Rx
S-1/D    Jacob Emrani         Buena Vista Medical Services   22735     7/2/2020   $    41.46 $        49.75    $     138.19  Rx
S-1/D    Jacob Emrani         Buena Vista Medical Services   22736     7/2/2020   $    38.42 $        46.10    $     128.07  Rx
S-1/D    Arash Khorsandi      Buena Vista Medical Services   16599 11/4/2019      $    34.85 $        41.82    $     116.16  Rx
S-1/D    Kevin Danesh         Buena Vista Medical Services   15921                $   (36.59) $      (43.91)   $    (121.96) Rx
S-1/D    Kevin Danesh         Buena Vista Medical Services   15923                $    36.59 $        43.91    $     121.96  Rx
                                                                                                                                               Doc 75-1




S-1/D    Kevin Danesh         Buena Vista Medical Services   15925 10/1/2019      $    36.59 $        43.91    $     121.96  Rx
S-1/D    Jonathan Broderick   Ensign Legal Support           10685 5/22/2019      $    58.01 $        69.61    $     116.02  MR
S-1/D    Nancy Bernstein      Buena Vista Medical Services   19561     6/1/2020   $    56.30 $        67.56    $     187.66  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   19562     6/1/2020   $    42.82 $        51.38    $     142.73  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   20361     6/1/2020   $    56.30 $        67.56    $     187.66  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   20362     6/1/2020   $    42.82 $        51.38    $     142.73  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   23833     7/2/2020   $    42.82 $        51.38    $     142.73  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   23834     7/2/2020   $    56.30 $        67.56    $     187.66  Rx
S-1/D    Daniel Del Rio       Ensign Legal Support            6061 12/10/2017     $    57.10 $        68.52    $     114.20  MR Missing Lien
S-1/D    Daniel Del Rio       Ensign Legal Support            6941 11/15/2017     $    41.75 $        50.10    $      83.50  MR
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16039 4/30/2019      $    31.64 $        37.97    $     105.46  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16041     6/3/2019   $    55.86 $        67.03    $     186.19  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16043     4/2/2019   $    31.65 $        37.98    $     105.50  Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16044     4/2/2019   $    31.68 $        38.02    $     105.61  Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17474     4/3/2020   $    54.43 $        65.32    $     181.44  Rx
                                                                                                                                               Entered 04/29/22 00:00:58




S-1/D    Michael Shemtoub     Buena Vista Medical Services   18057     5/5/2020   $    54.43 $        65.32    $     181.44  Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18125     5/5/2020   $    27.46 $        32.95    $      91.53  Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18126     5/5/2020   $    23.09 $        27.71    $      76.96  Rx
S-1/D    Kevin Danesh         Buena Vista Medical Services   17091     3/4/2020   $    37.90 $        45.48    $     126.35  Rx
S-1/D    Kevin Danesh         Buena Vista Medical Services   17092     3/4/2020   $    37.61 $        45.13    $     125.36  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   18142     5/5/2020   $    43.31 $        51.97    $     144.38  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   18985     6/1/2020   $    47.95 $        57.54    $     159.84  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   21276     7/2/2020   $    43.31 $        51.97    $     144.38  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   21277     7/2/2020   $    47.95 $        57.54    $     159.84  Rx
S-1/D    Nancy Bernstein      Buena Vista Medical Services   23963                $    47.95 $        57.54    $     159.84  Rx
                                                                                                                                               Page 30 of 169




S-1/D    Nancy Bernstein      Buena Vista Medical Services   24420                $    45.03 $        54.04    $     150.10  Rx
S-1/D    Neal Howard          Ensign Legal Support            7598     7/1/2018   $    40.25 $        48.30    $      80.50  MR
S-1/D    Neal Howard          Ensign Legal Support            7599     7/1/2018   $    42.75 $        51.30    $      85.50  MR
S-1/D    Neal Howard          David-Preferred Non-Emergency T 7672    7/12/2018   $ 315.00 $         378.00    $     472.50  MR
S-1/D    Neal Howard          Ensign Legal Support            7702    8/26/2018   $ 147.46 $         176.95    $     221.19  MR
S-1/D    Neal Howard          Ensign Legal Support            7766    8/26/2018   $    42.35 $        50.82    $      63.52  MR
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List of Receivables for Series-1/Intake D
                                                                                             Receivables
Intake   Lawyer            Provider                            BillId   Date Paid    Purch Price       Cost       GFB Amount Fund Type
S-1/D    Neal Howard       Ensign Legal Support                 7768     8/26/2018   $     25.25 $        30.30   $     37.87   MR
S-1/D    Neal Howard       Ensign Legal Support                 7770     8/26/2018   $     25.25 $        30.30   $     37.87   MR
S-1/D    Neal Howard       Ensign Legal Support                 7772     8/26/2018   $     25.25 $        30.30   $     37.88   MR
S-1/D    Neal Howard       Ensign Legal Support                 7810     8/26/2018   $     50.50 $        60.60   $     75.75   MR Missing Lien
S-1/D    Neal Howard       Ensign Legal Support                 7856     8/12/2018   $     58.26 $        69.91   $    116.52   MR
S-1/D    Neal Howard       Ensign Legal Support                 8324     9/24/2018   $     45.50 $        54.60   $     91.00   MR Missing Lien
S-1/D    Neal Howard       Buena Vista Medical Services        15352     9/17/2018   $     28.54 $        34.25   $     95.14   Rx
                                                                                                                                                  Case 21-01167-abl




S-1/D    Nancy Bernstein   Buena Vista Medical Services        17466      4/3/2020   $     48.34 $        58.01   $    161.13   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services        17467      4/3/2020   $     40.14 $        48.17   $    133.80   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services        18071      5/5/2020   $     37.53 $        45.04   $    125.10   Rx
S-1/D    Nancy Bernstein   Buena Vista Medical Services        18072      5/5/2020   $     48.34 $        58.01   $    161.13   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services        15596      1/3/2020   $     44.33 $        53.20   $    147.78   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services        15597      1/3/2020   $     33.65 $        40.38   $    112.18   Rx
                                                                                                                                                  Doc 75-1




S-1/D    Nicholas Lasso    Buena Vista Medical Services        15599     12/3/2019   $     44.33 $        53.20   $    147.78   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services        15600     12/3/2019   $     33.65 $        40.38   $    112.18   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services        16914      3/4/2020   $     33.65 $        40.38   $    112.18   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services        16915      3/4/2020   $     44.33 $        53.20   $    147.78   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services        18073      5/5/2020   $     33.65 $        40.38   $    112.18   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services        18074      5/5/2020   $     44.33 $        53.20   $    147.78   Rx
S-1/D    Daniel Del Rio    Ensign Legal Support                 6631     1/10/2018   $     41.25 $        49.50   $     82.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support                 6834    12/22/2017   $     25.75 $        30.90   $     51.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support                 6912    12/10/2017   $     27.00 $        32.40   $     54.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support                 6913    12/10/2017   $     42.75 $        51.30   $     85.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support                 6914    12/10/2017   $     92.00 $       110.40   $    184.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support                 6915    12/10/2017   $     43.50 $        52.20   $     87.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support                 6916    12/10/2017   $     40.50 $        48.60   $     81.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support                 7043      5/6/2018   $     25.75 $        30.90   $     51.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support                 7044     4/11/2018   $     43.00 $        51.60   $     86.00   MR
                                                                                                                                                  Entered 04/29/22 00:00:58




S-1/D    Bryce Angell      North Dekalb Orthopedics PC           536     5/12/2015   $ 400.00 $          480.00   $ 1,000.00    MR
S-1/D    Bryce Angell      North Dekalb Orthopedics PC           537     6/26/2015   $ 217.36 $          260.83   $    600.00   MR
S-1/D    Bryce Angell      North Dekalb Orthopedics PC          538      6/26/2015   $ 4,841.04 $      5,809.25   $ 19,470.00   PI
S-1/D    Bryce Angell      Perimeter Surgery Center of Atlan     684     9/11/2015   $ 15,966.80 $ 19,160.16      $ 39,917.00   PI
S-1/D    Bryce Angell      North Dekalb Orthopedics PC           687     9/11/2015   $     58.02 $        69.62   $    212.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support                 6063      2/7/2018   $     75.50 $        90.60   $    151.00   MR
S-1/D    Neal Howard       Ensign Legal Support                 8376    10/29/2018   $ 108.83 $          130.60   $    163.25   MR
S-1/D    Neal Howard       Ensign Legal Support                 8405    10/29/2018   $ 202.17 $          242.60   $    303.26   MR
S-1/D    Neal Howard       Ensign Legal Support                 8483    10/29/2018   $ 193.71 $          232.45   $    290.57   MR
S-1/D    Neal Howard       Ensign Legal Support                 8493    10/29/2018   $     68.15 $        81.78   $    102.23   MR
                                                                                                                                                  Page 31 of 169




S-1/D    Neal Howard       Ensign Legal Support                 8546    10/29/2018   $     10.50 $        12.60   $     15.75   MR Missing Lien
S-1/D    Neal Howard       Ensign Legal Support                 8611     12/7/2018   $     42.25 $        50.70   $     63.38   MR
S-1/D    Neal Howard       Ensign Legal Support                 8675    10/29/2018   $     26.00 $        31.20   $     39.00   MR
S-1/D    Neal Howard       Ensign Legal Support                 8684    10/29/2018   $     25.00 $        30.00   $     25.00   MR
S-1/D    Neal Howard       Ensign Legal Support                 9034     12/7/2018   $     46.50 $        55.80   $     69.75   MR
S-1/D    D.Hess Panah      Buena Vista Medical Services        15618     12/3/2019   $ 104.96 $          125.95   $    349.85   Rx
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List of Receivables for Series-1/Intake D
                                                                                          Receivables
Intake   Lawyer                Provider                        BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    John Beals            Buena Vista Medical Services    15842    1/3/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    15844 12/3/2019     $    24.15 $        28.98    $      80.50  Rx
S-1/D    John Beals            Buena Vista Medical Services    15845 12/3/2019     $    23.95 $        28.74    $      79.83  Rx
S-1/D    John Beals            Buena Vista Medical Services    15846    1/3/2020   $    24.79 $        29.75    $      82.64  Rx
S-1/D    John Beals            Buena Vista Medical Services    16813    2/4/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    16814    2/4/2020   $    35.84 $        43.01    $     119.48  Rx
                                                                                                                                                                                                                       Case 21-01167-abl




S-1/D    John Beals            Buena Vista Medical Services    16815    1/3/2020   $    24.15 $        28.98    $      80.50  Rx
S-1/D    John Beals            Buena Vista Medical Services    16817 10/1/2019     $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    16818 10/1/2019     $    35.47 $        42.56    $     118.24  Rx
S-1/D    John Beals            Buena Vista Medical Services    16819 10/1/2019     $    36.05 $        43.26    $     120.16  Rx
S-1/D    John Beals            Buena Vista Medical Services    16821 11/4/2019     $    35.47 $        42.56    $     118.24  Rx
S-1/D    John Beals            Buena Vista Medical Services    16822 12/3/2019     $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    16823 11/4/2019     $    36.05 $        43.26    $     120.16  Rx
                                                                                                                                                                                                                       Doc 75-1




S-1/D    John Beals            Buena Vista Medical Services    16824 11/4/2019     $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    16826    2/4/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    17087    3/4/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    17088    3/4/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    17166    3/4/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    17456    4/3/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    17457    4/3/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    17754    4/3/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    18062    5/5/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    18063    5/5/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    18181    5/5/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    19779    6/1/2020   $    35.84 $        43.01    $     119.48  Rx
S-1/D    John Beals            Buena Vista Medical Services    19780    6/1/2020   $    39.35 $        47.22    $     131.18  Rx
S-1/D    John Beals            Buena Vista Medical Services    19781    6/1/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    23232    7/2/2020   $    39.35 $        47.22    $     131.18  Rx
                                                                                                                                                                                                                       Entered 04/29/22 00:00:58




S-1/D    John Beals            Buena Vista Medical Services    23233    7/2/2020   $    38.28 $        45.94    $     127.60  Rx
S-1/D    John Beals            Buena Vista Medical Services    23234    7/2/2020   $    35.84 $        43.01    $     119.48  Rx We have 31 invoices on the spreadsheet but now only 29 invoices in the patient file
S-1/D    John Beals            Buena Vista Medical Services    24463               $    35.84 $        43.01    $     119.48  Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services    15499    2/4/2020   $    76.00 $        91.20    $     253.35  Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services    15500    2/4/2020   $    51.34 $        61.61    $     171.15  Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services    15502    1/3/2020   $    31.09 $        37.31    $     103.62  Rx
S-1/D    Daniel Del Rio        Ace Imaging Technologies Inc.   3865    6/15/2017   $ 258.09 $         309.71    $     516.18  MR
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services    16795 10/1/2019     $    39.32 $        47.18    $     131.08  Rx
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services    16796 10/1/2019     $    64.68 $        77.62    $     215.60  Rx
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services    16797 10/1/2019     $    94.02 $       112.82    $     313.40  Rx
                                                                                                                                                                                                                       Page 32 of 169




S-1/D    Nicholas Lasso        Buena Vista Medical Services    15821 11/4/2019     $   (35.76) $      (42.91)   $    (119.20) Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15823 10/1/2019     $    34.36 $        41.23    $     114.52  Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15824 11/4/2019     $   (34.36) $      (41.23)   $    (114.52) Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15825 11/4/2019     $    34.36 $        41.23    $     114.52  Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15826 11/4/2019     $    35.76 $        42.91    $     119.20  Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services    15827 10/1/2019     $    35.76 $        42.91    $     119.20  Rx
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                          Receivables
Intake   Lawyer               Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Nicholas Lasso       Buena Vista Medical Services   15829      8/2/2019   $    34.81 $        41.77   $    116.04   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   15830      8/2/2019   $    35.76 $        42.91   $    119.20   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   15832      9/3/2019   $    35.76 $        42.91   $    119.20   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   15834     10/1/2019   $    34.36 $        41.23   $    114.52   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   15835      9/3/2019   $    34.54 $        41.45   $    115.12   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17476      4/3/2020   $    56.59 $        67.91   $    188.62   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17477      4/3/2020   $    25.66 $        30.79   $     85.54   Rx
                                                                                                                                      Case 21-01167-abl




S-1/D    Michael Shemtoub     Buena Vista Medical Services   18975      6/1/2020   $    27.21 $        32.65   $     90.70   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18976      6/1/2020   $    56.59 $        67.91   $    188.62   Rx
S-1/D    Daniel Del Rio       Ensign Legal Support            6059    12/22/2017   $    31.50 $        37.80   $     63.00   MR
S-1/D    Daniel Del Rio       Ensign Legal Support            6060    12/10/2017   $    48.50 $        58.20   $     97.00   MR
S-1/D    Daniel Del Rio       Ensign Legal Support            6971    11/15/2017   $    55.00 $        66.00   $    110.00   MR
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16664     4/30/2019   $    34.35 $        41.22   $    114.50   Rx
                                                                                                                                      Doc 75-1




S-1/D    Nicholas Lasso       Buena Vista Medical Services   16665     4/30/2019   $    32.98 $        39.58   $    109.94   Rx
S-1/D    James Grant          Ensign Legal Support           11422     8/15/2019   $    54.47 $        65.36   $    108.94   MR
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16442      7/3/2019   $    36.29 $        43.55   $    120.96   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16443      7/3/2019   $    36.22 $        43.46   $    120.72   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16444      7/3/2019   $    35.05 $        42.06   $    116.84   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16199      8/2/2019   $    40.09 $        48.11   $    133.64   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16200      8/2/2019   $    35.06 $        42.07   $    116.88   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16202     10/1/2019   $    36.00 $        43.20   $    120.00   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16204      8/2/2019   $    36.00 $        43.20   $    120.00   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16206      6/3/2019   $    31.40 $        37.68   $    104.68   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16207      6/3/2019   $    32.09 $        38.51   $    106.98   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16209      7/3/2019   $    36.00 $        43.20   $    120.00   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16210      7/3/2019   $    35.05 $        42.06   $    116.84   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16522      7/3/2019   $    36.10 $        43.32   $    120.32   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   17608      4/3/2020   $   40.05 $         48.06   $    133.50   Rx
                                                                                                                                      Entered 04/29/22 00:00:58




S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   17609      4/3/2020   $   37.53 $         45.04   $    125.10   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   18058      5/5/2020   $   40.05 $         48.06   $    133.50   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   18059      5/5/2020   $   85.11 $        102.13   $    283.71   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   18060      5/5/2020   $   45.14 $         54.17   $    150.46   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   18061      5/5/2020   $   38.42 $         46.10   $    128.07   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   15374     11/4/2019   $    35.27 $        42.32   $    117.56   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   15376      2/4/2020   $   37.82 $         45.38   $    126.08   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   15377     11/4/2019   $    35.93 $        43.12   $    119.76   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   15378     11/4/2019   $    34.56 $        41.47   $    115.20   Rx
S-1/D    Jonathan Broderick   Ensign Legal Support           10687     5/22/2019   $    75.03 $        90.04   $    150.06   MR
                                                                                                                                      Page 33 of 169




S-1/D    Nicholas Lasso       Buena Vista Medical Services   16240     11/4/2019   $    31.46 $        37.75   $    104.87   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16241     11/4/2019   $    44.28 $        53.14   $    147.60   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16242     11/4/2019   $    36.94 $        44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16244      2/4/2020   $    44.28 $        53.14   $    147.60   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16246      1/3/2020   $    36.94 $        44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16248     12/3/2019   $    36.94 $        44.33   $    123.12   Rx
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer               Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16250    7/3/2019   $    36.94 $        44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16252    7/3/2019   $    36.94 $        44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16254    7/3/2019   $    35.86 $        43.03   $    119.52   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16256 10/1/2019     $    36.94 $        44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16258    9/3/2019   $    36.94 $        44.33   $    123.12   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16260    8/2/2019   $    36.94 $        44.33   $    123.12   Rx
S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   24478               $   24.41 $         29.29   $     81.36   Rx
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S-1/D    Farid Yaghoubtil     Buena Vista Medical Services   24479               $   26.84 $         32.21   $     89.45   Rx
S-1/D    Lawrence Ruiz        Buena Vista Medical Services   23972               $    37.53 $        45.04   $    125.10   Rx
S-1/D    Lawrence Ruiz        Buena Vista Medical Services   23974               $    76.97 $        92.36   $    256.57   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16769 12/3/2019     $    44.48 $        53.38   $    148.28   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16770 12/3/2019     $    44.46 $        53.35   $    148.21   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16772    1/3/2020   $    44.46 $        53.35   $    148.21   Rx
                                                                                                                                    Doc 75-1




S-1/D    Justin Weinrich      Buena Vista Medical Services   16773 12/3/2019     $    31.85 $        38.22   $    106.16   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16775 11/4/2019     $    44.46 $        53.35   $    148.21   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16777 11/4/2019     $    44.48 $        53.38   $    148.28   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16778 11/4/2019     $    44.78 $        53.74   $    149.26   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16779 11/4/2019     $    38.81 $        46.57   $    129.38   Rx
S-1/D    Justin Weinrich      Buena Vista Medical Services   16780 11/4/2019     $    31.85 $        38.22   $    106.16   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15514    2/4/2020   $    23.79 $        28.55   $     79.29   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   15516    1/3/2020   $    23.79 $        28.55   $     79.29   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   16908    3/4/2020   $    37.70 $        45.24   $    125.67   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   17089    3/4/2020   $    23.79 $        28.55   $     79.29   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18481    5/5/2020   $    23.79 $        28.55   $     79.29   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   18482    5/5/2020   $    37.70 $        45.24   $    125.67   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   20360    6/1/2020   $    23.79 $        28.55   $     79.29   Rx
S-1/D    Mauro Fiore Jr       Buena Vista Medical Services   23237    7/2/2020   $    45.79 $        54.95   $    152.63   Rx
S-1/D    Jonathan Broderick   ChartSquad                     13815 1/27/2020     $    55.00 $        66.00   $    120.00   MR
                                                                                                                                    Entered 04/29/22 00:00:58




S-1/D    Jonathan Broderick   ChartSquad                     14342 1/27/2020     $    51.50 $        61.80   $    120.00   MR
S-1/D    Jonathan Broderick   ChartSquad                     14343 1/27/2020     $    51.50 $        61.80   $    120.00   MR
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17011    3/4/2020   $    54.79 $        65.75   $    182.63   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17610    4/3/2020   $    54.79 $        65.75   $    182.63   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   17611    4/3/2020   $    49.05 $        58.86   $    163.50   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18127    5/5/2020   $    35.60 $        42.72   $    118.68   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18479    5/5/2020   $    37.53 $        45.04   $    125.10   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   18480    5/5/2020   $    49.05 $        58.86   $    163.50   Rx
S-1/D    Michael Shemtoub     Buena Vista Medical Services   20356    6/1/2020   $    57.74 $        69.29   $    192.46   Rx
S-1/D    Nicholas Lasso       Buena Vista Medical Services   16176 4/30/2019     $    38.04 $        45.65   $    126.79   Rx
                                                                                                                                    Page 34 of 169




S-1/D    Omid Khorshidi       Buena Vista Medical Services   16628 12/3/2019     $    16.26 $        19.51   $     54.20   Rx
S-1/D    Omid Khorshidi       Buena Vista Medical Services   16629 12/3/2019     $    16.32 $        19.58   $     54.40   Rx
S-1/D    Daniel Del Rio       Ensign Legal Support            6636    2/7/2018   $    53.00 $        63.60   $    106.00   MR
S-1/D    Daniel Del Rio       Ensign Legal Support            6780    3/1/2018   $    64.75 $        77.70   $    129.50   MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7040    5/6/2018   $    40.00 $        48.00   $     80.00   MR
S-1/D    Daniel Del Rio       Ensign Legal Support            7041   4/11/2018   $    45.50 $        54.60   $     91.00   MR
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List of Receivables for Series-1/Intake D
                                                                                         Receivables
Intake   Lawyer              Provider                       BillId   Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Daniel Del Rio      Ensign Legal Support            7042     4/11/2018   $    25.25 $        30.30    $     50.50   MR
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16170     4/30/2019   $    31.66 $        37.99    $    105.53   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16172     4/30/2019   $    31.74 $        38.09    $    105.81   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16173     4/30/2019   $    31.24 $        37.49    $    104.13   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16174     4/30/2019   $    32.51 $        39.01    $    108.38   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16435      7/3/2019   $    34.81 $        41.77    $    116.04   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16437     4/30/2019   $    31.74 $        38.09    $    105.81   Rx
                                                                                                                                      Case 21-01167-abl




S-1/D    Nicholas Lasso      Buena Vista Medical Services   16438     4/30/2019   $    32.98 $        39.58    $    109.94   Rx
S-1/D    Daniel Del Rio      Ensign Legal Support            5981    12/22/2017   $    41.50 $        49.80    $     83.00   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6844    12/22/2017   $    41.25 $        49.50    $     82.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6956    12/10/2017   $    47.25 $        56.70    $     94.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6958    12/10/2017   $    40.75 $        48.90    $     81.50   MR
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15610     12/3/2019   $    49.86 $        59.83    $    166.20   Rx
                                                                                                                                      Doc 75-1




S-1/D    Nicholas Lasso      Buena Vista Medical Services   15612      2/4/2020   $    43.32 $        51.98    $    144.40   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15613     12/3/2019   $    43.32 $        51.98    $    144.40   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15615     10/1/2019   $    49.86 $        59.83    $    166.20   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15616     10/1/2019   $    43.32 $        51.98    $    144.40   Rx
S-1/D    Daniel Del Rio      Ensign Legal Support            6058    12/10/2017   $    45.00 $        54.00    $     90.00   MR
S-1/D    CORY HILTON         Buena Vista Medical Services   15341      1/3/2020   $    25.48 $        30.58    $     84.94   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   15343      1/3/2020   $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   15345     12/3/2019   $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   15346     12/3/2019   $    25.48 $        30.58    $     84.94   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   16836      2/4/2020   $    37.71 $        45.25    $    125.70   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17103      3/4/2020   $    38.36 $        46.03    $    127.87   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17104                 $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17177      3/4/2020   $    25.48 $        30.58    $     84.94   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17302                 $   (19.80) $      (23.76)   $    (66.00)  Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17303      3/4/2020   $    19.80 $        23.76    $     66.00   Rx
                                                                                                                                      Entered 04/29/22 00:00:58




S-1/D    CORY HILTON         Buena Vista Medical Services   17619      4/3/2020   $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   17620      4/3/2020   $    76.22 $        91.46    $    255.74   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   18132                 $    19.80 $        23.76    $     66.00   Rx
S-1/D    CORY HILTON         Buena Vista Medical Services   18483                 $   (19.80) $      (23.76)   $    (66.00)  Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   17488      4/3/2020   $    54.59 $        65.51    $    181.96   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   17489      4/3/2020   $    39.37 $        47.24    $    131.22   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   19565      6/1/2020   $    39.37 $        47.24    $    131.22   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   19566      6/1/2020   $    53.58 $        64.30    $    178.61   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   22740      7/2/2020   $    53.58 $        64.30    $    178.61   Rx
S-1/D    Daniel Del Rio      US Legal Support Inc.           6530    11/15/2017   $ 121.41 $         145.69    $    242.82   MR
                                                                                                                                      Page 35 of 169




S-1/D    Daniel Del Rio      US Legal Support Inc.           6532    11/15/2017   $    85.69 $       102.83    $    171.38   MR
S-1/D    Daniel Del Rio      US Legal Support Inc.           6538    11/15/2017   $ 107.67 $         129.20    $    215.34   MR
S-1/D    Daniel Del Rio      US Legal Support Inc.           6539    11/15/2017   $    87.06 $       104.47    $    174.12   MR
S-1/D    Daniel Del Rio      US Legal Support Inc.           6541    12/10/2017   $ 194.03 $         232.84    $    388.06   MR
S-1/D    Daniel Del Rio      US Legal Support Inc.           6542    12/10/2017   $    77.00 $        92.40    $    154.00   MR
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16633     12/3/2019   $    27.59 $        33.11    $     91.97   Rx
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                         Receivables
Intake   Lawyer              Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Hamed Yazdanpanah   Buena Vista Medical Services   16635     12/3/2019   $   27.59 $         33.11   $     91.97   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   15402      2/4/2020   $    24.29 $        29.15   $     80.96   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   15403      2/4/2020   $    17.22 $        20.66   $     57.40   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   15405      1/3/2020   $    17.22 $        20.66   $     57.40   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   15406      1/3/2020   $    24.29 $        29.15   $     80.96   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   17025      3/4/2020   $    17.22 $        20.66   $     57.40   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   17026      3/4/2020   $    24.29 $        29.15   $     80.96   Rx
                                                                                                                                     Case 21-01167-abl




S-1/D    Brian Matlin        Buena Vista Medical Services   17462      4/3/2020   $    17.22 $        20.66   $     57.40   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   17463      4/3/2020   $    24.29 $        29.15   $     80.96   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   18068      5/5/2020   $    76.53 $        91.84   $    255.09   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   18069      5/5/2020   $    58.59 $        70.31   $    195.29   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   19557      6/1/2020   $    76.53 $        91.84   $    255.09   Rx
S-1/D    Brian Matlin        Buena Vista Medical Services   23238      7/2/2020   $    76.53 $        91.84   $    255.09   Rx
                                                                                                                                     Doc 75-1




S-1/D    Omid Khorshidi      Buena Vista Medical Services   17169      3/4/2020   $   36.56 $         43.87   $    121.87   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17170      3/4/2020   $   37.08 $         44.50   $    123.61   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17171      3/4/2020   $   37.10 $         44.52   $    123.65   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17614      4/3/2020   $   37.08 $         44.50   $    123.61   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17615      4/3/2020   $   37.10 $         44.52   $    123.65   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   17616      4/3/2020   $   36.56 $         43.87   $    121.87   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   18189      5/5/2020   $   37.08 $         44.50   $    123.61   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   18190      5/5/2020   $   37.10 $         44.52   $    123.65   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   18191      5/5/2020   $   36.56 $         43.87   $    121.87   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   19789      6/1/2020   $   37.10 $         44.52   $    123.65   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   19790      6/1/2020   $   36.56 $         43.87   $    121.87   Rx
S-1/D    Omid Khorshidi      Buena Vista Medical Services   19791      6/1/2020   $   37.08 $         44.50   $    123.61   Rx
S-1/D    Daniel Del Rio      Compex                          6307    12/10/2017   $    64.80 $        77.76   $    129.60   MR
S-1/D    Daniel Del Rio      Compex                          6309    12/10/2017   $    65.20 $        78.24   $    130.40   MR
S-1/D    Daniel Del Rio      Compex                          6311    12/22/2017   $    76.00 $        91.20   $    152.00   MR
                                                                                                                                     Entered 04/29/22 00:00:58




S-1/D    Daniel Del Rio      Compex                          6343      2/7/2018   $    79.20 $        95.04   $    158.40   MR
S-1/D    Daniel Del Rio      Compex                          6344      2/7/2018   $    81.20 $        97.44   $    162.40   MR
S-1/D    Daniel Del Rio      Compex                          6345      2/7/2018   $ 105.20 $         126.24   $    210.40   MR
S-1/D    Daniel Del Rio      Compex                          6346      2/7/2018   $ 259.20 $         311.04   $    518.40   MR
S-1/D    Daniel Del Rio      Compex                          6347      2/7/2018   $    68.80 $        82.56   $    137.60   MR
S-1/D    Daniel Del Rio      Compex                          6348      2/7/2018   $    68.80 $        82.56   $    137.60   MR
S-1/D    Daniel Del Rio      Compex                          6349      2/7/2018   $ 165.60 $         198.72   $    331.20   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6024    10/12/2017   $    50.00 $        60.00   $    100.00   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7013     9/13/2017   $    40.75 $        48.90   $     81.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7014    10/12/2017   $    40.50 $        48.60   $     81.00   MR
                                                                                                                                     Page 36 of 169




S-1/D    Daniel Del Rio      Ensign Legal Support            7009    10/12/2017   $    40.75 $        48.90   $     81.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7010     9/13/2017   $    41.25 $        49.50   $     82.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7011     9/13/2017   $    52.25 $        62.70   $    104.50   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            7012     9/13/2017   $    51.00 $        61.20   $    102.00   MR
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15732      2/4/2020   $   37.72 $         45.26   $    125.74   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15733      2/4/2020   $   40.65 $         48.78   $    135.51   Rx
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                      Receivables
Intake   Lawyer             Provider                       BillId   Date Paid  Purch Price      Cost        GFB Amount Fund Type
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15734      2/4/2020 $    36.98 $        44.38    $     123.27  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15736     12/3/2019 $    20.34 $        24.41    $      67.80  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15738      2/4/2020 $    37.47 $        44.96    $     124.91  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17093               $    36.98 $        44.38    $     123.27  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17094               $    40.65 $        48.78    $     135.51  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17172               $   (36.98) $      (44.38)   $    (123.27) Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17173               $   (40.65) $      (48.78)   $    (135.51) Rx
                                                                                                                                   Case 21-01167-abl




S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24414               $    69.53 $        83.44    $     231.76  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24415               $    20.08 $        24.10    $      66.92  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24416               $    37.47 $        44.96    $     124.91  Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16111      7/3/2019 $    35.14 $        42.17    $     117.12  Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16112      7/3/2019 $    34.90 $        41.88    $     116.32  Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16114      6/3/2019 $    34.91 $        41.89    $     116.36  Rx
                                                                                                                                   Doc 75-1




S-1/D    Richard Harris     Buena Vista Medical Services   16115      6/3/2019 $    34.88 $        41.86    $     116.28  Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16116      6/3/2019 $    36.56 $        43.87    $     121.88  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   17479      4/3/2020 $    28.88 $        34.66    $      96.25  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   17480      4/3/2020 $    51.96 $        62.35    $     173.19  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   17481      4/3/2020 $    29.67 $        35.60    $      98.91  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   24474               $    28.16 $        33.79    $      93.86  Rx
S-1/D    D.Hess Panah       Buena Vista Medical Services   16220      8/2/2019 $    34.86 $        41.83    $     116.20  Rx
S-1/D    D.Hess Panah       Buena Vista Medical Services   16222      8/2/2019 $    34.54 $        41.45    $     115.12  Rx
S-1/D    Daniel Del Rio     Compex                          6286     8/13/2017 $    99.60 $       119.52    $     199.20  MR
S-1/D    Daniel Del Rio     Compex                          6287     8/13/2017 $ 108.00 $         129.60    $     216.00  MR
S-1/D    Daniel Del Rio     Compex                          6288     8/13/2017 $ 106.40 $         127.68    $     212.80  MR
S-1/D    Daniel Del Rio     Compex                          6289     8/13/2017 $ 109.60 $         131.52    $     219.20  MR
S-1/D    Daniel Del Rio     Compex                          6290     8/13/2017 $ 136.40 $         163.68    $     272.80  MR
S-1/D    Daniel Del Rio     Compex                          6291     8/13/2017 $ 106.00 $         127.20    $     212.00  MR
S-1/D    Daniel Del Rio     Compex                          6292     8/13/2017 $ 115.20 $         138.24    $     230.40  MR
                                                                                                                                   Entered 04/29/22 00:00:58




S-1/D    Daniel Del Rio     Compex                          6336    12/22/2017 $    61.20 $        73.44    $     122.40  MR
S-1/D    Daniel Del Rio     Compex                          6337    12/22/2017 $ 117.60 $         141.12    $     235.20  MR
S-1/D    Daniel Del Rio     Compex                          6338    12/22/2017 $    64.40 $        77.28    $     128.80  MR
S-1/D    Daniel Del Rio     Compex                          6340     1/10/2018 $    59.00 $        70.80    $     118.00  MR
S-1/D    Daniel Del Rio     Compex                          6355      3/1/2018 $    55.20 $        66.24    $     110.40  MR
S-1/D    Daniel Del Rio     Compex                          6404      4/5/2018 $ 181.46 $         217.75    $     362.92  MR
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15386      1/3/2020 $    23.41 $        28.09    $      78.04  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15388      2/4/2020 $    37.89 $        45.47    $     126.31  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15390     12/3/2019 $    41.01 $        49.21    $     136.69  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15392      8/2/2019 $    34.90 $        41.88    $     116.32  Rx
                                                                                                                                   Page 37 of 169




S-1/D    Nicholas Lasso     Buena Vista Medical Services   15394     11/4/2019 $    41.01 $        49.21    $     136.69  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16910      3/4/2020 $    34.90 $        41.88    $     116.32  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   17461      4/3/2020 $    37.00 $        44.40    $     123.34  Rx
S-1/D    Alex Simanovsky    Ensign Legal Support            7112      5/6/2018 $    65.70 $        78.84    $     131.40  MR
S-1/D    Alex Simanovsky    Ensign Legal Support            7117      5/6/2018 $    86.08 $       103.30    $     172.16  MR
S-1/D    Alex Simanovsky    Ensign Legal Support            7118      5/6/2018 $    86.33 $       103.60    $     172.66  MR
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                       Receivables
Intake   Lawyer            Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Alex Simanovsky   Ensign Legal Support           7146       5/6/2018   $    83.57 $       100.28   $    167.14   MR
S-1/D    Alex Simanovsky   Ensign Legal Support           7203      5/13/2018   $ 131.26 $         157.51   $    262.52   MR
S-1/D    Alex Simanovsky   Ensign Legal Support           7387       6/6/2018   $    40.50 $        48.60   $     81.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support           6646       2/7/2018   $    40.25 $        48.30   $     80.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support           7006     10/31/2017   $    25.25 $        30.30   $     50.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support           7007     10/31/2017   $    25.25 $        30.30   $     50.50   MR
S-1/D    Daniel Del Rio    Ensign Legal Support           6026       2/7/2018   $    28.25 $        33.90   $     56.50   MR
                                                                                                                                                                                             Case 21-01167-abl




S-1/D    Daniel Del Rio    Ensign Legal Support           6027     10/12/2017   $    46.50 $        55.80   $     93.00   MR
S-1/D    Daniel Del Rio    Ensign Legal Support           6562      1/10/2018   $    53.00 $        63.60   $    106.00   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7168      2/22/2017   $    89.62 $       107.54   $    179.24   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7169      2/22/2017   $    50.33 $        60.40   $    100.66   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7170      2/22/2017   $    99.85 $       119.82   $    199.70   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7172      2/22/2017   $    52.65 $        63.18   $    105.30   MR Appear to be extra invoices in folder that not on spreadsheet
                                                                                                                                                                                             Doc 75-1




S-1/D    Daniel Del Rio    Appleby & Co. Inc              7174      2/22/2017   $    71.79 $        86.15   $    143.58   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7175      2/22/2017   $    72.12 $        86.54   $    144.24   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7176      2/22/2017   $    60.24 $        72.29   $    120.48   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7177      2/22/2017   $ 497.28 $         596.74   $    994.56   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7178      2/22/2017   $    55.62 $        66.74   $    111.24   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7179      2/22/2017   $    50.66 $        60.79   $    101.32   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7180      2/22/2017   $    73.44 $        88.13   $    146.88   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7181      2/22/2017   $    50.33 $        60.40   $    100.66   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7182      2/22/2017   $    50.66 $        60.79   $    101.32   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7183      2/22/2017   $    92.92 $       111.50   $    185.84   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7184      2/22/2017   $    54.63 $        65.56   $    109.26   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7185      2/22/2017   $    52.32 $        62.78   $    104.64   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7186      2/22/2017   $    50.99 $        61.19   $    101.98   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7187      2/22/2017   $ 143.75 $         172.50   $    287.50   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7188      3/21/2017   $    54.63 $        65.56   $    109.26   MR
                                                                                                                                                                                             Entered 04/29/22 00:00:58




S-1/D    Daniel Del Rio    Appleby & Co. Inc              7189      3/31/2017   $    64.53 $        77.44   $    129.06   MR
S-1/D    Daniel Del Rio    Appleby & Co. Inc              7190      3/31/2017   $    96.22 $       115.46   $    192.44   MR
S-1/D    David Menocal     Buena Vista Medical Services   15968     10/1/2019   $    35.70 $        42.84   $    119.00   Rx
S-1/D    David Menocal     Buena Vista Medical Services   15970     10/1/2019   $    36.00 $        43.20   $    120.00   Rx
S-1/D    David Menocal     Buena Vista Medical Services   15972     10/1/2019   $    34.82 $        41.78   $    116.08   Rx
S-1/D    David Menocal     Buena Vista Medical Services   15974      8/2/2019   $    36.00 $        43.20   $    120.00   Rx
S-1/D    David Menocal     Buena Vista Medical Services   15975      8/2/2019   $    34.60 $        41.52   $    115.32   Rx
S-1/D    David Menocal     Buena Vista Medical Services   15977      9/3/2019   $    36.00 $        43.20   $    120.00   Rx
S-1/D    David Menocal     Buena Vista Medical Services   16911      3/4/2020   $    18.02 $        21.62   $     60.08   Rx
S-1/D    David Menocal     Buena Vista Medical Services   16912      3/4/2020   $    37.89 $        45.47   $    126.31   Rx
                                                                                                                                                                                             Page 38 of 169




S-1/D    David Menocal     Buena Vista Medical Services   16913      3/4/2020   $    36.57 $        43.88   $    121.90   Rx
S-1/D    David Menocal     Buena Vista Medical Services   17099      3/4/2020   $    16.30 $        19.56   $     54.33   Rx
S-1/D    David Menocal     Buena Vista Medical Services   17174      3/4/2020   $    35.70 $        42.84   $    119.00   Rx
S-1/D    David Menocal     Buena Vista Medical Services   17300      3/4/2020   $    43.44 $        52.13   $    144.79   Rx
S-1/D    David Menocal     Buena Vista Medical Services   17374      4/3/2020   $    48.40 $        58.08   $    161.32   Rx
S-1/D    David Menocal     Buena Vista Medical Services   18128      5/5/2020   $ 105.54 $         126.65   $    351.80   Rx
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                      Receivables
Intake   Lawyer             Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    David Menocal      Buena Vista Medical Services   18129    5/5/2020   $    70.46 $        84.55    $    234.88   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16719 11/4/2019     $    36.23 $        43.48    $    120.78   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16720 11/4/2019     $    44.62 $        53.54    $    148.75   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16721 11/4/2019     $    38.17 $        45.80    $    127.23   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16454 11/4/2019     $ 102.72 $         123.26    $    342.40   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16456 12/3/2019     $ 102.72 $         123.26    $    342.40   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16458    8/2/2019   $    37.52 $        45.02    $    125.08   Rx
                                                                                                                                   Case 21-01167-abl




S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16459    8/2/2019   $    36.47 $        43.76    $    121.56   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16604 11/4/2019     $    36.91 $        44.29    $    123.04   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16606 10/1/2019     $    36.91 $        44.29    $    123.04   Rx
S-1/D    James Grant        Ensign Legal Support           11420 8/15/2019     $    25.25 $        30.30    $     50.50   MR
S-1/D    CORY HILTON        Buena Vista Medical Services   18015    5/5/2020   $    24.33 $        29.20    $     81.10   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18016    5/5/2020   $    53.71 $        64.45    $    179.04   Rx
                                                                                                                                   Doc 75-1




S-1/D    CORY HILTON        Buena Vista Medical Services   18017    5/5/2020   $    19.53 $        23.44    $     65.09   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16109    6/3/2019   $    36.01 $        43.21    $    120.04   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18493    5/5/2020   $    38.45 $        46.14    $    128.17   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   19793    6/1/2020   $    38.45 $        46.14    $    128.17   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   21274    7/2/2020   $    43.92 $        52.70    $    146.39   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   24466               $    54.10 $        64.92    $    180.35   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   24467               $ 103.06 $         123.67    $    343.52   Rx
S-1/D    Robin Saghian      Buena Vista Medical Services   16717 11/4/2019     $    27.59 $        33.11    $     91.97   Rx
S-1/D    John Ye            Buena Vista Medical Services   23823    7/2/2020   $    25.84 $        31.01    $     86.12   Rx
S-1/D    John Ye            Buena Vista Medical Services   23824    7/2/2020   $    27.04 $        32.45    $     90.12   Rx
S-1/D    John Ye            Buena Vista Medical Services   23957               $    27.04 $        32.45    $     90.12   Rx
S-1/D    John Ye            Buena Vista Medical Services   23958               $    58.94 $        70.73    $    196.47   Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6019 12/10/2017    $    41.50 $        49.80    $     83.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6950 12/10/2017    $    50.75 $        60.90    $    101.50   MR
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16524    8/2/2019   $    35.80 $        42.96    $    119.32   Rx
                                                                                                                                   Entered 04/29/22 00:00:58




S-1/D    Nicholas Lasso     Buena Vista Medical Services   16526    7/3/2019   $    34.78 $        41.74    $    115.92   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18139    5/5/2020   $    35.78 $        42.94    $    119.28   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18140    5/5/2020   $    42.82 $        51.38    $    142.73   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18484    5/5/2020   $    27.82 $        33.38    $     92.72   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18485    5/5/2020   $    25.19 $        30.23    $     83.96   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18982               $    24.65 $        29.58    $     82.18   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   18983    6/1/2020   $    35.78 $        42.94    $    119.28   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   19560               $   (24.65) $      (29.58)   $    (82.18)  Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   23831    7/2/2020   $    51.48 $        61.78    $    171.59   Rx
S-1/D    CORY HILTON        Buena Vista Medical Services   23832    7/2/2020   $    42.82 $        51.38    $    142.73   Rx
                                                                                                                                   Page 39 of 169




S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16485 12/3/2019     $    44.36 $        53.23    $    147.85   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16486 12/3/2019     $    31.07 $        37.28    $    103.58   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16488    2/4/2020   $    38.75 $        46.50    $    129.16   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16490 11/4/2019     $    45.21 $        54.25    $    150.70   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16491 11/4/2019     $    37.40 $        44.88    $    124.65   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16492 12/3/2019     $    62.44 $        74.93    $    208.15   Rx
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer             Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   16828      2/4/2020   $    36.78 $        44.14   $    122.59   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   22738      7/2/2020   $    31.94 $        38.33   $    106.47   Rx
S-1/D    Brittany Young     Buena Vista Medical Services   16640     10/1/2019   $    36.38 $        43.66   $    121.28   Rx
S-1/D    Brittany Young     Buena Vista Medical Services   16641     10/1/2019   $    35.35 $        42.42   $    117.84   Rx
S-1/D    Brittany Young     Buena Vista Medical Services   16643     10/1/2019   $    35.05 $        42.06   $    116.84   Rx
S-1/D    Brittany Young     Buena Vista Medical Services   16644     10/1/2019   $    38.38 $        46.06   $    127.92   Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   17368      4/3/2020   $    48.95 $        58.74   $    163.17   Rx
                                                                                                                                             Case 21-01167-abl




S-1/D    Nicholas Lasso     Buena Vista Medical Services   16335      9/3/2019   $    35.78 $        42.94   $    119.28   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16336      9/3/2019   $    35.08 $        42.10   $    116.92   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16332      9/3/2019   $    35.78 $        42.94   $    119.28   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16333      9/3/2019   $    35.08 $        42.10   $    116.92   Rx
S-1/D    Janice Strong      ChartSquad                     17907                 $    95.00 $       114.00   $    120.00   MR
S-1/D    Janice Strong      ChartSquad                     17908                 $    45.00 $        54.00   $    120.00   MR
                                                                                                                                             Doc 75-1




S-1/D    Janice Strong      ChartSquad                     18593                 $    51.50 $        61.80   $    120.00   MR
S-1/D    Janice Strong      ChartSquad                     23993                 $    82.52 $        99.02   $    120.00   MR
S-1/D    Matthew Hoffman    Buena Vista Medical Services   16502     11/4/2019   $    34.17 $        41.00   $    113.90   Rx
S-1/D    Matthew Hoffman    Buena Vista Medical Services   16504     12/3/2019   $    38.17 $        45.80   $    127.23   Rx
S-1/D    Matthew Hoffman    Buena Vista Medical Services   16505     11/4/2019   $    38.17 $        45.80   $    127.23   Rx
S-1/D    Matthew Hoffman    Buena Vista Medical Services   16507     10/1/2019   $    35.68 $        42.82   $    118.92   Rx
S-1/D    Matthew Hoffman    Buena Vista Medical Services   16508     10/1/2019   $    34.64 $        41.57   $    115.48   Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   16631     12/3/2019   $    20.16 $        24.19   $     67.20   Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6651      2/7/2018   $    25.00 $        30.00   $     50.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6652      2/7/2018   $    40.00 $        48.00   $     80.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6672      2/7/2018   $    25.00 $        30.00   $     50.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6673      2/7/2018   $    25.00 $        30.00   $     50.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6676      2/7/2018   $    25.00 $        30.00   $     50.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6698      3/1/2018   $ 111.25 $         133.50   $    222.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6699      3/1/2018   $ 145.85 $         175.02   $    291.70   MR
                                                                                                                                             Entered 04/29/22 00:00:58




S-1/D    Daniel Del Rio     Ensign Legal Support            6743      3/1/2018   $ 112.25 $         134.70   $    224.50   MR Missing Lien
S-1/D    Daniel Del Rio     Ensign Legal Support            6763      3/1/2018   $ 110.25 $         132.30   $    220.50   MR Missing Lien
S-1/D    Daniel Del Rio     Ensign Legal Support            6764      3/1/2018   $ 110.50 $         132.60   $    221.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6765      3/1/2018   $ 114.75 $         137.70   $    229.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6766      3/1/2018   $ 112.50 $         135.00   $    225.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6767      3/1/2018   $    76.35 $        91.62   $    152.70   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6768      3/1/2018   $ 125.75 $         150.90   $    251.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6769      3/1/2018   $ 110.75 $         132.90   $    221.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6772      3/1/2018   $ 114.00 $         136.80   $    228.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6774      3/1/2018   $ 111.25 $         133.50   $    222.50   MR
                                                                                                                                             Page 40 of 169




S-1/D    Daniel Del Rio     Ensign Legal Support            6775      3/1/2018   $    78.50 $        94.20   $    157.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6776      3/1/2018   $    76.50 $        91.80   $    153.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6777      3/1/2018   $ 112.00 $         134.40   $    224.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support           6906     12/10/2017   $    25.75 $        30.90   $     51.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support           6908     12/10/2017   $    26.25 $        31.50   $     52.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support           6909     12/10/2017   $    40.50 $        48.60   $     81.00   MR Missing Lien
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer             Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Daniel Del Rio     Ensign Legal Support            6910    12/10/2017   $    55.50 $        66.60   $    111.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6911    12/10/2017   $    25.25 $        30.30   $     50.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6973    11/15/2017   $    27.25 $        32.70   $     54.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6974    11/15/2017   $    28.00 $        33.60   $     56.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6975    11/15/2017   $    25.25 $        30.30   $     50.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6976     4/11/2018   $ 116.25 $         139.50   $    232.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7037     4/11/2018   $ 111.25 $         133.50   $    222.50   MR
                                                                                                                                    Case 21-01167-abl




S-1/D    Daniel Del Rio     Ensign Legal Support            7038     4/11/2018   $ 110.25 $         132.30   $    220.50   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6953    12/10/2017   $    47.00 $        56.40   $     94.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7003    10/31/2017   $ 121.00 $         145.20   $    242.00   MR
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15504      1/3/2020   $    35.59 $        42.71   $    118.63   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15506     12/3/2019   $    38.04 $        45.65   $    126.80   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15507      1/3/2020   $    20.10 $        24.12   $     67.00   Rx
                                                                                                                                    Doc 75-1




S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15508      1/3/2020   $    23.90 $        28.68   $     79.68   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15509     12/3/2019   $    42.30 $        50.76   $    140.99   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15510     12/3/2019   $    35.59 $        42.71   $    118.63   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15511     12/3/2019   $    57.98 $        69.58   $    193.25   Rx
S-1/D    DarrenO. Aitken    Buena Vista Medical Services   15512     12/3/2019   $    46.14 $        55.37   $    153.79   Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6155     1/10/2018   $    51.50 $        61.80   $    103.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6156      2/7/2018   $    58.50 $        70.20   $    117.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7052     4/11/2018   $    45.50 $        54.60   $     91.00   MR
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16461      8/2/2019   $    35.20 $        42.24   $    117.32   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16462      8/2/2019   $    35.53 $        42.64   $    118.44   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16097      6/3/2019   $   36.36 $         43.63   $    121.20   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16099      7/3/2019   $   36.89 $         44.27   $    122.96   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16101      7/3/2019   $   36.52 $         43.82   $    121.72   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16103      6/3/2019   $   36.25 $         43.50   $    120.84   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16105      6/3/2019   $   33.15 $         39.78   $    110.49   Rx
                                                                                                                                    Entered 04/29/22 00:00:58




S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16106      6/3/2019   $   42.37 $         50.84   $    141.22   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16107      6/3/2019   $   32.76 $         39.31   $    109.20   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15682      9/3/2019   $    34.94 $        41.93   $    116.48   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15684     12/3/2019   $    31.85 $        38.22   $    106.16   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15685     12/3/2019   $    44.37 $        53.24   $    147.89   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15687      9/3/2019   $    36.30 $        43.56   $    121.00   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15688      9/3/2019   $    35.35 $        42.42   $    117.84   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15689      9/3/2019   $    34.84 $        41.81   $    116.12   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16834      2/4/2020   $    36.54 $        43.85   $    120.18   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24423                 $   27.46 $         32.95   $     91.54   Rx
                                                                                                                                    Page 41 of 169




S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24425                 $   64.96 $         77.95   $    216.52   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15670     12/3/2019   $    82.93 $        99.52   $    276.44   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15672     12/3/2019   $    37.01 $        44.41   $    123.36   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15674      1/3/2020   $    37.01 $        44.41   $    123.36   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15676     11/4/2019   $    42.43 $        50.92   $    141.42   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15678      9/3/2019   $    41.38 $        49.66   $    137.92   Rx
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer             Provider                       BillId   Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15679     11/4/2019   $    31.33 $        37.60    $     104.44  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15680     11/4/2019   $    37.01 $        44.41    $     123.36  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   17100      3/4/2020   $    37.01 $        44.41    $     123.36  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   17618      4/3/2020   $    37.01 $        44.41    $     123.36  Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   18001      5/5/2020   $    37.01 $        44.41    $     123.36  Rx
S-1/D    James Grant        ChartSquad                     13795     1/27/2020   $    73.85 $        88.62    $     120.00  MR
S-1/D    James Grant        ChartSquad                     13796     1/27/2020   $    64.15 $        76.98    $     120.00  MR
                                                                                                                                              Case 21-01167-abl




S-1/D    James Grant        ChartSquad                     13797     1/27/2020   $    46.50 $        55.80    $     120.00  MR
S-1/D    James Grant        ChartSquad                     13880     1/27/2020   $    46.50 $        55.80    $     120.00  MR
S-1/D    Timothy Revero     Buena Vista Medical Services   18082      5/5/2020   $    54.59 $        65.51    $     181.96  Rx
S-1/D    Timothy Revero     Buena Vista Medical Services   18083      5/5/2020   $    39.37 $        47.24    $     131.23  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   15380      2/4/2020   $    22.20 $        26.64    $      74.00  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   15382      1/3/2020   $    22.20 $        26.64    $      74.00  Rx
                                                                                                                                              Doc 75-1




S-1/D    Michael Shemtoub   Buena Vista Medical Services   15384     12/3/2019   $    22.20 $        26.64    $      74.00  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23825      7/2/2020   $    27.43 $        32.92    $      91.42  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23959                 $    27.98 $        33.58    $      93.28  Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6677      2/7/2018   $    40.00 $        48.00    $      80.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6678      2/7/2018   $    25.00 $        30.00    $      50.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6835    12/22/2017   $ 195.50 $         234.60    $     391.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6836    12/22/2017   $    43.00 $        51.60    $      86.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6837    12/22/2017   $    43.50 $        52.20    $      87.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6838    12/22/2017   $    74.25 $        89.10    $     148.50  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6839    12/22/2017   $    61.75 $        74.10    $     123.50  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6845    12/22/2017   $    53.00 $        63.60    $     106.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6846    12/22/2017   $    71.95 $        86.34    $     143.90  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6847    12/22/2017   $    25.75 $        30.90    $      51.50  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6014      2/7/2018   $    27.00 $        32.40    $      54.00  MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6017    12/10/2017   $    49.00 $        58.80    $      98.00  MR
                                                                                                                                              Entered 04/29/22 00:00:58




S-1/D    Daniel Del Rio     Ensign Legal Support            6778      3/1/2018   $    45.50 $        54.60    $      91.00  MR Missing Lien
S-1/D    Daniel Del Rio     Ensign Legal Support            6900    12/10/2017   $    59.50 $        71.40    $     119.00  MR
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23838      7/2/2020   $ 100.98 $         121.18    $     336.60  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23839      7/2/2020   $    27.85 $        33.42    $      92.84  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23840      7/2/2020   $    38.42 $        46.10    $     128.07  Rx
S-1/D    Michael Shemtoub   Buena Vista Medical Services   23841      7/2/2020   $    34.71 $        41.65    $     115.69  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16262                 $    34.85 $        41.82    $     116.16  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16264                 $   (34.85) $      (41.82)   $    (116.16) Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16266      2/4/2020   $    34.85 $        41.82    $     116.16  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16268     10/1/2019   $    35.08 $        42.10    $     116.92  Rx
                                                                                                                                              Page 42 of 169




S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16269     10/1/2019   $    36.91 $        44.29    $     123.04  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16270     10/1/2019   $    34.85 $        41.82    $     116.16  Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16271     10/1/2019   $    35.59 $        42.71    $     118.64  Rx
S-1/D    Lawrence Ruiz      Buena Vista Medical Services   17379      4/3/2020   $    55.59 $        66.71    $     185.29  Rx
S-1/D    Lawrence Ruiz      Buena Vista Medical Services   17380      4/3/2020   $    88.22 $       105.86    $     294.08  Rx
S-1/D    Lawrence Ruiz      Buena Vista Medical Services   17989      5/5/2020   $    88.22 $       105.86    $     294.08  Rx
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List of Receivables for Series-1/Intake D
                                                                                     Receivables
Intake   Lawyer            Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Lawrence Ruiz     Buena Vista Medical Services   17990    5/5/2020   $    55.59 $        66.71   $    185.29   Rx
S-1/D    Lawrence Ruiz     Buena Vista Medical Services   19553    6/1/2020   $    88.22 $       105.86   $    294.08   Rx
S-1/D    Lawrence Ruiz     Buena Vista Medical Services   19774    6/1/2020   $    55.59 $        66.71   $    185.29   Rx
S-1/D    Alberto Castro    Buena Vista Medical Services   16708 4/30/2019     $    33.51 $        40.21   $    111.70   Rx
S-1/D    Alberto Castro    Buena Vista Medical Services   16710 11/4/2019     $    31.46 $        37.75   $    104.87   Rx
S-1/D    Alberto Castro    Buena Vista Medical Services   16711 4/30/2019     $    83.30 $        99.96   $    277.68   Rx
S-1/D    Alberto Castro    Buena Vista Medical Services   16712 4/30/2019     $    33.28 $        39.94   $    110.92   Rx
                                                                                                                                 Case 21-01167-abl




S-1/D    Alex Simanovsky   Ensign Legal Support           6829     5/6/2018   $    25.75 $        30.90   $     51.50   MR
S-1/D    Alex Simanovsky   Ensign Legal Support           6937     5/6/2018   $    26.00 $        31.20   $     52.00   MR
S-1/D    Alex Simanovsky   Ensign Legal Support           7053     5/6/2018   $ 296.12 $         355.34   $    592.24   MR
S-1/D    Alex Simanovsky   Ensign Legal Support           7202    5/13/2018   $    66.39 $        79.67   $    132.78   MR
S-1/D    Alex Simanovsky   Ensign Legal Support           7328     6/6/2018   $    68.33 $        82.00   $    136.66   MR
S-1/D    Alex Simanovsky   Ensign Legal Support           7329     6/6/2018   $ 154.09 $         184.91   $    308.18   MR
                                                                                                                                 Doc 75-1




S-1/D    Alex Simanovsky   Ensign Legal Support           7330     6/6/2018   $ 196.28 $         235.54   $    392.56   MR
S-1/D    Alex Simanovsky   Ensign Legal Support           7438    6/20/2018   $    56.38 $        67.66   $    112.76   MR
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15278    1/3/2020   $    34.85 $        41.82   $    116.16   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15280 12/3/2019     $    35.09 $        42.11   $    116.96   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15281    1/3/2020   $    35.09 $        42.11   $    116.96   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15282    1/3/2020   $    65.27 $        78.32   $    217.58   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15283    1/3/2020   $    16.92 $        20.30   $     56.40   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15285    8/2/2019   $    35.09 $        42.11   $    116.96   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15286    8/2/2019   $    34.85 $        41.82   $    116.16   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15288    9/3/2019   $    35.14 $        42.17   $    117.12   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15290 11/4/2019     $    34.85 $        41.82   $    116.16   Rx
S-1/D    Mauro Fiore Jr    Buena Vista Medical Services   15291    9/3/2019   $    35.35 $        42.42   $    117.84   Rx
S-1/D    Michael Madadi    Buena Vista Medical Services   24470               $    24.76 $        29.71   $     82.54   Rx
S-1/D    Michael Madadi    Buena Vista Medical Services   24471               $    26.19 $        31.43   $     87.29   Rx
S-1/D    Michael Madadi    Buena Vista Medical Services   24472               $    57.39 $        68.87   $    191.29   Rx
                                                                                                                                 Entered 04/29/22 00:00:58




S-1/D    Kevin Danesh      Buena Vista Medical Services   16543 11/4/2019     $    34.31 $        41.17   $    114.36   Rx
S-1/D    Kevin Danesh      Buena Vista Medical Services   16545    8/2/2019   $    34.31 $        41.17   $    114.36   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16804    1/3/2020   $    17.10 $        20.52   $     57.00   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   16805    1/3/2020   $    21.72 $        26.06   $     72.40   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   17468    4/3/2020   $    17.10 $        20.52   $     57.00   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   17469    4/3/2020   $    21.72 $        26.06   $     72.40   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   24421               $    16.92 $        20.30   $     56.40   Rx
S-1/D    Nicholas Lasso    Buena Vista Medical Services   24468               $    21.72 $        26.06   $     72.40   Rx
S-1/D    Joseph Zdrilich   Peachtree Orthopaedic Clinic    9657    2/8/2019   $ 216.00 $         259.20   $    480.00   MR
S-1/D    Joseph Zdrilich   Peachtree Orthopaedic Clinic   10016 3/19/2019     $ 160.20 $         192.24   $    356.00   MR
                                                                                                                                 Page 43 of 169




S-1/D    Timothy Revero    Buena Vista Medical Services   16496 12/3/2019     $    45.00 $        54.00   $    150.01   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16497 12/3/2019     $    44.66 $        53.59   $    148.86   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16499 11/4/2019     $    72.25 $        86.70   $    240.84   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   16500 11/4/2019     $    50.28 $        60.34   $    167.60   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   18130    5/5/2020   $    44.66 $        53.59   $    148.86   Rx
S-1/D    Timothy Revero    Buena Vista Medical Services   19792    6/1/2020   $    44.66 $        53.59   $    148.86   Rx
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List of Receivables for Series-1/Intake D
                                                                                      Receivables
Intake   Lawyer             Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Timothy Revero     Buena Vista Medical Services   23829    7/2/2020   $    59.82 $        71.78   $    199.41   Rx
S-1/D    Timothy Revero     Buena Vista Medical Services   23830    7/2/2020   $    44.66 $        53.59   $    148.86   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16228    8/2/2019   $   34.85 $         41.82   $    116.16   Rx
S-1/D    Alex Simanovsky    Ensign Legal Support           6858     5/6/2018   $    83.13 $        99.76   $    166.26   MR
S-1/D    Alex Simanovsky    Ensign Legal Support           7064     5/6/2018   $    59.23 $        71.08   $    118.46   MR
S-1/D    Alex Simanovsky    Ensign Legal Support           7065     5/6/2018   $    61.67 $        74.00   $    123.34   MR Missing Lien
S-1/D    Alex Simanovsky    Ensign Legal Support           7113     5/6/2018   $ 181.97 $         218.36   $    363.94   MR
                                                                                                                                           Case 21-01167-abl




S-1/D    Alex Simanovsky    Ensign Legal Support           7126     5/6/2018   $    25.00 $        30.00   $     50.00   MR
S-1/D    Alex Simanovsky    Ensign Legal Support           7333     6/6/2018   $    25.25 $        30.30   $     50.50   MR
S-1/D    Alex Simanovsky    Ensign Legal Support           7386     6/6/2018   $    25.00 $        30.00   $     50.00   MR
S-1/D    Richard Harris     Buena Vista Medical Services   16080    6/3/2019   $    34.91 $        41.89   $    116.36   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16082    7/3/2019   $    35.21 $        42.25   $    117.36   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16084    7/3/2019   $    34.90 $        41.88   $    116.32   Rx
                                                                                                                                           Doc 75-1




S-1/D    Richard Harris     Buena Vista Medical Services   16086 4/30/2019     $    31.72 $        38.06   $    105.73   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16087 4/30/2019     $    33.78 $        40.54   $    112.59   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16088    6/3/2019   $    36.82 $        44.18   $    122.72   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16273    2/4/2020   $    37.70 $        45.24   $    125.67   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16274    2/4/2020   $    38.38 $        46.06   $    127.95   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   17470    4/3/2020   $    38.38 $        46.06   $    127.95   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   17471    4/3/2020   $    37.70 $        45.24   $    125.67   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   17472    4/3/2020   $    69.03 $        82.84   $    230.11   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   18077    5/5/2020   $    37.70 $        45.24   $    125.67   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   18135    5/5/2020   $    38.38 $        46.06   $    127.95   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   18986    6/1/2020   $    37.70 $        45.24   $    125.67   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   17382    4/3/2020   $    56.35 $        67.62   $    187.83   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   17383    4/3/2020   $    53.11 $        63.73   $    177.04   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   17759    4/3/2020   $    26.00 $        31.20   $     86.65   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   18002    5/5/2020   $    38.95 $        46.74   $    129.84   Rx
                                                                                                                                           Entered 04/29/22 00:00:58




S-1/D    Dustin Birch       Buena Vista Medical Services   18003    5/5/2020   $    23.62 $        28.34   $     78.75   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   18193    5/5/2020   $    53.11 $        63.73   $    177.04   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   18486    5/5/2020   $    38.95 $        46.74   $    129.84   Rx
S-1/D    Dustin Birch       Buena Vista Medical Services   21275    7/2/2020   $    38.95 $        46.74   $    129.84   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   19772    6/1/2020   $   32.98 $         39.58   $    109.95   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   19773    6/1/2020   $   37.53 $         45.04   $    125.10   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   23820    7/2/2020   $   32.98 $         39.58   $    109.95   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   15786 12/3/2019     $    14.28 $        17.14   $     47.60   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   15787 12/3/2019     $    26.04 $        31.25   $     86.81   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   18183    5/5/2020   $    56.30 $        67.56   $    187.66   Rx
                                                                                                                                           Page 44 of 169




S-1/D    Kevin Danesh       Buena Vista Medical Services   19785    6/1/2020   $    56.30 $        67.56   $    187.66   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   19786    6/1/2020   $    14.28 $        17.14   $     47.60   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   20357    6/1/2020   $    57.74 $        69.29   $    192.46   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   20358    6/1/2020   $    34.99 $        41.99   $    116.63   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   20359    6/1/2020   $    22.52 $        27.02   $     75.08   Rx
S-1/D    Kevin Danesh       Buena Vista Medical Services   21269    7/2/2020   $    28.59 $        34.31   $     95.30   Rx
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List of Receivables for Series-1/Intake D
                                                                                         Receivables
Intake   Lawyer                Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Kevin Danesh          Buena Vista Medical Services   23235    7/2/2020   $    56.30 $        67.56   $    187.66   Rx
S-1/D    Kevin Danesh          Buena Vista Medical Services   23236    7/2/2020   $    14.28 $        17.14   $     47.60   Rx
S-1/D    Kevin Danesh          Buena Vista Medical Services   23822    7/2/2020   $    57.74 $        69.29   $    192.46   Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services   18012    5/5/2020   $    43.54 $        52.25   $    145.14   Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services   18013    5/5/2020   $    78.65 $        94.38   $    262.18   Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services   19552    6/1/2020   $    78.65 $        94.38   $    262.18   Rx
S-1/D    Michael Shemtoub      Buena Vista Medical Services   23230    7/2/2020   $    78.65 $        94.38   $    262.18   Rx
                                                                                                                                     Case 21-01167-abl




S-1/D    Michael Shemtoub      Buena Vista Medical Services   24462               $   78.65 $         94.38   $    262.18   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15488 11/4/2019     $    44.65 $        53.58   $    148.82   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15490 12/3/2019     $    39.17 $        47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15492    1/3/2020   $    39.17 $        47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15494    9/3/2019   $    39.17 $        47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   15495    9/3/2019   $    34.75 $        41.70   $    115.84   Rx
                                                                                                                                     Doc 75-1




S-1/D    Nicholas Lasso        Buena Vista Medical Services   15497 10/1/2019     $    39.17 $        47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   17455    4/3/2020   $    39.17 $        47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   18122    5/5/2020   $    39.17 $        47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   19771    6/1/2020   $    39.17 $        47.00   $    130.56   Rx
S-1/D    Nicholas Lasso        Buena Vista Medical Services   21263    7/2/2020   $    39.17 $        47.00   $    130.56   Rx
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services   16619 10/1/2019     $   34.96 $         41.95   $    116.52   Rx
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services   16620 10/1/2019     $   63.00 $         75.60   $    210.00   Rx
S-1/D    Jacob Emrani          Buena Vista Medical Services   18197    5/5/2020   $ 160.65 $         192.78   $    535.50   Rx
S-1/D    Jacob Emrani          Buena Vista Medical Services   18198    5/5/2020   $    58.05 $        69.66   $    193.49   Rx
S-1/D    Jacob Emrani          Buena Vista Medical Services   19550    6/1/2020   $    31.86 $        38.23   $    106.20   Rx
S-1/D    Jacob Emrani          Buena Vista Medical Services   22737    7/2/2020   $    31.86 $        38.23   $    106.20   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   16471    9/3/2019   $   35.74 $         42.89   $    119.12   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   16473 10/1/2019     $   35.15 $         42.18   $    117.16   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   16475    9/3/2019   $   35.15 $         42.18   $    117.16   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   16477    8/2/2019   $   35.15 $         42.18   $    117.16   Rx
                                                                                                                                     Entered 04/29/22 00:00:58




S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   16478    8/2/2019   $   35.74 $         42.89   $    119.12   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   23826    7/2/2020   $   29.27 $         35.12   $     97.58   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   17385    4/3/2020   $    65.96 $        79.15   $    219.87   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   17386    4/3/2020   $    91.19 $       109.43   $    303.96   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   17763    4/3/2020   $    35.36 $        42.43   $    117.88   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   18075    5/5/2020   $    91.19 $       109.43   $    303.96   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   18076    5/5/2020   $    65.96 $        79.15   $    219.87   Rx
S-1/D    Timothy Revero        Buena Vista Medical Services   21278    7/2/2020   $    30.75 $        36.90   $    102.51   Rx
S-1/D    Alex Simanovsky       Ciox Health                     6405    4/5/2018   $    20.00 $        24.00   $     40.00   MR
S-1/D    Alex Simanovsky       Ciox Health                     6406    4/5/2018   $    78.72 $        94.46   $    157.44   MR
                                                                                                                                     Page 45 of 169




S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services   16307    9/3/2019   $   42.16 $         50.59   $    140.52   Rx
S-1/D    HagopJ. Bazerkanian   Buena Vista Medical Services   16308    9/3/2019   $   85.32 $        102.38   $    284.40   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   15528    1/3/2020   $   37.01 $         44.41   $    123.36   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   15530    2/4/2020   $ 186.45 $         223.74   $    621.49   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   15531    2/4/2020   $   37.01 $         44.41   $    123.36   Rx
S-1/D    Farid Yaghoubtil      Buena Vista Medical Services   15533 12/3/2019     $    37.01 $        44.41   $    123.36   Rx
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer             Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15535      9/3/2019   $   36.72 $         44.06   $    122.40   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15537     10/1/2019   $   36.72 $         44.06   $    122.40   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   15539     11/4/2019   $   37.01 $         44.41   $    123.36   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17023      3/4/2020   $   37.72 $         45.26   $    125.74   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17095      3/4/2020   $   16.99 $         20.39   $     56.63   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17096      3/4/2020   $   37.55 $         45.06   $    125.17   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17097      3/4/2020   $   37.01 $         44.41   $    123.36   Rx
                                                                                                                                    Case 21-01167-abl




S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17373      4/3/2020   $   37.38 $         44.86   $    124.60   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17460      4/3/2020   $   43.89 $         52.67   $    146.30   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17617      4/3/2020   $   37.55 $         45.06   $    125.17   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   19555      6/1/2020   $   48.56 $         58.27   $    161.85   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   19556      6/1/2020   $   51.26 $         61.51   $    170.86   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   23960                 $   51.26 $         61.51   $    170.86   Rx
                                                                                                                                    Doc 75-1




S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   23961                 $   48.56 $         58.27   $    161.85   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   24418                 $   50.51 $         60.61   $    168.38   Rx
S-1/D    Mauro Fiore Jr     Buena Vista Medical Services   17483      4/3/2020   $    33.65 $        40.38   $    112.17   Rx
S-1/D    Omid Khorshidi     Buena Vista Medical Services   19799      6/1/2020   $   83.38 $        100.06   $    277.94   Rx
S-1/D    Omid Khorshidi     Buena Vista Medical Services   23231      7/2/2020   $   83.38 $        100.06   $    277.94   Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6984    11/15/2017   $    45.50 $        54.60   $     91.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7035    10/12/2017   $    49.50 $        59.40   $     99.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            7036    10/12/2017   $    58.50 $        70.20   $    117.00   MR
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16680      9/3/2019   $   35.68 $         42.82   $    118.92   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16682      8/2/2019   $   35.68 $         42.82   $    118.92   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16683      9/3/2019   $   35.89 $         43.07   $    119.64   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16684      9/3/2019   $   35.53 $         42.64   $    118.44   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16685      8/2/2019   $   35.53 $         42.64   $    118.44   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16686      8/2/2019   $   34.54 $         41.45   $    115.12   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16687      8/2/2019   $   36.00 $         43.20   $    120.00   Rx
                                                                                                                                    Entered 04/29/22 00:00:58




S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16688      8/2/2019   $   35.89 $         43.07   $    119.64   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16689      8/2/2019   $   37.03 $         44.44   $    123.44   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16699      7/3/2019   $    49.86 $        59.83   $    166.20   Rx
S-1/D    Richard Harris     Buena Vista Medical Services   16700      7/3/2019   $    44.09 $        52.91   $    146.96   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   17993      5/5/2020   $   40.12 $         48.14   $    133.74   Rx
S-1/D    Daniel Del Rio     Ensign Legal Support            6981    10/12/2017   $    52.00 $        62.40   $    104.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6982    10/12/2017   $    58.50 $        70.20   $    117.00   MR
S-1/D    Daniel Del Rio     Ensign Legal Support            6983    11/15/2017   $    45.50 $        54.60   $     91.00   MR
S-1/D    Nancy Bernstein    Buena Vista Medical Services   17485      4/3/2020   $   54.59 $         65.51   $    181.96   Rx
S-1/D    Nancy Bernstein    Buena Vista Medical Services   17486      4/3/2020   $   39.37 $         47.24   $    131.22   Rx
                                                                                                                                    Page 46 of 169




S-1/D    Nancy Bernstein    Buena Vista Medical Services   19559      6/1/2020   $   39.37 $         47.24   $    131.22   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16142      7/3/2019   $    35.08 $        42.10   $    116.92   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16144     10/1/2019   $    35.08 $        42.10   $    116.92   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16145     10/1/2019   $    45.10 $        54.12   $    150.32   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16147     4/30/2019   $    44.00 $        52.80   $    146.68   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   16148     4/30/2019   $    31.93 $        38.32   $    106.43   Rx
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List of Receivables for Series-1/Intake D
                                                                                             Receivables
Intake   Lawyer                  Provider                       BillId   Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16150      6/3/2019   $    42.75 $        51.30    $     142.51  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   17178      3/4/2020   $    17.13 $        20.56    $      57.09  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   17179      3/4/2020   $    17.06 $        20.47    $      56.86  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   17180      3/4/2020   $    10.57 $        12.68    $      35.24  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16568     11/4/2019   $    35.35 $        42.42    $     117.84  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16570     12/3/2019   $    36.30 $        43.56    $     121.00  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16571     12/3/2019   $    35.35 $        42.42    $     117.84  Rx
                                                                                                                                                   Case 21-01167-abl




S-1/D    Brittany Young          Buena Vista Medical Services   16573     10/1/2019   $    36.30 $        43.56    $     121.00  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16574     10/1/2019   $    35.35 $        42.42    $     117.84  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   16575     11/4/2019   $    36.30 $        43.56    $     121.00  Rx
S-1/D    James Grant             Ensign Legal Support           11421     8/15/2019   $    27.25 $        32.70    $      54.50  MR
S-1/D    Daniel Del Rio          Ensign Legal Support           6020     12/22/2017   $    40.25 $        48.30    $      80.50  MR
S-1/D    Daniel Del Rio          Ensign Legal Support           6826     12/22/2017   $    92.00 $       110.40    $     184.00  MR
                                                                                                                                                   Doc 75-1




S-1/D    Daniel Del Rio          Ensign Legal Support           6827     12/22/2017   $    42.35 $        50.82    $      84.70  MR
S-1/D    Daniel Del Rio          Ensign Legal Support           6828     12/22/2017   $    40.00 $        48.00    $      80.00  MR
S-1/D    Daniel Del Rio          Ensign Legal Support           6830     12/22/2017   $    25.00 $        30.00    $      50.00  MR
S-1/D    Daniel Del Rio          Ensign Legal Support           6840     12/22/2017   $    74.25 $        89.10    $     148.50  MR
S-1/D    Daniel Del Rio          Ensign Legal Support           6841     12/22/2017   $ 140.50 $         168.60    $     281.00  MR Missing Lien
S-1/D    Michael Shemtoub        Buena Vista Medical Services   24411                 $    20.50 $        24.60    $      68.32  Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   24412                 $    20.45 $        24.54    $      68.17  Rx
S-1/D    John Beals              Buena Vista Medical Services   15962     10/1/2019   $ 429.73 $         515.68    $ 1,432.44    Rx
S-1/D    Neal Howard             Ensign Legal Support           8046      8/26/2018   $    27.00 $        32.40    $      40.50  MR
S-1/D    Neal Howard             Ensign Legal Support           8293      9/24/2018   $    67.71 $        81.25    $     101.56  MR
S-1/D    Neal Howard             Ensign Legal Support           8294      9/24/2018   $    66.08 $        79.30    $      99.12  MR
S-1/D    Neal Howard             Ensign Legal Support           8545     10/29/2018   $ 173.63 $         208.36    $     260.45  MR
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16726     4/30/2019   $    38.04 $        45.65    $     126.79  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16727     4/30/2019   $    33.22 $        39.86    $     110.72  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15776     12/3/2019   $    24.57 $        29.48    $      81.90  Rx
                                                                                                                                                   Entered 04/29/22 00:00:58




S-1/D    Nicholas Lasso          Buena Vista Medical Services   15777     12/3/2019   $    24.57 $        29.48    $      81.90  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15779      2/4/2020   $    40.34 $        48.41    $     134.48  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15780     12/3/2019   $    26.58 $        31.90    $      88.61  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15781     12/3/2019   $    36.91 $        44.29    $     123.04  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15782     12/3/2019   $    37.15 $        44.58    $     123.82  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15783     12/3/2019   $    27.92 $        33.50    $      93.05  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15784     12/3/2019   $    47.92 $        57.50    $     159.74  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   19794      6/1/2020   $    33.60 $        40.32    $     111.99  Rx
S-1/D    Daniel Del Rio          Ensign Legal Support           6940     12/10/2017   $    73.00 $        87.60    $     146.00  MR
S-1/D    Timothy Revero          Buena Vista Medical Services   15646     11/4/2019   $    36.00 $        43.20    $     120.00  Rx
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S-1/D    Timothy Revero          Buena Vista Medical Services   15648     10/1/2019   $    36.00 $        43.20    $     120.00  Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15650                 $    36.61 $        43.93    $     122.04  Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15652     12/3/2019   $    36.00 $        43.20    $     120.00  Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15654                 $   (36.61) $      (43.93)   $    (122.04) Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15656      7/3/2019   $    35.16 $        42.19    $     117.20  Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15657      7/3/2019   $    36.00 $        43.20    $     120.00  Rx
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Timothy Revero          Buena Vista Medical Services   15659    9/3/2019   $    36.00 $        43.20   $    120.00   Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15660 10/1/2019     $    36.61 $        43.93   $    122.04   Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   15661    9/3/2019   $    35.16 $        42.19   $    117.20   Rx
S-1/D    Daniel Del Rio          ABI Document Services           6137    2/7/2018   $    60.66 $        72.79   $    121.32   MR
S-1/D    Daniel Del Rio          ABI Document Services           6138    2/7/2018   $    83.67 $       100.40   $    167.34   MR
S-1/D    Daniel Del Rio          ABI Document Services           6140    2/7/2018   $    59.91 $        71.89   $    119.82   MR
S-1/D    John Ye                 Buena Vista Medical Services   18066    5/5/2020   $    22.92 $        27.50   $     76.40   Rx
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S-1/D    John Ye                 Buena Vista Medical Services   18067    5/5/2020   $    54.39 $        65.27   $    181.30   Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   16237    8/2/2019   $    35.64 $        42.77   $    118.80   Rx
S-1/D    Timothy Revero          Buena Vista Medical Services   16238    8/2/2019   $    35.18 $        42.22   $    117.28   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   17032    3/4/2020   $    36.72 $        44.06   $    122.40   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   17301    3/4/2020   $    40.40 $        48.48   $    134.67   Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   21273    7/2/2020   $    40.40 $        48.48   $    134.67   Rx
                                                                                                                                       Doc 75-1




S-1/D    Kevin Danesh            Buena Vista Medical Services   16429    8/2/2019   $    35.41 $        42.49   $    118.04   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16430    8/2/2019   $    34.37 $        41.24   $    114.56   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16432    7/3/2019   $    35.41 $        42.49   $    118.04   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16433    7/3/2019   $    34.37 $        41.24   $    114.56   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   17021    3/4/2020   $    34.37 $        41.24   $    114.56   Rx
S-1/D    Janice Strong           ChartSquad                     14218 1/27/2020     $    51.50 $        61.80   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14219 1/27/2020     $    51.50 $        61.80   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14221 1/27/2020     $    45.00 $        54.00   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14222 1/27/2020     $    46.50 $        55.80   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14378 1/27/2020     $    45.00 $        54.00   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14379 1/27/2020     $    45.00 $        54.00   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14384 1/27/2020     $    45.00 $        54.00   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14495 1/27/2020     $    45.00 $        54.00   $    120.00   MR
S-1/D    Janice Strong           ChartSquad                     14496 1/27/2020     $    51.50 $        61.80   $    120.00   MR
S-1/D    Salar Hendizadeh        Buena Vista Medical Services   17367    4/3/2020   $    36.82 $        44.18   $    122.74   Rx
                                                                                                                                       Entered 04/29/22 00:00:58




S-1/D    Salar Hendizadeh        Buena Vista Medical Services   17751    4/3/2020   $    35.13 $        42.16   $    117.10   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   22743    7/2/2020   $    38.42 $        46.10   $    128.07   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   22744    7/2/2020   $    49.16 $        58.99   $    163.86   Rx
S-1/D    Michael Shemtoub        Buena Vista Medical Services   22745    7/2/2020   $    26.30 $        31.56   $     87.68   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16547 11/4/2019     $    28.11 $        33.73   $     93.69   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16549 11/4/2019     $    28.62 $        34.34   $     95.41   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16551 11/4/2019     $    34.55 $        41.46   $    115.16   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16552 11/4/2019     $    44.28 $        53.14   $    147.60   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   16553 11/4/2019     $    33.01 $        39.61   $    110.03   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   17756    4/3/2020   $   78.65 $         94.38   $    262.18   Rx
                                                                                                                                       Page 48 of 169




S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   17995    5/5/2020   $   83.80 $        100.56   $    279.34   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   18065    5/5/2020   $   70.60 $         84.72   $    235.34   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   19787    6/1/2020   $   38.42 $         46.10   $    128.07   Rx
S-1/D    Hamed Yazdanpanah       Buena Vista Medical Services   19788    6/1/2020   $   78.65 $         94.38   $    262.18   Rx
S-1/D    Kevin Danesh            Buena Vista Medical Services   16494 12/3/2019     $    46.72 $        56.06   $    155.74   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16714 11/4/2019     $    37.40 $        44.88   $    124.65   Rx
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost         GFB Amount Fund Type
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16715 11/4/2019     $    36.36 $         43.63    $     121.21  Rx
S-1/D    Alex Simanovsky         Ciox Health                     6395    4/5/2018   $    83.00 $         99.60    $     166.00  MR
S-1/D    Alex Simanovsky         Ciox Health                     6396    4/5/2018   $    20.00 $         24.00    $      40.00  MR
S-1/D    Alex Simanovsky         Ciox Health                     6397    4/5/2018   $    65.11 $         78.13    $     130.22  MR
S-1/D    Alex Simanovsky         Ciox Health                     6399    4/5/2018   $    65.11 $         78.13    $     130.22  MR
S-1/D    Alex Simanovsky         Ciox Health                     6414    4/5/2018   $    20.00 $         24.00    $      40.00  MR
S-1/D    Alex Simanovsky         Ciox Health                     6607    4/5/2018   $    79.76 $         95.71    $     159.52  MR
                                                                                                                                         Case 21-01167-abl




S-1/D    Ronald Chalker          Ensign Legal Support           8271    9/24/2018   $ 152.97 $          183.56    $     229.46  MR
S-1/D    Ronald Chalker          Ensign Legal Support           8292    9/24/2018   $    66.33 $         79.60    $      99.50  MR
S-1/D    Ronald Chalker          Ensign Legal Support           8331    9/24/2018   $    36.25 $         43.50    $      54.38  MR
S-1/D    Ronald Chalker          Ensign Legal Support           8336    9/28/2018   $    61.08 $         73.30    $      91.62  MR
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15564 12/3/2019     $    36.30 $         43.56    $     121.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15565 12/3/2019     $    35.35 $         42.42    $     117.84  Rx
                                                                                                                                         Doc 75-1




S-1/D    Nicholas Lasso          Buena Vista Medical Services   15567    1/3/2020   $    36.30 $         43.56    $     121.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15568    1/3/2020   $    35.35 $         42.42    $     117.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15570    8/2/2019   $    35.35 $         42.42    $     117.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15571    8/2/2019   $    36.30 $         43.56    $     121.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15573 10/1/2019     $    35.35 $         42.42    $     117.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15574 10/1/2019     $    36.30 $         43.56    $     121.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   17298    3/4/2020   $    44.35 $         53.22    $     147.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   17299    3/4/2020   $    36.30 $         43.56    $     121.00  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   18009    5/5/2020   $    54.59 $         65.51    $     181.96  Rx
S-1/D    Brittany Young          Buena Vista Medical Services   18010    5/5/2020   $    37.53 $         45.04    $     125.10  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15443    1/3/2020   $    38.56 $         46.27    $     128.52  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15445 12/3/2019     $    24.68 $         29.62    $      82.25  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15447    2/4/2020   $    36.57 $         43.88    $     121.90  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15448    2/4/2020   $    37.61 $         45.13    $     125.36  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15450 11/4/2019     $ 184.90 $          221.88    $     616.32  Rx
                                                                                                                                         Entered 04/29/22 00:00:58




S-1/D    Arash Khorsandi         Buena Vista Medical Services   15451 11/4/2019     $    38.56 $         46.27    $     128.52  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15453 12/3/2019     $    38.56 $         46.27    $     128.52  Rx
S-1/D    Arash Khorsandi         Buena Vista Medical Services   15455 12/3/2019     $ (184.90) $       (221.88)   $    (616.32) Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16212    8/2/2019   $    35.53 $         42.64    $     118.44  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16214    9/3/2019   $    35.53 $         42.64    $     118.44  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16215    8/2/2019   $    36.00 $         43.20    $     120.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16217    7/3/2019   $    35.05 $         42.06    $     116.84  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16218    7/3/2019   $    36.00 $         43.20    $     120.00  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   21264    7/2/2020   $    22.99 $         27.59    $      76.63  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   21265    7/2/2020   $    54.40 $         65.28    $     181.32  Rx
                                                                                                                                         Page 49 of 169




S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   16920    3/4/2020   $   40.10 $          48.12    $     133.68  Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16735 10/1/2019     $    36.05 $         43.26    $     120.16  Rx
S-1/D    Bryan Blackwell         Buena Vista Medical Services   16848    2/4/2020   $    36.56 $         43.87    $     121.87  Rx
S-1/D    Bryan Blackwell         Buena Vista Medical Services   16849    2/4/2020   $    37.60 $         45.12    $     125.32  Rx
S-1/D    Bryan Blackwell         Buena Vista Medical Services   16850    2/4/2020   $    77.91 $         93.49    $     259.69  Rx
S-1/D    Christopher Henderson   Buena Vista Medical Services   16637 12/3/2019     $    17.46 $         20.95    $      58.20  Rx
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List of Receivables for Series-1/Intake D
                                                                                           Receivables
Intake   Lawyer                  Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Christopher Henderson   Buena Vista Medical Services   16638 12/3/2019     $    14.94 $        17.93    $     49.80   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15592    1/3/2020   $    24.18 $        29.02    $     80.61   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   15594    9/3/2019   $    39.31 $        47.17    $    131.04   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16743    8/2/2019   $ 144.96 $         173.95    $    483.20   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16694    9/3/2019   $    35.29 $        42.35    $    117.64   Rx
S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   17029    3/4/2020   $   17.68 $         21.22    $     58.93   Rx
S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   17030    3/4/2020   $   38.12 $         45.74    $    127.07   Rx
                                                                                                                                        Case 21-01167-abl




S-1/D    Farid Yaghoubtil        Buena Vista Medical Services   17369    4/3/2020   $   40.10 $         48.12    $    133.68   Rx
S-1/D    Morgan Fashchti         Buena Vista Medical Services   15998 12/3/2019     $    82.93 $        99.52    $    276.44   Rx
S-1/D    Morgan Fashchti         Buena Vista Medical Services   16000 10/1/2019     $    78.95 $        94.74    $    263.16   Rx
S-1/D    Morgan Fashchti         Buena Vista Medical Services   17102    3/4/2020   $    82.93 $        99.52    $    276.44   Rx
S-1/D    Morgan Fashchti         Buena Vista Medical Services   18131    5/5/2020   $    27.10 $        32.52    $     90.33   Rx
S-1/D    Omid Khorshidi          Buena Vista Medical Services   24481               $   33.02 $         39.62    $    110.05   Rx
                                                                                                                                        Doc 75-1




S-1/D    Lee Arter               Buena Vista Medical Services   16651    7/3/2019   $ 329.70 $         395.64    $ 1,099.00    Rx
S-1/D    DavidF. Makkabi         Buena Vista Medical Services   16691    9/3/2019   $   41.00 $         49.20    $    136.68   Rx
S-1/D    DavidF. Makkabi         Buena Vista Medical Services   16692    9/3/2019   $   35.21 $         42.25    $    117.36   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16801    1/3/2020   $    17.76 $        21.31    $     59.20   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16802    1/3/2020   $    23.48 $        28.18    $     78.27   Rx
S-1/D    David Menocal           Buena Vista Medical Services   16840    2/4/2020   $    36.74 $        44.09    $    122.47   Rx
S-1/D    David Menocal           Buena Vista Medical Services   16841    2/4/2020   $    37.90 $        45.48    $    126.35   Rx
S-1/D    Jared Richards          Buena Vista Medical Services   23965               $    82.39 $        98.87    $    274.63   Rx
S-1/D    Jared Richards          Buena Vista Medical Services   24408               $    48.55 $        58.26    $    161.84   Rx
S-1/D    Jared Richards          Buena Vista Medical Services   24409               $    99.72 $       119.66    $    332.39   Rx
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16446    7/3/2019   $    35.34 $        42.41    $    117.80   Rx
S-1/D    Alex Simanovsky         Ciox Health                     6401    4/5/2018   $    30.00 $        36.00    $     60.00   MR
S-1/D    Alex Simanovsky         Ciox Health                     6402    4/5/2018   $    30.00 $        36.00    $     60.00   MR
S-1/D    Alex Simanovsky         Ensign Legal Support            7115    5/6/2018   $    26.75 $        32.10    $     53.50   MR
S-1/D    Alex Simanovsky         Ensign Legal Support            7266   5/20/2018   $    61.80 $        74.16    $    123.60   MR
                                                                                                                                        Entered 04/29/22 00:00:58




S-1/D    Alex Simanovsky         Ensign Legal Support            7331    6/6/2018   $    80.74 $        96.89    $    161.48   MR
S-1/D    Jonathan Broderick      Ensign Legal Support           10429 4/30/2019     $ 111.54 $         133.85    $    223.08   MR
S-1/D    Jonathan Broderick      Ensign Legal Support           11050 6/28/2019     $    79.46 $        95.35    $    119.20   MR
S-1/D    Dwayne Singleton        ChartSquad                     13787 1/27/2020     $    51.50 $        61.80    $    120.00   MR
S-1/D    Dwayne Singleton        ChartSquad                     13788 1/27/2020     $    51.50 $        61.80    $    120.00   MR
S-1/D    Dwayne Singleton        ChartSquad                     13789 1/27/2020     $    52.00 $        62.40    $    120.00   MR
S-1/D    Dwayne Singleton        ChartSquad                     13790 1/27/2020     $    40.00 $        48.00    $    120.00   MR
S-1/D    Dwayne Singleton        ChartSquad                     13792 1/27/2020     $    40.00 $        48.00    $    120.00   MR
S-1/D    Dwayne Singleton        ChartSquad                     13794 1/27/2020     $    40.00 $        48.00    $    120.00   MR
S-1/D    Nicholas Lasso          Buena Vista Medical Services   16073 4/30/2019     $    46.27 $        55.52    $    154.24   Rx
                                                                                                                                        Page 50 of 169




S-1/D    Nicholas Lasso          Buena Vista Medical Services   16074 4/30/2019     $    53.86 $        64.63    $    179.52   Rx
S-1/D    Nancy Bernstein         Buena Vista Medical Services   17159    3/4/2020   $   36.74 $         44.09    $    122.47   Rx
S-1/D    Nancy Bernstein         Buena Vista Medical Services   17160    3/4/2020   $   36.85 $         44.22    $    122.82   Rx
S-1/D    Nancy Bernstein         Buena Vista Medical Services   17161    3/4/2020   $   37.99 $         45.59    $    126.62   Rx
S-1/D    Nancy Bernstein         Buena Vista Medical Services   17162    3/4/2020   $   78.42 $         94.10    $    261.40   Rx
S-1/D    Neal Howard             Ensign Legal Support            8332   9/24/2018   $     3.20 $          3.84   $    132.16   MR
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List of Receivables for Series-1/Intake D
                                                                                        Receivables
Intake   Lawyer             Provider                       BillId   Date Paid    Purch Price      Cost       GFB Amount Fund Type
S-1/D    Neal Howard        Ensign Legal Support            8342     9/28/2018   $    75.50 $        90.60   $    113.25   MR
S-1/D    Neal Howard        Ensign Legal Support            8542    10/29/2018   $ 165.51 $         198.61   $    248.27   MR
S-1/D    Neal Howard        Ensign Legal Support            8682    10/29/2018   $    25.00 $        30.00   $     25.00   MR
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   16517      2/4/2020   $   37.72 $         45.26   $    125.74   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   18478      5/5/2020   $   30.50 $         36.60   $    101.67   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   19551      6/1/2020   $   48.56 $         58.27   $    161.85   Rx
S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   20355      6/1/2020   $   47.40 $         56.88   $    158.01   Rx
                                                                                                                                    Case 21-01167-abl




S-1/D    Farid Yaghoubtil   Buena Vista Medical Services   21267      7/2/2020   $   62.71 $         75.25   $    209.04   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15355     12/3/2019   $    46.14 $        55.37   $    153.79   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15356     12/3/2019   $    36.38 $        43.66   $    121.28   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15358     11/4/2019   $    46.14 $        55.37   $    153.79   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15360      2/4/2020   $    24.99 $        29.99   $     83.30   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15362      1/3/2020   $    46.14 $        55.37   $    153.79   Rx
                                                                                                                                    Doc 75-1




S-1/D    Nicholas Lasso     Buena Vista Medical Services   15363      1/3/2020   $    24.99 $        29.99   $     83.30   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15365     10/1/2019   $    36.29 $        43.55   $    120.96   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15366     10/1/2019   $    35.21 $        42.25   $    117.36   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15368     10/1/2019   $    36.52 $        43.82   $    121.72   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15369     11/4/2019   $    36.38 $        43.66   $    121.28   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15371     10/1/2019   $    36.29 $        43.55   $    120.96   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   15372     10/1/2019   $    36.38 $        43.66   $    121.28   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   17081      3/4/2020   $    46.14 $        55.37   $    153.79   Rx
S-1/D    Nicholas Lasso     Buena Vista Medical Services   17082      3/4/2020   $    24.99 $        29.99   $     83.30   Rx
S-1/D    Daniel Del Rio     Compex                          6273     7/17/2017   $    67.20 $        80.64   $    134.40   MR
S-1/D    Daniel Del Rio     Compex                          6274     7/17/2017   $    87.20 $       104.64   $    174.40   MR
S-1/D    Daniel Del Rio     Compex                          6276     7/17/2017   $ 103.20 $         123.84   $    206.40   MR
S-1/D    Daniel Del Rio     Compex                          6277     7/17/2017   $    67.60 $        81.12   $    135.20   MR
S-1/D    Daniel Del Rio     Compex                          6278     7/17/2017   $ 137.20 $         164.64   $    274.40   MR
S-1/D    Daniel Del Rio     Compex                          6279     7/17/2017   $    65.60 $        78.72   $    131.20   MR
                                                                                                                                    Entered 04/29/22 00:00:58




S-1/D    Daniel Del Rio     Compex                          6280     7/17/2017   $ 134.00 $         160.80   $    268.00   MR
S-1/D    Daniel Del Rio     Compex                          6281     7/17/2017   $    75.60 $        90.72   $    151.20   MR
S-1/D    Daniel Del Rio     Compex                          6282     7/17/2017   $    86.00 $       103.20   $    172.00   MR
S-1/D    Daniel Del Rio     Compex                          6283     7/17/2017   $    75.20 $        90.24   $    150.40   MR
S-1/D    Daniel Del Rio     Compex                          6284     7/17/2017   $    66.00 $        79.20   $    132.00   MR
S-1/D    Daniel Del Rio     Compex                          6285     7/17/2017   $ 225.60 $         270.72   $    451.20   MR
S-1/D    Daniel Del Rio     Compex                          6293     9/13/2017   $    88.00 $       105.60   $    176.00   MR
S-1/D    Daniel Del Rio     Compex                          6310    12/10/2017   $ 105.68 $         126.82   $    211.36   MR
S-1/D    Daniel Del Rio     Compex                          6335    12/10/2017   $ 105.68 $         126.82   $    211.36   MR
S-1/D    Natanya Brooks     Buena Vista Medical Services   15222      9/3/2019   $    36.55 $        43.86   $    182.76   Rx
                                                                                                                                    Page 51 of 169




S-1/D    Natanya Brooks     Buena Vista Medical Services   15223      9/3/2019   $    36.24 $        43.49   $    181.20   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15224      9/3/2019   $    36.95 $        44.34   $    184.74   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15230     12/3/2019   $    36.88 $        44.26   $    184.40   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15232      1/3/2020   $    20.16 $        24.19   $    100.80   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15233     12/3/2019   $    34.43 $        41.32   $    172.14   Rx
S-1/D    Natanya Brooks     Buena Vista Medical Services   15234     12/3/2019   $    35.85 $        43.02   $    179.24   Rx
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                       Receivables
Intake   Lawyer              Provider                       BillId Date Paid    Purch Price      Cost        GFB Amount Fund Type
S-1/D    Natanya Brooks      Buena Vista Medical Services   15235 12/3/2019     $    39.07 $        46.88    $    195.36   Rx
S-1/D    Natanya Brooks      Buena Vista Medical Services   17086    3/4/2020   $    36.97 $        44.36    $    184.84   Rx
S-1/D    Natanya Brooks      Buena Vista Medical Services   17296    3/4/2020   $    30.43 $        36.52    $    152.14   Rx
S-1/D    Natanya Brooks      Buena Vista Medical Services   21266    7/2/2020   $ 239.85 $         287.82    $ 1,199.23    Rx
S-1/D    Natanya Brooks      Buena Vista Medical Services   23953               $ 239.85 $         287.82    $ 1,199.23    Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15625 12/3/2019     $    35.74 $        42.89    $    119.12   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15626 12/3/2019     $    35.80 $        42.96    $    119.32   Rx
                                                                                                                                    Case 21-01167-abl




S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15628    9/3/2019   $    35.80 $        42.96    $    119.32   Rx
S-1/D    Farid Yaghoubtil    Buena Vista Medical Services   15629    9/3/2019   $    35.74 $        42.89    $    119.12   Rx
S-1/D    Daniel Del Rio      Ensign Legal Support            6568   1/10/2018   $    57.50 $        69.00    $    115.00   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6649    2/7/2018   $    82.00 $        98.40    $    164.00   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6792    3/1/2018   $    44.60 $        53.52    $     89.20   MR
S-1/D    Daniel Del Rio      Ensign Legal Support            6848 12/22/2017    $    52.75 $        63.30    $    105.50   MR
                                                                                                                                    Doc 75-1




S-1/D    Mark Jackson        Buena Vista Medical Services   15979 10/1/2019     $    34.75 $        41.70    $    115.84   Rx
S-1/D    Mark Jackson        Buena Vista Medical Services   15981 10/1/2019     $    36.91 $        44.29    $    123.04   Rx
S-1/D    Mark Jackson        Buena Vista Medical Services   15982 10/1/2019     $    34.94 $        41.93    $    116.48   Rx
S-1/D    Mark Jackson        Buena Vista Medical Services   18979    6/1/2020   $    32.33 $        38.80    $    107.76   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16279    9/3/2019   $    34.91 $        41.89    $    116.36   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16280    9/3/2019   $    35.10 $        42.12    $    117.00   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16276    9/3/2019   $    35.10 $        42.12    $    117.00   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   16277    9/3/2019   $    34.91 $        41.89    $    116.36   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   17006    3/4/2020   $    41.06 $        49.27    $    136.87   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   17007    3/4/2020   $    36.95 $        44.34    $    123.16   Rx
S-1/D    Nicholas Lasso      Buena Vista Medical Services   15608    1/3/2020   $    23.97 $        28.76    $     79.91   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   17760    4/3/2020   $    29.60 $        35.52    $     98.67   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   17761    4/3/2020   $    54.59 $        65.51    $    181.96   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   17762    4/3/2020   $    53.54 $        64.25    $    178.46   Rx
S-1/D    Nancy Bernstein     Buena Vista Medical Services   18984    6/1/2020   $    54.59 $        65.51    $    181.96   Rx
                                                                                                                                    Entered 04/29/22 00:00:58




S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15293    1/3/2020   $   (27.73) $      (33.28)   $    (92.43)  Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15295 12/3/2019     $    27.73 $        33.28    $     92.43   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15297    1/3/2020   $    25.79 $        30.95    $     85.96   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15299    2/4/2020   $    18.66 $        22.39    $     62.21   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15300    2/4/2020   $    15.72 $        18.86    $     52.40   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15301 12/3/2019     $    21.30 $        25.56    $     71.00   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15303 10/1/2019     $    34.64 $        41.57    $    115.48   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15304 10/1/2019     $    35.10 $        42.12    $    117.00   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15306 11/4/2019     $    35.10 $        42.12    $    117.00   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15307 12/3/2019     $    21.30 $        25.56    $     71.00   Rx
                                                                                                                                    Page 52 of 169




S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   15308 12/3/2019     $    15.72 $        18.86    $     52.40   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   23954               $    28.53 $        34.24    $     95.10   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   23955               $    42.10 $        50.52    $    140.32   Rx
S-1/D    Vahagn Koshkaryan   Buena Vista Medical Services   23956               $    39.45 $        47.34    $    131.51   Rx
S-1/D    Jacob Emrani        Buena Vista Medical Services   23969               $    30.14 $        36.17    $    100.45   Rx
S-1/D    Jacob Emrani        Buena Vista Medical Services   23970               $    44.30 $        53.16    $    147.66   Rx
TECUMSEH-Infinity MR Fund

List of Receivables for Series-1/Intake D
                                                                                                   Receivables
Intake   Lawyer                   Provider                           BillId Date Paid       Purch Price      Cost          GFB Amount Fund Type
S-1/D    Kevin Danesh             Buena Vista Medical Services       16440    7/3/2019      $    37.24 $        44.69      $    124.12   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15744 12/3/2019        $    34.99 $        41.99      $    116.64   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15745 12/3/2019        $    18.96 $        22.75      $     63.20   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15746 12/3/2019        $    26.04 $        31.25      $     86.81   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15748 11/4/2019        $    32.24 $        38.69      $    107.45   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15750 10/1/2019        $    34.99 $        41.99      $    116.64   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       15751 11/4/2019        $    34.99 $        41.99      $    116.64   Rx
                                                                                                                                                                            Case 21-01167-abl




S-1/D    Frank Fasel              Buena Vista Medical Services       15752 11/4/2019        $    26.04 $        31.25      $     86.81   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       16909    3/4/2020      $    37.63 $        45.16      $    125.44   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       17372    4/3/2020      $    36.70 $        44.04      $    122.32   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       17998    5/5/2020      $    36.70 $        44.04      $    122.32   Rx
S-1/D    Frank Fasel              Buena Vista Medical Services       24464                  $    20.37 $        24.44      $     67.91   Rx
                                                                                                                                                                            Doc 75-1




                                                                                            $ 95,269.19 $ 114,323.03       $ 268,556.98




**** This List of Receivables supporting Series 1-Intake D in the amount of US$268,556.98 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 234.91% of the purchased total of $114,323.03.


         William B Dalzell
         CFO, Forget-the-Market Limited
                                                                                                                                                                            Entered 04/29/22 00:00:58




         Co-Manager for Tecumseh-Infinity MR Fund
                                                                                                                                                                            Page 53 of 169
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                       EXHIBIT E
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                      Receivables                                Funding
Intake   ClaimId Lawyer                   Provider                                       BillId   Date Paid   Purchase Price           Cost        GFB Amount     Type

S-1/E    18535   Reginald A Greene        Peak Orthopedics & Spine PLLC                  23981    7/23/2020   $      436.00   $       523.20   $      1,090.00     PI
S-1/E    18535   Reginald A Greene        Peak Orthopedics & Spine PLLC                  23982    7/23/2020   $      330.40   $       396.48   $        826.00     PI
S-1/E    18535   Reginald A Greene        Health Images                                  24755                $      550.00   $       660.00   $      1,742.00    MRI
S-1/E    19347   Bret Griffin             Stat Diagnostics                               24633    8/5/2020    $    1,800.00   $     2,160.00   $     11,950.00    MRI
S-1/E    19349   Bret Griffin             Stat Diagnostics                               24634    8/5/2020    $      600.00   $       720.00   $      2,950.00    MRI
                                                                                                                                                                           Case 21-01167-abl




S-1/E    16219   Matthew R. Birdwell      Preva Advanced Surgicare - The Woodlands LLC   24765                $    3,883.71   $     4,660.45   $     17,653.24    PM
S-1/E    16219   Matthew R. Birdwell      Preva Advanced Surgicare - The Woodlands LLC   24766                $      612.14   $       734.57   $      2,782.44    PM
S-1/E     6536   Nicholas Lasso           Neuromonitoring Associates                     24507    8/13/2020   $    2,500.00   $     3,000.00   $     31,424.00    PM
S-1/E     6536   Nicholas Lasso           Neuromonitoring Associates                     24506    8/13/2020   $    2,000.00   $     2,400.00   $     16,491.00     PI
S-1/E     6536   Nicholas Lasso           Neuroradium LLC                                24559    8/13/2020   $      688.00   $       825.60   $      1,720.00     PI
S-1/E    18469   Reginald A Greene        Perimeter Orthopaedics PC                      24446    7/23/2020   $      281.12   $       337.34   $        702.80     PI
                                                                                                                                                                           Doc 75-1




S-1/E    18469   Reginald A Greene        North Atlanta Surgical Associates              24739    8/13/2020   $      273.00   $       327.60   $        650.00     PI
S-1/E    19453   David W. Bergquist       Preva Advanced Surgicare - The Woodlands LLC   24767                $    2,396.28   $     2,875.54   $     10,892.20    PM
S-1/E    19351   Spagnoletti Associates   Stat Diagnostics                               24635    8/5/2020    $    2,400.00   $     2,880.00   $     13,350.00    MRI
S-1/E    19353   Bret Griffin             Stat Diagnostics                               24636    8/5/2020    $      600.00   $       720.00   $      4,500.00    MRI
S-1/E    19355   Bret Griffin             Stat Diagnostics                               24637    8/5/2020    $    1,200.00   $     1,440.00   $      9,000.00    MRI
S-1/E    19357   Adame & Garza            Stat Diagnostics                               24638    8/5/2020    $    1,200.00   $     1,440.00   $      7,450.00    MRI
S-1/E    19359   Stewart J. Guss          Stat Diagnostics                               24639    8/5/2020    $    1,200.00   $     1,440.00   $      9,000.00    MRI
S-1/E    19361   Renaulda Perkins         Stat Diagnostics                               24640    8/5/2020    $      600.00   $       720.00   $      4,500.00    MRI
S-1/E    19455   Nicholas M. Wills        Stat Diagnostics                               24768                $    2,396.28   $     2,875.54   $     10,892.20    PM
S-1/E    19455   Nicholas M. Wills        Stat Diagnostics                               24769                $    3,883.71   $     4,660.45   $     17,653.24    PM
S-1/E    19363   Kumar Law Firm           Stat Diagnostics                               24641     8/5/2020   $      600.00   $       720.00   $      4,500.00    MRI
S-1/E     9223   Jonathan Broderick       Pain Management Specialists of Atlanta PC      24646    8/13/2020   $       58.50   $        70.20   $        130.00    PM
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24378    7/23/2020   $      112.50   $       135.00   $        250.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24442    7/23/2020   $      151.20   $       181.44   $        336.00     PI
                                                                                                                                                                           Entered 04/29/22 00:00:58




S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24585    8/13/2020   $      179.10   $       214.92   $        398.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24586    8/13/2020   $      160.20   $       192.24   $        356.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24587    8/13/2020   $      151.20   $       181.44   $        336.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24588    8/13/2020   $      151.20   $       181.44   $        336.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24589    8/13/2020   $      151.20   $       181.44   $        336.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24697    8/13/2020   $      144.90   $       173.88   $        322.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24698    8/13/2020   $      151.20   $       181.44   $        336.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24699    8/13/2020   $      112.50   $       135.00   $        250.00     PI
S-1/E     9347   Natanya Brooks           Peachtree Orthopaedic Clinic                   24736                $      151.20   $       181.44   $        336.00     PI
                                                                                                                                                                           Page 55 of 169




S-1/E    19365   Kumar Law Firm           Stat Diagnostics                               24642     8/5/2020   $      600.00   $       720.00   $      4,500.00    MRI
S-1/E    18441   Miguel A. Adame          Stat Diagnostics                               24643    8/5/2020    $      600.00   $       720.00   $      2,950.00    MRI
S-1/E    19255   Reginald A Greene        (AHI) American Health Imaging                  24454    7/23/2020   $      650.00   $       780.00   $      2,370.00    MRI
S-1/E    19195   William L. Swank II      Perimeter Orthopaedics PC                      24367    7/23/2020   $      482.96   $       579.55   $      1,207.40     PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                      Receivables                          Funding
Intake   ClaimId   Lawyer                   Provider                                    BillId   Date Paid    Purchase Price        Cost     GFB Amount     Type
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                  24368    7/23/2020   $       220.50 $     264.60   $      630.00      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                  24369    7/23/2020   $       126.00 $     151.20   $      360.00      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                  24433    7/23/2020   $       126.00 $     151.20   $      360.00      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                  24434    7/23/2020   $       140.00 $     168.00   $      400.00      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                  24486    7/23/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                  24487    7/23/2020   $       174.82 $     209.78   $      499.50      PI
                                                                                                                                                                     Case 21-01167-abl




S-1/E     19195    William L. Swank II      Perimeter Orthopaedics PC                   24562    8/13/2020   $       400.00 $     480.00   $    1,000.00     MRI
S-1/E     19195    William L. Swank II      Perimeter Orthopaedics PC                   24563    8/13/2020   $       216.38 $     259.66   $      540.95      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                  24608    8/13/2020   $       168.88 $     202.66   $      482.50      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                  24609    8/13/2020   $       164.68 $     197.62   $      470.50      PI
S-1/E     19195    William L. Swank II      BENCHMARK PHYSICAL THERAPY                  24711    8/13/2020   $       150.68 $     180.82   $      430.50      PI
S-1/E     19367    Jonathan S. Harris       Stat Diagnostics                            24644     8/5/2020   $     1,200.00 $ 1,440.00     $    9,000.00     MRI
                                                                                                                                                                     Doc 75-1




S-1/E     17451    Natanya Brooks           Safeway Psychological Services              24735    8/13/2020   $       110.00 $     132.00   $      275.00      PI
S-1/E      5718    Alyssa Martins           J & J Medical Inc                           23987    7/23/2020   $       252.40 $     302.88   $      631.00      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                  24366    7/23/2020   $       179.55 $     215.46   $      513.00      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                  24435    7/23/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                  24436    7/23/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                  24483    7/23/2020   $       145.95 $     175.14   $      417.00      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                  24590    8/13/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E     11123    Kathryn Burmeister       BENCHMARK PHYSICAL THERAPY                  24591    8/13/2020   $       174.82 $     209.78   $      499.50      PI
S-1/E      8331    Joe Ray Rodriguez        Stat Diagnostics                            24645     8/5/2020   $       600.00 $     720.00   $    4,500.00     MRI
S-1/E     19369    Carlos Hughes            Stat Diagnostics                            24647     8/5/2020   $     1,200.00 $ 1,440.00     $    7,450.00     MRI
S-1/E     19371    Pulkit Moudgil           Stat Diagnostics                            24648     8/5/2020   $     1,800.00 $ 2,160.00     $   11,950.00     MRI
S-1/E     19245    John Leslie              Non-Surgical Orthopaedics PC                24444    7/23/2020   $       284.00 $     340.80   $      710.00     PM
S-1/E     19245    John Leslie              Non-Surgical Orthopaedics PC                24573    8/13/2020   $       208.00 $     249.60   $      520.00     PM
S-1/E     19241    Ronald Chalker           Specialty Orthopaedics PC                   24432    7/23/2020   $         70.00 $     84.00   $      175.00      PI
                                                                                                                                                                     Entered 04/29/22 00:00:58




S-1/E     19457    E. Nadia Sifuentes       Stat Diagnostics                            24770                $     2,812.35 $ 3,374.82     $   12,783.41     PM
S-1/E     19457    E. Nadia Sifuentes       Stat Diagnostics                            24771                $     4,077.57 $ 4,893.08     $   18,534.40     PM
S-1/E     19459    Ryan M. Snider           Stat Diagnostics                            24772                $     2,396.28 $ 2,875.54     $   10,892.20     PM
S-1/E     17365    Jenaye Peterson          Family Dental Solutions                     24445    7/23/2020   $       475.20 $     570.24   $    1,188.00      PI
S-1/E     19461    Michael J. Lowenberg     Stat Diagnostics                            24773                $     3,548.78 $ 4,258.54     $   16,130.82     PM
S-1/E      8430    Peter Ross               Pain Management Specialists of Atlanta PC   23983    7/23/2020   $     1,327.50 $ 1,593.00     $    2,950.00     PM
S-1/E      8430    Peter Ross               GA Pain Management Center LLC               23984    7/23/2020   $     5,715.00 $ 6,858.00     $   12,700.00      PI
S-1/E      8430    Peter Ross               Pain Management Specialists of Atlanta PC   24058    7/23/2020   $         87.75 $    105.30   $      195.00     PM
S-1/E     19373    Thornton & Thornton      Stat Diagnostics                            24649     8/5/2020   $       600.00 $     720.00   $    2,950.00     MRI
                                                                                                                                                                     Page 56 of 169




S-1/E      8525    Christopher J. Leavitt   Stat Diagnostics                            24650     8/5/2020   $       600.00 $     720.00   $    4,500.00     MRI
S-1/E     16323    Matthew R. Birdwell      Stat Diagnostics                            24774                $     2,812.35 $ 3,374.82     $   12,783.41     PM
S-1/E     16323    Matthew R. Birdwell      Stat Diagnostics                            24775                $     1,548.79 $ 1,858.55     $    7,039.96     PM
S-1/E     18473    Jay Halloway             South Atlanta MUA Center                    24491    7/21/2020   $    12,330.00 $ 14,796.00    $   49,320.00     PM
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                Receivables                              Funding
Intake   ClaimId   Lawyer                   Provider                              BillId   Date Paid    Purchase Price            Cost     GFB Amount     Type
S-1/E      6411    Matthew Broun            Non-Surgical Orthopaedics PC          24112    7/23/2020   $       208.00 $         249.60   $      520.00     PM
S-1/E      6411    Matthew Broun            Non-Surgical Orthopaedics PC          24272    7/23/2020   $     1,012.00 $       1,214.40   $    2,530.00     PM
S-1/E      6411    Matthew Broun            The Center for Spine Procedures       24273    7/23/2020   $     1,512.00 $       1,814.40   $    3,780.00     PM
S-1/E     19375    Carmen Elizalde          Stat Diagnostics                      24651     8/5/2020   $     1,800.00 $       2,160.00   $   10,400.00     MRI
S-1/E     19283    Natanya Brooks           Safeway Psychological Services        24570    8/13/2020   $        92.00 $         110.40   $      230.00      PI
S-1/E     19377    Caroline Adams           Stat Diagnostics                      24652     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
                                                                                                                                                                   Case 21-01167-abl




S-1/E      8715    Ali Salimi               Polaris Center For Outpatients        24430    7/23/2020   $     1,225.52 $       1,470.62   $    3,501.50      PI
S-1/E      8715    Ali Salimi               Polaris Spine & Neurosurgery Center   24431    7/23/2020   $       630.00 $         756.00   $    1,575.00      PI
S-1/E      8715    Ali Salimi               Polaris Spine & Neurosurgery Center   24511    8/13/2020   $       154.00 $         184.80   $      385.00      PI
S-1/E     19379    Hilda L. Sibrian         Stat Diagnostics                      24690     8/5/2020   $     1,200.00 $       1,440.00   $    7,450.00     MRI
S-1/E     19379    Hilda L. Sibrian         Stat Diagnostics                      24691     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19381    Bret Griffin             Stat Diagnostics                      24692     8/5/2020   $     1,200.00 $       1,440.00   $    7,450.00     MRI
                                                                                                                                                                   Doc 75-1




S-1/E     18461    W. Clark Martin IV       Stat Diagnostics                      24693     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19383    Bret Griffin             Stat Diagnostics                      24694     8/5/2020   $     1,200.00 $       1,440.00   $    7,450.00     MRI
S-1/E     19385    W. Clark Martin IV       Stat Diagnostics                      24695     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E      7679    CORY HILTON              Durango Outpatient Surgery Center     24502    7/23/2020   $     2,270.45 $       2,724.54   $    6,487.00     PM
S-1/E     19463    Stephanie Hay            Stat Diagnostics                      24776                $     4,077.57 $       4,893.08   $   18,534.40     PM
S-1/E     19465    Nicholas M. Wills        Stat Diagnostics                      24777                $       154.00 $         184.80   $      700.00     PM
S-1/E     19465    Nicholas M. Wills        Stat Diagnostics                      24778                $     1,548.79 $       1,858.55   $    7,039.96     PM
S-1/E     19465    Nicholas M. Wills        Stat Diagnostics                      24779                $       221.94 $         266.33   $    1,008.81     PM
S-1/E     19467    Abraham Garcia           Stat Diagnostics                      24780                $     4,909.70 $       5,891.64   $   22,316.82     PM
S-1/E     16333    N/A                      Stat Diagnostics                      24781                $     5,324.97 $       6,389.96   $   24,204.40     PM
S-1/E      8035    CORY HILTON              Durango Outpatient Surgery Center     23986    7/23/2020   $     2,400.65 $       2,880.78   $    6,859.00     PM
S-1/E     16363    Bergquist Law Firm       Stat Diagnostics                      24782                $     2,812.35 $       3,374.82   $   12,783.41     PM
S-1/E     18467    Hilda L. Sibrian         Stat Diagnostics                      24696     8/5/2020   $       600.00 $         720.00   $    2,950.00     MRI
S-1/E     19193    Martin Futrell           Family Dental Solutions               24365    7/23/2020   $       140.00 $         168.00   $      350.00      PI
                                                                                                                                                                   Entered 04/29/22 00:00:58




S-1/E     19193    Martin Futrell           Family Dental Solutions               24558    8/13/2020   $     1,434.00 $       1,720.80   $    3,585.00      PI
S-1/E     19387    Kumar Law Firm           Stat Diagnostics                      24700     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     19389    Adam Ramji               Stat Diagnostics                      24701     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     19391    Thomas J Henry           Stat Diagnostics                      24702     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19393    Truc T. Le               Stat Diagnostics                      24703     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E      7505    Edward Kim               Peachtree Orthopaedic Clinic          23988    7/23/2020   $       233.20 $         279.84   $      502.00      PI
S-1/E     19395    Christopher J. Leavitt   Stat Diagnostics                      24704     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19251    Ronald Chalker           Carrollton Orthopaedic Clinic         24450    7/23/2020   $       158.80 $         190.56   $      397.00      PI
S-1/E     19397    Sam K. Mukerji           Stat Diagnostics                      24705     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
                                                                                                                                                                   Page 57 of 169




S-1/E     16335    Stewart J. Guss          Stat Diagnostics                      24783                $     2,131.89 $       2,558.27   $    9,690.41     PM
S-1/E     18533    Zachary Nelson           Safeway Psychological Services        23979    7/23/2020   $       654.00 $         784.80   $    1,635.00      PI
S-1/E     18533    Zachary Nelson           Safeway Psychological Services        23980    7/23/2020   $       844.00 $       1,012.80   $    2,110.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic          24106    7/23/2020   $       179.10 $         214.92   $      398.00      PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                      Receivables                              Funding
Intake   ClaimId   Lawyer                   Provider                                    BillId   Date Paid    Purchase Price            Cost     GFB Amount     Type
S-1/E     18533    Zachary Nelson           Safeway Psychological Services              24107    7/23/2020   $       436.00 $         523.20   $    1,090.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24108    7/23/2020   $       179.10 $         214.92   $      398.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24488    7/23/2020   $       244.80 $         293.76   $      544.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24489    7/23/2020   $       142.20 $         170.64   $      316.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24490    7/23/2020   $       109.80 $         131.76   $      244.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24575    8/13/2020   $       148.50 $         178.20   $      330.00      PI
                                                                                                                                                                         Case 21-01167-abl




S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24747                $       215.10 $         258.12   $      478.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24748                $       132.30 $         158.76   $      294.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24749                $       104.40 $         125.28   $      232.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24750                $        93.60 $         112.32   $      208.00      PI
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24751                $        18.00 $          21.60   $       36.00     Rx
S-1/E     18533    Zachary Nelson           Peachtree Orthopaedic Clinic                24752                $       179.10 $         214.92   $      398.00      PI
                                                                                                                                                                         Doc 75-1




S-1/E      9415    Katie Hingerty Barodin   (AHI) American Health Imaging               24510    8/13/2020   $       402.00 $         482.40   $    1,005.00     MRI
S-1/E     19399    Jonathan S. Harris       Stat Diagnostics                            24712     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     19401    Kumar Law Firm           Stat Diagnostics                            24713     8/5/2020   $     1,200.00 $       1,440.00   $    7,450.00     MRI
S-1/E     19403    Christopher J. Leavitt   Stat Diagnostics                            24714     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19405    Adame & Garza            Stat Diagnostics                            24715     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19253    Stephen A. Shea          Pain Management Specialists of Atlanta PC   24451    7/23/2020   $       180.00 $         216.00   $      400.00     PM
S-1/E     19253    Stephen A. Shea          (AHI) American Health Imaging               24453    7/23/2020   $       650.00 $         780.00   $    2,225.00     MRI
S-1/E     19253    Stephen A. Shea          Pain Management Specialists of Atlanta PC   24726    8/13/2020   $         58.50 $         70.20   $      130.00     PM
S-1/E     19407    Anthony G. Buzbee        Stat Diagnostics                            24716     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     17173    Reginald A Greene        Perimeter Orthopaedics PC                   24505    8/13/2020   $       696.35 $         835.62   $    1,899.95      PI
S-1/E     19411    Christopher J. Leavitt   Stat Diagnostics                            24718     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     19409    Thomas J Henry           Stat Diagnostics                            24717     8/5/2020   $     2,400.00 $       2,880.00   $   14,900.00     MRI
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                            24784                $     1,547.87 $       1,857.44   $    7,035.76     PM
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                            24785                $       172.04 $         206.45   $      782.00     PM
                                                                                                                                                                         Entered 04/29/22 00:00:58




S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                            24786                $       154.00 $         184.80   $      700.00     PM
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                            24787                $     1,547.87 $       1,857.44   $    7,035.76     PM
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                            24788                $       172.04 $         206.45   $      782.00     PM
S-1/E     19469    Nicholas M. Wills        Stat Diagnostics                            24789                $       154.00 $         184.80   $      700.00     PM
S-1/E     19413    Kumar Law Firm           Stat Diagnostics                            24719     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E      7835    Teresa Ross              Peachtree Orthopaedic Clinic                24274    7/23/2020   $       160.20 $         192.24   $      356.00      PI
S-1/E      7835    Teresa Ross              Peachtree Orthopaedic Clinic                24602    8/13/2020   $       160.20 $         192.24   $      356.00      PI
S-1/E      4979    Casey Geiger             BENCHMARK PHYSICAL THERAPY                  24441    7/23/2020   $       147.00 $         176.40   $      420.00      PI
S-1/E      4979    Casey Geiger             BENCHMARK PHYSICAL THERAPY                  24482    7/23/2020   $       147.00 $         176.40   $      420.00      PI
                                                                                                                                                                         Page 58 of 169




S-1/E      4979    Casey Geiger             Legacy Brain & Spine                        24582    8/13/2020   $       220.00 $         264.00   $      550.00     PM
S-1/E      6478    Russell Boston           Legacy Brain & Spine                        24512    8/13/2020   $       220.00 $         264.00   $      550.00     PM
S-1/E      6478    Russell Boston           Legacy Brain & Spine                        24513    8/13/2020   $       790.00 $         948.00   $    1,975.00     MRI
S-1/E      6478    Russell Boston           Legacy Brain & Spine                        24514    8/13/2020   $       180.00 $         216.00   $      450.00     PM
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                      Receivables                              Funding
Intake   ClaimId   Lawyer                   Provider                                    BillId   Date Paid    Purchase Price            Cost     GFB Amount     Type
S-1/E     19311    Edward Kim               BENCHMARK PHYSICAL THERAPY                  24612    8/13/2020   $       144.38 $         173.26   $      412.50      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24109    7/23/2020   $       121.80 $         146.16   $      348.00      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24110    7/23/2020   $       121.80 $         146.16   $      348.00      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24111    7/23/2020   $       127.05 $         152.46   $      363.00      PI
S-1/E      5237    Jonathan Wade            Legacy Brain & Spine                        24383    7/23/2020   $       180.00 $         216.00   $      450.00     PM
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24437    7/23/2020   $       126.00 $         151.20   $      360.00      PI
                                                                                                                                                                         Case 21-01167-abl




S-1/E      5237    Jonathan Wade            Legacy Brain & Spine                        24561    8/13/2020   $       220.00 $         264.00   $      550.00     PM
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24583    8/13/2020   $       150.68 $         180.82   $      430.50      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24584    8/13/2020   $       126.52 $         151.82   $      361.50      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24707    8/13/2020   $       126.00 $         151.20   $      360.00      PI
S-1/E      5237    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24708    8/13/2020   $       150.68 $         180.82   $      430.50      PI
S-1/E      5237    Jonathan Wade            Legacy Brain & Spine                        24733    8/13/2020   $     2,796.76 $       3,356.11   $    6,991.90      PI
                                                                                                                                                                         Doc 75-1




S-1/E     19415    Caroline Adams           Stat Diagnostics                            24720     8/5/2020   $       600.00 $         720.00   $    2,950.00     MRI
S-1/E     19417    Adam J. Rosenfeld        Stat Diagnostics                            24721     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E      6269    Michael Moran            Resurgens Orthopaedics                      23985    7/23/2020   $     1,444.05 $       1,732.86   $    3,209.00      PI
S-1/E     19419    Jonathan S. Harris       Stat Diagnostics                            24722     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     19421    Tammy D. Harris          Stat Diagnostics                            24723     8/5/2020   $       600.00 $         720.00   $    2,950.00     MRI
S-1/E     19423    Adame & Garza            Stat Diagnostics                            24724     8/5/2020   $     1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/E     19423    Adame & Garza            Stat Diagnostics                            24725     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     17695    Reginald A Greene        Pain Management Specialists of Atlanta PC   24759                $        87.75 $         105.30   $      195.00     PM
S-1/E     19425    Kumar Law Firm           Stat Diagnostics                            24727     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E     18501    Javier Marcos            Stat Diagnostics                            24728     8/5/2020   $     1,200.00 $       1,440.00   $    5,900.00     MRI
S-1/E      5389    Ronald Chalker           Safeway Psychological Services              24556    8/13/2020   $     1,092.00 $       1,310.40   $    2,730.00      PI
S-1/E     17051    Sean McEvoy              Parkaire Consultants Inc                    23975    7/23/2020   $       240.00 $         288.00   $      600.00      PI
S-1/E     17449    Holly Salimi             BENCHMARK PHYSICAL THERAPY                  24113    7/23/2020   $       150.68 $         180.82   $      430.50      PI
S-1/E     17449    Holly Salimi             BENCHMARK PHYSICAL THERAPY                  24114    7/23/2020   $       121.80 $         146.16   $      348.00      PI
                                                                                                                                                                         Entered 04/29/22 00:00:58




S-1/E     17449    Holly Salimi             BENCHMARK PHYSICAL THERAPY                  24440    7/23/2020   $       121.80 $         146.16   $      348.00      PI
S-1/E     17449    Holly Salimi             BENCHMARK PHYSICAL THERAPY                  24485    7/23/2020   $       150.68 $         180.82   $      430.50      PI
S-1/E     17449    Holly Salimi             Carrollton Orthopaedic Clinic               24742                $        78.00 $          93.60   $      195.00      PI
S-1/E     19445    Jonathan Wade            (AHI) American Health Imaging               24756                $       650.00 $         780.00   $    2,225.00     MRI
S-1/E     19445    Jonathan Wade            (AHI) American Health Imaging               24757                $       650.00 $         780.00   $    2,225.00     MRI
S-1/E     19427    Stewart J. Guss          Stat Diagnostics                            24729     8/5/2020   $       600.00 $         720.00   $    4,500.00     MRI
S-1/E      8695    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24331    7/23/2020   $       102.38 $         122.86   $      292.50      PI
S-1/E      8695    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24335    7/23/2020   $       126.52 $         151.82   $      361.50      PI
S-1/E      8695    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24438    7/23/2020   $       150.15 $         180.18   $      429.00      PI
                                                                                                                                                                         Page 59 of 169




S-1/E      8695    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24439    7/23/2020   $       126.52 $         151.82   $      361.50      PI
S-1/E      8695    Jonathan Wade            BENCHMARK PHYSICAL THERAPY                  24484    7/23/2020   $       150.15 $         180.18   $      429.00      PI
S-1/E     17367    Charles E (Ted) Lake Jr. Polaris Spine & Neurosurgery Center         23976    7/23/2020   $       154.00 $         184.80   $      385.00      PI
S-1/E      5067    Natanya Brooks           Non-Surgical Orthopaedics PC                24382    7/23/2020   $       620.00 $         744.00   $    1,550.00     PM
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake E

                                                                                                                                       Receivables                                 Funding
Intake   ClaimId   Lawyer                   Provider                                               BillId      Date Paid       Purchase Price        Cost            GFB Amount     Type
S-1/E      5067    Natanya Brooks           Paradigm Labs LLC                                      24501                      $       277.00 $     332.40          $      555.57      PI
S-1/E     19429    Thornton & Thornton      Stat Diagnostics                                       24730       8/5/2020       $     1,200.00 $ 1,440.00            $    9,000.00     MRI
S-1/E     19431    Kumar Law Firm           Stat Diagnostics                                       24731       8/5/2020       $       600.00 $     720.00          $    4,500.00     MRI

                                                                                                                              $    169,558.06 $ 203,469.67         $ 811,767.32
                                                                                                                                                                                             Case 21-01167-abl




****     This List of Receivables supporting Series 1-Intake E in the amount of US$811,767.32 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
                                                                                                                                                                                             Doc 75-1




         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 398.96% of the purchased total of $203,469.67.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
                                                                                                                                                                                             Entered 04/29/22 00:00:58
                                                                                                                                                                                             Page 60 of 169
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                     EXHIBIT F-1
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                              Receivables                               Funding
Intake   ClaimId Lawyer                     Provider                                       BillId   Date Paid       Purchase Price              Cost    GFB Amount        Type

S-1/F    19315   Theresa Ify Omeludike      Stat Diagnostics                               24614    8/5/2020    $          600.00   $          720.00   $    4,500.00     MRI
S-1/F    19317   Bret Griffin               Stat Diagnostics                               24615    8/5/2020    $          600.00   $          720.00   $    4,500.00     MRI
S-1/F    19319   Mokaram Law Firm           Stat Diagnostics                               24616    8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F     5871   Ronald Chalker             Polaris Spine & Neurosurgery Center            24319    7/23/2020   $          170.00   $          204.00   $      425.00      PI
S-1/F    19247   Ronald Chalker             Athens Orthopedic Clinic                       24447    7/23/2020   $          158.80   $          190.56   $      397.00      PI
S-1/F    19321   Cassandra Evans-Jones      Stat Diagnostics                               24617    8/5/2020    $        1,200.00   $        1,440.00   $    5,900.00     MRI
S-1/F    19323   Kumar Law Firm             Stat Diagnostics                               24618    8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
                                                                                                                                                                                  Case 21-01167-abl




S-1/F    19279   Nathan Fitzpatrick         Perimeter Orthopaedics PC                      24566    8/13/2020   $        1,240.35   $        1,488.42   $    3,100.87     MRI
S-1/F    19279   Nathan Fitzpatrick         Perimeter Orthopaedics PC                      24567    8/13/2020   $          738.30   $          885.96   $    1,847.00      PI
S-1/F    19325   Kumar Law Firm             Stat Diagnostics                               24619    8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F    19325   Kumar Law Firm             Stat Diagnostics                               24620    8/5/2020    $          600.00   $          720.00   $    2,950.00     MRI
S-1/F    19327   Ciro Samperi               Stat Diagnostics                               24621    8/5/2020    $        1,200.00   $        1,440.00   $    7,450.00     MRI
                                                                                                                                                                                  Doc 75-1




S-1/F    19329   Kumar Law Firm             Stat Diagnostics                               24622    8/5/2020    $          600.00   $          720.00   $    4,500.00     MRI
S-1/F     8751   Bret Griffin               Stat Diagnostics                               24623    8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F     8753   Bret Griffin               Stat Diagnostics                               24624    8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F    19267   Raymond B. Lakes           South Atlanta MUA Center                       24515    7/30/2020   $        6,380.50   $        7,656.60   $   25,522.00     PM
S-1/F    19439   Stephanie Hay              Preva Advanced Surgicare - The Woodlands LLC   24743                $        1,401.39   $        1,681.67   $    6,369.95     PM
S-1/F     6458   Paul Kaufman               Non-Surgical Orthopaedics PC                   23989    7/23/2020   $          208.00   $          249.60   $      520.00     PM
S-1/F     6458   Paul Kaufman               Non-Surgical Orthopaedics PC                   23990    7/23/2020   $          320.00   $          384.00   $      800.00     PM
S-1/F     6458   Paul Kaufman               Non-Surgical Orthopaedics PC                   23991    7/23/2020   $        2,634.80   $        3,161.76   $    6,587.00     PM
S-1/F     6458   Paul Kaufman               The Center for Spine Procedures                23992    7/23/2020   $        8,048.00   $        9,657.60   $   20,120.00     PM
S-1/F     6458   Paul Kaufman               Polaris Spine & Neurosurgery Center            24572    8/13/2020   $          354.00   $          424.80   $      885.00      PI
S-1/F    19331   George K. Farah            Stat Diagnostics                               24625    8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
S-1/F    19441   Abraham Garcia             Preva Advanced Surgicare - The Woodlands LLC   24744                $        2,812.35   $        3,374.82   $   12,783.41     PM
S-1/F    19441   Abraham Garcia             Preva Advanced Surgicare - The Woodlands LLC   24745                $          432.23   $          518.68   $    1,964.70     PM
S-1/F    19441   Abraham Garcia             Preva Advanced Surgicare - The Woodlands LLC   24746                $          154.00   $          184.80   $      700.00     PM
S-1/F    19333   Thornton & Thornton        Stat Diagnostics                               24626    8/5/2020    $        1,200.00   $        1,440.00   $    9,000.00     MRI
                                                                                                                                                                                  Entered 04/29/22 00:00:58




S-1/F     6307   Ronald Chalker             Outpatient Imaging                             24452    8/13/2020   $          161.60   $          193.92   $      404.00     MRI
S-1/F     6307   Ronald Chalker             Northside Hospital                             24564    7/30/2020   $       37,809.80   $       45,371.76   $   94,524.50      PI
S-1/F     6307   Ronald Chalker             North Atlanta Surgical Associates              24753                $        6,300.00   $        7,560.00   $   15,000.00      PI
S-1/F    19437   Charles E (Ted) Lake Jr.   Perimeter Orthopaedics PC                      24740                $          456.96   $          548.35   $    1,142.40      PI
S-1/F    19437   Charles E (Ted) Lake Jr.   (AHI) American Health Imaging                  24741                $          402.00   $          482.40   $    1,005.00     MRI
S-1/F    19335   Theresa Ify Omeludike      Stat Diagnostics                               24627    8/5/2020    $        1,800.00   $        2,160.00   $   10,400.00     MRI
S-1/F    19337   Theresa Ify Omeludike      Stat Diagnostics                               24628    8/5/2020    $        1,200.00   $        1,440.00   $    7,450.00     MRI
S-1/F    14987   Reginald A Greene          Resurgens Orthopaedics                         24380    7/23/2020   $           73.85   $           88.62   $      164.12      PI
                                                                                                                                                                                  Page 62 of 169




S-1/F    14987   Reginald A Greene          Resurgens Orthopaedics                         24429    7/23/2020   $          240.75   $          288.90   $      535.00      PI
S-1/F    18531   Zachary Nelson             Safeway Psychological Services                 23977    7/23/2020   $          844.00   $        1,012.80   $    2,110.00      PI
S-1/F    18531   Zachary Nelson             Safeway Psychological Services                 23978    7/23/2020   $          436.00   $          523.20   $    1,090.00      PI
S-1/F    18531   Zachary Nelson             Safeway Psychological Services                 24379    7/23/2020   $          328.00   $          393.60   $      820.00      PI
S-1/F    18531   Zachary Nelson             Safeway Psychological Services                 24509    8/13/2020   $          110.00   $          132.00   $      275.00      PI
S-1/F    18531   Zachary Nelson             Safeway Psychological Services                 24581    8/13/2020   $          110.00   $          132.00   $      275.00      PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                                Receivables                               Funding
Intake   ClaimId   Lawyer                     Provider                                       BillId   Date Paid       Purchase Price               Cost   GFB Amount        Type
S-1/F     19339    Bret Griffin               Stat Diagnostics                               24629    8/5/2020    $        1,200.00 $          1,440.00   $    9,000.00     MRI
S-1/F     19341    Kumar Law Firm             Stat Diagnostics                               24630    8/5/2020    $        1,200.00 $          1,440.00   $    7,450.00     MRI
S-1/F      8699    Sean McEvoy                Safeway Psychological Services                 24443    7/23/2020   $          328.00 $            393.60   $      820.00       PI
S-1/F      9519    Peter Ross                 Pain Consultants of Atlanta                    24706    8/13/2020   $          116.67 $            140.00   $      307.03      PM
S-1/F     19443    Stewart J. Guss            Preva Advanced Surgicare - The Woodlands LLC   24754                $        2,812.35 $          3,374.82   $   12,783.41      PM
S-1/F      5111    Neil Putnam                Peachtree Orthopaedic Clinic                   24503                $          398.70 $            478.44   $      886.00       PI
S-1/F      5111    Neil Putnam                Peachtree Orthopaedic Clinic                   24504    8/13/2020   $           90.00 $            108.00   $      180.00      Rx
                                                                                                                                                                                    Case 21-01167-abl




S-1/F     19277    Fariba Bayani              (AHI) American Health Imaging                  24560    8/13/2020   $        1,300.00 $          1,560.00   $    4,595.00     MRI
S-1/F     19433    Riah Greathouse            Family Dental Solutions                        24732    8/13/2020   $          140.00 $            168.00   $      350.00       PI
S-1/F     19249    Donald Paradiso            Las Vegas Sleep Center                         24448    7/23/2020   $          105.00 $            126.00   $      300.00       PI
S-1/F     19249    Donald Paradiso            Las Vegas Sleep Center                         24449    7/23/2020   $          280.00 $            336.00   $      800.00       PI
S-1/F     19249    Donald Paradiso            Las Vegas Sleep Center                         24498    7/23/2020   $          105.00 $            126.00   $      300.00       PI
S-1/F     19249    Donald Paradiso            Las Vegas Sleep Center                         24499    7/23/2020   $          322.00 $            386.40   $      920.00       PI
                                                                                                                                                                                    Doc 75-1




S-1/F     19249    Donald Paradiso            Las Vegas Sleep Center                         24500    7/23/2020   $          280.00 $            336.00   $      800.00       PI
S-1/F     19447    Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24760                $          154.00 $            184.80   $      700.00      PM
S-1/F     19447    Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24761                $        1,548.79 $          1,858.55   $    7,039.96      PM
S-1/F     19447    Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24762                $          221.94 $            266.33   $    1,008.81      PM
S-1/F     19281    Ronald Chalker             BENCHMARK PHYSICAL THERAPY                     24568    8/13/2020   $          137.38 $            164.86   $      392.50       PI
S-1/F     19281    Ronald Chalker             Legacy Brain & Spine                           24569    8/13/2020   $          274.00 $            328.80   $      685.00      PM
S-1/F     19281    Ronald Chalker             BENCHMARK PHYSICAL THERAPY                     24610    8/13/2020   $          165.72 $            198.86   $      473.50       PI
S-1/F     19281    Ronald Chalker             Legacy Brain & Spine                           24611    8/13/2020   $          276.00 $            331.20   $      690.00      PM
S-1/F     19281    Ronald Chalker             BENCHMARK PHYSICAL THERAPY                     24709    8/13/2020   $          154.88 $            185.86   $      442.50       PI
S-1/F     19281    Ronald Chalker             BENCHMARK PHYSICAL THERAPY                     24710    8/13/2020   $          126.00 $            151.20   $      360.00       PI
S-1/F      9321    Samuel Johnson             Bethea CPS P.C.                                24557    8/13/2020   $          116.00 $            139.20   $      290.00       PI
S-1/F      9321    Samuel Johnson             Perimeter Orthopaedics PC                      24571    8/13/2020   $           40.36 $             48.43   $      100.90      Rx
S-1/F      9321    Samuel Johnson             Perimeter Orthopaedics PC                      24758                $           89.40 $            107.28   $      223.50       PI
S-1/F     19313    Theodore Berman            South Atlanta MUA Center                       24613    8/10/2020   $       10,230.00 $         12,276.00   $   40,920.00      PM
                                                                                                                                                                                    Entered 04/29/22 00:00:58




S-1/F     19343    J. Moises Cedillos         Stat Diagnostics                               24631    8/5/2020    $          600.00 $            720.00   $    2,950.00     MRI
S-1/F     19435    Charles E (Ted) Lake Jr.   Pain Care LLC                                  24738    8/13/2020   $          480.00 $            576.00   $    1,200.01      PM
S-1/F     19449    David W. Bergquist         Stat Diagnostics                               24763                $        2,131.89 $          2,558.27   $    9,690.41      PM
S-1/F     19451    David W. Bergquist         Preva Advanced Surgicare - The Woodlands LLC   24764                $        2,812.35 $          3,374.82   $   12,783.41      PM
S-1/F      6343    Riah Greathouse            Arizona Pain Treatment Center                  24492    7/23/2020   $          150.90 $            181.08   $      377.23      PM
S-1/F      6343    Riah Greathouse            Arizona Pain Treatment Center                  24493    7/23/2020   $          103.90 $            124.68   $      259.74      PM
S-1/F      6343    Riah Greathouse            Arizona Pain Treatment Center                  24494    7/23/2020   $          150.89 $            181.07   $      377.23      PM
S-1/F      6343    Riah Greathouse            Arizona Pain Treatment Center                  24495    7/23/2020   $          232.85 $            279.42   $      582.12      PM
S-1/F      6343    Riah Greathouse            McDowell Ambulatory Surgery                    24496    7/23/2020   $          857.40 $          1,028.88   $    2,143.50      PM
                                                                                                                                                                                    Page 63 of 169




S-1/F      6343    Riah Greathouse            On Call Anesthesia Surgical                    24497    7/23/2020   $          600.00 $            720.00   $    1,500.00       PI
S-1/F     10999    Ronald Chalker             Non-Surgical Orthopaedics PC                   24057    7/23/2020   $          208.00 $            249.60   $      520.00      PM
S-1/F     10999    Ronald Chalker             Legacy Brain & Spine                           24381    7/23/2020   $          330.00 $            396.00   $      825.00      PM
S-1/F     10999    Ronald Chalker             Legacy Brain & Spine                           24565    8/13/2020   $          220.00 $            264.00   $      550.00      PM
S-1/F     19345    Spagnoletti Associates     Stat Diagnostics                               24632    8/5/2020    $          600.00 $            720.00   $    2,950.00     MRI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                          Receivables                               Funding
Intake   ClaimId Lawyer                     Provider                                   BillId   Date Paid       Purchase Price               Cost   GFB Amount        Type
S-1/F            Leo & Oginni               Stat Diagnostics                           25123                $        1,200.00 $          1,440.00   $    7,450.00     MRI
S-1/F            Ronald Chalker             Athens Orthopedic Clinic                   25026                $           70.80 $             84.96   $      177.00       PI
S-1/F            John Leslie                Georgia Pain Management;Dr. James Ellner   24790                $          120.00 $            144.00   $      300.00      PM
S-1/F            John Leslie                Georgia Pain Management;Dr. James Ellner   24848                $          500.00 $            600.00   $    1,250.00      PM
S-1/F            John Leslie                Samson Pain Center;Dr. James Ellner        24844                $        1,400.00 $          1,680.00   $    3,500.00      PM
S-1/F            Tommy T. Mingledorff       Stat Diagnostics                           25124                $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Jacob Jackson              South Atlanta MUA Center                   24979                $       10,750.00 $         12,900.00   $   43,000.00      PM
                                                                                                                                                                              Case 21-01167-abl




S-1/F            Bret Griffin               Stat Diagnostics                           25130                $        1,800.00 $          2,160.00   $   11,950.00     MRI
S-1/F            Bret Griffin               Stat Diagnostics                           25131                $        1,200.00 $          1,440.00   $    7,450.00     MRI
S-1/F            Christopher J. Leavitt     Stat Diagnostics                           25132                $        1,800.00 $          2,160.00   $   11,325.00     MRI
S-1/F            Richard Paxton             Stat Diagnostics                           25133                $        1,200.00 $          1,440.00   $    5,900.00     MRI
S-1/F            Kumar Law Firm             Stat Diagnostics                           25134                $        1,200.00 $          1,440.00   $    9,000.00     MRI
S-1/F            J S Lopez                  Stat Diagnostics                           25135                $          600.00 $            720.00   $    4,500.00     MRI
                                                                                                                                                                              Doc 75-1




S-1/F            Griselda Alvarado          Stat Diagnostics                           25136                $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Peter Ross                 Peachtree Orthopaedic Clinic               24871                $           42.00 $             50.40   $       84.00      PM
S-1/F            Peter Ross                 Peachtree Orthopaedic Clinic               24862                $          108.00 $            129.60   $      240.00      PM
S-1/F            Peter Ross                 Peachtree Orthopaedic Clinic               24861                $          120.00 $            144.00   $      240.00      PM
S-1/F            Peter Ross                 Peachtree Orthopaedic Clinic               24870                $          346.50 $            415.80   $      770.00      PM
S-1/F            Peter Ross                 Peachtree Orthopaedic Clinic               24869                $        1,077.30 $          1,292.76   $    2,394.00      PM
S-1/F            Adame & Garza              Stat Diagnostics                           25137                $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Kumar Law Firm             Stat Diagnostics                           25138                $        1,200.00 $          1,440.00   $    9,000.00     MRI
S-1/F            Amy Daugherty              South Atlanta MUA Center                   25103                $        7,755.00 $          9,306.00   $   31,020.00      PM
S-1/F            Kumar Law Firm             Stat Diagnostics                           25139                $        1,200.00 $          1,440.00   $    7,450.00     MRI
S-1/F            Charles E (Ted) Lake Jr.   (AHI) American Health Imaging              24953                $          650.00 $            780.00   $    2,370.00     MRI
S-1/F            Charles E (Ted) Lake Jr.   (AHI) American Health Imaging              24955                $          650.00 $            780.00   $    2,225.00     MRI
S-1/F            Charles E (Ted) Lake Jr.   (AHI) American Health Imaging              24954                $        1,300.00 $          1,560.00   $    4,310.00     MRI
S-1/F            Kumar Law Firm             Stat Diagnostics                           25140                $        1,200.00 $          1,440.00   $    7,450.00     MRI
                                                                                                                                                                              Entered 04/29/22 00:00:58




S-1/F            Christopher J. Leavitt     Stat Diagnostics                           25141                $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Charles E (Ted) Lake Jr.   Perimeter Orthopaedics PC                  24872                $          392.86 $            471.43   $      982.15       PI
S-1/F            Trisha Starks              BENCHMARK PHYSICAL THERAPY                 24957                $          140.52 $            168.62   $      401.50       PI
S-1/F            Trisha Starks              BENCHMARK PHYSICAL THERAPY                 24977                $          140.52 $            168.62   $      401.50       PI
S-1/F            Trisha Starks              BENCHMARK PHYSICAL THERAPY                 24978                $          140.52 $            168.62   $      401.50       PI
S-1/F            Trisha Starks              BENCHMARK PHYSICAL THERAPY                 24956                $          201.08 $            241.30   $      574.50       PI
S-1/F            Zachary Nelson             Safeway Psychological Services             24796                $          110.00 $            132.00   $      275.00       PI
S-1/F            Carlos Hughes              Stat Diagnostics                           25142                $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Kumar Law Firm             Stat Diagnostics                           25143                $          600.00 $            720.00   $    4,500.00     MRI
                                                                                                                                                                              Page 64 of 169




S-1/F            Ronald Chalker             BENCHMARK PHYSICAL THERAPY                 24958                $          115.85 $            139.02   $      331.00       PI
S-1/F            Ronald Chalker             BENCHMARK PHYSICAL THERAPY                 25086                $          126.52 $            151.82   $      361.50       PI
S-1/F            Ronald Chalker             BENCHMARK PHYSICAL THERAPY                 25087                $          126.52 $            151.82   $      361.50       PI
S-1/F            Ronald Chalker             BENCHMARK PHYSICAL THERAPY                 25088                $          126.52 $            151.82   $      361.50       PI
S-1/F            Ronald Chalker             BENCHMARK PHYSICAL THERAPY                 25085                $          154.88 $            185.86   $      442.50       PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                            Receivables                              Funding
Intake   ClaimId Lawyer                   Provider                                       BillId   Date Paid       Purchase Price              Cost   GFB Amount        Type
S-1/F            Ronald Chalker           BENCHMARK PHYSICAL THERAPY                     25089                $          154.88 $           185.86   $      442.50       PI
S-1/F            Ronald Chalker           Legacy Brain & Spine                           25084                $          310.00 $           372.00   $      775.00       PI
S-1/F            Samuel Johnson           Perimeter Orthopaedics PC                      24852                $        2,025.62 $         2,430.74   $    5,064.05       PI
S-1/F            Samuel Johnson           Perimeter Orthopaedics PC                      24854                $        2,753.22 $         3,303.86   $    6,883.05       PI
S-1/F            Samuel Johnson           Perimeter Orthopaedics PC                      24853                $        3,906.20 $         4,687.44   $   20,332.90       PI
S-1/F            Ronald Chalker           Atlas Orthopaedics;Duncan Wells MD             24950                $          320.69 $           384.83   $      801.72       PI
S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24800                $          154.00 $           184.80   $      700.00      PM
                                                                                                                                                                               Case 21-01167-abl




S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24801                $          221.94 $           266.33   $    1,008.81      PM
S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24802                $        1,548.79 $         1,858.55   $    7,039.96      PM
S-1/F            Ronald Chalker           Athens Orthopedic Clinic                       24859                $          104.80 $           125.76   $      262.00       PI
S-1/F            Ronald Chalker           Athens Orthopedic Clinic                       24857                $          139.30 $           167.16   $      348.25       PI
S-1/F            Hilda L. Sibrian         Stat Diagnostics                               25144                $        3,000.00 $         3,600.00   $   19,400.00     MRI
S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24833                $          154.00 $           184.80   $      700.00      PM
                                                                                                                                                                               Doc 75-1




S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24837                $          221.94 $           266.33   $    1,008.81      PM
S-1/F            The NMW Law Firm         Preva Advanced Surgicare - The Woodlands LLC   24838                $        1,548.79 $         1,858.55   $    7,039.96      PM
S-1/F            Reginald A Greene        Pain Management Specialists of Atlanta PC      24860                $           87.75 $           105.30   $      195.00      PM
S-1/F            Leo & Oginni             Stat Diagnostics                               25145                $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Brian E. White           Stat Diagnostics                               25146                $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Matthew R. Birdwell      Preva Advanced Surgicare - The Woodlands LLC   24839                $          285.33 $           342.40   $    1,296.95      PM
S-1/F            Matthew R. Birdwell      Preva Advanced Surgicare - The Woodlands LLC   24840                $        1,427.64 $         1,713.17   $    6,489.28      PM
S-1/F            Joel Roth                Non-Surgical Orthopaedics PC                   24791                $          284.00 $           340.80   $      710.00      PM
S-1/F            Joel Roth                Non-Surgical Orthopaedics PC                   25090                $          208.00 $           249.60   $      520.00      PM
S-1/F            Joel Roth                Non-Surgical Orthopaedics PC                   24792                $          284.00 $           340.80   $      710.00      PM
S-1/F            Joseph D. Terry          Stat Diagnostics                               25147                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            K Douglas Cook           MD Pain Care PC                                25020                $           80.00 $            96.00   $      200.00      PM
S-1/F            K Douglas Cook           MD Pain Care PC                                25021                $          140.00 $           168.00   $      350.00      PM
S-1/F            K Douglas Cook           MD Pain Care PC                                25022                $           80.00 $            96.00   $      200.00      PM
                                                                                                                                                                               Entered 04/29/22 00:00:58




S-1/F            K Douglas Cook           MD Pain Care PC                                25079                $           80.00 $            96.00   $      200.00      PM
S-1/F            K Douglas Cook           MD Pain Care PC                                25080                $          100.00 $           120.00   $      250.00      PM
S-1/F            Hilda L. Sibrian         Stat Diagnostics                               25156                $        1,800.00 $         2,160.00   $   10,400.00     MRI
S-1/F            Kumar Law Firm           Stat Diagnostics                               25157                $          600.00 $           720.00   $    2,950.00     MRI
S-1/F            Adame & Garza            Stat Diagnostics                               25158                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Kumar Law Firm           Stat Diagnostics                               25155                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Natanya Brooks           Peachtree Orthopaedic Clinic                   24834                $          179.10 $           214.92   $      398.00      PM
S-1/F            Natanya Brooks           Peachtree Orthopaedic Clinic                   24835                $          322.50 $           387.00   $      645.00      PM
S-1/F            Natanya Brooks           Peachtree Orthopaedic Clinic                   24836                $          525.70 $           630.84   $    1,166.00      PM
                                                                                                                                                                               Page 65 of 169




S-1/F            J. Kyle Beale            Stat Diagnostics                               25159                $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Christopher J. Leavitt   Stat Diagnostics                               25160                $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Reginald A Greene        Non-Surgical Orthopaedics PC                   24951                $          284.00 $           340.80   $      710.00      PM
S-1/F            Andrew Kumar             Stat Diagnostics                               25162                $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Andrew Kumar             Stat Diagnostics                               25161                $        1,200.00 $         1,440.00   $    7,450.00     MRI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                              Receivables                               Funding
Intake   ClaimId Lawyer                     Provider                                       BillId   Date Paid       Purchase Price               Cost   GFB Amount        Type
S-1/F            Reginald A Greene          (AHI) American Health Imaging                  25029                $          318.00 $            381.60   $      795.00     MRI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25096                $          126.00 $            151.20   $      360.00       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25097                $          126.00 $            151.20   $      360.00       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25092                $          126.52 $            151.82   $      361.50       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     24959                $          150.68 $            180.82   $      430.50       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25093                $          150.68 $            180.82   $      430.50       PI
S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25094                $          150.68 $            180.82   $      430.50       PI
                                                                                                                                                                                  Case 21-01167-abl




S-1/F            William L. Swank II        BENCHMARK PHYSICAL THERAPY                     25095                $          150.68 $            180.82   $      430.50       PI
S-1/F            Natanya Brooks             Safeway Psychological Services                 25152                $          220.00 $            264.00   $      550.00       PI
S-1/F            Natanya Brooks             Safeway Psychological Services                 25153                $          292.00 $            350.40   $      730.00       PI
S-1/F            Kumar Law Firm             Stat Diagnostics                               25163                $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Hilda L. Sibrian           Stat Diagnostics                               25165                $        1,800.00 $          2,160.00   $   10,550.00     MRI
S-1/F            Hilda L. Sibrian           Stat Diagnostics                               25166                $        2,400.00 $          2,880.00   $   11,800.00     MRI
                                                                                                                                                                                  Doc 75-1




S-1/F            Sean O'Rourke              Stat Diagnostics                               25164                $        1,800.00 $          2,160.00   $   11,950.00     MRI
S-1/F            Joseph K. Plumbar          Stat Diagnostics                               25167                $          600.00 $            720.00   $    2,950.00     MRI
S-1/F            John Leslie                Non-Surgical Orthopaedics PC                   25028                $          208.00 $            249.60   $      520.00      PM
S-1/F            E. Nadia Sifuentes         Preva Advanced Surgicare - The Woodlands LLC   24843                $        2,097.35 $          2,516.82   $    9,533.41      PM
S-1/F            Hector L. Sandoval         Stat Diagnostics                               25168                $        1,800.00 $          2,160.00   $   11,950.00     MRI
S-1/F            Gordon Remmen              Non-Surgical Orthopaedics PC                   25205                $          720.00 $            864.00   $    1,800.00     MRI
S-1/F            Gordon Remmen              (AHI) American Health Imaging                  25206                $        1,950.00 $          2,340.00   $    6,820.00      PM
S-1/F            Hector L. Sandoval         Stat Diagnostics                               25169                $          600.00 $            720.00   $    4,500.00     MRI
S-1/F            Jenaye Peterson            Family Dental Solutions                        24863                $          771.60 $            925.92   $    1,929.00       PI
S-1/F            Matthew R. Birdwell        Stat Diagnostics                               24928                $        2,812.35 $          3,374.82   $   12,783.41     MRI
S-1/F            Christopher J. Leavitt     Stat Diagnostics                               25170                $          600.00 $            720.00   $    4,875.00     MRI
S-1/F            Madeleine Simmons          South Atlanta MUA Center                       24858                $       29,640.00 $         35,568.00   $ 118,560.00       PM
S-1/F            Charles E (Ted) Lake Jr.   (AHI) American Health Imaging                  24855                $          650.00 $            780.00   $    2,225.00     MRI
S-1/F            Kumar Law Firm             Stat Diagnostics                               25171                $        1,800.00 $          2,160.00   $   11,950.00     MRI
                                                                                                                                                                                  Entered 04/29/22 00:00:58




S-1/F            CORY HILTON                Durango Outpatient Surgery Center              25151                $        5,834.85 $          7,001.82   $   16,671.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24966                $           24.15 $             28.98   $       69.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24968                $           24.15 $             28.98   $       69.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24970                $           24.15 $             28.98   $       69.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     25023                $           24.15 $             28.98   $       69.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24971                $          135.98 $            163.18   $      388.50       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24965                $          194.78 $            233.74   $      556.50       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24967                $          194.78 $            233.74   $      556.50       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24969                $          194.78 $            233.74   $      556.50       PI
                                                                                                                                                                                  Page 66 of 169




S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24972                $          213.15 $            255.78   $      609.00       PI
S-1/F            Holly Salimi               BENCHMARK PHYSICAL THERAPY                     24964                $          236.25 $            283.50   $      675.00       PI
S-1/F            Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24936                $          154.00 $            184.80   $      700.00      PM
S-1/F            Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24938                $          221.94 $            266.33   $    1,008.81      PM
S-1/F            Nicholas M. Wills          Preva Advanced Surgicare - The Woodlands LLC   24937                $        1,548.79 $          1,858.55   $    7,039.96      PM
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                             Receivables                              Funding
Intake   ClaimId Lawyer                    Provider                                       BillId   Date Paid       Purchase Price              Cost   GFB Amount        Type
S-1/F            Jason Holladay            Preva Advanced Surgicare - The Woodlands LLC   24845                $          154.00 $           184.80   $      700.00      PM
S-1/F            Jason Holladay            Preva Advanced Surgicare - The Woodlands LLC   24846                $          432.23 $           518.68   $    1,964.70      PM
S-1/F            Jason Holladay            Preva Advanced Surgicare - The Woodlands LLC   24847                $        2,812.35 $         3,374.82   $   12,783.41      PM
S-1/F            Adame & Garza             Stat Diagnostics                               25203                $          600.00 $           720.00   $    2,950.00     MRI
S-1/F            Adame & Garza             Stat Diagnostics                               25204                $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Bergquist Law Firm        Preva Advanced Surgicare - The Woodlands LLC   24941                $        2,812.35 $         3,374.82   $   12,783.41      PM
S-1/F            Adame & Garza             Stat Diagnostics                               25172                $        1,200.00 $         1,440.00   $    7,450.00     MRI
                                                                                                                                                                                Case 21-01167-abl




S-1/F            Matthew Broun             Non-Surgical Orthopaedics PC                   25091                $          168.00 $           201.60   $      420.00      PM
S-1/F            Stewart J. Guss           Preva Advanced Surgicare - The Woodlands LLC   24942                $        2,131.89 $         2,558.27   $    9,690.41      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   24864                $           31.05 $            37.26   $       69.00       PI
S-1/F            Zachary Nelson            Georgia Eye Physicians & Surgeons              25083                $          262.80 $           315.36   $      657.00      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   24865                $          520.65 $           624.78   $    1,141.00      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   24867                $          699.60 $           839.52   $    3,948.00      PM
                                                                                                                                                                                Doc 75-1




S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   24866                $        1,106.10 $         1,327.32   $    2,458.00      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   24868                $        1,574.10 $         1,888.92   $    3,948.00      PM
S-1/F            Zachary Nelson            Peachtree Orthopaedic Clinic                   25082                $          753.75 $           904.50   $    1,675.00      PM
S-1/F            Katie Hingerty Barodin    Kevin Hicks DO                                 25081                $          240.00 $           288.00   $      240.00       PI
S-1/F            Adame & Garza             Stat Diagnostics                               25173                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Michael Lonati            Non-Surgical Orthopaedics PC                   25099                $          208.00 $           249.60   $      520.00     MRI
S-1/F            Michael Lonati            Non-Surgical Orthopaedics PC                   25098                $          548.00 $           657.60   $    1,370.00     MRI
S-1/F            Michael Lonati            (AHI) American Health Imaging                  25100                $        1,300.00 $         1,560.00   $    4,450.00      PM
S-1/F            Michael Lonati            (AHI) American Health Imaging                  25101                $        1,300.00 $         1,560.00   $    4,450.00      PM
S-1/F            Bret Griffin              Stat Diagnostics                               25174                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Craig Miller              ENT of Georgia LLC                             24856                $          117.31 $           140.77   $      293.28       PI
S-1/F            Bret Griffin              Stat Diagnostics                               25175                $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Kumar Law Firm            Stat Diagnostics                               25177                $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Lozano Law Offices P.C.   Stat Diagnostics                               25176                $        1,800.00 $         2,160.00   $   11,950.00     MRI
                                                                                                                                                                                Entered 04/29/22 00:00:58




S-1/F            Adame & Garza             Stat Diagnostics                               25178                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Michael Lonati            BENCHMARK PHYSICAL THERAPY                     25127                $          131.25 $           157.50   $      375.00       PI
S-1/F            Michael Lonati            BENCHMARK PHYSICAL THERAPY                     25128                $          131.25 $           157.50   $      375.00       PI
S-1/F            Michael Lonati            BENCHMARK PHYSICAL THERAPY                     25129                $          131.25 $           157.50   $      375.00       PI
S-1/F            Michael Lonati            BENCHMARK PHYSICAL THERAPY                     25126                $          225.75 $           270.90   $      645.00       PI
S-1/F            Michael Lonati            Non-Surgical Orthopaedics PC                   25125                $          588.00 $           705.60   $    1,470.00      PM
S-1/F            Kumar Law Firm            Stat Diagnostics                               25179                $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Kumar Law Firm            Stat Diagnostics                               25180                $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Adam J. Rosenfeld         Stat Diagnostics                               25181                $          600.00 $           720.00   $    4,500.00     MRI
                                                                                                                                                                                Page 67 of 169




S-1/F            Jonathan Wade             BENCHMARK PHYSICAL THERAPY                     24962                $          111.65 $           133.98   $      319.00       PI
S-1/F            Jonathan Wade             BENCHMARK PHYSICAL THERAPY                     24961                $          121.80 $           146.16   $      348.00       PI
S-1/F            Jonathan Wade             BENCHMARK PHYSICAL THERAPY                     24975                $          126.00 $           151.20   $      360.00       PI
S-1/F            Jonathan Wade             BENCHMARK PHYSICAL THERAPY                     24976                $          126.00 $           151.20   $      360.00       PI
S-1/F            Jonathan Wade             BENCHMARK PHYSICAL THERAPY                     24960                $          126.52 $           151.82   $      361.50       PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                        Receivables                              Funding
Intake   ClaimId Lawyer               Provider                                       BillId   Date Paid       Purchase Price              Cost   GFB Amount        Type
S-1/F            Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     25031                $          126.52 $           151.82   $      361.50       PI
S-1/F            Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24973                $          150.50 $           180.60   $      430.50       PI
S-1/F            Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     25030                $          150.68 $           180.82   $      430.50       PI
S-1/F            Jonathan Wade        Legacy Brain & Spine                           25034                $          157.50 $           189.00   $      450.00       PI
S-1/F            Jonathan Wade        Legacy Brain & Spine                           25037                $          180.00 $           216.00   $      450.00       PI
S-1/F            Jonathan Wade        Legacy Brain & Spine                           25035                $          220.00 $           264.00   $      550.00       PI
S-1/F            Ronald Chalker       Family Dental Solutions                        25122                $          140.00 $           168.00   $      350.00       PI
                                                                                                                                                                           Case 21-01167-abl




S-1/F            Ronald Chalker       Family Dental Solutions                        25148                $          434.80 $           521.76   $    1,087.00       PI
S-1/F            Marc J. Shuman       Stat Diagnostics                               25182                $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Hilda L. Sibrian     Stat Diagnostics                               25184                $        1,800.00 $         2,160.00   $   10,400.00     MRI
S-1/F            Salazar Velazquez    Stat Diagnostics                               25183                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Salazar Velazquez    Stat Diagnostics                               25185                $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            Joseph D. Terry      Stat Diagnostics                               25186                $        1,200.00 $         1,440.00   $    9,000.00     MRI
                                                                                                                                                                           Doc 75-1




S-1/F            Zachary Nelson       ENT of Georgia LLC                             24952                $          353.02 $           423.62   $      882.56       PI
S-1/F            CORY HILTON          Durango Outpatient Surgery Center              25150                $        5,834.85 $         7,001.82   $   16,671.00       PI
S-1/F            Farrah Martinez      Stat Diagnostics                               25187                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Adame & Garza        Stat Diagnostics                               25188                $          600.00 $           720.00   $    2,950.00     MRI
S-1/F            Richard Kopelman     Non-Surgical Orthopaedics PC                   25112                $          740.00 $           888.00   $    1,850.00     MRI
S-1/F            Richard Kopelman     (AHI) American Health Imaging                  25114                $          402.00 $           482.40   $    1,005.00     MRI
S-1/F            Richard Kopelman     (AHI) American Health Imaging                  25116                $          402.00 $           482.40   $    1,005.00     MRI
S-1/F            Richard Kopelman     (AHI) American Health Imaging                  25119                $          381.60 $           457.92   $      954.00      PM
S-1/F            The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24793                $          154.00 $           184.80   $      700.00      PM
S-1/F            The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24794                $          827.48 $           992.98   $    3,761.28      PM
S-1/F            The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24795                $        6,371.38 $         7,645.66   $   28,960.80      PM
S-1/F            Tammy D. Harris      Stat Diagnostics                               25189                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Mokaram Law Firm     Stat Diagnostics                               25190                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Trisha Starks        Non-Surgical Orthopaedics PC                   24949                $          476.00 $           571.20   $    1,190.00      PM
                                                                                                                                                                           Entered 04/29/22 00:00:58




S-1/F            Jennifer Dunlap      South Atlanta MUA Center                       24980                $        4,729.75 $         5,675.70   $   18,919.00      PM
S-1/F            Nicholas M. Wills    Preva Advanced Surgicare - The Woodlands LLC   24849                $          154.00 $           184.80   $      700.00      PM
S-1/F            Nicholas M. Wills    Preva Advanced Surgicare - The Woodlands LLC   24850                $          221.94 $           266.33   $    1,008.81      PM
S-1/F            Smith & Hassler      Preva Advanced Surgicare - The Woodlands LLC   24851                $        1,416.89 $         1,700.27   $    6,440.41      PM
S-1/F            Hector L. Sandoval   Stat Diagnostics                               25191                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Kumar Law Firm       Stat Diagnostics                               25192                $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Anjali Sharma        Stat Diagnostics                               25193                $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            Stewart J. Guss      Preva Advanced Surgicare - The Woodlands LLC   24797                $        2,396.28 $         2,875.54   $   10,892.20      PM
S-1/F            Abraham Watkins NichoPreva Advanced Surgicare - The Woodlands LLC   24798                $        6,371.38 $         7,645.66   $   28,960.80      PM
                                                                                                                                                                           Page 68 of 169




S-1/F            Kumar Law Firm       Stat Diagnostics                               25194                $        1,200.00 $         1,440.00   $    7,450.00     MRI
S-1/F            Adame & Garza        Stat Diagnostics                               25195                $          600.00 $           720.00   $    2,950.00     MRI
S-1/F            Ali Salimi           Georgia Pain and Spine Solutions               24963                $          333.72 $           400.46   $      834.30      PM
S-1/F            Paul Valdivieso      Stat Diagnostics                               25196                $          600.00 $           720.00   $    2,950.00     MRI
S-1/F            Davis Bozeman        Mariposa Medical Associates                    25019                $          115.15 $           138.18   $      329.00       PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                           Receivables                              Funding
Intake   ClaimId Lawyer                  Provider                                       BillId   Date Paid       Purchase Price              Cost   GFB Amount        Type
S-1/F            Kumar Law Firm          Stat Diagnostics                               25197                $          600.00 $           720.00   $    3,100.00     MRI
S-1/F            Thomas F. Bickham Jr.   Preva Advanced Surgicare - The Woodlands LLC   24799                $        2,812.35 $         3,374.82   $   12,783.41      PM
S-1/F            Adame & Garza           Stat Diagnostics                               25200                $        1,800.00 $         2,160.00   $   11,950.00     MRI
S-1/F            John Zaid               Stat Diagnostics                               25198                $          600.00 $           720.00   $    4,500.00     MRI
S-1/F            W. Clark Martin IV      Stat Diagnostics                               25199                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            R. Todd Elias           Stat Diagnostics                               25201                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Natanya Brooks          Non-Surgical Orthopaedics PC                   25027                $          812.00 $           974.40   $    2,030.00      PM
                                                                                                                                                                              Case 21-01167-abl




S-1/F            Rodney Merwin           Stat Diagnostics                               25202                $        1,200.00 $         1,440.00   $    9,000.00     MRI
S-1/F            Keith Foster            Peachtree Orthopaedic Clinic                   24842                $           60.00 $            72.00   $      120.00      PM
S-1/F            Keith Foster            Peachtree Orthopaedic Clinic                   24841                $        1,164.00 $         1,396.80   $    2,580.00      PM
S-1/F            Keith Foster            Peachtree Orthopaedic Surgery Center           25025                $        4,095.00 $         4,914.00   $    9,100.00      PM
S-1/F            Keith Foster            Peachtree Orthopaedic Clinic                   25154                $        3,733.20 $         4,479.84   $    8,296.00       PI
S-1/F            CORY HILTON             Durango Outpatient Surgery Center              25149                $        4,052.65 $         4,863.18   $   11,579.00       PI
                                                                                                                                                                              Doc 75-1




S-1/F            Nathan Fitzpatrick      Perimeter Orthopaedics PC                      25272                $          216.38 $           259.66   $      540.95       PI
S-1/F            Steven Leibel           (AHI) American Health Imaging                  25217                $        1,300.00 $         1,560.00   $    4,595.00     MRI
S-1/F            Steven Leibel           (AHI) American Health Imaging                  25216                $          650.00 $           780.00   $    2,225.00     MRI
S-1/F            Steven Leibel           BENCHMARK PHYSICAL THERAPY                     25266                $           98.18 $           117.82   $      280.50       PI
S-1/F            Steven Leibel           BENCHMARK PHYSICAL THERAPY                     25215                $          122.85 $           147.42   $      351.00       PI
S-1/F            Steven Leibel           BENCHMARK PHYSICAL THERAPY                     25214                $          122.85 $           147.42   $      351.00       PI
S-1/F            Steven Leibel           BENCHMARK PHYSICAL THERAPY                     25213                $           78.75 $            94.50   $      225.00       PI
S-1/F            Steven Leibel           BENCHMARK PHYSICAL THERAPY                     25212                $          176.40 $           211.68   $      504.00       PI
S-1/F            Steven Leibel           Specialty Orthopaedics PC                      25211                $          452.80 $           543.36   $    1,181.00       PI
S-1/F            Sean McEvoy             Safeway Psychological Services                 25267                $          220.00 $           264.00   $      550.00       PI
S-1/F            Peter Angulo            Durango Outpatient Surgery Center              25264                $        5,834.85 $         7,001.82   $   16,671.00       PI
S-1/F            Peter Ross              Polaris Spine & Neurosurgery Center            25281                $          396.00 $           475.20   $      990.00       PI
S-1/F            Ronald Chalker          BENCHMARK PHYSICAL THERAPY                     25274                $          102.38 $           122.86   $      292.50       PI
S-1/F            Ronald Chalker          BENCHMARK PHYSICAL THERAPY                     25273                $           98.70 $           118.44   $      282.00       PI
                                                                                                                                                                              Entered 04/29/22 00:00:58




S-1/F            W. Winston Briggs       Georgia Pain and Spine Solutions               25270                $          333.72 $           400.46   $      834.30      PM
S-1/F            Peter Ross              GA Pain Management Center LLC                  25261                $        6,525.90 $         7,831.08   $   14,502.00      PM
S-1/F            Peter Ross              GA Pain Management Center LLC                  25260                $        6,525.90 $         7,831.08   $   14,502.00      PM
S-1/F            Peter Ross              Pain Management Specialists of Atlanta PC      25263                $        1,589.40 $         1,907.28   $    3,532.00      PM
S-1/F            Peter Ross              Pain Management Specialists of Atlanta PC      25262                $        1,575.00 $         1,890.00   $    3,500.00      PM
S-1/F            David Bence             South Atlanta MUA Center                       25209                $        1,004.00 $         1,204.80   $    2,868.57      PM
S-1/F            David Bence             South Atlanta MUA Center                       25208                $        1,001.01 $         1,201.21   $    2,860.02      PM
S-1/F            Aj Mitchell             Georgia Eye Physicians & Surgeons              25265                $          397.20 $           476.64   $      993.00       PI
S-1/F            Jonathan Wade           Family Dental Solutions                        25275                $          140.00 $           168.00   $      350.00       PI
                                                                                                                                                                              Page 69 of 169




S-1/F            Jonathan Wade           Peachtree Orthopaedic Clinic                   25277                $          657.05 $           788.46   $    1,447.00      PM
S-1/F            Jonathan Wade           Peachtree Orthopaedic Clinic                   25276                $           36.00 $            43.20   $       72.00      PM
S-1/F            Richard Kopelman        Non-Surgical Orthopaedics PC                   25257                $          284.00 $           340.80   $      710.00      PM
S-1/F            Stephen A. Shea         Pain Management Specialists of Atlanta PC      25271                $           58.50 $            70.20   $      130.00      PM
S-1/F            Casey Geiger            Legacy Brain & Spine                           25280                $          180.00 $           216.00   $      450.00       PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                                            Receivables                                      Funding
Intake   ClaimId Lawyer                     Provider                                             BillId      Date Paid            Purchase Price                    Cost    GFB Amount         Type
S-1/F            Casey Geiger               Legacy Brain & Spine                                 25279                      $            220.00 $                 264.00    $      550.00        PI
S-1/F            Casey Geiger               Legacy Brain & Spine                                 25278                      $          1,580.00 $               1,896.00    $    3,950.00        PI
S-1/F            Zachary Nelson             Northside Hospital                                   25268                      $            652.40 $                 782.88    $    1,631.00        PI
S-1/F            Jennifer Dunlap            South Atlanta MUA Center                             25210                      $          5,560.00 $               6,672.00    $   22,240.00       PM
                                                                                                                             $       400,852.58 $            481,023.10     $ 1,671,274.81
                                                                                                                                                                                                       Case 21-01167-abl




****     This List of Receivables supporting Series 1-Intake F in the amount of US$1,671,274.81 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.
                                                                                                                                                                                                       Doc 75-1




         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 347.44% of the purchased total of $481,023.10.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
                                                                                                                                                                                                       Entered 04/29/22 00:00:58
                                                                                                                                                                                                       Page 70 of 169
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                     EXHIBIT F-2
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                            Receivables                               Funding
Intake   ClaimId   Lawyer                 Provider                                         BillId   Date Paid       Purchase Price            Cost    GFB Amount        Type

S-1/F    19315     Theresa Ify Omeludike Stat Diagnostics                                  24614    8/5/2020    $          600.00   $        720.00   $    4,500.00     MRI
S-1/F    19317     Bret Griffin             Stat Diagnostics                               24615    8/5/2020    $          600.00   $        720.00   $    4,500.00     MRI
S-1/F    19319     Mokaram Law Firm         Stat Diagnostics                               24616    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    5871      Ronald Chalker           Polaris Spine & Neurosurgery Center            24319    7/23/2020   $          170.00   $        204.00   $      425.00      PI
S-1/F    19247     Ronald Chalker           Athens Orthopedic Clinic                       24447    7/23/2020   $          158.80   $        190.56   $      397.00      PI
S-1/F    19321     Cassandra Evans-Jones Stat Diagnostics                                  24617    8/5/2020    $        1,200.00   $      1,440.00   $    5,900.00     MRI
                                                                                                                                                                                Case 21-01167-abl




S-1/F    19323     Kumar Law Firm           Stat Diagnostics                               24618    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    19279     Nathan Fitzpatrick       Perimeter Orthopaedics PC                      24566    8/13/2020   $        1,240.35   $      1,488.42   $    3,100.87     MRI
S-1/F    19279     Nathan Fitzpatrick       Perimeter Orthopaedics PC                      24567    8/13/2020   $          738.30   $        885.96   $    1,847.00      PI
S-1/F    19325     Kumar Law Firm           Stat Diagnostics                               24619    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    19325     Kumar Law Firm           Stat Diagnostics                               24620    8/5/2020    $          600.00   $        720.00   $    2,950.00     MRI
S-1/F    19327     Ciro Samperi             Stat Diagnostics                               24621    8/5/2020    $        1,200.00   $      1,440.00   $    7,450.00     MRI
                                                                                                                                                                                Doc 75-1




S-1/F    19329     Kumar Law Firm           Stat Diagnostics                               24622    8/5/2020    $          600.00   $        720.00   $    4,500.00     MRI
S-1/F    8751      Bret Griffin             Stat Diagnostics                               24623    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    8753      Bret Griffin             Stat Diagnostics                               24624    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    19267     Raymond B. Lakes         South Atlanta MUA Center                       24515    7/30/2020   $        6,380.50   $      7,656.60   $   25,522.00     PM
S-1/F    19439     Stephanie Hay            Preva Advanced Surgicare - The Woodlands LLC   24743                $        1,401.39   $      1,681.67   $    6,369.95     PM
S-1/F    6458      Paul Kaufman             Non-Surgical Orthopaedics PC                   23989    7/23/2020   $          208.00   $        249.60   $      520.00     PM
S-1/F    6458      Paul Kaufman             Non-Surgical Orthopaedics PC                   23990    7/23/2020   $          320.00   $        384.00   $      800.00     PM
S-1/F    6458      Paul Kaufman             Non-Surgical Orthopaedics PC                   23991    7/23/2020   $        2,634.80   $      3,161.76   $    6,587.00     PM
S-1/F    6458      Paul Kaufman             The Center for Spine Procedures                23992    7/23/2020   $        8,048.00   $      9,657.60   $   20,120.00     PM
S-1/F    6458      Paul Kaufman             Polaris Spine & Neurosurgery Center            24572    8/13/2020   $          354.00   $        424.80   $      885.00      PI
S-1/F    19331     George K. Farah          Stat Diagnostics                               24625    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    19441     Abraham Garcia           Preva Advanced Surgicare - The Woodlands LLC   24744                $        2,812.35   $      3,374.82   $   12,783.41     PM
S-1/F    19441     Abraham Garcia           Preva Advanced Surgicare - The Woodlands LLC   24745                $          432.23   $        518.68   $    1,964.70     PM
S-1/F    19441     Abraham Garcia           Preva Advanced Surgicare - The Woodlands LLC   24746                $          154.00   $        184.80   $      700.00     PM
                                                                                                                                                                                Entered 04/29/22 00:00:58




S-1/F    19333     Thornton & Thornton Stat Diagnostics                                    24626    8/5/2020    $        1,200.00   $      1,440.00   $    9,000.00     MRI
S-1/F    6307      Ronald Chalker           Outpatient Imaging                             24452    8/13/2020   $          161.60   $        193.92   $      404.00     MRI
S-1/F    6307      Ronald Chalker           Northside Hospital                             24564    7/30/2020   $       37,809.80   $     45,371.76   $   94,524.50      PI
S-1/F    6307      Ronald Chalker           North Atlanta Surgical Associates              24753                $        6,300.00   $      7,560.00   $   15,000.00      PI
S-1/F    19437     Charles E (Ted) Lake Jr. Perimeter Orthopaedics PC                      24740                $          456.96   $        548.35   $    1,142.40      PI
S-1/F    19437     Charles E (Ted) Lake Jr. (AHI) American Health Imaging                  24741                $          402.00   $        482.40   $    1,005.00     MRI
S-1/F    19335     Theresa Ify Omeludike Stat Diagnostics                                  24627    8/5/2020    $        1,800.00   $      2,160.00   $   10,400.00     MRI
S-1/F    19337     Theresa Ify Omeludike Stat Diagnostics                                  24628    8/5/2020    $        1,200.00   $      1,440.00   $    7,450.00     MRI
S-1/F    14987     Reginald A Greene        Resurgens Orthopaedics                         24380    7/23/2020   $           73.85   $         88.62   $      164.12      PI
                                                                                                                                                                                Page 72 of 169




S-1/F    14987     Reginald A Greene        Resurgens Orthopaedics                         24429    7/23/2020   $          240.75   $        288.90   $      535.00      PI
S-1/F    18531     Zachary Nelson           Safeway Psychological Services                 23977    7/23/2020   $          844.00   $      1,012.80   $    2,110.00      PI
S-1/F    18531     Zachary Nelson           Safeway Psychological Services                 23978    7/23/2020   $          436.00   $        523.20   $    1,090.00      PI
S-1/F    18531     Zachary Nelson           Safeway Psychological Services                 24379    7/23/2020   $          328.00   $        393.60   $      820.00      PI
S-1/F    18531     Zachary Nelson           Safeway Psychological Services                 24509    8/13/2020   $          110.00   $        132.00   $      275.00      PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                            Receivables                               Funding
Intake   ClaimId   Lawyer                   Provider                                       BillId   Date Paid       Purchase Price             Cost   GFB Amount        Type
S-1/F     18531    Zachary Nelson           Safeway Psychological Services                 24581    8/13/2020   $          110.00 $          132.00   $      275.00       PI
S-1/F     19339    Bret Griffin             Stat Diagnostics                               24629    8/5/2020    $        1,200.00 $        1,440.00   $    9,000.00     MRI
S-1/F     19341    Kumar Law Firm           Stat Diagnostics                               24630    8/5/2020    $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F     8699     Sean McEvoy              Safeway Psychological Services                 24443    7/23/2020   $          328.00 $          393.60   $      820.00       PI
S-1/F     9519     Peter Ross               Pain Consultants of Atlanta                    24706    8/13/2020   $          116.67 $          140.00   $      307.03      PM
S-1/F     19443    Stewart J. Guss          Preva Advanced Surgicare - The Woodlands LLC   24754                $        2,812.35 $        3,374.82   $   12,783.41      PM
S-1/F     5111     Neil Putnam              Peachtree Orthopaedic Clinic                   24503                $          398.70 $          478.44   $      886.00       PI
                                                                                                                                                                                Case 21-01167-abl




S-1/F     5111     Neil Putnam              Peachtree Orthopaedic Clinic                   24504    8/13/2020   $           90.00 $          108.00   $      180.00      Rx
S-1/F     19277    Fariba Bayani            (AHI) American Health Imaging                  24560    8/13/2020   $        1,300.00 $        1,560.00   $    4,595.00     MRI
S-1/F     19433    Riah Greathouse          Family Dental Solutions                        24732    8/13/2020   $          140.00 $          168.00   $      350.00       PI
S-1/F     19249    Donald Paradiso          Las Vegas Sleep Center                         24448    7/23/2020   $          105.00 $          126.00   $      300.00       PI
S-1/F     19249    Donald Paradiso          Las Vegas Sleep Center                         24449    7/23/2020   $          280.00 $          336.00   $      800.00       PI
                                                                                                                                                                                Doc 75-1




S-1/F     19249    Donald Paradiso          Las Vegas Sleep Center                         24498    7/23/2020   $          105.00 $          126.00   $      300.00       PI
S-1/F     19249    Donald Paradiso          Las Vegas Sleep Center                         24499    7/23/2020   $          322.00 $          386.40   $      920.00       PI
S-1/F     19249    Donald Paradiso          Las Vegas Sleep Center                         24500    7/23/2020   $          280.00 $          336.00   $      800.00       PI
S-1/F     19447    Nicholas M. Wills        Preva Advanced Surgicare - The Woodlands LLC   24760                $          154.00 $          184.80   $      700.00      PM
S-1/F     19447    Nicholas M. Wills        Preva Advanced Surgicare - The Woodlands LLC   24761                $        1,548.79 $        1,858.55   $    7,039.96      PM
S-1/F     19447    Nicholas M. Wills        Preva Advanced Surgicare - The Woodlands LLC   24762                $          221.94 $          266.33   $    1,008.81      PM
S-1/F     19281    Ronald Chalker           BENCHMARK PHYSICAL THERAPY                     24568    8/13/2020   $          137.38 $          164.86   $      392.50       PI
S-1/F     19281    Ronald Chalker           Legacy Brain & Spine                           24569    8/13/2020   $          274.00 $          328.80   $      685.00      PM
S-1/F     19281    Ronald Chalker           BENCHMARK PHYSICAL THERAPY                     24610    8/13/2020   $          165.72 $          198.86   $      473.50       PI
S-1/F     19281    Ronald Chalker           Legacy Brain & Spine                           24611    8/13/2020   $          276.00 $          331.20   $      690.00      PM
S-1/F     19281    Ronald Chalker           BENCHMARK PHYSICAL THERAPY                     24709    8/13/2020   $          154.88 $          185.86   $      442.50       PI
S-1/F     19281    Ronald Chalker           BENCHMARK PHYSICAL THERAPY                     24710    8/13/2020   $          126.00 $          151.20   $      360.00       PI
S-1/F      9321    Samuel Johnson           Bethea CPS P.C.                                24557    8/13/2020   $          116.00 $          139.20   $      290.00       PI
S-1/F     9321     Samuel Johnson           Perimeter Orthopaedics PC                      24571    8/13/2020   $           40.36 $           48.43   $      100.90      Rx
S-1/F     9321     Samuel Johnson           Perimeter Orthopaedics PC                      24758                $           89.40 $          107.28   $      223.50       PI
                                                                                                                                                                                Entered 04/29/22 00:00:58




S-1/F     19313    Theodore Berman          South Atlanta MUA Center                       24613    8/10/2020   $       10,230.00 $       12,276.00   $   40,920.00      PM
S-1/F     19343    J. Moises Cedillos       Stat Diagnostics                               24631    8/5/2020    $          600.00 $          720.00   $    2,950.00     MRI
S-1/F     19435    Charles E (Ted) Lake Jr. Pain Care LLC                                  24738    8/13/2020   $          480.00 $          576.00   $    1,200.01      PM
S-1/F     19449    David W. Bergquist       Stat Diagnostics                               24763                $        2,131.89 $        2,558.27   $    9,690.41      PM
S-1/F     19451    David W. Bergquist       Preva Advanced Surgicare - The Woodlands LLC   24764                $        2,812.35 $        3,374.82   $   12,783.41      PM
S-1/F     6343     Riah Greathouse          Arizona Pain Treatment Center                  24492    7/23/2020   $          150.90 $          181.08   $      377.23      PM
S-1/F     6343     Riah Greathouse          Arizona Pain Treatment Center                  24493    7/23/2020   $          103.90 $          124.68   $      259.74      PM
S-1/F     6343     Riah Greathouse          Arizona Pain Treatment Center                  24494    7/23/2020   $          150.89 $          181.07   $      377.23      PM
                                                                                                                                                                                Page 73 of 169




S-1/F     6343     Riah Greathouse          Arizona Pain Treatment Center                  24495    7/23/2020   $          232.85 $          279.42   $      582.12      PM
S-1/F     6343     Riah Greathouse          McDowell Ambulatory Surgery                    24496    7/23/2020   $          857.40 $        1,028.88   $    2,143.50      PM
S-1/F     6343     Riah Greathouse          On Call Anesthesia Surgical                    24497    7/23/2020   $          600.00 $          720.00   $    1,500.00       PI
S-1/F     10999    Ronald Chalker           Non-Surgical Orthopaedics PC                   24057    7/23/2020   $          208.00 $          249.60   $      520.00      PM
S-1/F     10999    Ronald Chalker           Legacy Brain & Spine                           24381    7/23/2020   $          330.00 $          396.00   $      825.00      PM
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                        Receivables                               Funding
Intake   ClaimId   Lawyer                   Provider                                   BillId   Date Paid       Purchase Price             Cost   GFB Amount        Type
S-1/F     10999    Ronald Chalker           Legacy Brain & Spine                       24565    8/13/2020   $          220.00 $          264.00   $      550.00      PM
S-1/F     19345    Spagnoletti Associates Stat Diagnostics                             24632    8/5/2020    $          600.00 $          720.00   $    2,950.00     MRI
S-1/F              Leo & Oginni             Stat Diagnostics                           25123                $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F              Ronald Chalker           Athens Orthopedic Clinic                   25026                $           70.80 $           84.96   $      177.00       PI
S-1/F              John Leslie              Georgia Pain Management;Dr. James Ellner   24790                $          120.00 $          144.00   $      300.00      PM
S-1/F              John Leslie              Georgia Pain Management;Dr. James Ellner   24848                $          500.00 $          600.00   $    1,250.00      PM
S-1/F              John Leslie              Samson Pain Center;Dr. James Ellner        24844                $        1,400.00 $        1,680.00   $    3,500.00      PM
                                                                                                                                                                            Case 21-01167-abl




S-1/F              Tommy T. Mingledorff Stat Diagnostics                               25124                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Jacob Jackson            South Atlanta MUA Center                   24979                $       10,750.00 $       12,900.00   $   43,000.00      PM
S-1/F              Bret Griffin             Stat Diagnostics                           25130                $        1,800.00 $        2,160.00   $   11,950.00     MRI
S-1/F              Bret Griffin             Stat Diagnostics                           25131                $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F              Christopher J. Leavitt Stat Diagnostics                             25132                $        1,800.00 $        2,160.00   $   11,325.00     MRI
                                                                                                                                                                            Doc 75-1




S-1/F              Richard Paxton           Stat Diagnostics                           25133                $        1,200.00 $        1,440.00   $    5,900.00     MRI
S-1/F              Kumar Law Firm           Stat Diagnostics                           25134                $        1,200.00 $        1,440.00   $    9,000.00     MRI
S-1/F              J S Lopez                Stat Diagnostics                           25135                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Griselda Alvarado        Stat Diagnostics                           25136                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Peter Ross               Peachtree Orthopaedic Clinic               24871                $           42.00 $           50.40   $       84.00      PM
S-1/F              Peter Ross               Peachtree Orthopaedic Clinic               24862                $          108.00 $          129.60   $      240.00      PM
S-1/F              Peter Ross               Peachtree Orthopaedic Clinic               24861                $          120.00 $          144.00   $      240.00      PM
S-1/F              Peter Ross               Peachtree Orthopaedic Clinic               24870                $          346.50 $          415.80   $      770.00      PM
S-1/F              Peter Ross               Peachtree Orthopaedic Clinic               24869                $        1,077.30 $        1,292.76   $    2,394.00      PM
S-1/F              Adame & Garza            Stat Diagnostics                           25137                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Kumar Law Firm           Stat Diagnostics                           25138                $        1,200.00 $        1,440.00   $    9,000.00     MRI
S-1/F              Amy Daugherty            South Atlanta MUA Center                   25103                $        7,755.00 $        9,306.00   $   31,020.00      PM
S-1/F              Kumar Law Firm           Stat Diagnostics                           25139                $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F              Charles E (Ted) Lake Jr. (AHI) American Health Imaging              24953                $          650.00 $          780.00   $    2,370.00     MRI
S-1/F              Charles E (Ted) Lake Jr. (AHI) American Health Imaging              24955                $          650.00 $          780.00   $    2,225.00     MRI
                                                                                                                                                                            Entered 04/29/22 00:00:58




S-1/F              Charles E (Ted) Lake Jr. (AHI) American Health Imaging              24954                $        1,300.00 $        1,560.00   $    4,310.00     MRI
S-1/F              Kumar Law Firm           Stat Diagnostics                           25140                $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F              Christopher J. Leavitt Stat Diagnostics                             25141                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Charles E (Ted) Lake Jr. Perimeter Orthopaedics PC                  24872                $          392.86 $          471.43   $      982.15       PI
S-1/F              Trisha Starks            BENCHMARK PHYSICAL THERAPY                 24957                $          140.52 $          168.62   $      401.50       PI
S-1/F              Trisha Starks            BENCHMARK PHYSICAL THERAPY                 24977                $          140.52 $          168.62   $      401.50       PI
S-1/F              Trisha Starks            BENCHMARK PHYSICAL THERAPY                 24978                $          140.52 $          168.62   $      401.50       PI
S-1/F              Trisha Starks            BENCHMARK PHYSICAL THERAPY                 24956                $          201.08 $          241.30   $      574.50       PI
                                                                                                                                                                            Page 74 of 169




S-1/F              Zachary Nelson           Safeway Psychological Services             24796                $          110.00 $          132.00   $      275.00       PI
S-1/F              Carlos Hughes            Stat Diagnostics                           25142                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Kumar Law Firm           Stat Diagnostics                           25143                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Ronald Chalker           BENCHMARK PHYSICAL THERAPY                 24958                $          115.85 $          139.02   $      331.00       PI
S-1/F              Ronald Chalker           BENCHMARK PHYSICAL THERAPY                 25086                $          126.52 $          151.82   $      361.50       PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                         Receivables                              Funding
Intake   ClaimId   Lawyer                Provider                                       BillId   Date Paid       Purchase Price            Cost   GFB Amount        Type
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                     25087                $          126.52 $         151.82   $      361.50       PI
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                     25088                $          126.52 $         151.82   $      361.50       PI
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                     25085                $          154.88 $         185.86   $      442.50       PI
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                     25089                $          154.88 $         185.86   $      442.50       PI
S-1/F              Ronald Chalker        Legacy Brain & Spine                           25084                $          310.00 $         372.00   $      775.00       PI
S-1/F              Samuel Johnson        Perimeter Orthopaedics PC                      24852                $        2,025.62 $       2,430.74   $    5,064.05       PI
S-1/F              Samuel Johnson        Perimeter Orthopaedics PC                      24854                $        2,753.22 $       3,303.86   $    6,883.05       PI
                                                                                                                                                                            Case 21-01167-abl




S-1/F              Samuel Johnson        Perimeter Orthopaedics PC                      24853                $        3,906.20 $       4,687.44   $   20,332.90       PI
S-1/F              Ronald Chalker        Atlas Orthopaedics;Duncan Wells MD             24950                $          320.69 $         384.83   $      801.72       PI
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24800                $          154.00 $         184.80   $      700.00      PM
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24801                $          221.94 $         266.33   $    1,008.81      PM
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24802                $        1,548.79 $       1,858.55   $    7,039.96      PM
                                                                                                                                                                            Doc 75-1




S-1/F              Ronald Chalker        Athens Orthopedic Clinic                       24859                $          104.80 $         125.76   $      262.00       PI
S-1/F              Ronald Chalker        Athens Orthopedic Clinic                       24857                $          139.30 $         167.16   $      348.25       PI
S-1/F              Hilda L. Sibrian      Stat Diagnostics                               25144                $        3,000.00 $       3,600.00   $   19,400.00     MRI
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24833                $          154.00 $         184.80   $      700.00      PM
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24837                $          221.94 $         266.33   $    1,008.81      PM
S-1/F              The NMW Law Firm      Preva Advanced Surgicare - The Woodlands LLC   24838                $        1,548.79 $       1,858.55   $    7,039.96      PM
S-1/F              Reginald A Greene     Pain Management Specialists of Atlanta PC      24860                $           87.75 $         105.30   $      195.00      PM
S-1/F              Leo & Oginni          Stat Diagnostics                               25145                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Brian E. White        Stat Diagnostics                               25146                $        1,800.00 $       2,160.00   $   11,950.00     MRI
S-1/F              Matthew R. Birdwell   Preva Advanced Surgicare - The Woodlands LLC   24839                $          285.33 $         342.40   $    1,296.95      PM
S-1/F              Matthew R. Birdwell   Preva Advanced Surgicare - The Woodlands LLC   24840                $        1,427.64 $       1,713.17   $    6,489.28      PM
S-1/F              Joel Roth             Non-Surgical Orthopaedics PC                   24791                $          284.00 $         340.80   $      710.00      PM
S-1/F              Joel Roth             Non-Surgical Orthopaedics PC                   25090                $          208.00 $         249.60   $      520.00      PM
S-1/F              Joel Roth             Non-Surgical Orthopaedics PC                   24792                $          284.00 $         340.80   $      710.00      PM
S-1/F              Joseph D. Terry       Stat Diagnostics                               25147                $        1,200.00 $       1,440.00   $    9,000.00     MRI
                                                                                                                                                                            Entered 04/29/22 00:00:58




S-1/F              K Douglas Cook        MD Pain Care PC                                25020                $           80.00 $          96.00   $      200.00      PM
S-1/F              K Douglas Cook        MD Pain Care PC                                25021                $          140.00 $         168.00   $      350.00      PM
S-1/F              K Douglas Cook        MD Pain Care PC                                25022                $           80.00 $          96.00   $      200.00      PM
S-1/F              K Douglas Cook        MD Pain Care PC                                25079                $           80.00 $          96.00   $      200.00      PM
S-1/F              K Douglas Cook        MD Pain Care PC                                25080                $          100.00 $         120.00   $      250.00      PM
S-1/F              Hilda L. Sibrian      Stat Diagnostics                               25156                $        1,800.00 $       2,160.00   $   10,400.00     MRI
S-1/F              Kumar Law Firm        Stat Diagnostics                               25157                $          600.00 $         720.00   $    2,950.00     MRI
S-1/F              Adame & Garza         Stat Diagnostics                               25158                $        1,200.00 $       1,440.00   $    9,000.00     MRI
                                                                                                                                                                            Page 75 of 169




S-1/F              Kumar Law Firm        Stat Diagnostics                               25155                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Natanya Brooks        Peachtree Orthopaedic Clinic                   24834                $          179.10 $         214.92   $      398.00      PM
S-1/F              Natanya Brooks        Peachtree Orthopaedic Clinic                   24835                $          322.50 $         387.00   $      645.00      PM
S-1/F              Natanya Brooks        Peachtree Orthopaedic Clinic                   24836                $          525.70 $         630.84   $    1,166.00      PM
S-1/F              J. Kyle Beale         Stat Diagnostics                               25159                $          600.00 $         720.00   $    4,500.00     MRI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                            Receivables                               Funding
Intake   ClaimId   Lawyer                   Provider                                       BillId   Date Paid       Purchase Price             Cost   GFB Amount        Type
S-1/F              Christopher J. Leavitt Stat Diagnostics                                 25160                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Reginald A Greene        Non-Surgical Orthopaedics PC                   24951                $          284.00 $          340.80   $      710.00      PM
S-1/F              Andrew Kumar             Stat Diagnostics                               25162                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Andrew Kumar             Stat Diagnostics                               25161                $        1,200.00 $        1,440.00   $    7,450.00     MRI
S-1/F              Reginald A Greene        (AHI) American Health Imaging                  25029                $          318.00 $          381.60   $      795.00     MRI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25096                $          126.00 $          151.20   $      360.00       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25097                $          126.00 $          151.20   $      360.00       PI
                                                                                                                                                                                Case 21-01167-abl




S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25092                $          126.52 $          151.82   $      361.50       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     24959                $          150.68 $          180.82   $      430.50       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25093                $          150.68 $          180.82   $      430.50       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25094                $          150.68 $          180.82   $      430.50       PI
S-1/F              William L. Swank II      BENCHMARK PHYSICAL THERAPY                     25095                $          150.68 $          180.82   $      430.50       PI
                                                                                                                                                                                Doc 75-1




S-1/F              Natanya Brooks           Safeway Psychological Services                 25152                $          220.00 $          264.00   $      550.00       PI
S-1/F              Natanya Brooks           Safeway Psychological Services                 25153                $          292.00 $          350.40   $      730.00       PI
S-1/F              Kumar Law Firm           Stat Diagnostics                               25163                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Hilda L. Sibrian         Stat Diagnostics                               25165                $        1,800.00 $        2,160.00   $   10,550.00     MRI
S-1/F              Hilda L. Sibrian         Stat Diagnostics                               25166                $        2,400.00 $        2,880.00   $   11,800.00     MRI
S-1/F              Sean O'Rourke            Stat Diagnostics                               25164                $        1,800.00 $        2,160.00   $   11,950.00     MRI
S-1/F              Joseph K. Plumbar        Stat Diagnostics                               25167                $          600.00 $          720.00   $    2,950.00     MRI
S-1/F              John Leslie              Non-Surgical Orthopaedics PC                   25028                $          208.00 $          249.60   $      520.00      PM
S-1/F              E. Nadia Sifuentes       Preva Advanced Surgicare - The Woodlands LLC   24843                $        2,097.35 $        2,516.82   $    9,533.41      PM
S-1/F              Hector L. Sandoval       Stat Diagnostics                               25168                $        1,800.00 $        2,160.00   $   11,950.00     MRI
S-1/F              Gordon Remmen            Non-Surgical Orthopaedics PC                   25205                $          720.00 $          864.00   $    1,800.00     MRI
S-1/F              Gordon Remmen            (AHI) American Health Imaging                  25206                $        1,950.00 $        2,340.00   $    6,820.00      PM
S-1/F              Hector L. Sandoval       Stat Diagnostics                               25169                $          600.00 $          720.00   $    4,500.00     MRI
S-1/F              Jenaye Peterson          Family Dental Solutions                        24863                $          771.60 $          925.92   $    1,929.00       PI
S-1/F              Matthew R. Birdwell Stat Diagnostics                                    24928                $        2,812.35 $        3,374.82   $   12,783.41     MRI
                                                                                                                                                                                Entered 04/29/22 00:00:58




S-1/F              Christopher J. Leavitt Stat Diagnostics                                 25170                $          600.00 $          720.00   $    4,875.00     MRI
S-1/F              Madeleine Simmons South Atlanta MUA Center                              24858                $       29,640.00 $       35,568.00   $ 118,560.00       PM
S-1/F              Charles E (Ted) Lake Jr. (AHI) American Health Imaging                  24855                $          650.00 $          780.00   $    2,225.00     MRI
S-1/F              Kumar Law Firm           Stat Diagnostics                               25171                $        1,800.00 $        2,160.00   $   11,950.00     MRI
S-1/F              CORY HILTON              Durango Outpatient Surgery Center              25151                $        5,834.85 $        7,001.82   $   16,671.00       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24966                $           24.15 $           28.98   $       69.00       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24968                $           24.15 $           28.98   $       69.00       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24970                $           24.15 $           28.98   $       69.00       PI
                                                                                                                                                                                Page 76 of 169




S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     25023                $           24.15 $           28.98   $       69.00       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24971                $          135.98 $          163.18   $      388.50       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24965                $          194.78 $          233.74   $      556.50       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24967                $          194.78 $          233.74   $      556.50       PI
S-1/F              Holly Salimi             BENCHMARK PHYSICAL THERAPY                     24969                $          194.78 $          233.74   $      556.50       PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                          Receivables                              Funding
Intake   ClaimId   Lawyer                 Provider                                       BillId   Date Paid       Purchase Price            Cost   GFB Amount        Type
S-1/F              Holly Salimi           BENCHMARK PHYSICAL THERAPY                     24972                $          213.15 $         255.78   $      609.00       PI
S-1/F              Holly Salimi           BENCHMARK PHYSICAL THERAPY                     24964                $          236.25 $         283.50   $      675.00       PI
S-1/F              Nicholas M. Wills      Preva Advanced Surgicare - The Woodlands LLC   24936                $          154.00 $         184.80   $      700.00      PM
S-1/F              Nicholas M. Wills      Preva Advanced Surgicare - The Woodlands LLC   24938                $          221.94 $         266.33   $    1,008.81      PM
S-1/F              Nicholas M. Wills      Preva Advanced Surgicare - The Woodlands LLC   24937                $        1,548.79 $       1,858.55   $    7,039.96      PM
S-1/F              Jason Holladay         Preva Advanced Surgicare - The Woodlands LLC   24845                $          154.00 $         184.80   $      700.00      PM
S-1/F              Jason Holladay         Preva Advanced Surgicare - The Woodlands LLC   24846                $          432.23 $         518.68   $    1,964.70      PM
                                                                                                                                                                             Case 21-01167-abl




S-1/F              Jason Holladay         Preva Advanced Surgicare - The Woodlands LLC   24847                $        2,812.35 $       3,374.82   $   12,783.41      PM
S-1/F              Adame & Garza          Stat Diagnostics                               25203                $          600.00 $         720.00   $    2,950.00     MRI
S-1/F              Adame & Garza          Stat Diagnostics                               25204                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Bergquist Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24941                $        2,812.35 $       3,374.82   $   12,783.41      PM
S-1/F              Adame & Garza          Stat Diagnostics                               25172                $        1,200.00 $       1,440.00   $    7,450.00     MRI
                                                                                                                                                                             Doc 75-1




S-1/F              Matthew Broun          Non-Surgical Orthopaedics PC                   25091                $          168.00 $         201.60   $      420.00      PM
S-1/F              Stewart J. Guss        Preva Advanced Surgicare - The Woodlands LLC   24942                $        2,131.89 $       2,558.27   $    9,690.41      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   24864                $           31.05 $          37.26   $       69.00       PI
S-1/F              Zachary Nelson         Georgia Eye Physicians & Surgeons              25083                $          262.80 $         315.36   $      657.00      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   24865                $          520.65 $         624.78   $    1,141.00      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   24867                $          699.60 $         839.52   $    3,948.00      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   24866                $        1,106.10 $       1,327.32   $    2,458.00      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   24868                $        1,574.10 $       1,888.92   $    3,948.00      PM
S-1/F              Zachary Nelson         Peachtree Orthopaedic Clinic                   25082                $          753.75 $         904.50   $    1,675.00      PM
S-1/F              Katie Hingerty Barodin Kevin Hicks DO                                 25081                $          240.00 $         288.00   $      240.00       PI
S-1/F              Adame & Garza          Stat Diagnostics                               25173                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Michael Lonati         Non-Surgical Orthopaedics PC                   25099                $          208.00 $         249.60   $      520.00     MRI
S-1/F              Michael Lonati         Non-Surgical Orthopaedics PC                   25098                $          548.00 $         657.60   $    1,370.00     MRI
S-1/F              Michael Lonati         (AHI) American Health Imaging                  25100                $        1,300.00 $       1,560.00   $    4,450.00      PM
S-1/F              Michael Lonati         (AHI) American Health Imaging                  25101                $        1,300.00 $       1,560.00   $    4,450.00      PM
                                                                                                                                                                             Entered 04/29/22 00:00:58




S-1/F              Bret Griffin           Stat Diagnostics                               25174                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Craig Miller           ENT of Georgia LLC                             24856                $          117.31 $         140.77   $      293.28       PI
S-1/F              Bret Griffin           Stat Diagnostics                               25175                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Kumar Law Firm         Stat Diagnostics                               25177                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Lozano Law Offices P.C Stat Diagnostics                               25176                $        1,800.00 $       2,160.00   $   11,950.00     MRI
S-1/F              Adame & Garza          Stat Diagnostics                               25178                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Michael Lonati         BENCHMARK PHYSICAL THERAPY                     25127                $          131.25 $         157.50   $      375.00       PI
S-1/F              Michael Lonati         BENCHMARK PHYSICAL THERAPY                     25128                $          131.25 $         157.50   $      375.00       PI
                                                                                                                                                                             Page 77 of 169




S-1/F              Michael Lonati         BENCHMARK PHYSICAL THERAPY                     25129                $          131.25 $         157.50   $      375.00       PI
S-1/F              Michael Lonati         BENCHMARK PHYSICAL THERAPY                     25126                $          225.75 $         270.90   $      645.00       PI
S-1/F              Michael Lonati         Non-Surgical Orthopaedics PC                   25125                $          588.00 $         705.60   $    1,470.00      PM
S-1/F              Kumar Law Firm         Stat Diagnostics                               25179                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Kumar Law Firm         Stat Diagnostics                               25180                $        1,800.00 $       2,160.00   $   11,950.00     MRI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                        Receivables                              Funding
Intake   ClaimId   Lawyer               Provider                                       BillId   Date Paid       Purchase Price            Cost   GFB Amount        Type
S-1/F              Adam J. Rosenfeld    Stat Diagnostics                               25181                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24962                $          111.65 $         133.98   $      319.00       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24961                $          121.80 $         146.16   $      348.00       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24975                $          126.00 $         151.20   $      360.00       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24976                $          126.00 $         151.20   $      360.00       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24960                $          126.52 $         151.82   $      361.50       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     25031                $          126.52 $         151.82   $      361.50       PI
                                                                                                                                                                           Case 21-01167-abl




S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     24973                $          150.50 $         180.60   $      430.50       PI
S-1/F              Jonathan Wade        BENCHMARK PHYSICAL THERAPY                     25030                $          150.68 $         180.82   $      430.50       PI
S-1/F              Jonathan Wade        Legacy Brain & Spine                           25034                $          157.50 $         189.00   $      450.00       PI
S-1/F              Jonathan Wade        Legacy Brain & Spine                           25037                $          180.00 $         216.00   $      450.00       PI
S-1/F              Jonathan Wade        Legacy Brain & Spine                           25035                $          220.00 $         264.00   $      550.00       PI
                                                                                                                                                                           Doc 75-1




S-1/F              Ronald Chalker       Family Dental Solutions                        25122                $          140.00 $         168.00   $      350.00       PI
S-1/F              Ronald Chalker       Family Dental Solutions                        25148                $          434.80 $         521.76   $    1,087.00       PI
S-1/F              Marc J. Shuman       Stat Diagnostics                               25182                $        1,800.00 $       2,160.00   $   11,950.00     MRI
S-1/F              Hilda L. Sibrian     Stat Diagnostics                               25184                $        1,800.00 $       2,160.00   $   10,400.00     MRI
S-1/F              Salazar Velazquez    Stat Diagnostics                               25183                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Salazar Velazquez    Stat Diagnostics                               25185                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              Joseph D. Terry      Stat Diagnostics                               25186                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Zachary Nelson       ENT of Georgia LLC                             24952                $          353.02 $         423.62   $      882.56       PI
S-1/F              CORY HILTON          Durango Outpatient Surgery Center              25150                $        5,834.85 $       7,001.82   $   16,671.00       PI
S-1/F              Farrah Martinez      Stat Diagnostics                               25187                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Adame & Garza        Stat Diagnostics                               25188                $          600.00 $         720.00   $    2,950.00     MRI
S-1/F              Richard Kopelman     Non-Surgical Orthopaedics PC                   25112                $          740.00 $         888.00   $    1,850.00     MRI
S-1/F              Richard Kopelman     (AHI) American Health Imaging                  25114                $          402.00 $         482.40   $    1,005.00     MRI
S-1/F              Richard Kopelman     (AHI) American Health Imaging                  25116                $          402.00 $         482.40   $    1,005.00     MRI
S-1/F              Richard Kopelman     (AHI) American Health Imaging                  25119                $          381.60 $         457.92   $      954.00      PM
                                                                                                                                                                           Entered 04/29/22 00:00:58




S-1/F              The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24793                $          154.00 $         184.80   $      700.00      PM
S-1/F              The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24794                $          827.48 $         992.98   $    3,761.28      PM
S-1/F              The NMW Law Firm     Preva Advanced Surgicare - The Woodlands LLC   24795                $        6,371.38 $       7,645.66   $   28,960.80      PM
S-1/F              Tammy D. Harris      Stat Diagnostics                               25189                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Mokaram Law Firm     Stat Diagnostics                               25190                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Trisha Starks        Non-Surgical Orthopaedics PC                   24949                $          476.00 $         571.20   $    1,190.00      PM
S-1/F              Jennifer Dunlap      South Atlanta MUA Center                       24980                $        4,729.75 $       5,675.70   $   18,919.00      PM
S-1/F              Nicholas M. Wills    Preva Advanced Surgicare - The Woodlands LLC   24849                $          154.00 $         184.80   $      700.00      PM
                                                                                                                                                                           Page 78 of 169




S-1/F              Nicholas M. Wills    Preva Advanced Surgicare - The Woodlands LLC   24850                $          221.94 $         266.33   $    1,008.81      PM
S-1/F              Smith & Hassler      Preva Advanced Surgicare - The Woodlands LLC   24851                $        1,416.89 $       1,700.27   $    6,440.41      PM
S-1/F              Hector L. Sandoval   Stat Diagnostics                               25191                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Kumar Law Firm       Stat Diagnostics                               25192                $        1,800.00 $       2,160.00   $   11,950.00     MRI
S-1/F              Anjali Sharma        Stat Diagnostics                               25193                $        1,800.00 $       2,160.00   $   11,950.00     MRI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                         Receivables                              Funding
Intake   ClaimId   Lawyer                Provider                                       BillId   Date Paid       Purchase Price            Cost   GFB Amount        Type
S-1/F              Stewart J. Guss       Preva Advanced Surgicare - The Woodlands LLC   24797                $        2,396.28 $       2,875.54   $   10,892.20      PM
S-1/F              Abraham Watkins NichPreva Advanced Surgicare - The Woodlands LLC     24798                $        6,371.38 $       7,645.66   $   28,960.80      PM
S-1/F              Kumar Law Firm        Stat Diagnostics                               25194                $        1,200.00 $       1,440.00   $    7,450.00     MRI
S-1/F              Adame & Garza         Stat Diagnostics                               25195                $          600.00 $         720.00   $    2,950.00     MRI
S-1/F              Ali Salimi            Georgia Pain and Spine Solutions               24963                $          333.72 $         400.46   $      834.30      PM
S-1/F              Paul Valdivieso       Stat Diagnostics                               25196                $          600.00 $         720.00   $    2,950.00     MRI
S-1/F              Davis Bozeman         Mariposa Medical Associates                    25019                $          115.15 $         138.18   $      329.00       PI
                                                                                                                                                                            Case 21-01167-abl




S-1/F              Kumar Law Firm        Stat Diagnostics                               25197                $          600.00 $         720.00   $    3,100.00     MRI
S-1/F              Thomas F. Bickham Jr. Preva Advanced Surgicare - The Woodlands LLC   24799                $        2,812.35 $       3,374.82   $   12,783.41      PM
S-1/F              Adame & Garza         Stat Diagnostics                               25200                $        1,800.00 $       2,160.00   $   11,950.00     MRI
S-1/F              John Zaid             Stat Diagnostics                               25198                $          600.00 $         720.00   $    4,500.00     MRI
S-1/F              W. Clark Martin IV    Stat Diagnostics                               25199                $        1,200.00 $       1,440.00   $    9,000.00     MRI
                                                                                                                                                                            Doc 75-1




S-1/F              R. Todd Elias         Stat Diagnostics                               25201                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Natanya Brooks        Non-Surgical Orthopaedics PC                   25027                $          812.00 $         974.40   $    2,030.00      PM
S-1/F              Rodney Merwin         Stat Diagnostics                               25202                $        1,200.00 $       1,440.00   $    9,000.00     MRI
S-1/F              Keith Foster          Peachtree Orthopaedic Clinic                   24842                $           60.00 $          72.00   $      120.00      PM
S-1/F              Keith Foster          Peachtree Orthopaedic Clinic                   24841                $        1,164.00 $       1,396.80   $    2,580.00      PM
S-1/F              Keith Foster          Peachtree Orthopaedic Surgery Center           25025                $        4,095.00 $       4,914.00   $    9,100.00      PM
S-1/F              Keith Foster          Peachtree Orthopaedic Clinic                   25154                $        3,733.20 $       4,479.84   $    8,296.00       PI
S-1/F              CORY HILTON           Durango Outpatient Surgery Center              25149                $        4,052.65 $       4,863.18   $   11,579.00       PI
S-1/F              Nathan Fitzpatrick    Perimeter Orthopaedics PC                      25272                $          216.38 $         259.66   $      540.95       PI
S-1/F              Steven Leibel         (AHI) American Health Imaging                  25217                $        1,300.00 $       1,560.00   $    4,595.00     MRI
S-1/F              Steven Leibel         (AHI) American Health Imaging                  25216                $          650.00 $         780.00   $    2,225.00     MRI
S-1/F              Steven Leibel         BENCHMARK PHYSICAL THERAPY                     25266                $           98.18 $         117.82   $      280.50       PI
S-1/F              Steven Leibel         BENCHMARK PHYSICAL THERAPY                     25215                $          122.85 $         147.42   $      351.00       PI
S-1/F              Steven Leibel         BENCHMARK PHYSICAL THERAPY                     25214                $          122.85 $         147.42   $      351.00       PI
S-1/F              Steven Leibel         BENCHMARK PHYSICAL THERAPY                     25213                $           78.75 $          94.50   $      225.00       PI
                                                                                                                                                                            Entered 04/29/22 00:00:58




S-1/F              Steven Leibel         BENCHMARK PHYSICAL THERAPY                     25212                $          176.40 $         211.68   $      504.00       PI
S-1/F              Steven Leibel         Specialty Orthopaedics PC                      25211                $          452.80 $         543.36   $    1,181.00       PI
S-1/F              Sean McEvoy           Safeway Psychological Services                 25267                $          220.00 $         264.00   $      550.00       PI
S-1/F              Peter Angulo          Durango Outpatient Surgery Center              25264                $        5,834.85 $       7,001.82   $   16,671.00       PI
S-1/F              Peter Ross            Polaris Spine & Neurosurgery Center            25281                $          396.00 $         475.20   $      990.00       PI
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                     25274                $          102.38 $         122.86   $      292.50       PI
S-1/F              Ronald Chalker        BENCHMARK PHYSICAL THERAPY                     25273                $           98.70 $         118.44   $      282.00       PI
S-1/F              W. Winston Briggs     Georgia Pain and Spine Solutions               25270                $          333.72 $         400.46   $      834.30      PM
                                                                                                                                                                            Page 79 of 169




S-1/F              Peter Ross            GA Pain Management Center LLC                  25261                $        6,525.90 $       7,831.08   $   14,502.00      PM
S-1/F              Peter Ross            GA Pain Management Center LLC                  25260                $        6,525.90 $       7,831.08   $   14,502.00      PM
S-1/F              Peter Ross            Pain Management Specialists of Atlanta PC      25263                $        1,589.40 $       1,907.28   $    3,532.00      PM
S-1/F              Peter Ross            Pain Management Specialists of Atlanta PC      25262                $        1,575.00 $       1,890.00   $    3,500.00      PM
S-1/F              David Bence           South Atlanta MUA Center                       25209                $        1,004.00 $       1,204.80   $    2,868.57      PM
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake F (Batch 6, 7 & 8)
                                                                                                                                                    Receivables                                           Funding
Intake      ClaimId     Lawyer                  Provider                                               BillId      Date Paid                Purchase Price                        Cost   GFB Amount         Type
S-1/F                   David Bence             South Atlanta MUA Center                               25208                      $              1,001.01 $                   1,201.21   $    2,860.02       PM
S-1/F                   Aj Mitchell             Georgia Eye Physicians & Surgeons                      25265                      $                397.20 $                     476.64   $      993.00        PI
S-1/F                   Jonathan Wade           Family Dental Solutions                                25275                      $                140.00 $                     168.00   $      350.00        PI
S-1/F                   Jonathan Wade           Peachtree Orthopaedic Clinic                           25277                      $                657.05 $                     788.46   $    1,447.00       PM
S-1/F                   Jonathan Wade           Peachtree Orthopaedic Clinic                           25276                      $                 36.00 $                      43.20   $       72.00       PM
S-1/F                   Richard Kopelman        Non-Surgical Orthopaedics PC                           25257                      $                284.00 $                     340.80   $      710.00       PM
S-1/F                   Stephen A. Shea         Pain Management Specialists of Atlanta PC              25271                      $                 58.50 $                      70.20   $      130.00       PM
                                                                                                                                                                                                                    Case 21-01167-abl




S-1/F                   Casey Geiger            Legacy Brain & Spine                                   25280                      $                180.00 $                     216.00   $      450.00        PI
S-1/F                   Casey Geiger            Legacy Brain & Spine                                   25279                      $                220.00 $                     264.00   $      550.00        PI
S-1/F                   Casey Geiger            Legacy Brain & Spine                                   25278                      $              1,580.00 $                   1,896.00   $    3,950.00        PI
S-1/F                   Zachary Nelson          Northside Hospital                                     25268                      $                652.40 $                     782.88   $    1,631.00        PI
S-1/F                   Jennifer Dunlap         South Atlanta MUA Center                               25210                      $              5,560.00 $                   6,672.00   $   22,240.00       PM
                                                                                                                                                                                                                    Doc 75-1




                                                                                                                                  $             400,852.58 $                481,023.10   $ 1,671,274.81

         Amendment to Purchase Order            Canceled Receivable                                    24928                      $                2,812.35   $               3,374.82   $   12,783.41
                                                Canceled Receivable                                    24936                      $                  154.00   $                 184.80   $      700.00
                                                Canceled Receivable                                    24938                      $                  221.94   $                 266.33   $    1,008.81
                                                Canceled Receivable                                    24937                      $                1,548.79   $               1,858.55   $    7,039.96
                                                Canceled Receivable                                    24941                      $                2,812.35   $               3,374.82   $   12,783.41
                                                Canceled Receivable                                    24942                      $                2,131.89   $               2,558.27   $    9,690.41
                                                                                                                                  $                9,681.32   $              11,617.59   $   44,006.00

         Amended Total                                                                                                            $             391,171.26 $                469,405.51   $ 1,627,268.81



****     This List of Receivables supporting Series 1-Intake F in the amount of US$1,627,268.81 is in good order as Forget-the-Market Ltd has performed the following:
                                                                                                                                                                                                                    Entered 04/29/22 00:00:58




         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 346.67% of the purchased total of $469,405.51.
                                                                                                                                                                                                                    Page 80 of 169




         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
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                      EXHIBIT G
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Roll Over G

                                                                                                                                                              Receivables
        Lawyer                                                 Provider                                               BillId    Date Paid          Purchase Price               Cost    GFB Amount

R/O-1   David W. Bergquist                                     Preva Advanced Surgicare - The Woodlands LLC          25334      9/18/2020      $        3,019.98   $         3,623.98   $   13,727.20
R/O-1   David W. Bergquist                                     Preva Advanced Surgicare - The Woodlands LLC          25335      9/18/2020      $        5,786.97   $         6,944.36   $   26,304.40
R/O-1   David W. Bergquist                                     Preva Advanced Surgicare - The Woodlands LLC          25336      9/18/2020      $        2,812.35   $         3,374.82   $   12,783.41
R/O-1   R. James Amaro                                         Preva Advanced Surgicare - The Woodlands LLC          25337      9/18/2020      $        6,371.38   $         7,645.65   $   28,960.80
                                                                                                                                                                                                        Case 21-01167-abl




R/O-1   David R. Feldman                                       Preva Advanced Surgicare - The Woodlands LLC          25338      9/18/2020      $        2,396.28   $         2,875.54   $   10,892.20
R/O-1   Ronald Braswell                                        Preva Advanced Surgicare - The Woodlands LLC          25355      9/18/2020      $        3,852.85   $         4,623.42   $   17,512.96
R/O-1   Kyle M. Wilkins                                        Preva Advanced Surgicare - The Woodlands LLC          25356      9/18/2020      $        4,077.57   $         4,893.08   $   18,534.40
R/O-1   Stewart J. Guss                                        Preva Advanced Surgicare - The Woodlands LLC          25357      9/18/2020      $        2,396.28   $         2,875.54   $   10,892.20
R/O-1   Stewart J. Guss                                        Preva Advanced Surgicare - The Woodlands LLC          25358      9/18/2020      $        2,396.28   $         2,875.54   $   10,892.20
R/O-1   Stewart J. Guss                                        Preva Advanced Surgicare - The Woodlands LLC          25359      9/18/2020      $        2,396.28   $         2,875.54   $   10,892.20
                                                                                                                                                                                                        Doc 75-1




R/O-1   Abraham Watkins Nichols Sorrels Agosto & Aziz          Preva Advanced Surgicare - The Woodlands LLC          25360      9/18/2020      $        6,668.73   $         8,002.47   $   30,312.40
R/O-1   Samuel Johnson                                         BENCHMARK PHYSICAL THERAPY                            25347                     $          210.35   $           252.42   $      601.00
R/O-1   Samuel Johnson                                         Perimeter Outpatient Surgical Assoc                   24853                     $        3,906.20   $         4,687.44   $   20,332.90

                                                                                                                                               $       46,291.50 $          55,549.80   $ 212,638.27


****    This List of Receivables supporting Series 1-Roll Over G in the amount of US$212,638.27 is in good order as Forget-the-Market Ltd has performed the following:

        a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

        b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
        an explanation as to why.

        c. Confirmed that the value of purchased receivables respecting the listed invoices equals 382.79% of the purchased total of $55,549.80.
                                                                                                                                                                                                        Entered 04/29/22 00:00:58




        William B Dalzell
        CFO, Forget-the-Market Limited
        Co-Manager for Tecumseh-Infinity MR Fund
                                                                                                                                                                                                        Page 82 of 169
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                    EXHIBIT H-1
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                    EXHIBIT H-2
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                       Receivables                             Funding
Fund     ClaimId Lawyer               Provider                       BillId   Date Paid       Purchase Price            Cost    GFB Amount       Type

TIF-01     7090   Hamed Yazdanpanah   Buena Vista Medical Services   24536     8/5/2020   $           22.71   $         27.25   $      75.70
TIF-01     7090   Hamed Yazdanpanah   Buena Vista Medical Services   24537     8/5/2020   $           24.12   $         28.94   $      80.41
TIF-01     7090   Hamed Yazdanpanah   Buena Vista Medical Services   24538     8/5/2020   $           38.49   $         46.19   $     128.29
TIF-01    19522   Michael Shemtoub    Buena Vista Medical Services   25077                $           20.56   $         24.67   $      68.55
                                                                                                                                                         Case 21-01167-abl




TIF-01    19522   Michael Shemtoub    Buena Vista Medical Services   25078                $           32.97   $         39.56   $     109.90
TIF-01    19530   Andrew Kumar        Stat Diagnostics               25104    8/18/2020   $        1,200.00   $      1,440.00   $   9,000.00
TIF-01    19706   Farid Yaghoubtil    Buena Vista Medical Services   25249                $           30.55   $         36.66   $     101.84
TIF-01     8739   Reginald A Greene   Buena Vista Medical Services   25062                $           31.48   $         37.78   $     104.92
TIF-01     8739   Reginald A Greene   Buena Vista Medical Services   25063                $           23.06   $         27.67   $      76.87
TIF-01     7298   Hamed Yazdanpanah   Buena Vista Medical Services   24681     9/3/2020   $           15.47   $         18.56   $      51.57
                                                                                                                                                         Doc 75-1




TIF-01     7298   Hamed Yazdanpanah   Buena Vista Medical Services   25070                $           15.47   $         18.56   $      51.57
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   24598     8/5/2020   $           24.54   $         29.45   $      81.81
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   24599     8/5/2020   $           32.12   $         38.54   $     107.05
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   24688     9/3/2020   $           32.12   $         38.54   $     107.05
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   24689     9/3/2020   $           24.54   $         29.45   $      81.81
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   25319                $           22.88   $         27.46   $      76.27
TIF-01     8659   Nicholas Lasso      Buena Vista Medical Services   25320                $           16.44   $         19.73   $      54.79
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24548     8/5/2020   $           53.69   $         64.43   $     178.98
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24606     8/5/2020   $           25.22   $         30.26   $      84.06
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24607     8/5/2020   $           23.02   $         27.62   $      76.72
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24669     9/3/2020   $           55.34   $         66.41   $     184.45
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24912     9/3/2020   $           36.71   $         44.05   $     122.36
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24913     9/3/2020   $           29.88   $         35.86   $      99.60
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24991     9/3/2020   $           20.87   $         25.04   $      69.58
                                                                                                                                                         Entered 04/29/22 00:00:58




TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   24992     9/3/2020   $           26.40   $         31.68   $      88.01
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   25301                $           63.95   $         76.74   $     213.18
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   25302                $           33.74   $         40.49   $     112.48
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   25303                $           41.37   $         49.64   $     137.90
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   25304                $           29.88   $         35.86   $      99.60
TIF-01    19271   Omid Khorshidi      Buena Vista Medical Services   25305                $           25.50   $         30.60   $      85.01
TIF-01    19285   Mathew Babadjouni   Buena Vista Medical Services   24601     8/5/2020   $           24.61   $         29.53   $      82.04
TIF-01     7116   Nicholas Lasso      Buena Vista Medical Services   24684     9/3/2020   $           35.68   $         42.82   $     118.92
TIF-01     7116   Nicholas Lasso      Buena Vista Medical Services   24827     9/3/2020   $           38.86   $         46.63   $     129.54
                                                                                                                                                         Page 85 of 169




TIF-01    19708   Farid Yaghoubtil    Buena Vista Medical Services   25251                $           25.16   $         30.19   $      83.87
TIF-01    19708   Farid Yaghoubtil    Buena Vista Medical Services   25252                $           21.73   $         26.08   $      72.43
TIF-01    19708   Farid Yaghoubtil    Buena Vista Medical Services   25420                $           21.73   $         26.08   $      72.43
TIF-01     7471   Mauro Fiore Jr      Buena Vista Medical Services   24821     9/3/2020   $           47.92   $         57.50   $     159.74
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                       Receivables                            Funding
Fund     ClaimId   Lawyer             Provider                       BillId   Date Paid       Purchase Price             Cost   GFB Amount      Type
TIF-01      7471   Mauro Fiore Jr     Buena Vista Medical Services   24920    9/3/2020    $           51.30 $           61.56   $    171.00
TIF-01      9074   Michael Shemtoub   Buena Vista Medical Services   24529    8/5/2020    $          194.55 $          233.46   $    648.51
TIF-01      9074   Michael Shemtoub   Buena Vista Medical Services   24530    8/5/2020    $           31.99 $           38.39   $    106.63
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   24595    8/5/2020    $           36.73 $           44.08   $    122.44
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   24596    8/5/2020    $           27.05 $           32.46   $     90.17
                                                                                                                                                        Case 21-01167-abl




TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   24597    8/5/2020    $           46.37 $           55.64   $    154.58
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   24685    9/3/2020    $           33.01 $           39.61   $    110.03
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25071                $           36.73 $           44.08   $    122.44
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25072                $           46.37 $           55.64   $    154.58
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25073                $           33.01 $           39.61   $    110.03
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25074                $           27.05 $           32.46   $     90.17
                                                                                                                                                        Doc 75-1




TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25434                $           60.10 $           72.12   $    200.34
TIF-01      7404   Matthew Hoffman    Buena Vista Medical Services   25435                $           62.78 $           75.34   $    209.27
TIF-01     19295   Omid Khorshidi     Buena Vista Medical Services   24916     9/3/2020   $           51.36 $           61.63   $    171.19
TIF-01      9341   Jacob Emrani       Buena Vista Medical Services   24910     9/3/2020   $           25.19 $           30.23   $     83.98
TIF-01      9341   Jacob Emrani       Buena Vista Medical Services   25427                $           29.60 $           35.52   $     98.67
TIF-01      9341   Jacob Emrani       Buena Vista Medical Services   25428                $           30.96 $           37.15   $    103.21
TIF-01      7088   Kevin Danesh       Buena Vista Medical Services   24925     9/3/2020   $           33.65 $           40.38   $    112.18
TIF-01      7088   Kevin Danesh       Buena Vista Medical Services   25007     9/3/2020   $           28.58 $           34.30   $     95.27
TIF-01     19495   Nancy Bernstein    Buena Vista Medical Services   24934     9/3/2020   $           27.28 $           32.74   $     90.93
TIF-01     19495   Nancy Bernstein    Buena Vista Medical Services   25230                $           27.28 $           32.74   $     90.93
TIF-01     19495   Nancy Bernstein    Buena Vista Medical Services   25231                $           24.66 $           29.59   $     82.19
TIF-01      9345   Nancy Bernstein    Buena Vista Medical Services   24542     8/5/2020   $           45.03 $           54.04   $    150.10
TIF-01      9345   Nancy Bernstein    Buena Vista Medical Services   24543     8/5/2020   $           47.95 $           57.54   $    159.84
TIF-01      9345   Nancy Bernstein    Buena Vista Medical Services   24927     9/3/2020   $           47.95 $           57.54   $    159.84
                                                                                                                                                        Entered 04/29/22 00:00:58




TIF-01     19781   Mauro Fiore Jr     Buena Vista Medical Services   25457                $          108.70 $          130.44   $    362.33
TIF-01     19538   Peter A. Ruman     Stat Diagnostics               25108    8/18/2020   $        1,800.00 $        2,160.00   $ 14,900.00
TIF-01      7082   John Beals         Buena Vista Medical Services   24531     8/5/2020   $           39.35 $           47.22   $    131.18
TIF-01      7082   John Beals         Buena Vista Medical Services   24532     8/5/2020   $           38.28 $           45.94   $    127.60
TIF-01      7082   John Beals         Buena Vista Medical Services   24917     9/3/2020   $           38.28 $           45.94   $    127.60
TIF-01      7082   John Beals         Buena Vista Medical Services   24918     9/3/2020   $           39.35 $           47.22   $    131.18
TIF-01      7082   John Beals         Buena Vista Medical Services   24919     9/3/2020   $           35.84 $           43.01   $    119.48
TIF-01     19513   Daniel Rafii       Buena Vista Medical Services   25012     9/3/2020   $           40.60 $           48.72   $    135.32
                                                                                                                                                        Page 86 of 169




TIF-01     19513   Daniel Rafii       Buena Vista Medical Services   25013     9/3/2020   $           28.70 $           34.44   $     95.68
TIF-01     19297   Farid Yaghoubtil   Buena Vista Medical Services   24997     9/3/2020   $           24.46 $           29.35   $     81.55
TIF-01     19297   Farid Yaghoubtil   Buena Vista Medical Services   24998     9/3/2020   $           45.32 $           54.38   $    151.05
TIF-01     19297   Farid Yaghoubtil   Buena Vista Medical Services   24999     9/3/2020   $           27.35 $           32.82   $     91.16
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                       Receivables                            Funding
Fund     ClaimId   Lawyer             Provider                       BillId   Date Paid       Purchase Price             Cost   GFB Amount      Type
TIF-01     19297   Farid Yaghoubtil   Buena Vista Medical Services   25000    9/3/2020    $           26.32 $           31.58   $     87.74
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25039    9/3/2020    $          249.00 $          298.80   $    830.00
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25041    9/3/2020    $           33.79 $           40.55   $    112.63
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25057                $           25.42 $           30.50   $     84.74
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25058                $           52.51 $           63.01   $    175.03
                                                                                                                                                        Case 21-01167-abl




TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25059                $           14.30 $           17.16   $     47.66
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25060                $           41.86 $           50.23   $    139.54
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25418                $           33.79 $           40.55   $    112.63
TIF-01     19520   Farid Yaghoubtil   Buena Vista Medical Services   25419                $           64.82 $           77.78   $    216.07
TIF-01      7300   Omid Khorshidi     Buena Vista Medical Services   25239                $           23.11 $           27.73   $     77.03
TIF-01     19540   Dennis Spurling    Stat Diagnostics               25109    8/18/2020   $        1,200.00 $        1,440.00   $ 10,061.90
                                                                                                                                                        Doc 75-1




TIF-01     18529   Lawrence Ruiz      Buena Vista Medical Services   25001     9/3/2020   $           23.62 $           28.34   $     78.74
TIF-01     18529   Lawrence Ruiz      Buena Vista Medical Services   25002     9/3/2020   $           23.36 $           28.03   $     77.86
TIF-01     18529   Lawrence Ruiz      Buena Vista Medical Services   25003     9/3/2020   $           37.53 $           45.04   $    125.10
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24678     9/3/2020   $           40.76 $           48.91   $    135.85
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24679     9/3/2020   $           34.03 $           40.84   $    113.43
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24680     9/3/2020   $           27.84 $           33.41   $     92.80
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24822     9/3/2020   $           30.23 $           36.28   $    100.78
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24823     9/3/2020   $           50.41 $           60.49   $    168.04
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24921     9/3/2020   $           43.89 $           52.67   $    146.30
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24922     9/3/2020   $           46.03 $           55.24   $    153.43
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24923     9/3/2020   $          120.42 $          144.50   $    401.39
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   24924     9/3/2020   $          150.98 $          181.18   $    503.27
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25004     9/3/2020   $           50.41 $           60.49   $    168.04
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25005     9/3/2020   $           24.88 $           29.86   $     82.95
                                                                                                                                                        Entered 04/29/22 00:00:58




TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25006     9/3/2020   $           50.41 $           60.49   $    168.04
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25067                $           28.59 $           34.31   $     95.30
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25068                $           50.41 $           60.49   $    168.04
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25069                $           43.89 $           52.67   $    146.30
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25237                $           50.41 $           60.49   $    168.04
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25238                $          136.31 $          163.57   $    454.37
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25315                $           24.88 $           29.86   $     82.95
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25316                $          120.42 $          144.50   $    401.39
                                                                                                                                                        Page 87 of 169




TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25431                $           43.89 $           52.67   $    146.30
TIF-01      7084   Justin Weinrich    Buena Vista Medical Services   25432                $           26.90 $           32.28   $     89.68
TIF-01      7869   Mauro Fiore Jr     Buena Vista Medical Services   24832     9/3/2020   $           37.70 $           45.24   $    125.67
TIF-01      7869   Mauro Fiore Jr     Buena Vista Medical Services   25312                $           45.79 $           54.95   $    152.63
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                        Receivables                            Funding
Fund     ClaimId   Lawyer              Provider                       BillId   Date Paid       Purchase Price             Cost   GFB Amount      Type
TIF-01      7869   Mauro Fiore Jr      Buena Vista Medical Services   25313                $           63.24 $           75.89   $    210.79
TIF-01      7869   Mauro Fiore Jr      Buena Vista Medical Services   25314                $           23.79 $           28.55   $     79.29
TIF-01     19275   Michael Madadi      Buena Vista Medical Services   24552     8/5/2020   $           27.47 $           32.96   $     91.58
TIF-01     19275   Michael Madadi      Buena Vista Medical Services   24553     8/5/2020   $           37.44 $           44.93   $    124.79
TIF-01     19275   Michael Madadi      Buena Vista Medical Services   24996     9/3/2020   $           37.44 $           44.93   $    124.79
                                                                                                                                                         Case 21-01167-abl




TIF-01     19542   Buzbee Law Firm     Stat Diagnostics               25110    8/18/2020   $        1,800.00 $        2,160.00   $ 11,950.00
TIF-01     19544   Salazar Velazquez   Stat Diagnostics               25111    8/18/2020   $        1,200.00 $        1,440.00   $ 7,450.00
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   24686     9/3/2020   $           93.39 $          112.07   $    311.30
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   24687     9/3/2020   $          103.06 $          123.67   $    343.52
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   25243                $           26.25 $           31.50   $     87.51
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   25244                $           60.73 $           72.88   $    202.43
                                                                                                                                                         Doc 75-1




TIF-01      9767   Cory Hilton         Buena Vista Medical Services   25436                $           63.56 $           76.27   $    211.85
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   25437                $           93.39 $          112.07   $    311.30
TIF-01      9767   Cory Hilton         Buena Vista Medical Services   25438                $           29.98 $           35.98   $     99.94
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   24539     8/5/2020   $           59.48 $           71.38   $    198.25
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   24540     8/5/2020   $           42.82 $           51.38   $    142.73
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   24541     8/5/2020   $           44.50 $           53.40   $    148.35
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   25008     9/3/2020   $           59.48 $           71.38   $    198.25
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   25009     9/3/2020   $           42.82 $           51.38   $    142.73
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   25010     9/3/2020   $           44.50 $           53.40   $    148.35
TIF-01      9343   Cory Hilton         Buena Vista Medical Services   25075                $          345.28 $          414.34   $ 1,150.94
TIF-01      8895   Michael Shemtoub    Buena Vista Medical Services   24911     9/3/2020   $           21.73 $           26.08   $     72.43
TIF-01      8895   Michael Shemtoub    Buena Vista Medical Services   25429                $           21.73 $           26.08   $     72.43
TIF-01     19548   Mokaram Law Firm    Stat Diagnostics               25113     8/8/2020   $        1,800.00 $        2,160.00   $ 14,900.00
TIF-01     19493   Daniel Rafii        Buena Vista Medical Services   24932     9/3/2020   $           26.19 $           31.43   $     87.29
                                                                                                                                                         Entered 04/29/22 00:00:58




TIF-01     19493   Daniel Rafii        Buena Vista Medical Services   25299                $           58.49 $           70.19   $    194.98
TIF-01      9220   Janice Strong       ChartSquad                     24574                $           99.98 $          119.98   $    120.00
TIF-01      9220   Janice Strong       ChartSquad                     24577                $           45.00 $           54.00   $    120.00
TIF-01      9220   Janice Strong       ChartSquad                     24578                $           45.00 $           54.00   $    120.00
TIF-01      9220   Janice Strong       ChartSquad                     24579                $           45.00 $           54.00   $    120.00
TIF-01      9220   Janice Strong       ChartSquad                     24580                $           45.00 $           54.00   $    120.00
TIF-01      9220   Janice Strong       ChartSquad                     25207                $           51.50 $           61.80   $    120.00
TIF-01     19550   Salazar Velazquez   Stat Diagnostics               25115    8/18/2020   $        1,200.00 $        1,440.00   $ 7,450.00
                                                                                                                                                         Page 88 of 169




TIF-01     19552   L. Lee Thweatt      Stat Diagnostics               25117    8/18/2020   $          600.00 $          720.00   $ 4,500.00
TIF-01     19237   Farid Yaghoubtil    Buena Vista Medical Services   24815     9/3/2020   $           64.96 $           77.95   $    216.52
TIF-01     19237   Farid Yaghoubtil    Buena Vista Medical Services   24816     9/3/2020   $           27.46 $           32.95   $     91.54
TIF-01     19237   Farid Yaghoubtil    Buena Vista Medical Services   25234                $           27.46 $           32.95   $     91.54
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                       Receivables                          Funding
Fund     ClaimId   Lawyer             Provider                       BillId   Date Paid       Purchase Price           Cost   GFB Amount      Type
TIF-01     19237   Farid Yaghoubtil   Buena Vista Medical Services   25235                $           64.96 $         77.95   $    216.52
TIF-01     19722   Michael Madadi     Buena Vista Medical Services   25322                $           30.41 $         36.49   $    101.38
TIF-01     19722   Michael Madadi     Buena Vista Medical Services   25323                $           22.28 $         26.74   $     74.25
TIF-01     19704   Mauro Fiore Jr     Buena Vista Medical Services   25247                $           28.30 $         33.96   $     94.32
TIF-01     19273   Lawrence Ruiz      Buena Vista Medical Services   24550    8/5/2020    $          111.09 $        133.31   $    370.31
                                                                                                                                                      Case 21-01167-abl




TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24527    8/5/2020    $           41.78 $         50.14   $    139.27
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24528    8/5/2020    $           21.67 $         26.00   $     72.24
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24915    9/3/2020    $           21.67 $         26.00   $     72.24
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24993    9/3/2020    $           41.78 $         50.14   $    139.27
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24994    9/3/2020    $           38.08 $         45.70   $    126.92
TIF-01      8932   Lawrence Ruiz      Buena Vista Medical Services   24995    9/3/2020    $           31.27 $         37.52   $    104.23
                                                                                                                                                      Doc 75-1




TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24670    9/3/2020    $           21.49 $         25.79   $     71.63
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24671    9/3/2020    $           19.71 $         23.65   $     65.70
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24672    9/3/2020    $           23.08 $         27.70   $     76.95
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24673    9/3/2020    $           32.88 $         39.46   $    109.59
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24674    9/3/2020    $           21.51 $         25.81   $     71.71
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24675    9/3/2020    $           28.19 $         33.83   $     93.97
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24676    9/3/2020    $           27.13 $         32.56   $     90.44
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24677    9/3/2020    $           19.73 $         23.68   $     65.78
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24818    9/3/2020    $           53.82 $         64.58   $    179.40
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24819    9/3/2020    $           19.95 $         23.94   $     66.50
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   24820    9/3/2020    $           25.97 $         31.16   $     86.56
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25065                $           19.95 $         23.94   $     66.50
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25066                $           25.97 $         31.16   $     86.56
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25236                $           21.65 $         25.98   $     72.16
                                                                                                                                                      Entered 04/29/22 00:00:58




TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25307                $           25.97 $         31.16   $     86.56
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25308                $           21.52 $         25.82   $     71.74
TIF-01     19301   Jacob Emrani       Buena Vista Medical Services   25430                $           19.95 $         23.94   $     66.50
TIF-01     19257   Michael Madadi     Buena Vista Medical Services   24814    9/3/2020    $           57.39 $         68.87   $    191.29
TIF-01     19257   Michael Madadi     Buena Vista Medical Services   25232                $           24.76 $         29.71   $     82.54
TIF-01     19257   Michael Madadi     Buena Vista Medical Services   25233                $           26.19 $         31.43   $     87.29
TIF-01      8270   Nicholas Lasso     Buena Vista Medical Services   25245                $           23.96 $         28.75   $     79.88
TIF-01      8270   Nicholas Lasso     Buena Vista Medical Services   25439                $           21.20 $         25.44   $     70.68
                                                                                                                                                      Page 89 of 169




TIF-01      8270   Nicholas Lasso     Buena Vista Medical Services   25440                $           24.50 $         29.40   $     81.66
TIF-01      7310   Timothy Revero     Buena Vista Medical Services   24926    9/3/2020    $           44.66 $         53.59   $    148.86
TIF-01      7310   Timothy Revero     Buena Vista Medical Services   25318                $           33.32 $         39.98   $    111.07
TIF-01      6740   Kevin Danesh       Buena Vista Medical Services   24533    8/5/2020    $           56.30 $         67.56   $    187.66
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                       Receivables                          Funding
Fund     ClaimId   Lawyer             Provider                       BillId   Date Paid       Purchase Price           Cost   GFB Amount      Type
TIF-01      6740   Kevin Danesh       Buena Vista Medical Services   25309                $           57.74 $         69.29   $    192.46
TIF-01      6740   Kevin Danesh       Buena Vista Medical Services   25310                $           14.28 $         17.14   $     47.60
TIF-01      6740   Kevin Danesh       Buena Vista Medical Services   25311                $           63.24 $         75.89   $    210.79
TIF-01      9305   Michael Shemtoub   Buena Vista Medical Services   24817    9/3/2020    $           78.65 $         94.38   $    262.18
TIF-01      7218   Nicholas Lasso     Buena Vista Medical Services   25423                $           39.17 $         47.00   $    130.56
                                                                                                                                                      Case 21-01167-abl




TIF-01     19779   Daniel Rafii       Buena Vista Medical Services   25455                $           21.68 $         26.02   $     72.28
TIF-01     19483   Nicholas Lasso     Buena Vista Medical Services   24829    9/3/2020    $           25.16 $         30.19   $     83.87
TIF-01     19483   Nicholas Lasso     Buena Vista Medical Services   24830    9/3/2020    $           31.42 $         37.70   $    104.73
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   24682    9/3/2020    $          215.79 $        258.95   $    719.30
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   24683    9/3/2020    $           37.72 $         45.26   $    125.74
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   24825    9/3/2020    $           37.55 $         45.06   $    125.17
                                                                                                                                                      Doc 75-1




TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   24826    9/3/2020    $           48.56 $         58.27   $    161.85
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   25241                $           25.33 $         30.40   $     84.44
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   25242                $           37.55 $         45.06   $    125.17
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   25317                $           48.56 $         58.27   $    161.85
TIF-01      7064   Farid Yaghoubtil   Buena Vista Medical Services   25433                $           37.72 $         45.26   $    125.74
TIF-01      6800   Arash Khorsandi    Buena Vista Medical Services   24534    8/5/2020    $           27.61 $         33.13   $     92.04
TIF-01      6800   Arash Khorsandi    Buena Vista Medical Services   24535    8/5/2020    $           35.09 $         42.11   $    116.96
TIF-01      6800   Arash Khorsandi    Buena Vista Medical Services   24824    9/3/2020    $           35.09 $         42.11   $    116.96
TIF-01      8705   Farid Yaghoubtil   Buena Vista Medical Services   25306                $           40.10 $         48.12   $    133.68
TIF-01     19265   Omid Khorshidi     Buena Vista Medical Services   24914    9/3/2020    $           40.77 $         48.92   $    135.89
TIF-01     19265   Omid Khorshidi     Buena Vista Medical Services   25064                $           24.22 $         29.06   $     80.75
TIF-01     18523   Jared Richards     Buena Vista Medical Services   24604    8/5/2020    $          115.26 $        138.31   $    384.21
TIF-01     18523   Jared Richards     Buena Vista Medical Services   24904    9/3/2020    $           22.72 $         27.26   $     75.73
TIF-01     18523   Jared Richards     Buena Vista Medical Services   24905    9/3/2020    $           48.55 $         58.26   $    161.84
                                                                                                                                                      Entered 04/29/22 00:00:58




TIF-01      8607   Farid Yaghoubtil   Buena Vista Medical Services   24666    9/3/2020    $           48.56 $         58.27   $    161.85
TIF-01      8607   Farid Yaghoubtil   Buena Vista Medical Services   24667    9/3/2020    $           37.72 $         45.26   $    125.74
TIF-01      8607   Farid Yaghoubtil   Buena Vista Medical Services   24668    9/3/2020    $           30.77 $         36.92   $    102.56
TIF-01     19515   Michael Shemtoub   Buena Vista Medical Services   25015    9/3/2020    $           33.68 $         40.42   $    112.25
TIF-01     19515   Michael Shemtoub   Buena Vista Medical Services   25016    9/3/2020    $           26.22 $         31.46   $     87.40
TIF-01     19515   Michael Shemtoub   Buena Vista Medical Services   25017    9/3/2020    $           40.53 $         48.64   $    135.09
TIF-01     19515   Michael Shemtoub   Buena Vista Medical Services   25018    9/3/2020    $           21.46 $         25.75   $     71.52
TIF-01     19269   Nancy Bernstein    Buena Vista Medical Services   24545    8/5/2020    $           27.70 $         33.24   $     92.34
                                                                                                                                                      Page 90 of 169




TIF-01     19269   Nancy Bernstein    Buena Vista Medical Services   24546    8/5/2020    $           22.31 $         26.77   $     74.37
TIF-01     19269   Nancy Bernstein    Buena Vista Medical Services   24906    9/3/2020    $           21.76 $         26.11   $     72.54
TIF-01     19269   Nancy Bernstein    Buena Vista Medical Services   24907    9/3/2020    $           65.63 $         78.76   $    218.77
TIF-01     19269   Nancy Bernstein    Buena Vista Medical Services   24908    9/3/2020    $          142.90 $        171.48   $    476.33
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake H (Batch 11)

                                                                                                                   Receivables                                    Funding
Fund     ClaimId   Lawyer                 Provider                          BillId      Date Paid         Purchase Price               Cost     GFB Amount          Type
TIF-01     19269   Nancy Bernstein        Buena Vista Medical Services      25061                     $           20.53 $             24.64     $     68.44
TIF-01     19269   Nancy Bernstein        Buena Vista Medical Services      25424                     $           22.31 $             26.77     $     74.37
TIF-01     19269   Nancy Bernstein        Buena Vista Medical Services      25425                     $           27.70 $             33.24     $     92.34
TIF-01     19269   Nancy Bernstein        Buena Vista Medical Services      25426                     $           65.63 $             78.76     $    218.77
TIF-01      5067   Natanya Brooks         Buena Vista Medical Services      24909       9/3/2020      $          239.85 $            287.82     $ 1,199.23
                                                                                                                                                                                  Case 21-01167-abl




TIF-01     19558   Martin Law Firm        Stat Diagnostics                  25121      8/18/2020      $        1,200.00 $          1,440.00     $ 9,075.00
TIF-01     19785   Peter Angulo           Buena Vista Medical Services      25461                     $           29.29 $             35.15     $     97.62
TIF-01     19783   Salar Hendizadeh       Buena Vista Medical Services      25459                     $           22.96 $             27.55     $     76.53
TIF-01      7094   Frank Fasel            Buena Vista Medical Services      25240                     $           20.37 $             24.44     $     67.91

                                                                                                      $       21,840.02 $        26,208.02      $ 122,101.92
                                                                                                                                                                                  Doc 75-1




****     This List of Receivables supporting Series 1-Intake H (Batch 11) in the amount of US$122,101.92 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 465.90% of the purchased total of $26,208.02.
                                                                                                                                                                                  Entered 04/29/22 00:00:58
                                                                                                                                                                                  Page 91 of 169
Case 21-01167-abl   Doc 75-1   Entered 04/29/22 00:00:58   Page 92 of 169




                       EXHIBIT I
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 12 A&B)

                                                                                     Receivables                              Funding
Fund     Lawyer                   Provider           BillID   Date Paid    Purchase Price               Cost   GFB Amount      Type     # of MRI

TIF-01   Christopher J. Leavitt   Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   2,950.00    MRI                 1
TIF-01   Herman & Herman          Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   9,075.00    MRI                 2
TIF-01   David Aziel Garcia       Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   2,950.00    MRI                 1
TIF-01   George K. Farah          Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   4,500.00    MRI                 1
                                                                                                                                                       Case 21-01167-abl




TIF-01   Nefi Lopez               Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   9,000.00    MRI                 2
TIF-01   Peter A Ruman            Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   4,500.00    MRI                 1
TIF-01   Beverly R. Caruthers     Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   4,500.00    MRI                 1
TIF-01   Pegah Rahgozar           Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   2,950.00    MRI                 1
TIF-01   Stewart J Guss           Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   2,950.00    MRI                 1
                                                                                                                                                       Doc 75-1




TIF-01   Sam K. Mukerji           Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   9,000.00    MRI                 2
TIF-01   John K. Zaid             Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   9,000.00    MRI                 2
TIF-01   Ryan S. Pigg             Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   4,500.00    MRI                 1
TIF-01   Mokaram Law Firm         Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   9,000.00    MRI                 2
TIF-01   Mokaram Law Firm         Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   4,500.00    MRI                 1
TIF-01   Christopher J. Leavitt   Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   5,900.00    MRI                 2
TIF-01   Smith & Hassler          Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   4,500.00    MRI                 1
TIF-01   Christopher J. Leavitt   Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   5,900.00    MRI                 2
TIF-01   Joe Ray Rodriguez        Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   4,650.00    MRI                 1
TIF-01   Adame Garza              Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   2,950.00    MRI                 1
TIF-01   David Aziel Garcia       Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   4,500.00    MRI                 1
TIF-01   Salazar Velazquez        Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   9,000.00    MRI                 2
TIF-01   Manuel Gonzales          Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   9,000.00    MRI                 2
                                                                                                                                                       Entered 04/29/22 00:00:58




TIF-01   Keivan S Romero          Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   9,000.00    MRI                 2
TIF-01   Peter A Ruman            Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   7,450.00    MRI                 2
TIF-01   Robert Davis Jr.         Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   4,500.00    MRI                 1
TIF-01   Pegah Rahgozar           Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   2,950.00    MRI                 1
TIF-01   Andrew Kumar             Stat Diagnostics            10/12/2020   $    1,200.00   $        1,440.00   $   7,450.00    MRI                 2
TIF-01   Jonathan B. Zumwalt      Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   3,100.00    MRI                 1
TIF-01   Smith & Hassler          Stat Diagnostics            10/12/2020   $      600.00   $          720.00   $   4,500.00    MRI                 1

                                                                           $   24,600.00   $       29,520.00   $ 164,725.00                    41
                                                                                                                                                       Page 93 of 169




TIF-01   Mokaram Law Firm         Stat Diagnostics            10/12/2020   $    1,200.00 $          1,440.00   $   9,000.00    MRI                 2
TIF-01   McDonald Worley          Stat Diagnostics            10/12/2020   $      600.00 $            720.00   $   2,950.00    MRI                 1
TIF-01   Kumar Law Firm           Stat Diagnostics            10/12/2020   $      600.00 $            720.00   $   4,500.00    MRI                 1
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 12 A&B)

                                                                                       Receivables                            Funding
Fund     Lawyer                     Provider           BillID   Date Paid    Purchase Price              Cost   GFB Amount     Type     # of MRI
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Caroline Adams             Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Benjamin Roberts           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
                                                                                                                                                       Case 21-01167-abl




TIF-01   Smith & Hassler            Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Kenny Perez Law            Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 16,450.00     MRI                4
TIF-01   Latif Perez                Stat Diagnostics            10/12/2020   $    1,800.00 $         2,160.00   $ 11,950.00     MRI                3
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Shane Pellerin             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
                                                                                                                                                       Doc 75-1




TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $    1,800.00 $         2,160.00   $ 11,950.00     MRI                3
TIF-01   Ali Law Group              Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Mokaram Law Firm           Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,650.00      MRI                1
TIF-01   Adame Garza                Stat Diagnostics            10/12/2020   $    1,800.00 $         2,160.00   $ 11,950.00     MRI                3
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,650.00      MRI                1
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Adame Garza                Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Salazar & Velazquez        Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 14,900.00     MRI                4
TIF-01   Kenny Perez Law            Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 14,900.00     MRI                4
TIF-01   Salazar & Velazquez        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Leo Oginni Trail Lawyers P Stat Diagnostics            10/12/2020   $    1,800.00 $         2,160.00   $ 10,400.00     MRI                3
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Sam K. Mukerji             Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Shane R Kadlec             Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 14,900.00     MRI                4
                                                                                                                                                       Entered 04/29/22 00:00:58




TIF-01   Shane R Kadlec             Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 14,900.00     MRI                4
TIF-01   Lori L Brown               Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,150.00      MRI                2
TIF-01   Richard J Presutti         Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
TIF-01   Manuel Gonzales            Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Cesar Escalante            Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Salazar & Velazquez        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Salazar & Velazquez        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
TIF-01   Adam P Crisco              Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
                                                                                                                                                       Page 94 of 169




TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Kumar Law Firm             Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Hector L Sandoval          Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Leo Oginni Trail Lawyers P Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 12 A&B)

                                                                                  Receivables                            Funding
Fund     Lawyer                Provider           BillID   Date Paid    Purchase Price              Cost   GFB Amount     Type     # of MRI
TIF-01   Christopher J Leavitt Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 5,900.00      MRI                2
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Gustavo H Villalpando Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 5,900.00      MRI                2
                                                                                                                                                  Case 21-01167-abl




TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    2,400.00 $         2,880.00   $ 14,900.00     MRI                4
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,150.00      MRI                2
TIF-01   Jonathan S Harris     Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   W Clark Martin IV     Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Pulkit Moudgil        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
                                                                                                                                                  Doc 75-1




TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Stephen Akinnibosun   Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Bret Griffin          Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Brian White           Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 5,900.00      MRI                2
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 7,450.00      MRI                2
TIF-01   Lawrence F Labanowski Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Hector L Sandoval     Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 5,900.00      MRI                2
                                                                                                                                                  Entered 04/29/22 00:00:58




TIF-01   Lori L Brown          Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Brandon P. Ramsey     Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,650.00      MRI                1
TIF-01   Lawrence F Labanowski Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 2,950.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,150.00      MRI                2
TIF-01   George K Farah        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
TIF-01   Sydney Meriwether WomaStat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
                                                                                                                                                  Page 95 of 169




TIF-01   Eric D Nielsen        Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Jonathan S Harris     Stat Diagnostics            10/12/2020   $      600.00 $           720.00   $ 4,500.00      MRI                1
TIF-01   Kumar Law Firm        Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,150.00      MRI                2
TIF-01   Adame Garza           Stat Diagnostics            10/12/2020   $    1,200.00 $         1,440.00   $ 9,000.00      MRI                2
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 12 A&B)

                                                                                                 Receivables                                       Funding
Fund     Lawyer                     Provider                BillID    Date Paid        Purchase Price                  Cost      GFB Amount         Type       # of MRI
TIF-01   Kumar Law Firm             Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 9,000.00          MRI                    2
TIF-01   Kumar Law Firm             Stat Diagnostics                  10/12/2020       $    2,400.00 $             2,880.00      $ 14,900.00         MRI                    4
TIF-01   Christopher J Leavitt      Stat Diagnostics                  10/12/2020       $    3,000.00 $             3,600.00      $ 17,850.00         MRI                    5
TIF-01   Kumar Law Firm             Stat Diagnostics                  10/12/2020       $    1,800.00 $             2,160.00      $ 11,950.00         MRI                    3
                                                                                                                                                                                  Case 21-01167-abl




TIF-01   Kumar Law Firm             Stat Diagnostics                  10/12/2020       $    1,800.00 $             2,160.00      $ 11,950.00         MRI                    3
TIF-01   Schechter Mcelwee Shaffe Stat Diagnostics                    10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
TIF-01   Adame Garza                Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 2,950.00          MRI                    1
TIF-01   Rusty Harrison             Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 9,000.00          MRI                    2
TIF-01   David J Romagosa           Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
                                                                                                                                                                                  Doc 75-1




TIF-01   Kumar Law Firm             Stat Diagnostics                  10/12/2020       $    1,800.00 $             2,160.00      $ 11,950.00         MRI                    3
TIF-01   Hector L Sandoval          Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 9,000.00          MRI                    2
TIF-01   Adame Garza                Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 6,050.00          MRI                    2
TIF-01   Salazar & Velazquez        Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 9,000.00          MRI                    2
TIF-01   Manuel Gonzales            Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
TIF-01   Sydney Meriwether WomaStat Diagnostics                       10/12/2020       $    1,200.00 $             1,440.00      $ 7,450.00          MRI                    2
TIF-01   Paul Valiviesco            Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 9,000.00          MRI                    2
TIF-01   Christopher J Leavitt      Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
TIF-01   Leo Oginni trail Lawyers PLStat Diagnostics                  10/12/2020       $    1,800.00 $             2,160.00      $ 11,950.00         MRI                    3
TIF-01   Joseph K Plumbar           Stat Diagnostics                  10/12/2020       $    1,200.00 $             1,440.00      $ 5,900.00          MRI                    2
TIF-01   Spagnoletti Associates     Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
TIF-01   Adame Garza                Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 2,950.00          MRI                    1
TIF-01   Adame Garza                Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 2,950.00          MRI                    1
TIF-01   Adame Garza                Stat Diagnostics                  10/12/2020       $      600.00 $               720.00      $ 4,500.00          MRI                    1
                                                                                                                                                                                  Entered 04/29/22 00:00:58




                                                                                       $   106,200.00     $     127,440.00       $ 714,000.00                         177

                                    COMBINED TOTALS                                    $    130,800.00 $        156,960.00       $ 878,725.00


****     This List of Receivables supporting Series 1-Intake I (Batch 12) in the amount of US$878,725.00 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.
                                                                                                                                                                                  Page 96 of 169




         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 12 A&B)

                                                                                             Receivables                                    Funding
Fund   Lawyer                    Provider               BillID    Date Paid        Purchase Price                 Cost     GFB Amount        Type     # of MRI

       c. Confirmed that the value of purchased receivables respecting the listed invoices equals 559.84% of the purchased total of $156,960.00.
                                                                                                                                                                 Case 21-01167-abl




       William B Dalzell
       CFO, Forget-the-Market Limited
       Co-Manager for Tecumseh-Infinity MR Fund
                                                                                                                                                                 Doc 75-1
                                                                                                                                                                 Entered 04/29/22 00:00:58
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                     EXHIBIT J-1
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                       Receivables                          Funding
Fund     ClaimId Lawyer                Provider                       BillId    Date Paid     Purchase Price           Cost   GFB Amount     Type

TIF-01   19969   Joseph Nazarian       Buena Vista Medical Services     26303    10/12/2020   $       71.89   $       86.27   $    239.62     Rx
TIF-01   19969   Joseph Nazarian       Buena Vista Medical Services     26304    10/12/2020   $       34.71   $       41.65   $    115.71     Rx
TIF-01   19969   Joseph Nazarian       Buena Vista Medical Services     26305    10/12/2020   $       86.61   $      103.93   $    288.69     Rx
TIF-01   19969   Joseph Nazarian       Buena Vista Medical Services     26307    10/12/2020   $      127.39   $      152.87   $    424.62     Rx
                                                                                                                                                      Case 21-01167-abl




TIF-01   19969   Joseph Nazarian       Buena Vista Medical Services     26309    10/12/2020   $       94.85   $      113.82   $    316.18     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26280    10/12/2020   $       71.89   $       86.27   $    239.62     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26281    10/12/2020   $       66.31   $       79.57   $    221.02     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26282    10/12/2020   $      194.28   $      233.14   $    647.60     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26284    10/12/2020   $       89.72   $      107.66   $    299.06     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26285    10/12/2020   $      194.28   $      233.14   $    647.60     Rx
                                                                                                                                                      Doc 75-1




TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26287    10/12/2020   $       55.76   $       66.91   $    185.85     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26289    10/12/2020   $       55.76   $       66.91   $    185.85     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26290    10/12/2020   $      194.28   $      233.14   $    647.60     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26292    10/12/2020   $      194.28   $      233.14   $    647.60     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26294    10/12/2020   $       71.89   $       86.27   $    239.62     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26295    10/12/2020   $       45.66   $       54.79   $    152.19     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26297    10/12/2020   $      192.50   $      231.00   $    641.66     Rx
TIF-01   19965   Jubin Sharifi         Buena Vista Medical Services     26299    10/12/2020   $       95.23   $      114.28   $    317.43     Rx
TIF-01   19522   Michael Shemtoub      Buena Vista Medical Services     25077    10/12/2020   $       20.56   $       24.67   $     68.55     Rx
TIF-01   19522   Michael Shemtoub      Buena Vista Medical Services     25078    10/12/2020   $       32.97   $       39.56   $    109.90     Rx
TIF-01   20081   Bob Amirian           Buena Vista Medical Services     26558    10/12/2020   $       32.60   $       39.12   $    108.65     Rx
TIF-01   20089   Ramin Soofer          Buena Vista Medical Services     26579    10/12/2020   $       38.41   $       46.09   $    128.02     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26335    10/12/2020   $       85.49   $      102.59   $    284.97     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26336    10/12/2020   $       86.61   $      103.93   $    288.69     Rx
                                                                                                                                                      Entered 04/29/22 00:00:58




TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26337    10/12/2020   $       44.68   $       53.62   $    148.95     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26339    10/12/2020   $       40.96   $       49.15   $    136.52     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26340    10/12/2020   $       78.64   $       94.37   $    262.14     Rx
TIF-01   19985   JeffreyRay Billings   Buena Vista Medical Services     26342    10/12/2020   $      212.02   $      254.42   $    706.74     Rx
TIF-01   20019   Joseph Nazarian       Buena Vista Medical Services     26406    10/12/2020   $       33.19   $       39.83   $    110.64     Rx
TIF-01   20019   Joseph Nazarian       Buena Vista Medical Services     26408    10/12/2020   $       62.72   $       75.26   $    209.07     Rx
TIF-01   20019   Joseph Nazarian       Buena Vista Medical Services     26409    10/12/2020   $       78.64   $       94.37   $    262.14     Rx
TIF-01   20019   Joseph Nazarian       Buena Vista Medical Services     26411    10/12/2020   $       33.19   $       39.83   $    110.64     Rx
TIF-01   20019   Joseph Nazarian       Buena Vista Medical Services     26413    10/12/2020   $       33.19   $       39.83   $    110.64     Rx
                                                                                                                                                      Page 99 of 169




TIF-01   19957   Ross Hoonanian        Buena Vista Medical Services     26260    10/12/2020   $       57.60   $       69.12   $    192.00     Rx
TIF-01   20027   Robin Saghian         Buena Vista Medical Services     26444    10/12/2020   $       37.31   $       44.77   $    124.38     Rx
TIF-01   20027   Robin Saghian         Buena Vista Medical Services     26445    10/12/2020   $       33.14   $       39.77   $    110.46     Rx
TIF-01   19706   Farid Yaghoubtil      Buena Vista Medical Services     25249    10/12/2020   $       30.55   $       36.66   $    101.84     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                        Receivables                          Funding
Fund     ClaimId   Lawyer              Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19827    Robin Saghian       Buena Vista Medical Services      25713    10/12/2020   $       42.64 $         51.17   $    142.12     Rx
TIF-01    19827    Robin Saghian       Buena Vista Medical Services      25714    10/12/2020   $       32.72 $         39.26   $    109.06     Rx
TIF-01    8739     Reginald A Greene   Buena Vista Medical Services      25062    10/12/2020   $       31.48 $         37.78   $    104.92     Rx
TIF-01    8739     Reginald A Greene   Buena Vista Medical Services      25063    10/12/2020   $       23.06 $         27.67   $     76.87     Rx
TIF-01    20057    Arash Khorsandi     Buena Vista Medical Services      26507    10/12/2020   $       38.53 $         46.24   $    128.42     Rx
                                                                                                                                                       Case 21-01167-abl




TIF-01    20057    Arash Khorsandi     Buena Vista Medical Services      26508    10/12/2020   $       43.07 $         51.68   $    143.58     Rx
TIF-01    19909    Robin Saghian       Buena Vista Medical Services      26055    10/12/2020   $       56.28 $         67.54   $    187.59     Rx
TIF-01    19909    Robin Saghian       Buena Vista Medical Services      26057    10/12/2020   $       56.28 $         67.54   $    187.59     Rx
TIF-01    19909    Robin Saghian       Buena Vista Medical Services      26059    10/12/2020   $       55.83 $         67.00   $    186.10     Rx
TIF-01    19909    Robin Saghian       Buena Vista Medical Services      26061    10/12/2020   $       55.83 $         67.00   $    186.10     Rx
                                                                                                                                                       Doc 75-1




TIF-01    20001    Joseph Nazarian     Buena Vista Medical Services      26369    10/12/2020   $       59.05 $         70.86   $    196.84     Rx
TIF-01    20001    Joseph Nazarian     Buena Vista Medical Services      26370    10/12/2020   $       80.31 $         96.37   $    267.69     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26103    10/12/2020   $       38.43 $         46.12   $    128.10     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26104    10/12/2020   $       56.64 $         67.97   $    188.79     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26106    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26108    10/12/2020   $      452.38 $        542.86   $ 1,507.95      Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26110    10/12/2020   $      114.40 $        137.28   $    381.34     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26112    10/12/2020   $      509.08 $        610.90   $ 1,696.95      Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26113    10/12/2020   $      242.74 $        291.29   $    809.12     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26115    10/12/2020   $       56.64 $         67.97   $    188.79     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26117    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26119    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26121    10/12/2020   $       56.64 $         67.97   $    188.79     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26123    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
                                                                                                                                                       Entered 04/29/22 00:00:58




TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26125    10/12/2020   $       36.61 $         43.93   $    122.04     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26127    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26129    10/12/2020   $       36.22 $         43.46   $    120.72     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26130    10/12/2020   $       37.86 $         45.43   $    126.20     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26132    10/12/2020   $       36.61 $         43.93   $    122.04     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26134    10/12/2020   $       85.28 $        102.34   $    284.26     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26136    10/12/2020   $      114.40 $        137.28   $    381.34     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26138    10/12/2020   $       44.20 $         53.04   $    147.34     Rx
TIF-01    19927    Arash Khorsandi     Buena Vista Medical Services      26140    10/12/2020   $       56.64 $         67.97   $    188.79     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25742    10/12/2020   $       29.38 $         35.26   $     97.92     Rx
                                                                                                                                                       Page 100 of 169




TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25743    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25745    10/12/2020   $       29.38 $         35.26   $     97.92     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25747    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                        Receivables                          Funding
Fund     ClaimId   Lawyer              Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25749    10/12/2020   $       29.38 $         35.26   $     97.92     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25751    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25753    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25755    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25757    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
                                                                                                                                                       Case 21-01167-abl




TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25759    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25761    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25763    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    19831    Arash Khorsandi     Buena Vista Medical Services      25765    10/12/2020   $       56.85 $         68.22   $    189.51     Rx
TIF-01    20015    Michael Drell       Buena Vista Medical Services      26391    10/12/2020   $       42.08 $         50.50   $    140.28     Rx
                                                                                                                                                       Doc 75-1




TIF-01    20015    Michael Drell       Buena Vista Medical Services      26392    10/12/2020   $       72.49 $         86.99   $    241.62     Rx
TIF-01    20015    Michael Drell       Buena Vista Medical Services      26394    10/12/2020   $       83.60 $        100.32   $    278.67     Rx
TIF-01    20015    Michael Drell       Buena Vista Medical Services      26396    10/12/2020   $       48.52 $         58.22   $    161.72     Rx
TIF-01    20015    Michael Drell       Buena Vista Medical Services      26398    10/12/2020   $       50.62 $         60.74   $    168.72     Rx
TIF-01    19977    Richard Sadeddin    Buena Vista Medical Services      26325    10/12/2020   $      141.08 $        169.30   $    470.25     Rx
TIF-01    19887    Joseph Nazarian     Buena Vista Medical Services      25978    10/12/2020   $       26.21 $         31.45   $     87.36     Rx
TIF-01    19887    Joseph Nazarian     Buena Vista Medical Services      25979    10/12/2020   $       26.21 $         31.45   $     87.36     Rx
TIF-01    19887    Joseph Nazarian     Buena Vista Medical Services      25980    10/12/2020   $       23.62 $         28.34   $     78.74     Rx
TIF-01    19847    Robin Saghian       Buena Vista Medical Services      25845    10/12/2020   $       30.10 $         36.12   $    100.32     Rx
TIF-01    19997    Michael Drell       Buena Vista Medical Services      26363    10/12/2020   $       64.23 $         77.08   $    214.09     Rx
TIF-01    19837    David Kashani       Buena Vista Medical Services      25812    10/12/2020   $       56.86 $         68.23   $    189.52     Rx
TIF-01    19837    David Kashani       Buena Vista Medical Services      25813    10/12/2020   $       55.52 $         66.62   $    185.08     Rx
TIF-01    19817    Robin Saghian       Buena Vista Medical Services      25677    10/12/2020   $       67.49 $         80.99   $    224.96     Rx
TIF-01    19817    Robin Saghian       Buena Vista Medical Services      25679    10/12/2020   $       26.31 $         31.57   $     87.70     Rx
                                                                                                                                                       Entered 04/29/22 00:00:58




TIF-01    19817    Robin Saghian       Buena Vista Medical Services      25681    10/12/2020   $       26.31 $         31.57   $     87.70     Rx
TIF-01    20047    Omid Razi           Buena Vista Medical Services      26494    10/12/2020   $       39.28 $         47.14   $    130.94     Rx
TIF-01    20047    Omid Razi           Buena Vista Medical Services      26495    10/12/2020   $       35.99 $         43.19   $    119.98     Rx
TIF-01    20047    Omid Razi           Buena Vista Medical Services      26496    10/12/2020   $       87.74 $        105.29   $    292.47     Rx
TIF-01    19823    Michael Drell       Buena Vista Medical Services      25700    10/12/2020   $       30.89 $         37.07   $    102.98     Rx
TIF-01    19823    Michael Drell       Buena Vista Medical Services      25701    10/12/2020   $       44.46 $         53.35   $    148.20     Rx
TIF-01    7298     Hamed Yazdanpanah   Buena Vista Medical Services      25070    10/12/2020   $       15.47 $         18.56   $     51.57     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26234    10/12/2020   $       59.05 $         70.86   $    196.84     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26236    10/12/2020   $       92.92 $        111.50   $    309.75     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26237    10/12/2020   $       98.91 $        118.69   $    329.70     Rx
                                                                                                                                                       Page 101 of 169




TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26238    10/12/2020   $       70.88 $         85.06   $    236.25     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26240    10/12/2020   $       59.05 $         70.86   $    196.84     Rx
TIF-01    19949    Joseph Nazarian     Buena Vista Medical Services      26242    10/12/2020   $       92.92 $        111.50   $    309.75     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                          Receivables                          Funding
Fund     ClaimId   Lawyer                Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19949    Joseph Nazarian       Buena Vista Medical Services      26243    10/12/2020   $       42.75 $         51.30   $    142.50     Rx
TIF-01    19949    Joseph Nazarian       Buena Vista Medical Services      26244    10/12/2020   $       70.88 $         85.06   $    236.25     Rx
TIF-01    19949    Joseph Nazarian       Buena Vista Medical Services      26246    10/12/2020   $       98.91 $        118.69   $    329.70     Rx
TIF-01    8659     Nicholas Lasso        Buena Vista Medical Services      25319    10/12/2020   $       22.88 $         27.46   $     76.27     Rx
TIF-01    8659     Nicholas Lasso        Buena Vista Medical Services      25320    10/12/2020   $       16.44 $         19.73   $     54.79     Rx
                                                                                                                                                         Case 21-01167-abl




TIF-01    19271    Omid Khorshidi        Buena Vista Medical Services      25301    10/12/2020   $       63.95 $         76.74   $    213.18     Rx
TIF-01    19271    Omid Khorshidi        Buena Vista Medical Services      25302    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19271    Omid Khorshidi        Buena Vista Medical Services      25303    10/12/2020   $       41.37 $         49.64   $    137.90     Rx
TIF-01    19271    Omid Khorshidi        Buena Vista Medical Services      25304    10/12/2020   $       29.88 $         35.86   $     99.60     Rx
TIF-01    19271    Omid Khorshidi        Buena Vista Medical Services      25305    10/12/2020   $       25.50 $         30.60   $     85.01     Rx
                                                                                                                                                         Doc 75-1




TIF-01    20063    Robin Saghian         Buena Vista Medical Services      26515    10/12/2020   $       32.60 $         39.12   $    108.65     Rx
TIF-01    20063    Robin Saghian         Buena Vista Medical Services      26516    10/12/2020   $       32.54 $         39.05   $    108.46     Rx
TIF-01    20077    RobertT. Simon        Buena Vista Medical Services      26551    10/12/2020   $       54.64 $         65.57   $    182.12     Rx
TIF-01    20077    RobertT. Simon        Buena Vista Medical Services      26553    10/12/2020   $       35.99 $         43.19   $    119.98     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25642    10/12/2020   $       34.19 $         41.03   $    113.96     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25643    10/12/2020   $       33.20 $         39.84   $    110.68     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25645    10/12/2020   $       41.95 $         50.34   $    139.82     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25647    10/12/2020   $       33.65 $         40.38   $    112.16     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25649    10/12/2020   $       32.84 $         39.41   $    109.47     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25651    10/12/2020   $       31.28 $         37.54   $    104.25     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25652    10/12/2020   $       32.72 $         39.26   $    109.08     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25653    10/12/2020   $       33.46 $         40.15   $    111.54     Rx
TIF-01    19811    Farid Yaghoubtil      Buena Vista Medical Services      25655    10/12/2020   $       38.79 $         46.55   $    129.31     Rx
TIF-01    19857    RaminRay Kohanarieh   Buena Vista Medical Services      25861    10/12/2020   $       31.81 $         38.17   $    106.02     Rx
                                                                                                                                                         Entered 04/29/22 00:00:58




TIF-01    19857    RaminRay Kohanarieh   Buena Vista Medical Services      25862    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25767    10/12/2020   $       56.00 $         67.20   $    186.68     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25769    10/12/2020   $       59.45 $         71.34   $    198.16     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25771    10/12/2020   $       59.45 $         71.34   $    198.16     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25773    10/12/2020   $       59.45 $         71.34   $    198.16     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25775    10/12/2020   $       69.86 $         83.83   $    232.86     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25777    10/12/2020   $       59.45 $         71.34   $    198.16     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25779    10/12/2020   $       59.45 $         71.34   $    198.16     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25781    10/12/2020   $      124.39 $        149.27   $    414.62     Rx
TIF-01    19833    Jubin Sharifi         Buena Vista Medical Services      25783    10/12/2020   $       92.48 $        110.98   $    308.25     Rx
                                                                                                                                                         Page 102 of 169




TIF-01    20045    Mark Ruszecki         Buena Vista Medical Services      26490    10/12/2020   $       36.95 $         44.34   $    123.18     Rx
TIF-01    20045    Mark Ruszecki         Buena Vista Medical Services      26492    10/12/2020   $       36.95 $         44.34   $    123.18     Rx
TIF-01    19708    Farid Yaghoubtil      Buena Vista Medical Services      25251    10/12/2020   $       25.16 $         30.19   $     83.87     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                        Receivables                          Funding
Fund     ClaimId   Lawyer              Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19708    Farid Yaghoubtil    Buena Vista Medical Services      25252    10/12/2020   $       21.73 $         26.08   $     72.43     Rx
TIF-01    19708    Farid Yaghoubtil    Buena Vista Medical Services      25420    10/12/2020   $       21.73 $         26.08   $     72.43     Rx
TIF-01    19726    Omid Khorshidi      Buena Vista Medical Services      25329    10/12/2020   $       25.51 $         30.61   $     85.04     Rx
TIF-01    19726    Omid Khorshidi      Buena Vista Medical Services      25330    10/12/2020   $       23.34 $         28.01   $     77.79     Rx
TIF-01    19945    Joseph Nazarian     Buena Vista Medical Services      26228    10/12/2020   $       86.61 $        103.93   $    288.69     Rx
                                                                                                                                                       Case 21-01167-abl




TIF-01    20029    Ryan B. Bormaster   Buena Vista Medical Services      26447    10/12/2020   $       27.92 $         33.50   $     93.07     Rx
TIF-01    20029    Ryan B. Bormaster   Buena Vista Medical Services      26448    10/12/2020   $       26.09 $         31.31   $     86.96     Rx
TIF-01    20029    Ryan B. Bormaster   Buena Vista Medical Services      26450    10/12/2020   $       33.86 $         40.63   $    112.86     Rx
TIF-01    20031    Ryan B. Bormaster   Buena Vista Medical Services      26452    10/12/2020   $       29.52 $         35.42   $     98.40     Rx
TIF-01    20031    Ryan B. Bormaster   Buena Vista Medical Services      26454    10/12/2020   $      289.99 $        347.99   $    966.62     Rx
                                                                                                                                                       Doc 75-1




TIF-01    20031    Ryan B. Bormaster   Buena Vista Medical Services      26456    10/12/2020   $       36.32 $         43.58   $    121.07     Rx
TIF-01    20023    Robert Walch        Buena Vista Medical Services      26423    10/12/2020   $       55.34 $         66.41   $    184.46     Rx
TIF-01    20023    Robert Walch        Buena Vista Medical Services      26425    10/12/2020   $       55.34 $         66.41   $    184.46     Rx
TIF-01    20023    Robert Walch        Buena Vista Medical Services      26427    10/12/2020   $       40.61 $         48.73   $    135.38     Rx
TIF-01    19913    Robin Saghian       Buena Vista Medical Services      26065    10/12/2020   $       24.76 $         29.71   $     82.53     Rx
TIF-01    19913    Robin Saghian       Buena Vista Medical Services      26066    10/12/2020   $       25.69 $         30.83   $     85.64     Rx
TIF-01    19913    Robin Saghian       Buena Vista Medical Services      26067    10/12/2020   $       25.79 $         30.95   $     85.98     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      25670    10/12/2020   $       63.36 $         76.03   $    211.21     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      25671    10/12/2020   $       60.71 $         72.85   $    202.37     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      25672    10/12/2020   $       59.30 $         71.16   $    197.68     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      25673    10/12/2020   $       60.10 $         72.12   $    200.33     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      25675    10/12/2020   $       24.52 $         29.42   $     81.74     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      26631    10/12/2020   $       12.74 $         15.29   $     42.45     Rx
TIF-01    19815    Michael Geoola      Buena Vista Medical Services      26632    10/12/2020   $       34.26 $         41.11   $    114.21     Rx
                                                                                                                                                       Entered 04/29/22 00:00:58




TIF-01    19815    Michael Geoola      Buena Vista Medical Services      26633    10/12/2020   $       16.96 $         20.35   $     56.52     Rx
TIF-01    19867    Joseph Nazarian     Buena Vista Medical Services      25900    10/12/2020   $       55.34 $         66.41   $    184.46     Rx
TIF-01    19867    Joseph Nazarian     Buena Vista Medical Services      25902    10/12/2020   $       25.69 $         30.83   $     85.64     Rx
TIF-01    19867    Joseph Nazarian     Buena Vista Medical Services      25904    10/12/2020   $      137.07 $        164.48   $    456.90     Rx
TIF-01    19867    Joseph Nazarian     Buena Vista Medical Services      25906    10/12/2020   $       44.49 $         53.39   $    148.30     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25683    10/12/2020   $       31.58 $         37.90   $    105.26     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25684    10/12/2020   $       28.73 $         34.48   $     95.76     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25686    10/12/2020   $       31.30 $         37.56   $    104.32     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25688    10/12/2020   $       22.48 $         26.98   $     74.94     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25689    10/12/2020   $       31.30 $         37.56   $    104.32     Rx
                                                                                                                                                       Page 103 of 169




TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25690    10/12/2020   $       31.58 $         37.90   $    105.26     Rx
TIF-01    19819    Mathew Babadjouni   Buena Vista Medical Services      25692    10/12/2020   $       31.30 $         37.56   $    104.32     Rx
TIF-01    20071    Robin Saghian       Buena Vista Medical Services      26538    10/12/2020   $       43.69 $         52.43   $    145.64     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                          Receivables                          Funding
Fund     ClaimId   Lawyer                Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20071    Robin Saghian         Buena Vista Medical Services      26540    10/12/2020   $       43.69 $         52.43   $    145.64     Rx
TIF-01    20073    Arash Khorsandi       Buena Vista Medical Services      26542    10/12/2020   $       29.98 $         35.98   $     99.92     Rx
TIF-01    20073    Arash Khorsandi       Buena Vista Medical Services      26544    10/12/2020   $       31.02 $         37.22   $    103.40     Rx
TIF-01    20073    Arash Khorsandi       Buena Vista Medical Services      26545    10/12/2020   $       40.44 $         48.53   $    134.80     Rx
TIF-01    19849    Mathew Babadjouni     Buena Vista Medical Services      25847    10/12/2020   $       64.94 $         77.93   $    216.45     Rx
                                                                                                                                                         Case 21-01167-abl




TIF-01    19889    Robin Saghian         Buena Vista Medical Services      25982    10/12/2020   $       54.87 $         65.84   $    182.91     Rx
TIF-01    19889    Robin Saghian         Buena Vista Medical Services      25983    10/12/2020   $       56.86 $         68.23   $    189.52     Rx
TIF-01    19871    HagopJ. Bazerkanian   Buena Vista Medical Services      25911    10/12/2020   $       24.97 $         29.96   $     83.22     Rx
TIF-01    19871    HagopJ. Bazerkanian   Buena Vista Medical Services      25912    10/12/2020   $       56.09 $         67.31   $    186.96     Rx
TIF-01    19871    HagopJ. Bazerkanian   Buena Vista Medical Services      25914    10/12/2020   $       24.97 $         29.96   $     83.22     Rx
                                                                                                                                                         Doc 75-1




TIF-01    19871    HagopJ. Bazerkanian   Buena Vista Medical Services      25915    10/12/2020   $       56.09 $         67.31   $    186.96     Rx
TIF-01    19724    Daniel Rafii          Buena Vista Medical Services      25326    10/12/2020   $       58.49 $         70.19   $    194.98     Rx
TIF-01    19724    Daniel Rafii          Buena Vista Medical Services      25327    10/12/2020   $       26.19 $         31.43   $     87.29     Rx
TIF-01    19724    Daniel Rafii          Buena Vista Medical Services      25325    10/12/2020   $       24.00 $         28.80   $     79.99     Rx
TIF-01    19875    Robin Saghian         Buena Vista Medical Services      25918    10/12/2020   $       55.39 $         66.47   $    184.62     Rx
TIF-01    19875    Robin Saghian         Buena Vista Medical Services      25919    10/12/2020   $       25.79 $         30.95   $     85.98     Rx
TIF-01    19875    Robin Saghian         Buena Vista Medical Services      25921    10/12/2020   $       66.72 $         80.06   $    222.39     Rx
TIF-01    19875    Robin Saghian         Buena Vista Medical Services      25923    10/12/2020   $       66.72 $         80.06   $    222.39     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25943    10/12/2020   $       61.49 $         73.79   $    204.98     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25944    10/12/2020   $       26.72 $         32.06   $     89.08     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25946    10/12/2020   $       58.09 $         69.71   $    193.64     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25948    10/12/2020   $       72.51 $         87.01   $    241.70     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25949    10/12/2020   $       58.09 $         69.71   $    193.64     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25951    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
                                                                                                                                                         Entered 04/29/22 00:00:58




TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25953    10/12/2020   $       58.09 $         69.71   $    193.64     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25955    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25957    10/12/2020   $       58.09 $         69.71   $    193.64     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25959    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25961    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25962    10/12/2020   $       58.09 $         69.71   $    193.64     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25963    10/12/2020   $       39.02 $         46.82   $    130.05     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25964    10/12/2020   $       42.05 $         50.46   $    140.16     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25966    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25967    10/12/2020   $       49.33 $         59.20   $    164.43     Rx
                                                                                                                                                         Page 104 of 169




TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25969    10/12/2020   $       49.33 $         59.20   $    164.43     Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25970    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
TIF-01    19883    Joseph Nazarian       Buena Vista Medical Services      25972    10/12/2020   $      335.12 $        402.14   $ 1,117.05      Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                      Receivables                          Funding
Fund     ClaimId   Lawyer            Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19883    Joseph Nazarian   Buena Vista Medical Services      25973    10/12/2020   $       49.33 $         59.20   $    164.43     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25071    10/12/2020   $       36.73 $         44.08   $    122.44     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25072    10/12/2020   $       46.37 $         55.64   $    154.58     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25073    10/12/2020   $       33.01 $         39.61   $    110.03     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25074    10/12/2020   $       27.05 $         32.46   $     90.17     Rx
                                                                                                                                                     Case 21-01167-abl




TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25434    10/12/2020   $       60.10 $         72.12   $    200.34     Rx
TIF-01    7404     Matthew Hoffman   Buena Vista Medical Services      25435    10/12/2020   $       62.78 $         75.34   $    209.27     Rx
TIF-01    9341     Jacob Emrani      Buena Vista Medical Services      25427    10/12/2020   $       29.60 $         35.52   $     98.67     Rx
TIF-01    9341     Jacob Emrani      Buena Vista Medical Services      25428    10/12/2020   $       30.96 $         37.15   $    103.21     Rx
TIF-01    19821    Payam Shayani     Buena Vista Medical Services      25694    10/12/2020   $       59.63 $         71.56   $    198.76     Rx
                                                                                                                                                     Doc 75-1




TIF-01    19821    Payam Shayani     Buena Vista Medical Services      25695    10/12/2020   $       59.32 $         71.18   $    197.74     Rx
TIF-01    19821    Payam Shayani     Buena Vista Medical Services      25697    10/12/2020   $      146.02 $        175.22   $    486.72     Rx
TIF-01    19821    Payam Shayani     Buena Vista Medical Services      25698    10/12/2020   $       74.57 $         89.48   $    248.58     Rx
TIF-01    19987    Jubin Sharifi     Buena Vista Medical Services      26344    10/12/2020   $       48.51 $         58.21   $    161.70     Rx
TIF-01    19987    Jubin Sharifi     Buena Vista Medical Services      26345    10/12/2020   $       89.78 $        107.74   $    299.25     Rx
TIF-01    19987    Jubin Sharifi     Buena Vista Medical Services      26347    10/12/2020   $       41.55 $         49.86   $    138.51     Rx
TIF-01    20011    Arash Khorsandi   Buena Vista Medical Services      26385    10/12/2020   $       46.06 $         55.27   $    153.54     Rx
TIF-01    20011    Arash Khorsandi   Buena Vista Medical Services      26386    10/12/2020   $       56.66 $         67.99   $    188.85     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25598    10/12/2020   $       44.86 $         53.83   $    149.53     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25599    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25600    10/12/2020   $       44.46 $         53.35   $    148.20     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25602    10/12/2020   $       36.82 $         44.18   $    122.74     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25604    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25606    10/12/2020   $       55.63 $         66.76   $    185.42     Rx
                                                                                                                                                     Entered 04/29/22 00:00:58




TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25608    10/12/2020   $       26.11 $         31.33   $     87.02     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25610    10/12/2020   $       56.84 $         68.21   $    189.46     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25612    10/12/2020   $       56.84 $         68.21   $    189.46     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25614    10/12/2020   $       26.11 $         31.33   $     87.02     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25616    10/12/2020   $       62.11 $         74.53   $    207.03     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25618    10/12/2020   $       58.59 $         70.31   $    195.29     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25620    10/12/2020   $       56.84 $         68.21   $    189.46     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25622    10/12/2020   $      128.96 $        154.75   $    429.87     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25624    10/12/2020   $       58.59 $         70.31   $    195.29     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25626    10/12/2020   $      179.17 $        215.00   $    597.23     Rx
                                                                                                                                                     Page 105 of 169




TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25628    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25630    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19809    Robin Saghian     Buena Vista Medical Services      25632    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                       Receivables                          Funding
Fund     ClaimId   Lawyer             Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19809    Robin Saghian      Buena Vista Medical Services      25634    10/12/2020   $      128.96 $        154.75   $    429.87     Rx
TIF-01    19809    Robin Saghian      Buena Vista Medical Services      25636    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19809    Robin Saghian      Buena Vista Medical Services      25638    10/12/2020   $      128.96 $        154.75   $    429.87     Rx
TIF-01    19809    Robin Saghian      Buena Vista Medical Services      25640    10/12/2020   $       33.74 $         40.49   $    112.48     Rx
TIF-01    19981    Michael Drell      Buena Vista Medical Services      26330    10/12/2020   $       79.51 $         95.41   $    265.03     Rx
                                                                                                                                                      Case 21-01167-abl




TIF-01    19981    Michael Drell      Buena Vista Medical Services      26331    10/12/2020   $       82.81 $         99.37   $    276.03     Rx
TIF-01    19979    Michael Drell      Buena Vista Medical Services      26327    10/12/2020   $       82.81 $         99.37   $    276.03     Rx
TIF-01    19979    Michael Drell      Buena Vista Medical Services      26328    10/12/2020   $       79.51 $         95.41   $    265.03     Rx
TIF-01    20053    Robin Saghian      Buena Vista Medical Services      26502    10/12/2020   $       32.54 $         39.05   $    108.46     Rx
TIF-01    20053    Robin Saghian      Buena Vista Medical Services      26503    10/12/2020   $       32.60 $         39.12   $    108.65     Rx
                                                                                                                                                      Doc 75-1




TIF-01    20079    KellyF. Ryan       Buena Vista Medical Services      26555    10/12/2020   $       39.28 $         47.14   $    130.94     Rx
TIF-01    20079    KellyF. Ryan       Buena Vista Medical Services      26556    10/12/2020   $       75.62 $         90.74   $    252.06     Rx
TIF-01    19495    Nancy Bernstein    Buena Vista Medical Services      25230    10/12/2020   $       27.28 $         32.74   $     90.93     Rx
TIF-01    19495    Nancy Bernstein    Buena Vista Medical Services      25231    10/12/2020   $       24.66 $         29.59   $     82.19     Rx
TIF-01    19710    Farid Yaghoubtil   Buena Vista Medical Services      25254    10/12/2020   $       25.63 $         30.76   $     85.42     Rx
TIF-01    19710    Farid Yaghoubtil   Buena Vista Medical Services      25256    10/12/2020   $       31.86 $         38.23   $    106.21     Rx
TIF-01    19710    Farid Yaghoubtil   Buena Vista Medical Services      25300    10/12/2020   $       21.50 $         25.80   $     71.67     Rx
TIF-01    19710    Farid Yaghoubtil   Buena Vista Medical Services      25421    10/12/2020   $       30.70 $         36.84   $    102.33     Rx
TIF-01    19710    Farid Yaghoubtil   Buena Vista Medical Services      25422    10/12/2020   $       39.41 $         47.29   $    131.37     Rx
TIF-01    19869    Robin Saghian      Buena Vista Medical Services      25908    10/12/2020   $       55.88 $         67.06   $    186.27     Rx
TIF-01    19869    Robin Saghian      Buena Vista Medical Services      25909    10/12/2020   $       25.69 $         30.83   $     85.64     Rx
TIF-01    19947    Brett Deacon       Buena Vista Medical Services      26230    10/12/2020   $       81.54 $         97.85   $    271.80     Rx
TIF-01    19947    Brett Deacon       Buena Vista Medical Services      26232    10/12/2020   $      146.34 $        175.61   $    487.80     Rx
TIF-01    20013    Robin Saghian      Buena Vista Medical Services      26388    10/12/2020   $       48.56 $         58.27   $    161.85     Rx
                                                                                                                                                      Entered 04/29/22 00:00:58




TIF-01    20013    Robin Saghian      Buena Vista Medical Services      26389    10/12/2020   $       43.40 $         52.08   $    144.65     Rx
TIF-01    19803    D.Hess Panah       Buena Vista Medical Services      25518    10/12/2020   $       48.15 $         57.78   $    160.49     Rx
TIF-01    19803    D.Hess Panah       Buena Vista Medical Services      25519    10/12/2020   $       48.11 $         57.73   $    160.36     Rx
TIF-01    19803    D.Hess Panah       Buena Vista Medical Services      25521    10/12/2020   $       45.99 $         55.19   $    153.31     Rx
TIF-01    19803    D.Hess Panah       Buena Vista Medical Services      25523    10/12/2020   $       45.99 $         55.19   $    153.31     Rx
TIF-01    19781    Mauro Fiore Jr     Buena Vista Medical Services      25457    10/12/2020   $      108.70 $        130.44   $    362.33     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26220    10/12/2020   $       56.30 $         67.56   $    187.65     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26221    10/12/2020   $      139.20 $        167.04   $    464.00     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26222    10/12/2020   $       94.07 $        112.88   $    313.56     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26224    10/12/2020   $       94.07 $        112.88   $    313.56     Rx
                                                                                                                                                      Page 106 of 169




TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26225    10/12/2020   $      139.20 $        167.04   $    464.00     Rx
TIF-01    19943    Bruce Rasner       Buena Vista Medical Services      26226    10/12/2020   $       56.30 $         67.56   $    187.65     Rx
TIF-01    20075    Robin Saghian      Buena Vista Medical Services      26547    10/12/2020   $       30.85 $         37.02   $    102.82     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                              Receivables                          Funding
Fund     ClaimId   Lawyer                    Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20075    Robin Saghian             Buena Vista Medical Services      26548    10/12/2020   $       37.74 $         45.29   $    125.80     Rx
TIF-01    20075    Robin Saghian             Buena Vista Medical Services      26549    10/12/2020   $       59.72 $         71.66   $    199.05     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25057    10/12/2020   $       25.42 $         30.50   $     84.74     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25058    10/12/2020   $       52.51 $         63.01   $    175.03     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25059    10/12/2020   $       14.30 $         17.16   $     47.66     Rx
                                                                                                                                                             Case 21-01167-abl




TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25060    10/12/2020   $       41.86 $         50.23   $    139.54     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25418    10/12/2020   $       33.79 $         40.55   $    112.63     Rx
TIF-01    19520    Farid Yaghoubtil          Buena Vista Medical Services      25419    10/12/2020   $       64.82 $         77.78   $    216.07     Rx
TIF-01    19841    Colin Cameron             Buena Vista Medical Services      25823    10/12/2020   $       19.58 $         23.50   $     65.28     Rx
TIF-01    19841    Colin Cameron             Buena Vista Medical Services      25825    10/12/2020   $       20.66 $         24.79   $     68.88     Rx
                                                                                                                                                             Doc 75-1




TIF-01    19841    Colin Cameron             Buena Vista Medical Services      25826    10/12/2020   $       28.72 $         34.46   $     95.75     Rx
TIF-01    19905    Robin Saghian             Buena Vista Medical Services      26044    10/12/2020   $       55.32 $         66.38   $    184.40     Rx
TIF-01    19905    Robin Saghian             Buena Vista Medical Services      26046    10/12/2020   $       46.58 $         55.90   $    155.25     Rx
TIF-01    19905    Robin Saghian             Buena Vista Medical Services      26048    10/12/2020   $       55.01 $         66.01   $    183.38     Rx
TIF-01    19905    Robin Saghian             Buena Vista Medical Services      26050    10/12/2020   $       60.08 $         72.10   $    200.25     Rx
TIF-01    7300     Omid Khorshidi            Buena Vista Medical Services      25239    10/12/2020   $       23.11 $         27.73   $     77.03     Rx
TIF-01    19891    Robin Saghian             Buena Vista Medical Services      25985    10/12/2020   $       25.07 $         30.08   $     83.56     Rx
TIF-01    19891    Robin Saghian             Buena Vista Medical Services      25986    10/12/2020   $       54.86 $         65.83   $    182.85     Rx
TIF-01    19891    Robin Saghian             Buena Vista Medical Services      25988    10/12/2020   $       56.41 $         67.69   $    188.04     Rx
TIF-01    19891    Robin Saghian             Buena Vista Medical Services      25990    10/12/2020   $       26.21 $         31.45   $     87.36     Rx
TIF-01    19891    Robin Saghian             Buena Vista Medical Services      25992    10/12/2020   $       26.21 $         31.45   $     87.36     Rx
TIF-01    19925    Robin Saghian             Buena Vista Medical Services      26099    10/12/2020   $       38.26 $         45.91   $    127.53     Rx
TIF-01    19925    Robin Saghian             Buena Vista Medical Services      26100    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19925    Robin Saghian             Buena Vista Medical Services      26101    10/12/2020   $       52.95 $         63.54   $    176.50     Rx
                                                                                                                                                             Entered 04/29/22 00:00:58




TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25067    10/12/2020   $       28.59 $         34.31   $     95.30     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25068    10/12/2020   $       50.41 $         60.49   $    168.04     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25069    10/12/2020   $       43.89 $         52.67   $    146.30     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25237    10/12/2020   $       50.41 $         60.49   $    168.04     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25238    10/12/2020   $      136.31 $        163.57   $    454.37     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25315    10/12/2020   $       24.88 $         29.86   $     82.95     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25316    10/12/2020   $      120.42 $        144.50   $    401.39     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25431    10/12/2020   $       43.89 $         52.67   $    146.30     Rx
TIF-01    7084     Justin Weinrich           Buena Vista Medical Services      25432    10/12/2020   $       26.90 $         32.28   $     89.68     Rx
TIF-01    7869     Mauro Fiore Jr            Buena Vista Medical Services      25312    10/12/2020   $       45.79 $         54.95   $    152.63     Rx
                                                                                                                                                             Page 107 of 169




TIF-01    7869     Mauro Fiore Jr            Buena Vista Medical Services      25313    10/12/2020   $       63.24 $         75.89   $    210.79     Rx
TIF-01    7869     Mauro Fiore Jr            Buena Vista Medical Services      25314    10/12/2020   $       23.79 $         28.55   $     79.29     Rx
TIF-01    20085    MarselinSeda Koshkaryan   Buena Vista Medical Services      26562    10/12/2020   $      381.28 $        457.54   $ 1,270.94      Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                              Receivables                          Funding
Fund     ClaimId   Lawyer                    Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20085    MarselinSeda Koshkaryan   Buena Vista Medical Services      26563    10/12/2020   $       77.03 $         92.44   $    256.78     Rx
TIF-01    20085    MarselinSeda Koshkaryan   Buena Vista Medical Services      26565    10/12/2020   $       77.03 $         92.44   $    256.78     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26433    10/12/2020   $       50.68 $         60.82   $    168.94     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26435    10/12/2020   $       37.28 $         44.74   $    124.26     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26437    10/12/2020   $       37.28 $         44.74   $    124.26     Rx
                                                                                                                                                             Case 21-01167-abl




TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26439    10/12/2020   $       50.68 $         60.82   $    168.94     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26441    10/12/2020   $       47.13 $         56.56   $    157.10     Rx
TIF-01    20025    HagopJ. Bazerkanian       Buena Vista Medical Services      26442    10/12/2020   $       37.04 $         44.45   $    123.46     Rx
TIF-01    19855    Michael Drell             Buena Vista Medical Services      25859    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    20017    Michael Drell             Buena Vista Medical Services      26400    10/12/2020   $       42.08 $         50.50   $    140.28     Rx
                                                                                                                                                             Doc 75-1




TIF-01    20017    Michael Drell             Buena Vista Medical Services      26401    10/12/2020   $       72.49 $         86.99   $    241.62     Rx
TIF-01    20017    Michael Drell             Buena Vista Medical Services      26403    10/12/2020   $       78.64 $         94.37   $    262.14     Rx
TIF-01    20017    Michael Drell             Buena Vista Medical Services      26404    10/12/2020   $       83.60 $        100.32   $    278.67     Rx
TIF-01    20051    David Kashani             Buena Vista Medical Services      26500    10/12/2020   $       55.92 $         67.10   $    186.39     Rx
TIF-01    20049    Arash Khorsandi           Buena Vista Medical Services      26498    10/12/2020   $       55.64 $         66.77   $    185.48     Rx
TIF-01    19935    Arash Khorsandi           Buena Vista Medical Services      26185    10/12/2020   $       84.88 $        101.86   $    282.92     Rx
TIF-01    20061    Maryam Parman             Buena Vista Medical Services      26513    10/12/2020   $       43.16 $         51.79   $    143.86     Rx
TIF-01    19955    Robin Saghian             Buena Vista Medical Services      26254    10/12/2020   $       44.62 $         53.54   $    148.74     Rx
TIF-01    19955    Robin Saghian             Buena Vista Medical Services      26255    10/12/2020   $       38.75 $         46.50   $    129.18     Rx
TIF-01    19955    Robin Saghian             Buena Vista Medical Services      26257    10/12/2020   $       48.56 $         58.27   $    161.85     Rx
TIF-01    19955    Robin Saghian             Buena Vista Medical Services      26258    10/12/2020   $       43.40 $         52.08   $    144.65     Rx
TIF-01    19921    Robin Saghian             Buena Vista Medical Services      26085    10/12/2020   $       22.69 $         27.23   $     75.63     Rx
TIF-01    19921    Robin Saghian             Buena Vista Medical Services      26086    10/12/2020   $       23.72 $         28.46   $     79.08     Rx
TIF-01    19921    Robin Saghian             Buena Vista Medical Services      26087    10/12/2020   $       23.62 $         28.34   $     78.74     Rx
                                                                                                                                                             Entered 04/29/22 00:00:58




TIF-01    19921    Robin Saghian             Buena Vista Medical Services      26089    10/12/2020   $       88.41 $        106.09   $    294.70     Rx
TIF-01    19879    LarryM.Aisola Jr.         Buena Vista Medical Services      25939    10/12/2020   $       44.61 $         53.53   $    148.70     Rx
TIF-01    19879    LarryM.Aisola Jr.         Buena Vista Medical Services      25938    10/12/2020   $       67.16 $         80.59   $    223.85     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26567    10/12/2020   $       43.69 $         52.43   $    145.64     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26569    10/12/2020   $       77.03 $         92.44   $    256.78     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26571    10/12/2020   $       39.43 $         47.32   $    131.44     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26573    10/12/2020   $       61.56 $         73.87   $    205.20     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26574    10/12/2020   $       37.86 $         45.43   $    126.20     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26575    10/12/2020   $       58.87 $         70.64   $    196.24     Rx
TIF-01    20087    Joseph Nazarian           Buena Vista Medical Services      26577    10/12/2020   $       40.61 $         48.73   $    135.38     Rx
                                                                                                                                                             Page 108 of 169




TIF-01    19728    Omid Khorshidi            Buena Vista Medical Services      25332    10/12/2020   $       23.40 $         28.08   $     78.01     Rx
TIF-01    19728    Omid Khorshidi            Buena Vista Medical Services      25333    10/12/2020   $       23.47 $         28.16   $     78.24     Rx
TIF-01    19937    FernandoD. Vargas         Buena Vista Medical Services      26187    10/12/2020   $       50.02 $         60.02   $    166.73     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                               Receivables                          Funding
Fund     ClaimId   Lawyer                     Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19937    FernandoD. Vargas          Buena Vista Medical Services      26189    10/12/2020   $      109.60 $        131.52   $    365.35     Rx
TIF-01    19937    FernandoD. Vargas          Buena Vista Medical Services      26191    10/12/2020   $      109.60 $        131.52   $    365.35     Rx
TIF-01    19937    FernandoD. Vargas          Buena Vista Medical Services      26193    10/12/2020   $       47.04 $         56.45   $    156.81     Rx
TIF-01    19937    FernandoD. Vargas          Buena Vista Medical Services      26195    10/12/2020   $      109.60 $        131.52   $    365.35     Rx
TIF-01    20069    Arash Khorsandi            Buena Vista Medical Services      26533    10/12/2020   $       21.86 $         26.23   $     72.87     Rx
                                                                                                                                                              Case 21-01167-abl




TIF-01    20069    Arash Khorsandi            Buena Vista Medical Services      26535    10/12/2020   $       33.04 $         39.65   $    110.13     Rx
TIF-01    20069    Arash Khorsandi            Buena Vista Medical Services      26536    10/12/2020   $      122.86 $        147.43   $    409.54     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26311    10/12/2020   $       52.70 $         63.24   $    175.65     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26313    10/12/2020   $       49.69 $         59.63   $    165.64     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26315    10/12/2020   $       23.83 $         28.60   $     79.43     Rx
                                                                                                                                                              Doc 75-1




TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26316    10/12/2020   $       53.74 $         64.49   $    179.12     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26318    10/12/2020   $       53.74 $         64.49   $    179.12     Rx
TIF-01    19973    Arash Khorsandi            Buena Vista Medical Services      26319    10/12/2020   $       25.48 $         30.58   $     84.94     Rx
TIF-01    9767     Cory Hilton                Buena Vista Medical Services      25243    10/12/2020   $       26.25 $         31.50   $     87.51     Rx
TIF-01    9767     Cory Hilton                Buena Vista Medical Services      25244    10/12/2020   $       60.73 $         72.88   $    202.43     Rx
TIF-01    9767     Cory Hilton                Buena Vista Medical Services      25436    10/12/2020   $       63.56 $         76.27   $    211.85     Rx
TIF-01    9767     Cory Hilton                Buena Vista Medical Services      25437    10/12/2020   $       93.39 $        112.07   $    311.30     Rx
TIF-01    9767     Cory Hilton                Buena Vista Medical Services      25438    10/12/2020   $       29.98 $         35.98   $     99.94     Rx
TIF-01    9343     Cory Hilton                Buena Vista Medical Services      25075    10/12/2020   $      345.28 $        414.34   $ 1,150.94      Rx
TIF-01    8895     Michael Shemtoub           Buena Vista Medical Services      25429    10/12/2020   $       21.73 $         26.08   $     72.43     Rx
TIF-01    20039    Robin Saghian              Buena Vista Medical Services      26480    10/12/2020   $       33.81 $         40.57   $    112.70     Rx
TIF-01    20039    Robin Saghian              Buena Vista Medical Services      26481    10/12/2020   $       30.85 $         37.02   $    102.82     Rx
TIF-01    20007    Christopher Bulone         Buena Vista Medical Services      26379    10/12/2020   $       82.81 $         99.37   $    276.03     Rx
TIF-01    20007    Christopher Bulone         Buena Vista Medical Services      26380    10/12/2020   $       41.38 $         49.66   $    137.94     Rx
                                                                                                                                                              Entered 04/29/22 00:00:58




TIF-01    20007    Christopher Bulone         Buena Vista Medical Services      26381    10/12/2020   $       69.96 $         83.95   $    233.20     Rx
TIF-01    19493    Daniel Rafii               Buena Vista Medical Services      25299    10/12/2020   $       58.49 $         70.19   $    194.98     Rx
TIF-01    20021    Justin Farahi              Buena Vista Medical Services      26415    10/12/2020   $       53.09 $         63.71   $    176.98     Rx
TIF-01    20021    Justin Farahi              Buena Vista Medical Services      26417    10/12/2020   $       59.60 $         71.52   $    198.65     Rx
TIF-01    20021    Justin Farahi              Buena Vista Medical Services      26419    10/12/2020   $       59.60 $         71.52   $    198.65     Rx
TIF-01    20021    Justin Farahi              Buena Vista Medical Services      26421    10/12/2020   $       53.09 $         63.71   $    176.98     Rx
TIF-01    20043    Justin Farahi              Buena Vista Medical Services      26485    10/12/2020   $       32.20 $         38.64   $    107.34     Rx
TIF-01    20043    Justin Farahi              Buena Vista Medical Services      26486    10/12/2020   $       44.51 $         53.41   $    148.38     Rx
TIF-01    20043    Justin Farahi              Buena Vista Medical Services      26488    10/12/2020   $       44.51 $         53.41   $    148.38     Rx
TIF-01    20033    RobertW.Chambers     III   Buena Vista Medical Services      26458    10/12/2020   $       25.79 $         30.95   $     85.96     Rx
                                                                                                                                                              Page 109 of 169




TIF-01    20033    RobertW.Chambers     III   Buena Vista Medical Services      26459    10/12/2020   $       35.98 $         43.18   $    119.93     Rx
TIF-01    20033    RobertW.Chambers     III   Buena Vista Medical Services      26460    10/12/2020   $       51.55 $         61.86   $    171.82     Rx
TIF-01    20033    RobertW.Chambers     III   Buena Vista Medical Services      26461    10/12/2020   $       30.26 $         36.31   $    100.87     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                           Receivables                          Funding
Fund     ClaimId   Lawyer                 Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20033    RobertW.Chambers III   Buena Vista Medical Services      26463    10/12/2020   $       23.80 $         28.56   $     79.34     Rx
TIF-01    20033    RobertW.Chambers III   Buena Vista Medical Services      26464    10/12/2020   $       20.14 $         24.17   $     67.13     Rx
TIF-01    19953    Maryam Parman          Buena Vista Medical Services      26251    10/12/2020   $       85.03 $        102.04   $    283.44     Rx
TIF-01    19953    Maryam Parman          Buena Vista Medical Services      26252    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    19991    Joseph Nazarian        Buena Vista Medical Services      26353    10/12/2020   $       56.30 $         67.56   $    187.65     Rx
                                                                                                                                                          Case 21-01167-abl




TIF-01    19991    Joseph Nazarian        Buena Vista Medical Services      26354    10/12/2020   $       71.93 $         86.32   $    239.76     Rx
TIF-01    19989    Arash Khorsandi        Buena Vista Medical Services      26349    10/12/2020   $       53.84 $         64.61   $    179.48     Rx
TIF-01    19989    Arash Khorsandi        Buena Vista Medical Services      26351    10/12/2020   $       61.44 $         73.73   $    204.80     Rx
TIF-01    19839    Mathew Babadjouni      Buena Vista Medical Services      25815    10/12/2020   $       75.80 $         90.96   $    252.68     Rx
TIF-01    19839    Mathew Babadjouni      Buena Vista Medical Services      25816    10/12/2020   $       77.02 $         92.42   $    256.73     Rx
                                                                                                                                                          Doc 75-1




TIF-01    19839    Mathew Babadjouni      Buena Vista Medical Services      25818    10/12/2020   $       75.80 $         90.96   $    252.68     Rx
TIF-01    19839    Mathew Babadjouni      Buena Vista Medical Services      25820    10/12/2020   $       77.02 $         92.42   $    256.73     Rx
TIF-01    19839    Mathew Babadjouni      Buena Vista Medical Services      25821    10/12/2020   $       75.80 $         90.96   $    252.68     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26148    10/12/2020   $       73.74 $         88.49   $    245.79     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26149    10/12/2020   $       57.63 $         69.16   $    192.10     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26151    10/12/2020   $       42.56 $         51.07   $    141.87     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26152    10/12/2020   $       57.63 $         69.16   $    192.10     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26154    10/12/2020   $       41.26 $         49.51   $    137.54     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26156    10/12/2020   $       39.37 $         47.24   $    131.22     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26158    10/12/2020   $       79.54 $         95.45   $    265.14     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26160    10/12/2020   $       47.95 $         57.54   $    159.82     Rx
TIF-01    19931    Jacob Emrani           Buena Vista Medical Services      26162    10/12/2020   $      241.71 $        290.05   $    805.70     Rx
TIF-01    19907    Robin Saghian          Buena Vista Medical Services      26052    10/12/2020   $       55.08 $         66.10   $    183.60     Rx
TIF-01    19907    Robin Saghian          Buena Vista Medical Services      26053    10/12/2020   $       54.76 $         65.71   $    182.52     Rx
                                                                                                                                                          Entered 04/29/22 00:00:58




TIF-01    19899    Robin Saghian          Buena Vista Medical Services      26037    10/12/2020   $       54.86 $         65.83   $    182.85     Rx
TIF-01    19899    Robin Saghian          Buena Vista Medical Services      26038    10/12/2020   $       55.08 $         66.10   $    183.60     Rx
TIF-01    19999    Joseph Nazarian        Buena Vista Medical Services      26365    10/12/2020   $       65.87 $         79.04   $    219.58     Rx
TIF-01    19999    Joseph Nazarian        Buena Vista Medical Services      26367    10/12/2020   $       65.87 $         79.04   $    219.58     Rx
TIF-01    19919    Arash Khorsandi        Buena Vista Medical Services      26077    10/12/2020   $       56.92 $         68.30   $    189.75     Rx
TIF-01    19919    Arash Khorsandi        Buena Vista Medical Services      26079    10/12/2020   $      111.01 $        133.21   $    370.04     Rx
TIF-01    19919    Arash Khorsandi        Buena Vista Medical Services      26081    10/12/2020   $      111.01 $        133.21   $    370.04     Rx
TIF-01    19919    Arash Khorsandi        Buena Vista Medical Services      26083    10/12/2020   $      111.01 $        133.21   $    370.04     Rx
TIF-01    19941    Arash Khorsandi        Buena Vista Medical Services      26199    10/12/2020   $       48.85 $         58.62   $    162.84     Rx
TIF-01    19941    Arash Khorsandi        Buena Vista Medical Services      26201    10/12/2020   $       48.85 $         58.62   $    162.84     Rx
                                                                                                                                                          Page 110 of 169




TIF-01    19941    Arash Khorsandi        Buena Vista Medical Services      26203    10/12/2020   $       48.85 $         58.62   $    162.84     Rx
TIF-01    19941    Arash Khorsandi        Buena Vista Medical Services      26205    10/12/2020   $       48.85 $         58.62   $    162.84     Rx
TIF-01    19941    Arash Khorsandi        Buena Vista Medical Services      26207    10/12/2020   $      118.04 $        141.65   $    393.46     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                         Receivables                          Funding
Fund     ClaimId   Lawyer               Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26209    10/12/2020   $       34.24 $         41.09   $    114.12     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26210    10/12/2020   $       47.56 $         57.07   $    158.52     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26211    10/12/2020   $      118.04 $        141.65   $    393.46     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26212    10/12/2020   $       37.83 $         45.40   $    126.09     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26213    10/12/2020   $       44.97 $         53.96   $    149.91     Rx
                                                                                                                                                        Case 21-01167-abl




TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26214    10/12/2020   $       33.13 $         39.76   $    110.42     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26215    10/12/2020   $       35.09 $         42.11   $    116.97     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26217    10/12/2020   $       29.56 $         35.47   $     98.55     Rx
TIF-01    19941    Arash Khorsandi      Buena Vista Medical Services      26218    10/12/2020   $       48.85 $         58.62   $    162.84     Rx
TIF-01    19897    Robin Saghian        Buena Vista Medical Services      26033    10/12/2020   $       25.79 $         30.95   $     85.98     Rx
                                                                                                                                                        Doc 75-1




TIF-01    19897    Robin Saghian        Buena Vista Medical Services      26035    10/12/2020   $       48.53 $         58.24   $    161.77     Rx
TIF-01    19911    Mark Ruszecki        Buena Vista Medical Services      26063    10/12/2020   $       55.42 $         66.50   $    184.74     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25884    10/12/2020   $       56.02 $         67.22   $    186.74     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25885    10/12/2020   $      117.20 $        140.64   $    390.67     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25887    10/12/2020   $       55.37 $         66.44   $    184.56     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25889    10/12/2020   $       55.22 $         66.26   $    184.05     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25891    10/12/2020   $       55.22 $         66.26   $    184.05     Rx
TIF-01    19863    Joseph Nazarian      Buena Vista Medical Services      25893    10/12/2020   $      117.20 $        140.64   $    390.67     Rx
TIF-01    19851    Yehonatan Weinberg   Buena Vista Medical Services      25849    10/12/2020   $       60.52 $         72.62   $    201.72     Rx
TIF-01    19851    Yehonatan Weinberg   Buena Vista Medical Services      25850    10/12/2020   $       55.71 $         66.85   $    185.70     Rx
TIF-01    19851    Yehonatan Weinberg   Buena Vista Medical Services      25852    10/12/2020   $       55.10 $         66.12   $    183.66     Rx
TIF-01    19851    Yehonatan Weinberg   Buena Vista Medical Services      25854    10/12/2020   $       56.98 $         68.38   $    189.93     Rx
TIF-01    19851    Yehonatan Weinberg   Buena Vista Medical Services      25855    10/12/2020   $       55.58 $         66.70   $    185.25     Rx
TIF-01    19237    Farid Yaghoubtil     Buena Vista Medical Services      25234    10/12/2020   $       27.46 $         32.95   $     91.54     Rx
                                                                                                                                                        Entered 04/29/22 00:00:58




TIF-01    19237    Farid Yaghoubtil     Buena Vista Medical Services      25235    10/12/2020   $       64.96 $         77.95   $    216.52     Rx
TIF-01    19722    Michael Madadi       Buena Vista Medical Services      25322    10/12/2020   $       30.41 $         36.49   $    101.38     Rx
TIF-01    19722    Michael Madadi       Buena Vista Medical Services      25323    10/12/2020   $       22.28 $         26.74   $     74.25     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26024    10/12/2020   $       44.53 $         53.44   $    148.43     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26025    10/12/2020   $       49.22 $         59.06   $    164.06     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26026    10/12/2020   $       44.39 $         53.27   $    147.97     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26028    10/12/2020   $       63.84 $         76.61   $    212.81     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26029    10/12/2020   $       46.62 $         55.94   $    155.40     Rx
TIF-01    19895    Cesar Ornelas        Buena Vista Medical Services      26031    10/12/2020   $       45.98 $         55.18   $    153.26     Rx
TIF-01    19704    Mauro Fiore Jr       Buena Vista Medical Services      25247    10/12/2020   $       28.30 $         33.96   $     94.32     Rx
                                                                                                                                                        Page 111 of 169




TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25525    10/12/2020   $       34.77 $         41.72   $    115.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25527    10/12/2020   $       34.77 $         41.72   $    115.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25529    10/12/2020   $       34.77 $         41.72   $    115.90     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                         Receivables                          Funding
Fund     ClaimId   Lawyer               Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25535    10/12/2020   $       34.77 $         41.72   $    115.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25536    10/12/2020   $       25.28 $         30.34   $     84.26     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25538    10/12/2020   $       66.67 $         80.00   $    222.24     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25539    10/12/2020   $       34.77 $         41.72   $    115.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25541    10/12/2020   $       52.77 $         63.32   $    175.90     Rx
                                                                                                                                                        Case 21-01167-abl




TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25543    10/12/2020   $       52.77 $         63.32   $    175.90     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25545    10/12/2020   $       66.67 $         80.00   $    222.24     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25547    10/12/2020   $       88.57 $        106.28   $    295.23     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25549    10/12/2020   $       88.57 $        106.28   $    295.23     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25551    10/12/2020   $       66.67 $         80.00   $    222.24     Rx
                                                                                                                                                        Doc 75-1




TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25552    10/12/2020   $       36.70 $         44.04   $    122.32     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25554    10/12/2020   $       66.67 $         80.00   $    222.24     Rx
TIF-01    19805    Yehonatan Weinberg   Buena Vista Medical Services      25555    10/12/2020   $       36.70 $         44.04   $    122.32     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25785    10/12/2020   $       56.48 $         67.78   $    188.26     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25786    10/12/2020   $       54.86 $         65.83   $    182.85     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25788    10/12/2020   $       55.54 $         66.65   $    185.13     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25790    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25792    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25794    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25796    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25798    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25800    10/12/2020   $       54.86 $         65.83   $    182.85     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25802    10/12/2020   $       57.44 $         68.93   $    191.46     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25803    10/12/2020   $       43.00 $         51.60   $    143.32     Rx
                                                                                                                                                        Entered 04/29/22 00:00:58




TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25805    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25807    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25808    10/12/2020   $       54.86 $         65.83   $    182.85     Rx
TIF-01    19835    Arash Khorsandi      Buena Vista Medical Services      25810    10/12/2020   $       65.78 $         78.94   $    219.27     Rx
TIF-01    20009    Arash Khorsandi      Buena Vista Medical Services      26383    10/12/2020   $       87.55 $        105.06   $    291.84     Rx
TIF-01    19993    Jubin Sharifi        Buena Vista Medical Services      26356    10/12/2020   $       60.20 $         72.24   $    200.66     Rx
TIF-01    19993    Jubin Sharifi        Buena Vista Medical Services      26358    10/12/2020   $       55.92 $         67.10   $    186.39     Rx
TIF-01    19993    Jubin Sharifi        Buena Vista Medical Services      26359    10/12/2020   $       60.49 $         72.59   $    201.62     Rx
TIF-01    19825    Neama Rahmani        Buena Vista Medical Services      25703    10/12/2020   $       27.59 $         33.11   $     91.96     Rx
TIF-01    19825    Neama Rahmani        Buena Vista Medical Services      25705    10/12/2020   $       23.21 $         27.85   $     77.36     Rx
                                                                                                                                                        Page 112 of 169




TIF-01    19825    Neama Rahmani        Buena Vista Medical Services      25707    10/12/2020   $       33.79 $         40.55   $    112.62     Rx
TIF-01    19825    Neama Rahmani        Buena Vista Medical Services      25708    10/12/2020   $       61.71 $         74.05   $    205.71     Rx
TIF-01    19825    Neama Rahmani        Buena Vista Medical Services      25710    10/12/2020   $       41.76 $         50.11   $    139.20     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                          Receivables                          Funding
Fund     ClaimId   Lawyer                Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19825    Neama Rahmani         Buena Vista Medical Services      25711    10/12/2020   $       27.59 $         33.11   $     91.96     Rx
TIF-01    19917    Robin Saghian         Buena Vista Medical Services      26073    10/12/2020   $       54.94 $         65.93   $    183.14     Rx
TIF-01    19917    Robin Saghian         Buena Vista Medical Services      26074    10/12/2020   $       55.79 $         66.95   $    185.98     Rx
TIF-01    19917    Robin Saghian         Buena Vista Medical Services      26075    10/12/2020   $       56.64 $         67.97   $    188.79     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25065    10/12/2020   $       19.95 $         23.94   $     66.50     Rx
                                                                                                                                                         Case 21-01167-abl




TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25066    10/12/2020   $       25.97 $         31.16   $     86.56     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25236    10/12/2020   $       21.65 $         25.98   $     72.16     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25307    10/12/2020   $       25.97 $         31.16   $     86.56     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25308    10/12/2020   $       21.52 $         25.82   $     71.74     Rx
TIF-01    19301    Jacob Emrani          Buena Vista Medical Services      25430    10/12/2020   $       19.95 $         23.94   $     66.50     Rx
                                                                                                                                                         Doc 75-1




TIF-01    19257    Michael Madadi        Buena Vista Medical Services      25232    10/12/2020   $       24.76 $         29.71   $     82.54     Rx
TIF-01    19257    Michael Madadi        Buena Vista Medical Services      25233    10/12/2020   $       26.19 $         31.43   $     87.29     Rx
TIF-01    20035    HagopJ. Bazerkanian   Buena Vista Medical Services      26466    10/12/2020   $       36.42 $         43.70   $    121.41     Rx
TIF-01    19939    David Kashani         Buena Vista Medical Services      26197    10/12/2020   $      114.79 $        137.75   $    382.64     Rx
TIF-01    19923    Robert Beckerman      Buena Vista Medical Services      26091    10/12/2020   $       65.34 $         78.41   $    217.80     Rx
TIF-01    19923    Robert Beckerman      Buena Vista Medical Services      26093    10/12/2020   $       65.34 $         78.41   $    217.80     Rx
TIF-01    19923    Robert Beckerman      Buena Vista Medical Services      26095    10/12/2020   $       65.34 $         78.41   $    217.80     Rx
TIF-01    19923    Robert Beckerman      Buena Vista Medical Services      26097    10/12/2020   $       38.21 $         45.85   $    127.36     Rx
TIF-01    8270     Nicholas Lasso        Buena Vista Medical Services      25245    10/12/2020   $       23.96 $         28.75   $     79.88     Rx
TIF-01    8270     Nicholas Lasso        Buena Vista Medical Services      25439    10/12/2020   $       21.20 $         25.44   $     70.68     Rx
TIF-01    8270     Nicholas Lasso        Buena Vista Medical Services      25440    10/12/2020   $       24.50 $         29.40   $     81.66     Rx
TIF-01    7310     Timothy Revero        Buena Vista Medical Services      25318    10/12/2020   $       33.32 $         39.98   $    111.07     Rx
TIF-01    19929    Mathew Babadjouni     Buena Vista Medical Services      26142    10/12/2020   $       67.06 $         80.47   $    223.52     Rx
TIF-01    19929    Mathew Babadjouni     Buena Vista Medical Services      26143    10/12/2020   $      114.48 $        137.38   $    381.60     Rx
                                                                                                                                                         Entered 04/29/22 00:00:58




TIF-01    19929    Mathew Babadjouni     Buena Vista Medical Services      26144    10/12/2020   $       51.14 $         61.37   $    170.46     Rx
TIF-01    19929    Mathew Babadjouni     Buena Vista Medical Services      26146    10/12/2020   $       51.14 $         61.37   $    170.46     Rx
TIF-01    20003    Robin Saghian         Buena Vista Medical Services      26372    10/12/2020   $       63.82 $         76.58   $    212.72     Rx
TIF-01    20003    Robin Saghian         Buena Vista Medical Services      26373    10/12/2020   $       66.73 $         80.08   $    222.42     Rx
TIF-01    6740     Kevin Danesh          Buena Vista Medical Services      25309    10/12/2020   $       57.74 $         69.29   $    192.46     Rx
TIF-01    6740     Kevin Danesh          Buena Vista Medical Services      25310    10/12/2020   $       14.28 $         17.14   $     47.60     Rx
TIF-01    6740     Kevin Danesh          Buena Vista Medical Services      25311    10/12/2020   $       63.24 $         75.89   $    210.79     Rx
TIF-01    7218     Nicholas Lasso        Buena Vista Medical Services      25423    10/12/2020   $       39.17 $         47.00   $    130.56     Rx
TIF-01    20067    Arash Khorsandi       Buena Vista Medical Services      26526    10/12/2020   $       62.72 $         75.26   $    209.07     Rx
TIF-01    20067    Arash Khorsandi       Buena Vista Medical Services      26527    10/12/2020   $       50.72 $         60.86   $    169.06     Rx
                                                                                                                                                         Page 113 of 169




TIF-01    20067    Arash Khorsandi       Buena Vista Medical Services      26528    10/12/2020   $       32.08 $         38.50   $    106.94     Rx
TIF-01    20067    Arash Khorsandi       Buena Vista Medical Services      26530    10/12/2020   $       31.94 $         38.33   $    106.47     Rx
TIF-01    20067    Arash Khorsandi       Buena Vista Medical Services      26531    10/12/2020   $       86.56 $        103.87   $    288.54     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                          Receivables                          Funding
Fund     ClaimId   Lawyer                Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19779    Daniel Rafii          Buena Vista Medical Services      25455    10/12/2020   $       21.68 $         26.02   $     72.28     Rx
TIF-01    19901    HagopJ. Bazerkanian   Buena Vista Medical Services      26040    10/12/2020   $       27.24 $         32.69   $     90.81     Rx
TIF-01    20065    Robin Saghian         Buena Vista Medical Services      26518    10/12/2020   $       33.89 $         40.67   $    112.98     Rx
TIF-01    20065    Robin Saghian         Buena Vista Medical Services      26520    10/12/2020   $       37.74 $         45.29   $    125.80     Rx
TIF-01    20065    Robin Saghian         Buena Vista Medical Services      26522    10/12/2020   $       37.74 $         45.29   $    125.80     Rx
                                                                                                                                                         Case 21-01167-abl




TIF-01    20065    Robin Saghian         Buena Vista Medical Services      26524    10/12/2020   $       63.56 $         76.27   $    211.88     Rx
TIF-01    19885    Robin Saghian         Buena Vista Medical Services      25975    10/12/2020   $       56.86 $         68.23   $    189.52     Rx
TIF-01    19885    Robin Saghian         Buena Vista Medical Services      25976    10/12/2020   $       54.87 $         65.84   $    182.91     Rx
TIF-01    19843    Shawn Lalezary        Buena Vista Medical Services      25828    10/12/2020   $       49.66 $         59.59   $    165.55     Rx
TIF-01    19843    Shawn Lalezary        Buena Vista Medical Services      25829    10/12/2020   $       42.52 $         51.02   $    141.74     Rx
                                                                                                                                                         Doc 75-1




TIF-01    19843    Shawn Lalezary        Buena Vista Medical Services      25831    10/12/2020   $       53.64 $         64.37   $    178.80     Rx
TIF-01    19843    Shawn Lalezary        Buena Vista Medical Services      25832    10/12/2020   $       38.98 $         46.78   $    129.92     Rx
TIF-01    19843    Shawn Lalezary        Buena Vista Medical Services      25834    10/12/2020   $       42.52 $         51.02   $    141.75     Rx
TIF-01    7064     Farid Yaghoubtil      Buena Vista Medical Services      25241    10/12/2020   $       25.33 $         30.40   $     84.44     Rx
TIF-01    7064     Farid Yaghoubtil      Buena Vista Medical Services      25242    10/12/2020   $       37.55 $         45.06   $    125.17     Rx
TIF-01    7064     Farid Yaghoubtil      Buena Vista Medical Services      25317    10/12/2020   $       48.56 $         58.27   $    161.85     Rx
TIF-01    7064     Farid Yaghoubtil      Buena Vista Medical Services      25433    10/12/2020   $       37.72 $         45.26   $    125.74     Rx
TIF-01    19865    Joseph Nazarian       Buena Vista Medical Services      25895    10/12/2020   $       55.73 $         66.88   $    185.76     Rx
TIF-01    19865    Joseph Nazarian       Buena Vista Medical Services      25896    10/12/2020   $       27.04 $         32.45   $     90.12     Rx
TIF-01    19865    Joseph Nazarian       Buena Vista Medical Services      25898    10/12/2020   $       84.45 $        101.34   $    281.49     Rx
TIF-01    19963    Robin Saghian         Buena Vista Medical Services      26278    10/12/2020   $       34.80 $         41.76   $    116.00     Rx
TIF-01    20041    JoshuaE. Goldblatt    Buena Vista Medical Services      26483    10/12/2020   $       64.91 $         77.89   $    216.37     Rx
TIF-01    19799    Michael Shemtoub      Buena Vista Medical Services      25503    10/12/2020   $       50.63 $         60.76   $    168.78     Rx
TIF-01    19799    Michael Shemtoub      Buena Vista Medical Services      25504    10/12/2020   $       75.44 $         90.53   $    251.46     Rx
                                                                                                                                                         Entered 04/29/22 00:00:58




TIF-01    19799    Michael Shemtoub      Buena Vista Medical Services      25506    10/12/2020   $       53.05 $         63.66   $    176.82     Rx
TIF-01    19799    Michael Shemtoub      Buena Vista Medical Services      25508    10/12/2020   $       75.44 $         90.53   $    251.46     Rx
TIF-01    19799    Michael Shemtoub      Buena Vista Medical Services      25510    10/12/2020   $       41.69 $         50.03   $    138.96     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25716    10/12/2020   $       35.80 $         42.96   $    119.32     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25718    10/12/2020   $       32.26 $         38.71   $    107.54     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25720    10/12/2020   $       37.39 $         44.87   $    124.64     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25722    10/12/2020   $       39.79 $         47.75   $    132.62     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25723    10/12/2020   $       44.46 $         53.35   $    148.20     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25725    10/12/2020   $       35.80 $         42.96   $    119.32     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25727    10/12/2020   $       32.26 $         38.71   $    107.54     Rx
                                                                                                                                                         Page 114 of 169




TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25729    10/12/2020   $       39.79 $         47.75   $    132.62     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25730    10/12/2020   $       44.46 $         53.35   $    148.20     Rx
TIF-01    19829    Neama Rahmani         Buena Vista Medical Services      25731    10/12/2020   $       57.90 $         69.48   $    193.00     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                        Receivables                          Funding
Fund     ClaimId   Lawyer              Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    19829    Neama Rahmani       Buena Vista Medical Services      25733    10/12/2020   $       48.49 $         58.19   $    161.64     Rx
TIF-01    19829    Neama Rahmani       Buena Vista Medical Services      25735    10/12/2020   $       57.80 $         69.36   $    192.68     Rx
TIF-01    19829    Neama Rahmani       Buena Vista Medical Services      25736    10/12/2020   $       56.46 $         67.75   $    188.20     Rx
TIF-01    19829    Neama Rahmani       Buena Vista Medical Services      25738    10/12/2020   $       48.82 $         58.58   $    162.73     Rx
TIF-01    19829    Neama Rahmani       Buena Vista Medical Services      25740    10/12/2020   $       90.01 $        108.01   $    300.04     Rx
                                                                                                                                                       Case 21-01167-abl




TIF-01    19903    Vahagn Koshkaryan   Buena Vista Medical Services      26042    10/12/2020   $       25.28 $         30.34   $     84.26     Rx
TIF-01    19915    Arash Khorsandi     Buena Vista Medical Services      26069    10/12/2020   $       55.54 $         66.65   $    185.13     Rx
TIF-01    19915    Arash Khorsandi     Buena Vista Medical Services      26071    10/12/2020   $       61.85 $         74.22   $    206.18     Rx
TIF-01    19801    Mathew Babadjouni   Buena Vista Medical Services      25512    10/12/2020   $       55.34 $         66.41   $    184.46     Rx
TIF-01    19801    Mathew Babadjouni   Buena Vista Medical Services      25514    10/12/2020   $       34.37 $         41.24   $    114.56     Rx
                                                                                                                                                       Doc 75-1




TIF-01    19801    Mathew Babadjouni   Buena Vista Medical Services      25516    10/12/2020   $       60.18 $         72.22   $    200.61     Rx
TIF-01    19967    JoshuaE. Kohanim    Buena Vista Medical Services      26301    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    20059    Robin Saghian       Buena Vista Medical Services      26510    10/12/2020   $       38.69 $         46.43   $    128.98     Rx
TIF-01    20059    Robin Saghian       Buena Vista Medical Services      26511    10/12/2020   $       37.74 $         45.29   $    125.80     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      25994    10/12/2020   $       77.02 $         92.42   $    256.73     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      25995    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      25996    10/12/2020   $       64.12 $         76.94   $    213.75     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      25998    10/12/2020   $       41.11 $         49.33   $    137.02     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26000    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26001    10/12/2020   $       64.12 $         76.94   $    213.75     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26002    10/12/2020   $       69.90 $         83.88   $    233.01     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26004    10/12/2020   $       41.11 $         49.33   $    137.02     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26005    10/12/2020   $       64.12 $         76.94   $    213.75     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26006    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
                                                                                                                                                       Entered 04/29/22 00:00:58




TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26007    10/12/2020   $       62.50 $         75.00   $    208.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26009    10/12/2020   $       64.12 $         76.94   $    213.75     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26010    10/12/2020   $       77.21 $         92.65   $    257.38     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26011    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26012    10/12/2020   $      127.67 $        153.20   $    425.58     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26014    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26015    10/12/2020   $       64.12 $         76.94   $    213.75     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26016    10/12/2020   $       82.28 $         98.74   $    274.26     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26017    10/12/2020   $       41.11 $         49.33   $    137.02     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26019    10/12/2020   $       82.28 $         98.74   $    274.26     Rx
                                                                                                                                                       Page 115 of 169




TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26020    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26021    10/12/2020   $       67.13 $         80.56   $    223.78     Rx
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services      26022    10/12/2020   $       41.11 $         49.33   $    137.02     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                          Receivables                          Funding
Fund     ClaimId   Lawyer                Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26468    10/12/2020   $      127.67 $        153.20   $    425.58     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26469    10/12/2020   $       67.13 $         80.56   $    223.78     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26470    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26472    10/12/2020   $       82.28 $         98.74   $    274.26     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26474    10/12/2020   $       89.17 $        107.00   $    297.23     Rx
                                                                                                                                                         Case 21-01167-abl




TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26476    10/12/2020   $       65.20 $         78.24   $    217.33     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26477    10/12/2020   $       67.13 $         80.56   $    223.78     Rx
TIF-01    20037    Arash Khorsandi       Buena Vista Medical Services      26478    10/12/2020   $      127.67 $        153.20   $    425.58     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25557    10/12/2020   $       61.57 $         73.88   $    205.22     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25559    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
                                                                                                                                                         Doc 75-1




TIF-01    19807    Michael Drell         Buena Vista Medical Services      25561    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25563    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25564    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25566    10/12/2020   $       58.90 $         70.68   $    196.32     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25568    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25570    10/12/2020   $       58.90 $         70.68   $    196.32     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25572    10/12/2020   $       59.61 $         71.53   $    198.70     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25573    10/12/2020   $       61.20 $         73.44   $    204.00     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25574    10/12/2020   $       59.08 $         70.90   $    196.93     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25576    10/12/2020   $       58.83 $         70.60   $    196.11     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25578    10/12/2020   $       26.11 $         31.33   $     87.02     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25580    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25582    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25584    10/12/2020   $       26.11 $         31.33   $     87.02     Rx
                                                                                                                                                         Entered 04/29/22 00:00:58




TIF-01    19807    Michael Drell         Buena Vista Medical Services      25586    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25588    10/12/2020   $       26.11 $         31.33   $     87.02     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25589    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25591    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25592    10/12/2020   $       37.40 $         44.88   $    124.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25594    10/12/2020   $       34.66 $         41.59   $    115.54     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25595    10/12/2020   $       38.30 $         45.96   $    127.68     Rx
TIF-01    19807    Michael Drell         Buena Vista Medical Services      25596    10/12/2020   $       29.41 $         35.29   $     98.04     Rx
TIF-01    19845    HagopJ. Bazerkanian   Buena Vista Medical Services      25836    10/12/2020   $       33.97 $         40.76   $    113.24     Rx
TIF-01    19845    HagopJ. Bazerkanian   Buena Vista Medical Services      25837    10/12/2020   $       28.61 $         34.33   $     95.38     Rx
                                                                                                                                                         Page 116 of 169




TIF-01    19845    HagopJ. Bazerkanian   Buena Vista Medical Services      25839    10/12/2020   $       27.35 $         32.82   $     91.16     Rx
TIF-01    19845    HagopJ. Bazerkanian   Buena Vista Medical Services      25841    10/12/2020   $       24.03 $         28.84   $     80.11     Rx
TIF-01    19845    HagopJ. Bazerkanian   Buena Vista Medical Services      25843    10/12/2020   $       86.61 $        103.93   $    288.69     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                         Receivables                          Funding
Fund     ClaimId   Lawyer               Provider                       BillId     Date Paid     Purchase Price           Cost   GFB Amount     Type
TIF-01    20055    Ashwin Ladva         Buena Vista Medical Services      26505    10/12/2020   $      389.76 $        467.71   $ 1,299.20      Rx
TIF-01    19853    Neama Rahmani        Buena Vista Medical Services      25857    10/12/2020   $       57.16 $         68.59   $    190.54     Rx
TIF-01    19995    Michael Drell        Buena Vista Medical Services      26361    10/12/2020   $      149.64 $        179.57   $    498.81     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26164    10/12/2020   $       60.08 $         72.10   $    200.25     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26166    10/12/2020   $       47.79 $         57.35   $    159.30     Rx
                                                                                                                                                        Case 21-01167-abl




TIF-01    19933    Jared Salter         Buena Vista Medical Services      26167    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26169    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26170    10/12/2020   $       44.42 $         53.30   $    148.05     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26171    10/12/2020   $       69.96 $         83.95   $    233.20     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26172    10/12/2020   $       47.79 $         57.35   $    159.30     Rx
                                                                                                                                                        Doc 75-1




TIF-01    19933    Jared Salter         Buena Vista Medical Services      26174    10/12/2020   $       69.96 $         83.95   $    233.20     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26175    10/12/2020   $       44.42 $         53.30   $    148.05     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26177    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26178    10/12/2020   $       47.79 $         57.35   $    159.30     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26180    10/12/2020   $       44.42 $         53.30   $    148.05     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26181    10/12/2020   $       69.96 $         83.95   $    233.20     Rx
TIF-01    19933    Jared Salter         Buena Vista Medical Services      26183    10/12/2020   $      108.53 $        130.24   $    361.77     Rx
TIF-01    19983    Joseph Nazarian      Buena Vista Medical Services      26333    10/12/2020   $       86.61 $        103.93   $    288.69     Rx
TIF-01    8705     Farid Yaghoubtil     Buena Vista Medical Services      25306    10/12/2020   $       40.10 $         48.12   $    133.68     Rx
TIF-01    20005    Christopher Bulone   Buena Vista Medical Services      26375    10/12/2020   $       82.81 $         99.37   $    276.03     Rx
TIF-01    20005    Christopher Bulone   Buena Vista Medical Services      26376    10/12/2020   $       41.38 $         49.66   $    137.94     Rx
TIF-01    20005    Christopher Bulone   Buena Vista Medical Services      26377    10/12/2020   $       69.96 $         83.95   $    233.20     Rx
TIF-01    19961    Arash Khorsandi      Buena Vista Medical Services      26272    10/12/2020   $       68.68 $         82.42   $    228.94     Rx
TIF-01    19961    Arash Khorsandi      Buena Vista Medical Services      26274    10/12/2020   $       64.23 $         77.08   $    214.09     Rx
                                                                                                                                                        Entered 04/29/22 00:00:58




TIF-01    19961    Arash Khorsandi      Buena Vista Medical Services      26276    10/12/2020   $       68.68 $         82.42   $    228.94     Rx
TIF-01    19951    Joseph Nazarian      Buena Vista Medical Services      26248    10/12/2020   $       59.05 $         70.86   $    196.84     Rx
TIF-01    19951    Joseph Nazarian      Buena Vista Medical Services      26249    10/12/2020   $       80.23 $         96.28   $    267.44     Rx
TIF-01    19265    Omid Khorshidi       Buena Vista Medical Services      25064    10/12/2020   $       24.22 $         29.06   $     80.75     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25925    10/12/2020   $       55.99 $         67.19   $    186.62     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25927    10/12/2020   $       55.11 $         66.13   $    183.70     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25928    10/12/2020   $       27.24 $         32.69   $     90.81     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25930    10/12/2020   $       53.41 $         64.09   $    178.02     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25932    10/12/2020   $       53.41 $         64.09   $    178.02     Rx
TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25934    10/12/2020   $       53.41 $         64.09   $    178.02     Rx
                                                                                                                                                        Page 117 of 169




TIF-01    19877    Robin Saghian        Buena Vista Medical Services      25936    10/12/2020   $       53.41 $         64.09   $    178.02     Rx
TIF-01    19813    Salar Hendizadeh     Buena Vista Medical Services      25657    10/12/2020   $       61.22 $         73.46   $    204.07     Rx
TIF-01    19813    Salar Hendizadeh     Buena Vista Medical Services      25659    10/12/2020   $       60.13 $         72.16   $    200.43     Rx
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake I (Batch 13)

                                                                                                                          Receivables                                   Funding
Fund     ClaimId   Lawyer                      Provider                            BillId      Date Paid         Purchase Price               Cost    GFB Amount         Type
TIF-01    19813    Salar Hendizadeh            Buena Vista Medical Services           25661     10/12/2020       $       59.53 $             71.44    $    198.44         Rx
TIF-01    19813    Salar Hendizadeh            Buena Vista Medical Services           25663     10/12/2020       $       54.30 $             65.16    $    181.00         Rx
TIF-01    19813    Salar Hendizadeh            Buena Vista Medical Services           25664     10/12/2020       $       53.60 $             64.32    $    178.67         Rx
TIF-01    19813    Salar Hendizadeh            Buena Vista Medical Services           25666     10/12/2020       $       63.79 $             76.55    $    212.64         Rx
TIF-01    19813    Salar Hendizadeh            Buena Vista Medical Services           25668     10/12/2020       $       61.78 $             74.14    $    205.93         Rx
                                                                                                                                                                                  Case 21-01167-abl




TIF-01    19975    R.Thomas Wire               Buena Vista Medical Services           26321     10/12/2020       $      155.65 $            186.78    $    518.82         Rx
TIF-01    19975    R.Thomas Wire               Buena Vista Medical Services           26322     10/12/2020       $       77.21 $             92.65    $    257.38         Rx
TIF-01    19975    R.Thomas Wire               Buena Vista Medical Services           26323     10/12/2020       $      131.78 $            158.14    $    439.26         Rx
TIF-01    19269    Nancy Bernstein             Buena Vista Medical Services           25061     10/12/2020       $       20.53 $             24.64    $     68.44         Rx
TIF-01    19269    Nancy Bernstein             Buena Vista Medical Services           25424     10/12/2020       $       22.31 $             26.77    $     74.37         Rx
                                                                                                                                                                                  Doc 75-1




TIF-01    19269    Nancy Bernstein             Buena Vista Medical Services           25425     10/12/2020       $       27.70 $             33.24    $     92.34         Rx
TIF-01    19269    Nancy Bernstein             Buena Vista Medical Services           25426     10/12/2020       $       65.63 $             78.76    $    218.77         Rx
TIF-01    19785    Peter Angulo                Buena Vista Medical Services           25461     10/12/2020       $       29.29 $             35.15    $     97.62         Rx
TIF-01    19783    Salar Hendizadeh            Buena Vista Medical Services           25459     10/12/2020       $       22.96 $             27.55    $     76.53         Rx
TIF-01    7094     Frank Fasel                 Buena Vista Medical Services           25240     10/12/2020       $       20.37 $             24.44    $     67.91         Rx

                                                                                                                 $    43,634.16 $       52,360.99      $ 145,446.82


 ****    This List of Receivables supporting Series 1-Intake I (Batch 13) in the amount of US$145,446.82 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.
                                                                                                                                                                                  Entered 04/29/22 00:00:58




         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 277.78% of the purchased total of $52,360.99.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
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                      EXHIBIT J-2
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-A)

                                                                                       Receivables                                          Funding
Fund     Lawyer                 Provider         BillId        Date Paid      Purchase Price               Cost                   GFB        Type
TIF-01   David W. Bergquist     Preva                                        $      3,234.00    $     3,880.80      $       14,700.00         PM
TIF-01   David A. Spradlin      Preva                                        $      6,371.38    $     7,645.65      $       28,960.80         PM
TIF-01   Abraham Garcia         Preva                                        $      2,812.35    $     3,374.82      $       12,783.41         PM
TIF-01   Andrew Kumar           Preva                                        $      2,812.35    $     3,374.82      $       12,783.41         PM
                                                                                                                                                                                    Case 21-01167-abl




TIF-01   David W. Bergquist     Preva                                        $      2,109.80    $     2,531.76      $        9,590.00         PM
TIF-01   J. Ryan Fowler         Preva                                        $      2,812.35    $     3,374.82      $       12,783.41         PM
TIF-01   Abraham Garcia         Preva                                        $      3,234.00    $     3,880.80      $       14,700.00         PM
TIF-01   David W. Bergquist     Preva                                        $      4,899.40    $     5,879.28      $       22,270.00         PM

                                                                             $     28,285.63 $       33,942.75      $      128,571.03
                                                                                                                                                                                    Doc 75-1




****     This List of Receivables supporting Series 1-Intake J (Batch 14-A) in the amount of US$128,571.03 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 378.79% of the purchased total of $33,942.75.


         William B Dalzell
         CFO, Forget-the-Market Limited
                                                                                                                                                                                    Entered 04/29/22 00:00:58




         Co-Manager for Tecumseh-Infinity MR Fund
                                                                                                                                                                                    Page 120 of 169
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                      EXHIBIT J-3
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-B)

                                                                                                          Receivables                        Funding
Fund     ClaimId Lawyer                 Provider                              BillId   Date Paid    Purchase Pric     Cost            GFB     Type
TIF-01   19279   Nathan Fitzpatrick       Perimeter Orthopaedics PC            26687                $   102.96   $   123.55   $     257.40     PI
TIF-01   19279   Nathan Fitzpatrick       Perimeter Orthopaedics PC            26688                $   289.66   $   347.59   $     724.15     PI
TIF-01   20329   Casey Geiger             Legacy Brain & Spine                 26948                $   306.00   $   367.20   $     765.00     PI
TIF-01   20329   Casey Geiger             Legacy Brain & Spine                 26949                $   790.00   $   948.00   $   1,975.00    MRI
TIF-01   19795   Peter Ross               Peachtree Orthopaedic Clinic         25493                $   236.20   $   283.44   $     508.00    PM
                                                                                                                                                                                                                         Case 21-01167-abl




TIF-01   19793   W. Winston Briggs        Non-Surgical Orthopaedics PC         25490                $   284.00   $   340.80   $     710.00    PM
TIF-01   19793   W. Winston Briggs        Non-Surgical Orthopaedics PC         25491                $   152.00   $   182.40   $     380.00    PM
TIF-01   19793   W. Winston Briggs        Non-Surgical Orthopaedics PC         25492                $   208.00   $   249.60   $     520.00    PM
TIF-01   12133   Peter Ross               Peachtree Orthopaedic Clinic         25489                $   135.90   $   163.08   $     302.00    PM
TIF-01   19702   Steven Leibel            BENCHMARK PHYSICAL THERAPY           25477                $    98.18   $   117.82   $     280.50     PI
TIF-01   19702   Steven Leibel            BENCHMARK PHYSICAL THERAPY           25478                $    98.18   $   117.82   $     280.50     PI
TIF-01   19702   Steven Leibel            BENCHMARK PHYSICAL THERAPY           25479                $    98.18   $   117.82   $     280.50     PI
                                                                                                                                                                                                                         Doc 75-1




TIF-01   19702   Steven Leibel            BENCHMARK PHYSICAL THERAPY           26947                $    98.18   $   117.82   $     280.50     PI
TIF-01   19702   Steven Leibel            Center for Spine and Pain Medicine   26946                $   150.80   $   180.96   $     377.00    PM
TIF-01   19702   Steven Leibel            Center for Spine and Pain Medicine   26953                $   130.00   $   156.00   $     325.00    PM
TIF-01   19528   Amy Daugherty            Phenix City Spine & Joint Center LLC 26889   10/13/2020   $   450.45   $   540.54   $   1,287.01    MRI      One bill is split between two providers blue goes together
TIF-01   19528   Amy Daugherty            Phenix City Spine & Joint Center LLC 26902   10/13/2020   $   451.80   $   542.16   $   1,290.86    MRI      Phenix issues the total bill that covers both Phenix and Topple
TIF-01   19528   Amy Daugherty            Topple Diagnostics                   26890   10/13/2020   $   550.56   $   660.67   $   1,573.01    MRI
TIF-01   19528   Amy Daugherty            Topple Diagnostics                   26903   10/13/2020   $   552.20   $   662.64   $   1,577.71    MRI      One bill is split between two providers yellow goes together
TIF-01   19437   Charles E (Ted) Lake Jr. Orthopaedic Solutions                25483                $   227.50   $   273.00   $     650.00     PI
TIF-01   19281   Ronald Chalker           BENCHMARK PHYSICAL THERAPY           26734                $   126.00   $   151.20   $     360.00     PI
TIF-01   19281   Ronald Chalker           BENCHMARK PHYSICAL THERAPY           26735                $   140.00   $   168.00   $     400.00     PI
TIF-01    9321   Samuel Johnson           BENCHMARK PHYSICAL THERAPY           26951                $   116.38   $   139.66   $     332.50     PI
TIF-01   19499   Ronald Chalker           Atlas Orthopaedics;Duncan Wells MD 25446                  $   343.06   $   411.67   $     857.64     PI
TIF-01   19489   Ronald Chalker           Athens Orthopedic Clinic             26679                $    70.80   $    84.96   $     177.00     PI
TIF-01   19489   Ronald Chalker           Athens Orthopedic Clinic             26680                $    68.50   $    82.20   $     171.25     PI
TIF-01   20327   Reginald A Greene        Polaris Spine & Neurosurgery Center 26944                 $   354.00   $   424.80   $     885.00    PM
                                                                                                                                                                                                                         Entered 04/29/22 00:00:58




TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25494                $   201.08   $   241.30   $     574.50     PI
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25495                $   131.25   $   157.50   $     375.00     PI
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25496                $   131.25   $   157.50   $     375.00     PI
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25497                $   131.25   $   157.50   $     375.00     PI
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25498                $   131.25   $   157.50   $     375.00     PI
TIF-01   19797   Candace Malone           BENCHMARK PHYSICAL THERAPY           25499                $   131.25   $   157.50   $     375.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26927                 $    77.40   $    92.88   $     180.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26928                 $    77.40   $    92.88   $     180.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26929                 $    77.40   $    92.88   $     180.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26930                 $    94.60   $   113.52   $     220.00     PI
                                                                                                                                                                                                                         Page 122 of 169




TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26931                 $    77.40   $    92.88   $     180.00     PI
TIF-01   18535   Reginald A Greene        Colorado Injury Treatment Center PC 26932                 $    77.40   $    92.88   $     180.00     PI
TIF-01   18535   Reginald A Greene        Peak Orthopedics & Spine PLLC        26933                $    86.86   $   104.23   $     202.00     PI
TIF-01   18535   Reginald A Greene        Peak Orthopedics & Spine PLLC        26969                $    86.86   $   104.23   $     202.00     PI
TIF-01   19473   Joel Roth                Non-Surgical Orthopaedics PC         25487                $   208.00   $   249.60   $     520.00    PM
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-B)

                                                                                                             Receivables                        Funding
Fund     ClaimId   Lawyer                  Provider                              BillId   Date Paid    Purchase Pric      Cost           GFB     Type
TIF-01    19475    Joel Roth               Non-Surgical Orthopaedics PC          25488                 $   208.00 $ 249.60       $     520.00     PM
TIF-01    19769    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          25444                 $ 1,059.75 $ 1,271.70     $   2,355.00     MRI
TIF-01    19769    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          26945                 $   226.80 $ 272.16       $     504.00      PI
TIF-01    20125    David Bence             Phenix City Spine & Joint Center LLC 26875     10/13/2020   $   451.80 $ 542.16       $   1,290.86     MRI     One bill is split between two providers blue goes together
TIF-01    20125    David Bence             Phenix City Spine & Joint Center LLC 26881     10/13/2020   $   450.45 $ 540.54       $   1,287.01     MRI
TIF-01    20125    David Bence             Topple Diagnostics                    26876    10/13/2020   $   552.20 $ 662.64       $   1,577.71     MRI
                                                                                                                                                                                                                         Case 21-01167-abl




TIF-01    20125    David Bence             Topple Diagnostics                    26882    10/13/2020   $   550.56 $ 660.67       $   1,573.01     MRI     One bill is split between two providers yellow goes together
TIF-01    19757    Holly Salimi            Polaris Spine & Neurosurgery Center 26950                   $   396.00 $ 475.20       $     990.00     PM
TIF-01    19255    Reginald A Greene       Non-Surgical Orthopaedics PC          26685                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19255    Reginald A Greene       Non-Surgical Orthopaedics PC          26966                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19255    Reginald A Greene       The Center for Spine Procedures       26686                 $ 1,512.00 $ 1,814.40     $   3,780.00     PM
TIF-01    19255    Reginald A Greene       The Center for Spine Procedures       26965                 $ 1,512.00 $ 1,814.40     $   3,780.00     PM
                                                                                                                                                                                                                         Doc 75-1




TIF-01    19195    William L. Swank II     BENCHMARK PHYSICAL THERAPY            26957                 $   126.00 $ 151.20       $     360.00      PI
TIF-01    19195    William L. Swank II     BENCHMARK PHYSICAL THERAPY            26958                 $   154.88 $ 185.86       $     442.50      PI
TIF-01    19750    Gordon Remmen           Non-Surgical Orthopaedics PC          25480                 $   208.00 $ 249.60       $     520.00     PM
TIF-01    19750    Gordon Remmen           Non-Surgical Orthopaedics PC          26848                 $   208.00 $ 249.60       $     520.00     PM
TIF-01    19750    Gordon Remmen           Non-Surgical Orthopaedics PC          26964                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19750    Gordon Remmen           The Center for Spine Procedures       26963                 $ 1,512.00 $ 1,814.40     $   3,780.00     PM
TIF-01    19787    K Douglas Cook          Non-Surgical Orthopaedics PC          26690                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19787    K Douglas Cook          Non-Surgical Orthopaedics PC          26691                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19787    K Douglas Cook          The Center for Spine Procedures       26692                 $ 1,570.00 $ 1,884.00     $   3,925.00     PM
TIF-01    19787    K Douglas Cook          The Center for Spine Procedures       26693                 $ 1,570.00 $ 1,884.00     $   3,925.00     PM
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            25442                 $    97.12 $ 116.54       $     277.50      PI
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            25481                 $   118.12 $ 141.74       $     337.50      PI
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            25482                 $   118.12 $ 141.74       $     337.50      PI
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            26970                 $    97.12 $ 116.54       $     277.50      PI
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            26971                 $   126.00 $ 151.20       $     360.00      PI
TIF-01    19241    Ronald Chalker          BENCHMARK PHYSICAL THERAPY            26972                 $   130.72 $ 156.86       $     373.50      PI
                                                                                                                                                                                                                         Entered 04/29/22 00:00:58




TIF-01    19698    Gordon Remmen           (AHI) American Health Imaging         25206    10/6/2020    $ 1,950.00 $ 2,340.00     $   6,820.00     MRI
TIF-01    19698    Gordon Remmen           Non-Surgical Orthopaedics PC          25205    10/6/2020    $   720.00 $ 864.00       $   1,800.00     PM
TIF-01    19698    Gordon Remmen           Non-Surgical Orthopaedics PC          26678                 $   208.00 $ 249.60       $     520.00     PM
TIF-01    19698    Gordon Remmen           Non-Surgical Orthopaedics PC          26959                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19698    Gordon Remmen           Non-Surgical Orthopaedics PC          26960                 $ 1,012.00 $ 1,214.40     $   2,530.00     PM
TIF-01    19698    Gordon Remmen           The Center for Spine Procedures       26961                 $ 1,512.00 $ 1,814.40     $   3,780.00     PM
TIF-01    19698    Gordon Remmen           The Center for Spine Procedures       26962                 $ 1,512.00 $ 1,814.40     $   3,780.00     PM
TIF-01    19744    Steven Leibel           Polaris Spine & Neurosurgery Center 26676                   $   354.00 $ 424.80       $     885.00     PM
TIF-01    19744    Steven Leibel           Polaris Spine & Neurosurgery Center 26677                   $   354.00 $ 424.80       $     885.00     PM
TIF-01     8430    Peter Ross              Pain Management Specialists of Atlanta26726                 $    87.75 $ 105.30       $     195.00     PM
                                                                                                                                                                                                                         Page 123 of 169




TIF-01    19873    Zachary Taft            Safeway Psychological Services        25916                 $   844.00 $ 1,012.80     $   2,110.00      PI
TIF-01    19718    Jonathan Wade           Family Dental Solutions               25275    10/6/2020    $   140.00 $ 168.00       $     350.00      PI
TIF-01    19718    Jonathan Wade           Family Dental Solutions               26675                 $   250.00 $ 300.00       $     625.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          25276    10/6/2020    $    36.00 $      43.20   $      72.00      PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-B)

                                                                                                            Receivables                         Funding
Fund     ClaimId   Lawyer                  Provider                              BillId   Date Paid   Purchase Pric      Cost            GFB     Type
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          25277    10/6/2020   $    657.05 $ 788.46      $    1,447.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26656                $    201.60 $ 241.92      $      448.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26934                $    132.30 $ 158.76      $      294.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26935                $    226.80 $ 272.16      $      504.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26936                $    132.30 $ 158.76      $      294.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26937                $    154.80 $ 185.76      $      344.00      PI
                                                                                                                                                          Case 21-01167-abl




TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26938                $    165.00 $ 198.00      $      330.00      PI
TIF-01    19718    Jonathan Wade           Peachtree Orthopaedic Clinic          26939                $    471.50 $ 565.80      $    1,016.00      PI
TIF-01    19763    Bryan Sutlive           Safeway Psychological Services        26941                $    436.00 $ 523.20      $    1,090.00      PI
TIF-01    20195    Alyssa Martins          Georgia Spine & Orthopedics           26835                $    208.00 $ 249.60      $      520.00      PI
TIF-01    19753    Alfred Evans III        Polaris Spine & Neurosurgery Center   25385    10/6/2020   $    396.00 $ 475.20      $      990.00     PM
TIF-01    19791    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          25484                $    143.10 $ 171.72      $      318.00      PI
                                                                                                                                                          Doc 75-1




TIF-01    19791    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          25485                $    136.80 $ 164.16      $      304.00      PI
TIF-01    19791    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          25486                $    215.10 $ 258.12      $      478.00      PI
TIF-01    19791    Alexander Hoffspiegel   Peachtree Orthopaedic Clinic          26952                $    136.80 $ 164.16      $      304.00      PI
TIF-01    18533    Zachary Nelson          Peachtree Orthopaedic Clinic          26842                $    215.10 $ 258.12      $      470.00      PI
TIF-01    19526    Michael Lonati          (AHI) American Health Imaging         25501                $    650.00 $ 780.00      $    2,225.00     MRI
TIF-01    19526    Michael Lonati          Non-Surgical Orthopaedics PC          25500                $    208.00 $ 249.60      $      520.00     PM
TIF-01    20091    Joel Roth               BENCHMARK PHYSICAL THERAPY            26664                $    123.38 $ 148.06      $      352.50      PI
TIF-01    20091    Joel Roth               BENCHMARK PHYSICAL THERAPY            26665                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20091    Joel Roth               Perimeter Orthopaedics PC             26661                $    306.42 $ 367.70      $      766.05      PI
TIF-01    20091    Joel Roth               Perimeter Orthopaedics PC             26662                $    400.00 $ 480.00      $    1,000.00      PI
TIF-01    20091    Joel Roth               Perimeter Orthopaedics PC             26663                $    116.40 $ 139.68      $      291.00      PI
TIF-01    20091    Joel Roth               Perimeter Orthopaedics PC             26694                $    283.29 $ 339.95      $      708.22      PI
TIF-01    11357    Shannon Rolen           Pain Care LLC                         26733                $    400.00 $ 480.00      $    1,000.00     PM
TIF-01    17179    John Morrison           Surgery Center of Roswell             26682                $ 19,858.30 $ 23,829.96   $   49,645.75      PI
TIF-01     7881    Peter Ross              Non-Surgical Orthopaedics PC          26728                $    208.00 $ 249.60      $      520.00     PM
TIF-01     7881    Peter Ross              Non-Surgical Orthopaedics PC          26968                $ 1,012.00 $ 1,214.40     $    2,530.00     PM
                                                                                                                                                          Entered 04/29/22 00:00:58




TIF-01     7881    Peter Ross              The Center for Spine Procedures       26967                $ 1,512.00 $ 1,814.40     $    3,780.00     PM
TIF-01    19971    Nathan Fitzpatrick      Non-Surgical Orthopaedics PC          26655                $    628.00 $ 753.60      $    1,570.00     PM
TIF-01    19566    Michael Lonati          BENCHMARK PHYSICAL THERAPY            26657                $    131.25 $ 157.50      $      375.00      PI
TIF-01    19566    Michael Lonati          BENCHMARK PHYSICAL THERAPY            26658                $    131.25 $ 157.50      $      375.00      PI
TIF-01    19566    Michael Lonati          BENCHMARK PHYSICAL THERAPY            26659                $    131.25 $ 157.50      $      375.00      PI
TIF-01    19566    Michael Lonati          BENCHMARK PHYSICAL THERAPY            26660                $    102.38 $ 122.86      $      292.50      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26669                $    196.35 $ 235.62      $      561.00      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26670                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26671                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26672                $    155.40 $ 186.48      $      444.00      PI
                                                                                                                                                          Page 124 of 169




TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26673                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20093    Nathan Fitzpatrick      BENCHMARK PHYSICAL THERAPY            26674                $    155.40 $ 186.48      $      444.00      PI
TIF-01    20093    Nathan Fitzpatrick      Specialty Orthopaedics PC             26666                $    375.60 $ 450.72      $    1,003.00      PI
TIF-01    20093    Nathan Fitzpatrick      Specialty Orthopaedics PC             26667                $    500.00 $ 600.00      $    1,946.00      PI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-B)

                                                                                                                 Receivables                               Funding
Fund     ClaimId   Lawyer                 Provider                                BillId     Date Paid     Purchase Pric      Cost                GFB       Type
TIF-01    20093    Nathan Fitzpatrick     Specialty Orthopaedics PC               26668                    $    70.00 $      84.00       $      175.00        PI
TIF-01    19560    Ronald Chalker         Family Dental Solutions                 26955                    $ 1,248.40 $ 1,498.08         $    3,121.00        PI
TIF-01    19560    Ronald Chalker         Family Dental Solutions                 26956                    $   237.60 $ 285.12           $      594.00        PI
TIF-01    20197    Reginald A Greene      Polaris Spine & Neurosurgery Center     26836                    $   326.56 $ 391.87           $      816.41       PM
TIF-01    19546    Richard Kopelman       (AHI) American Health Imaging           25119      10/6/2020     $   381.60 $ 457.92           $      954.00       MRI
TIF-01    19546    Richard Kopelman       Non-Surgical Orthopaedics PC            25112      10/6/2020     $   740.00 $ 888.00           $    1,850.00       PM
                                                                                                                                                                                    Case 21-01167-abl




TIF-01    19546    Richard Kopelman       Non-Surgical Orthopaedics PC            26940                    $   168.00 $ 201.60           $      420.00       PM
TIF-01    20199    Tiffany Adams          Pain Care LLC                           26838                    $   480.00 $ 576.00           $    1,200.01       PM
TIF-01    20331    Matthew Broun          Legacy Brain & Spine                    26954                    $   240.00 $ 288.00           $      600.00        PI
TIF-01    20095    Jonathan Wade          (AHI) American Health Imaging           26681                    $ 1,300.00 $ 1,560.00         $    4,595.00       MRI
TIF-01    20223    Todd Shugart           Georgia Neuroscience                    26854                    $   560.00 $ 672.00           $    1,400.00        PI
TIF-01     5067    Natanya Brooks         Non-Surgical Orthopaedics PC            26851                    $   208.00 $ 249.60           $      520.00       PM
                                                                                                                                                                                    Doc 75-1




                                                                                                           $ 74,552.21 $89,462.65        $ 192,543.06


****     This List of Receivables supporting Series 1-Intake J (Batch 14-B) in the amount of US$192,543.06 is in good order as Forget-the-Market Ltd has performed the following:

         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 215.22% of the purchased total of $89,462.65.


         William B Dalzell
         CFO, Forget-the-Market Limited
                                                                                                                                                                                    Entered 04/29/22 00:00:58




         Co-Manager for Tecumseh-Infinity MR Fund
                                                                                                                                                                                    Page 125 of 169
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                      EXHIBIT J-4
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-C)
                                                                                                        Receivables                           Funding
Fund     ClaimId   Lawyer              Provider                       BillId   Date Paid       Purchase Price           Cost           GFB     Type
TIF-01   19965     Jubin Sharifi       Buena Vista Medical Services   26783                $          194.28   $      233.14   $     647.60     RX
TIF-01   19965     Jubin Sharifi       Buena Vista Medical Services   26784                $           95.23   $      114.28   $     317.43     RX
TIF-01   18525     Michael Shemtoub    Buena Vista Medical Services   26793                $           34.20   $       41.04   $     114.00     RX
TIF-01   20015     Michael Drell       Buena Vista Medical Services   26782                $          106.02   $      127.22   $     353.40     RX
TIF-01   20169     Robin Saghian       Buena Vista Medical Services   26819                $           33.06   $       39.67   $     110.20     RX
                                                                                                                                                        Case 21-01167-abl




TIF-01    7116     Nicholas Lasso      Buena Vista Medical Services   26628                $           38.86   $       46.63   $     129.54     RX
TIF-01   19708     Farid Yaghoubtil    Buena Vista Medical Services   26605                $           25.16   $       30.19   $      83.87     RX
TIF-01   19708     Farid Yaghoubtil    Buena Vista Medical Services   26773                $           25.16   $       30.19   $      83.87     RX
TIF-01   20023     Robert Walch        Buena Vista Medical Services   26610                $           55.34   $       66.41   $     184.46     RX
TIF-01   20167     Michael Madadi      Buena Vista Medical Services   26817                $           11.40   $       13.68   $      38.00     RX
TIF-01   19883     Joseph Nazarian     Buena Vista Medical Services   26780                $           49.33   $       59.20   $     164.43     RX
                                                                                                                                                        Doc 75-1




TIF-01   19883     Joseph Nazarian     Buena Vista Medical Services   26781                $          335.12   $      402.14   $   1,117.05     RX
TIF-01    7404     Matthew Hoffman     Buena Vista Medical Services   26804                $           27.05   $       32.46   $      90.17     RX
TIF-01    9341     Jacob Emrani        Buena Vista Medical Services   26612                $           25.19   $       30.23   $      83.98     RX
TIF-01    9341     Jacob Emrani        Buena Vista Medical Services   26613                $           28.99   $       34.79   $      96.63     RX
TIF-01    9341     Jacob Emrani        Buena Vista Medical Services   26614                $           25.19   $       30.23   $      83.98     RX
TIF-01   20083     Arash Khorsandi     Buena Vista Medical Services   26560    10/5/2020   $           50.86   $       61.03   $     169.52     RX
TIF-01   20079     KellyF. Ryan        Buena Vista Medical Services   26604                $           39.28   $       47.14   $     130.94     RX
TIF-01   19495     Nancy Bernstein     Buena Vista Medical Services   26791                $           24.66   $       29.59   $      82.19     RX
TIF-01   19495     Nancy Bernstein     Buena Vista Medical Services   26792                $           36.48   $       43.78   $     121.60     RX
TIF-01   19710     Farid Yaghoubtil    Buena Vista Medical Services   26774                $           25.63   $       30.76   $      85.42     RX
TIF-01   19710     Farid Yaghoubtil    Buena Vista Medical Services   26775                $           31.86   $       38.23   $     106.21     RX
TIF-01   19297     Farid Yaghoubtil    Buena Vista Medical Services   26796                $           25.08   $       30.10   $      83.60     RX
TIF-01   19297     Farid Yaghoubtil    Buena Vista Medical Services   26797                $           52.44   $       62.93   $     174.80     RX
TIF-01   19297     Farid Yaghoubtil    Buena Vista Medical Services   26798                $          119.70   $      143.64   $     399.00     RX
                                                                                                                                                        Entered 04/29/22 00:00:58




TIF-01   19520     Farid Yaghoubtil    Buena Vista Medical Services   26600                $          204.58   $      245.50   $     681.95     RX
TIF-01   18529     Lawrence Ruiz       Buena Vista Medical Services   26619                $           23.62   $       28.34   $      78.74     RX
TIF-01   18529     Lawrence Ruiz       Buena Vista Medical Services   26620                $           23.36   $       28.03   $      77.86     RX
TIF-01   18529     Lawrence Ruiz       Buena Vista Medical Services   26621                $           37.53   $       45.04   $     125.10     RX
TIF-01   18529     Lawrence Ruiz       Buena Vista Medical Services   26622                $           23.63   $       28.36   $      78.77     RX
TIF-01    7084     Justin Weinrich     Buena Vista Medical Services   26623                $           50.41   $       60.49   $     168.04     RX
TIF-01    8685     Michael Shemtoub    Buena Vista Medical Services   26616                $           55.91   $       67.09   $     186.37     RX
TIF-01    8685     Michael Shemtoub    Buena Vista Medical Services   26617                $          118.59   $      142.31   $     395.31     RX
TIF-01    8685     Michael Shemtoub    Buena Vista Medical Services   26618                $           21.50   $       25.80   $      71.67     RX
TIF-01   19275     Michael Madadi      Buena Vista Medical Services   26795                $           30.78   $       36.94   $     102.60     RX
                                                                                                                                                        Page 127 of 169




TIF-01   19937     FernandoD. Vargas   Buena Vista Medical Services   26776                $          160.74   $      192.89   $     535.80     RX
TIF-01   19937     FernandoD. Vargas   Buena Vista Medical Services   26777                $          119.22   $      143.06   $     397.40     RX
TIF-01   19937     FernandoD. Vargas   Buena Vista Medical Services   26778                $           31.92   $       38.30   $     106.40     RX
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-C)
                                                                                                        Receivables                              Funding
Fund     ClaimId   Lawyer              Provider                       BillId   Date Paid       Purchase Price             Cost            GFB     Type
TIF-01    19937    FernandoD. Vargas   Buena Vista Medical Services   26779                $          243.96 $          292.75   $      813.20     RX
TIF-01    20171    BobB. Khakshooy     Buena Vista Medical Services   26821                $           30.78 $           36.94   $      102.60     RX
TIF-01     9343    Cory Hilton         Buena Vista Medical Services   26629                $           35.32 $           42.38   $      117.72     RX
TIF-01     9343    Cory Hilton         Buena Vista Medical Services   26630                $           44.50 $           53.40   $      148.35     RX
TIF-01    19941    Arash Khorsandi     Buena Vista Medical Services   26606                $           25.16 $           30.19   $       83.87     RX
TIF-01    19941    Arash Khorsandi     Buena Vista Medical Services   26607                $           48.85 $           58.62   $      162.84     RX
                                                                                                                                                           Case 21-01167-abl




TIF-01    19237    Farid Yaghoubtil    Buena Vista Medical Services   26794                $           27.46 $           32.95   $       91.54     RX
TIF-01    19704    Mauro Fiore Jr      Buena Vista Medical Services   26771                $           23.94 $           28.73   $       79.80     RX
TIF-01    19704    Mauro Fiore Jr      Buena Vista Medical Services   26772                $           28.30 $           33.96   $       94.32     RX
TIF-01    19301    Jacob Emrani        Buena Vista Medical Services   26799                $           53.82 $           64.58   $      179.40     RX
TIF-01    19257    Michael Madadi      Buena Vista Medical Services   26615                $           57.39 $           68.87   $      191.29     RX
                                                                                                                                                           Doc 75-1




TIF-01    19554    Manuel Gonzales     Stat Diagnostics               25118    8/18/2020   $        1,200.00 $        1,440.00   $   10,400.00     MRI
TIF-01     8270    Nicholas Lasso      Buena Vista Medical Services   26805                $           23.96 $           28.75   $       79.88     RX
TIF-01     7310    Timothy Revero      Buena Vista Medical Services   26803                $           44.66 $           53.59   $      148.86     RX
TIF-01     6740    Kevin Danesh        Buena Vista Medical Services   26800                $           14.28 $           17.14   $       47.60     RX
TIF-01     6740    Kevin Danesh        Buena Vista Medical Services   26801                $           63.24 $           75.89   $      210.79     RX
TIF-01    20161    Michael Shemtoub    Buena Vista Medical Services   26811                $           21.66 $           25.99   $       72.20     RX
TIF-01    20161    Michael Shemtoub    Buena Vista Medical Services   26812                $           22.80 $           27.36   $       76.00     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   25878    10/5/2020   $           32.37 $           38.84   $      107.91     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   25879    10/5/2020   $           37.69 $           45.23   $      125.62     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   25880    10/5/2020   $           39.89 $           47.87   $      132.95     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   25882    10/5/2020   $           36.48 $           43.78   $      121.59     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26634    10/5/2020   $           17.36 $           20.83   $       57.87     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26635    10/5/2020   $           29.16 $           34.99   $       97.20     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26636    10/5/2020   $          142.29 $          170.75   $      474.30     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26637    10/5/2020   $           12.74 $           15.29   $       42.45     RX
                                                                                                                                                           Entered 04/29/22 00:00:58




TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26638    10/5/2020   $           48.74 $           58.49   $      162.45     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26639    10/5/2020   $          161.09 $          193.31   $      536.98     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26640    10/5/2020   $           60.56 $           72.67   $      201.87     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26641    10/5/2020   $          138.48 $          166.18   $      461.61     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26642    10/5/2020   $           10.31 $           12.37   $       34.38     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26643    10/5/2020   $          178.58 $          214.30   $      595.28     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26644    10/5/2020   $          167.16 $          200.59   $      557.20     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26645    10/5/2020   $          165.10 $          198.12   $      550.33     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26646    10/5/2020   $          178.58 $          214.30   $      595.28     RX
                                                                                                                                                           Page 128 of 169




TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26647    10/5/2020   $          138.48 $          166.18   $      461.61     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26648    10/5/2020   $          165.10 $          198.12   $      550.33     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26649    10/5/2020   $          167.16 $          200.59   $      557.20     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26650    10/5/2020   $           96.35 $          115.62   $      321.18     RX
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-C)
                                                                                                        Receivables                           Funding
Fund     ClaimId   Lawyer              Provider                       BillId   Date Paid       Purchase Price           Cost           GFB     Type
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26651    10/5/2020   $          165.10 $        198.12   $     550.33     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26652    10/5/2020   $           39.12 $         46.94   $     130.40     RX
TIF-01    19861    Farid Yaghoubtil    Buena Vista Medical Services   26653    10/5/2020   $          101.37 $        121.64   $     337.91     RX
TIF-01    20159    BobB. Khakshooy     Buena Vista Medical Services   26808                $           20.52 $         24.62   $      68.40     RX
TIF-01    20159    BobB. Khakshooy     Buena Vista Medical Services   26809                $           33.06 $         39.67   $     110.20     RX
TIF-01     6800    Arash Khorsandi     Buena Vista Medical Services   26624                $           36.11 $         43.33   $     120.38     RX
                                                                                                                                                        Case 21-01167-abl




TIF-01     6800    Arash Khorsandi     Buena Vista Medical Services   26625                $           21.86 $         26.23   $      72.88     RX
TIF-01     6800    Arash Khorsandi     Buena Vista Medical Services   26626                $           26.35 $         31.62   $      87.82     RX
TIF-01     6800    Arash Khorsandi     Buena Vista Medical Services   26627                $           21.29 $         25.55   $      70.98     RX
TIF-01    19903    Vahagn Koshkaryan   Buena Vista Medical Services   26608                $           38.39 $         46.07   $     127.98     RX
TIF-01    19903    Vahagn Koshkaryan   Buena Vista Medical Services   26609                $           34.26 $         41.11   $     114.19     RX
                                                                                                                                                        Doc 75-1




TIF-01    19967    JoshuaE. Kohanim    Buena Vista Medical Services   26785                $           25.08 $         30.10   $      83.60     RX
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services   26786                $           65.20 $         78.24   $     217.33     RX
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services   26787                $           67.13 $         80.56   $     223.78     RX
TIF-01    19893    Arash Khorsandi     Buena Vista Medical Services   26788                $           82.28 $         98.74   $     274.26     RX
TIF-01    20037    Arash Khorsandi     Buena Vista Medical Services   26602                $           65.20 $         78.24   $     217.33     RX
TIF-01    20037    Arash Khorsandi     Buena Vista Medical Services   26603                $           67.13 $         80.56   $     223.78     RX
TIF-01    19807    Michael Drell       Buena Vista Medical Services   26789                $           38.30 $         45.96   $     127.68     RX
TIF-01    19807    Michael Drell       Buena Vista Medical Services   26790                $           29.41 $         35.29   $      98.04     RX
TIF-01    19959    Douglas Kottler     Buena Vista Medical Services   26262    10/5/2020   $           71.93 $         86.32   $     239.76     RX
TIF-01    19959    Douglas Kottler     Buena Vista Medical Services   26263    10/5/2020   $           73.74 $         88.49   $     245.79     RX
TIF-01    19959    Douglas Kottler     Buena Vista Medical Services   26265    10/5/2020   $           73.74 $         88.49   $     245.79     RX
TIF-01    19959    Douglas Kottler     Buena Vista Medical Services   26267    10/5/2020   $           51.98 $         62.38   $     173.28     RX
TIF-01    19959    Douglas Kottler     Buena Vista Medical Services   26268    10/5/2020   $           73.74 $         88.49   $     245.79     RX
TIF-01    19959    Douglas Kottler     Buena Vista Medical Services   26270    10/5/2020   $           73.74 $         88.49   $     245.79     RX
TIF-01    19269    Nancy Bernstein     Buena Vista Medical Services   26611                $          246.27 $        295.52   $     820.91     RX
                                                                                                                                                        Entered 04/29/22 00:00:58




TIF-01    19783    Salar Hendizadeh    Buena Vista Medical Services   26601                $           35.18 $         42.22   $     117.27     RX
TIF-01    19859    Farid Yaghoubtil    Buena Vista Medical Services   25864    10/5/2020   $           33.52 $         40.22   $     111.75     RX
TIF-01    19859    Farid Yaghoubtil    Buena Vista Medical Services   25865    10/5/2020   $          291.24 $        349.49   $     970.80     RX
TIF-01    19859    Farid Yaghoubtil    Buena Vista Medical Services   25867    10/5/2020   $          436.95 $        524.34   $   1,456.49     RX
TIF-01    19859    Farid Yaghoubtil    Buena Vista Medical Services   25868    10/5/2020   $          659.24 $        791.09   $   2,197.46     RX
TIF-01    19859    Farid Yaghoubtil    Buena Vista Medical Services   25869    10/5/2020   $           40.13 $         48.16   $     133.77     RX
TIF-01    19859    Farid Yaghoubtil    Buena Vista Medical Services   25871    10/5/2020   $          291.24 $        349.49   $     970.80     RX
TIF-01    19859    Farid Yaghoubtil    Buena Vista Medical Services   25873    10/5/2020   $          291.24 $        349.49   $     970.80     RX
TIF-01    19859    Farid Yaghoubtil    Buena Vista Medical Services   25874    10/5/2020   $           33.52 $         40.22   $     111.75     RX
                                                                                                                                                        Page 129 of 169




TIF-01    19859    Farid Yaghoubtil    Buena Vista Medical Services   25876    10/5/2020   $          161.09 $        193.31   $     536.98     RX
TIF-01    19859    Farid Yaghoubtil    Buena Vista Medical Services   26654    10/5/2020   $          161.09 $        193.31   $     536.98     RX
TIF-01     7094    Frank Fasel         Buena Vista Medical Services   26802                $           20.37 $         24.44   $      67.91     RX
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake J (Batch 14-C)
                                                                                                                                      Receivables                                      Funding
Fund     ClaimId    Lawyer                         Provider                                  BillId       Date Paid          Purchase Price                 Cost                GFB     Type
                                                                                                                           $     10,548.22 $           12,657.86      $    41,560.89


 ****   This List of Receivables supporting Series 1-Intake J (Batch 14-C) in the amount of US$41,560.89 is in good order as Forget-the-Market Ltd has performed the following:

        a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.
                                                                                                                                                                                                 Case 21-01167-abl




        b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
        an explanation as to why.

        c. Confirmed that the value of purchased receivables respecting the listed invoices equals 328.34% of the purchased total of $12,657.86.
                                                                                                                                                                                                 Doc 75-1




        William B Dalzell
        CFO, Forget-the-Market Limited
        Co-Manager for Tecumseh-Infinity MR Fund
                                                                                                                                                                                                 Entered 04/29/22 00:00:58
                                                                                                                                                                                                 Page 130 of 169
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Case 21-01167-abl   Doc 75-1   Entered 04/29/22 00:00:58   Page 132 of 169
Case 21-01167-abl   Doc 75-1   Entered 04/29/22 00:00:58   Page 133 of 169
Case 21-01167-abl   Doc 75-1   Entered 04/29/22 00:00:58   Page 134 of 169
Case 21-01167-abl   Doc 75-1   Entered 04/29/22 00:00:58   Page 135 of 169




                       EXHIBIT K
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake K (Batch DP-1)

                                                                                        Receivables                                     Funding
Fund     Lawyer                        Provider           BillId   Date Paid   Purchase Price            Cost    Invoice          MRI    Type
TIF-01   Kumar Law Firm                Stat Diagnostics                        $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                        $     2,400.00   $     2,880.00   $    13,350.00    4     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                        $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Abraham Garcia                Stat Diagnostics                        $       600.00   $       720.00   $     2,950.00    1     MRI
                                                                                                                                                  Case 21-01167-abl




TIF-01   Kumar Law Firm                Stat Diagnostics                        $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Adame Garza                   Stat Diagnostics                        $     1,200.00   $     1,440.00   $     7,525.00    2     MRI
TIF-01   Adame Garza                   Stat Diagnostics                        $     1,800.00   $     2,160.00   $    11,950.00    3     MRI
TIF-01   Salazar Velazquez             Stat Diagnostics                        $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Ryan Zehl                     Stat Diagnostics                        $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                        $     1,800.00   $     2,160.00   $    11,950.00    3     MRI
                                                                                                                                                  Doc 75-1




TIF-01   Peter A Ruman                 Stat Diagnostics                        $     1,800.00   $     2,160.00   $    14,575.00    3     MRI
TIF-01   Adame Garza                   Stat Diagnostics                        $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Owsley Associates             Stat Diagnostics                        $     1,800.00   $     2,160.00   $    11,950.00    3     MRI
TIF-01   Marcus R. Spagnoletti         Stat Diagnostics                        $       600.00   $       720.00   $     4,650.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                        $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                        $     1,800.00   $     2,160.00   $    11,950.00    3     MRI
TIF-01   Manuel Gonzales               Stat Diagnostics                        $     1,200.00   $     1,440.00   $     7,450.00    2     MRI
TIF-01   W Clark Martin IV             Stat Diagnostics                        $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   W Clark Martin IV             Stat Diagnostics                        $     1,200.00   $     1,440.00   $     7,450.00    2     MRI
TIF-01   Adame Garza                   Stat Diagnostics                        $       600.00   $       720.00   $     4,785.85    1     MRI
TIF-01   Manuel Gonzales               Stat Diagnostics                        $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Manuel Gonzales               Stat Diagnostics                        $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Buzbee Law Firm               Stat Diagnostics                        $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Leo Oginni Trail Lawyers PLLC Stat Diagnostics                        $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
                                                                                                                                                  Entered 04/29/22 00:00:58




TIF-01   Kumar Law Firm                Stat Diagnostics                        $     2,400.00   $     2,880.00   $    15,050.00    4     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                        $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Jonathan S. Harris            Stat Diagnostics                        $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Manuel Gonzales               Stat Diagnostics                        $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Nathalie Galindo              Stat Diagnostics                        $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Nathalie Galindo              Stat Diagnostics                        $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Nathalie Galindo              Stat Diagnostics                        $       600.00   $       720.00   $     2,950.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                        $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Kumar Law Firm                Stat Diagnostics                        $       600.00   $       720.00   $     4,500.00    1     MRI
                                                                                                                                                  Page 136 of 169




TIF-01   Kumar Law Firm                Stat Diagnostics                        $     1,200.00   $     1,440.00   $     7,450.00    2     MRI
TIF-01   Adame Garza                   Stat Diagnostics                        $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
TIF-01   Salazar Velazquez             Stat Diagnostics                        $       600.00   $       720.00   $     4,500.00    1     MRI
TIF-01   Ryan Zehl                     Stat Diagnostics                        $     1,200.00   $     1,440.00   $     9,000.00    2     MRI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake K (Batch DP-1)

                                                                                  Receivables                                      Funding
Fund     Lawyer                  Provider           BillId   Date Paid   Purchase Price            Cost    Invoice           MRI    Type
TIF-01   Owsley Associates       Stat Diagnostics                        $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Owsley Associates       Stat Diagnostics                        $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Marcus R. Spagnoletti   Stat Diagnostics                        $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   William J Hodge         Stat Diagnostics                        $     1,800.00   $     2,160.00   $     11,950.00    3      MRI
TIF-01   Joseph K Plumbar        Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
                                                                                                                                             Case 21-01167-abl




TIF-01   Kumar Law Firm          Stat Diagnostics                        $     1,800.00   $     2,160.00   $     11,950.00    3      MRI
TIF-01   Lozano Law Office       Stat Diagnostics                        $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Stewart J Guss          Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $     2,400.00   $     2,880.00   $     14,900.00    4      MRI
TIF-01   Cynthia Huerta          Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
                                                                                                                                             Doc 75-1




TIF-01   Domingo Garcia          Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Adame Garza             Stat Diagnostics                        $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Mukerji Law Firm PC     Stat Diagnostics                        $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Mukerji Law Firm PC     Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $     1,200.00   $     1,440.00   $      7,450.00    2      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $     1,800.00   $     2,160.00   $     11,950.00    3      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Carmen Elizalde         Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   J S Lopez               Stat Diagnostics                        $     1,800.00   $     2,160.00   $     11,950.00    3      MRI
TIF-01   Adame Garza             Stat Diagnostics                        $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Manuel Gonzales         Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
         Beverly R. Caruthers    Stat Diagnostics                        $     1,200.00   $     1,440.00
                                                                                                                                             Entered 04/29/22 00:00:58




TIF-01                                                                                                     $      9,000.00    2      MRI
TIF-01   Adame Garza             Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Shelley B. Ross II      Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Owsley Associates       Stat Diagnostics                        $     1,800.00   $     2,160.00   $     11,950.00    3      MRI
TIF-01   Adame Garza             Stat Diagnostics                        $       600.00   $       720.00   $      4,650.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $     2,400.00   $     2,880.00   $     16,450.00    4      MRI
TIF-01   Arnold Itkin LLP        Stat Diagnostics                        $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Benjamin H. Ruemke      Stat Diagnostics                        $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
                                                                                                                                             Page 137 of 169




TIF-01   Ryan Zehl               Stat Diagnostics                        $       600.00   $       720.00   $      2,950.00    1      MRI
TIF-01   Adame Garza             Stat Diagnostics                        $     1,200.00   $     1,440.00   $      9,000.00    2      MRI
TIF-01   Kumar Law Firm          Stat Diagnostics                        $       600.00   $       720.00   $      4,500.00    1      MRI
Tecumseh-Infinity MR Fund
List of Receivables for Series-1/Intake K (Batch DP-1)

                                                                                                                Receivables                                                 Funding
Fund     Lawyer                      Provider                        BillId           Date Paid        Purchase Price               Cost     Invoice              MRI        Type
TIF-01   Cassandra Evans Jones       Stat Diagnostics                                                  $        600.00   $        720.00     $      2,950.00       1          MRI
TIF-01   Ryan Zehl                   Stat Diagnostics                                                  $      1,200.00   $      1,440.00     $      7,450.00       2          MRI
TIF-01   Bret Griffin                Stat Diagnostics                                                  $      2,400.00   $      2,880.00     $     16,450.00       4          MRI
TIF-01   Joseph K Plumbar            Stat Diagnostics                                                  $      1,200.00   $      1,440.00     $      9,000.00       2          MRI
TIF-01   Adame Garza                 Stat Diagnostics                                                  $      1,200.00   $      1,440.00     $      7,450.00       2          MRI
                                                                                                                                                                                      Case 21-01167-abl




TIF-01   Adame Garza                 Stat Diagnostics                                                  $        600.00   $        720.00     $      4,500.00       1          MRI

                                                                                                       $    85,800.00 $ 102,960.00           $    584,935.85      143


 ****    This List of Receivables supporting Series 1-Intake K (Batch DP-1) in the amount of US$584,935.85 is in good order as Forget-the-Market Ltd has performed the following:
                                                                                                                                                                                      Doc 75-1




         a. Review of the invoice supporting each line item on List of Receivables confirming list accuracy including the invoice amount.

         b. Collected and reviewed (via Sharing Link) the lien for each line item on the List of Receivables. Any missing liens are noted on the List of Receivables with
         an explanation as to why.

         c. Confirmed that the value of purchased receivables respecting the listed invoices equals 568.12% of the purchased total of $102,960.00.


         William B Dalzell
         CFO, Forget-the-Market Limited
         Co-Manager for Tecumseh-Infinity MR Fund
                                                                                                                                                                                      Entered 04/29/22 00:00:58
                                                                                                                                                                                      Page 138 of 169
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                       EXHIBIT L
TECUMSEHͲInfinityMRFund
ListofReceivablesforSeriesͲ1/IntakeA
                                                                                                                                                                              1.20
                                                                                                                                                   Receivables                                                  Funding
Intake     Claim      ClaimId Lawyer                   Provider                                       BillId   DatePaid   Check#Paid      PurchPrice      Cost                     GFBAmount                Type
SͲ1/A                  16221   N/A                    PrevaAdvancedSurgicareͲTheWoodlandsLLC   22470    2020Ͳ06Ͳ09   W52329102     $2,249.88      $2,699.86      $12,783.41
SͲ1/A                  15291   KumarLawFirm         StatDiagnostics                               21942    2020Ͳ06Ͳ09          7548   $1,200.00      $1,440.00      $9,000.00
SͲ1/A    Pending       9869   OrlandoAMarra         FamilyDentalSolutions                        18555    2020Ͳ05Ͳ14          7502   $140.40    $168.48    $350.00
SͲ1/A                  15399   GeorgeK.Farah         StatDiagnostics                               22000    2020Ͳ06Ͳ09          7548   $600.00    $720.00    $4,500.00
SͲ1/A    Pending       11803   BobbyJohnson          ParkaireConsultantsInc                       19731    2020Ͳ05Ͳ29          7540   $300.00    $360.00    $750.00
                                                                                                                                                                                                                          Case 21-01167-abl




SͲ1/A    Pending       8964   MyLowe                 AtlantaDermatologyandSurgery               18711    2020Ͳ05Ͳ14          7498   $120.00    $144.00    $300.00
SͲ1/A    Pending      12133   PeterRoss              PeachtreeOrthopaedicClinic                   19965    2020Ͳ05Ͳ29          7525   $72.45   $86.94   $161.00
SͲ1/A    Pending      12133   PeterRoss              PeachtreeOrthopaedicSurgeryCenter           20478    2020Ͳ06Ͳ12          7554   $2,475.00      $2,970.00      $5,500.00
SͲ1/A                  15425   MokaramLawFirm       StatDiagnostics                               22013    2020Ͳ06Ͳ09          7548   $1,800.00      $2,160.00      $12,100.00
SͲ1/A                  15437   ManuelGonzales         StatDiagnostics                               22021    2020Ͳ06Ͳ09          7548   $1,200.00      $1,440.00      $9,000.00
SͲ1/A    Pending      15537   BryanBlackwell         XL2XSLLC                                      22081    2020Ͳ06Ͳ12          7563   $4,550.00      $5,460.00      $13,000.00
                                                                                                                                                                                                                          Doc 75-1




SͲ1/A                  15959   RichardPresutti        PrevaAdvancedSurgicareͲTheWoodlandsLLC   22509    2020Ͳ06Ͳ09   W52329102     $1,917.02      $2,300.42      $10,892.20
SͲ1/A                  16365   BergquistLawFirm      PrevaAdvancedSurgicareͲTheWoodlandsLLC   22555    2020Ͳ06Ͳ09   W52329102     $2,249.88      $2,699.86      $12,783.41
SͲ1/A    Pending       9357   W.WrightGammonJr     (AHI)AmericanHealthImaging                  18315    2020Ͳ05Ͳ14          7510   $650.00    $780.00    $2,370.00
SͲ1/A    Pending       9357   W.WrightGammonJr     BENCHMARKPHYSICALTHERAPY                     18203    2020Ͳ05Ͳ14          7511   $191.62    $229.94    $547.50
SͲ1/A    Pending       9357   W.WrightGammonJr     BENCHMARKPHYSICALTHERAPY                     18204    2020Ͳ05Ͳ14          7511   $117.08    $140.50    $334.50
SͲ1/A    Pending       9357   W.WrightGammonJr     BENCHMARKPHYSICALTHERAPY                     18245    2020Ͳ05Ͳ14          7511   $141.22    $169.46    $403.50
SͲ1/A    Pending       9357   W.WrightGammonJr     BENCHMARKPHYSICALTHERAPY                     18246    2020Ͳ05Ͳ14          7511   $116.55    $139.86    $333.00
SͲ1/A    Pending        6458   PaulKaufman          (AHI)AmericanHealthImaging                  18161    2020Ͳ05Ͳ14          7510   $1,950.00      $2,340.00      $7,110.00
SͲ1/A    Pending        6458   PaulKaufman          NonͲSurgicalOrthopaedicsPC                  18322    2020Ͳ05Ͳ14          7512   $208.00    $249.60    $520.00
SͲ1/A    Pending       9431   ReginaldAGreene       SouthAtlantaMUACenter                       18252    2020Ͳ04Ͳ29 Wire51964644    $4,104.00      $4,924.80      $13,680.00
SͲ1/A    Pending       9431   ReginaldAGreene       SouthAtlantaMUACenter                       18253    2020Ͳ04Ͳ29 Wire51964644    $540.00    $648.00    $1,800.00
SͲ1/A                  15447   KumarLawFirm         StatDiagnostics                               22027    2020Ͳ06Ͳ09          7548   $600.00    $720.00    $4,650.00
SͲ1/A                  15453   HildaL.Sibrian        StatDiagnostics                               22031    2020Ͳ06Ͳ09          7548   $600.00    $720.00    $4,500.00
SͲ1/A                  15477   HildaL.Sibrian        StatDiagnostics                               22043    2020Ͳ06Ͳ09          7548   $1,200.00      $1,440.00      $9,000.00
SͲ1/A    Pending       15643   ReginaldAGreene       (AHI)AmericanHealthImaging                  22134    2020Ͳ06Ͳ12          7552   $650.00    $780.00    $2,370.00
SͲ1/A    Pending      14987   ReginaldAGreene       OrthopaedicSouthSurgicalCenter              21783    2020Ͳ06Ͳ11    Visa038693   $565.65    $678.78    $1,257.00
                                                                                                                                                                                                                          Entered 04/29/22 00:00:58




SͲ1/A                  15497   CassandraEvansͲJones   StatDiagnostics                               22054    2020Ͳ06Ͳ09          7548   $1,200.00      $1,440.00      $9,000.00
SͲ1/A                  15501   JavierMarcos           StatDiagnostics                               22056    2020Ͳ06Ͳ09          7548   $1,200.00      $1,440.00      $5,900.00
SͲ1/A                  15529   JeremyD.Rosen         StatDiagnostics                               22070    2020Ͳ06Ͳ09          7548   $1,200.00      $1,440.00      $7,450.00
SͲ1/A    Tortfeasor     8699   SeanMcEvoy            SafewayPsychologicalServices                 18925    2020Ͳ05Ͳ29          7533   $328.00    $393.60    $820.00
SͲ1/A    Tortfeasor     8699   SeanMcEvoy            SafewayPsychologicalServices                 20197    2020Ͳ06Ͳ12          7555   $220.00    $264.00    $550.00
SͲ1/A    Pending       9519   PeterRoss              PainConsultantsofAtlanta                    18327    2020Ͳ05Ͳ14          7504   $117.43    $140.92    $309.03
SͲ1/A    Pending       5704   TimothyGardner        PainManagementSpecialistsofAtlantaPC      18551    2020Ͳ05Ͳ14          7505   $87.75   $105.30    $195.00
SͲ1/A    Pending        8593   OrlandoAMarra         FamilyDentalSolutions                        22165    2020Ͳ06Ͳ12          7551   $973.60    $1,168.32      $2,434.00
SͲ1/A    pending       3611   JonathanWade           BENCHMARKPHYSICALTHERAPY                     18162    2020Ͳ05Ͳ14          7511   $150.68    $180.82    $430.50
SͲ1/A    pending       3611   JonathanWade           BENCHMARKPHYSICALTHERAPY                     18163    2020Ͳ05Ͳ14          7511   $150.68    $180.82    $430.50
                                                                                                                                                                                                                          Page 140 of 169




SͲ1/A    pending       3611   JonathanWade           BENCHMARKPHYSICALTHERAPY                     19458    2020Ͳ05Ͳ29          7521   $176.92    $212.30    $505.50
SͲ1/A    pending       3611   JonathanWade           BENCHMARKPHYSICALTHERAPY                     19459    2020Ͳ05Ͳ29          7521   $155.40    $186.48    $444.00
SͲ1/A    pending       3611   JonathanWade           BENCHMARKPHYSICALTHERAPY                     19460    2020Ͳ05Ͳ29          7521   $150.68    $180.82    $430.50
SͲ1/A    pending       3611   JonathanWade           BENCHMARKPHYSICALTHERAPY                     19463    2020Ͳ05Ͳ29          7521   $126.52    $151.82    $361.50
TECUMSEHͲInfinityMRFund
ListofReceivablesforSeriesͲ1/IntakeA
                                                                                                                                                                                            1.20
                                                                                                                                                                      Receivables                                            Funding
Intake     Claim    ClaimId   Lawyer                               Provider                                       BillId   DatePaid    Check#Paid       PurchPrice             Cost            GFBAmount                 Type
SͲ1/A    pending      3611   JonathanWade                        DuraMedLLC                                   19674    2020Ͳ05Ͳ29          7528    $492.00 $590.40      $1,230.00
SͲ1/A    pending      3611   JonathanWade                        JointActiveSystems                           19522    2020Ͳ05Ͳ29          7537    $394.00 $472.80      $788.00
SͲ1/A    pending      3611   JonathanWade                        PerimeterOrthopaedicsPC                      19406    2020Ͳ05Ͳ29          7532    $216.38 $259.66      $540.95
SͲ1/A                 16065   CoreyS.Gomel                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22511    2020Ͳ06Ͳ09    W52329102     $2,839.02 $3,406.82          $16,130.82
SͲ1/A    Pending     11113   WilliamF.(Freddie)HeitmannIII   FamilyDentalSolutions                        19296    2020Ͳ05Ͳ29          7529    $140.00 $168.00      $350.00
SͲ1/A                 15531   JuanC.Garcia                       StatDiagnostics                               22071    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00          $7,450.00
                                                                                                                                                                                                                                       Case 21-01167-abl




SͲ1/A                 11817   SeanMcEvoy                         ParkaireConsultantsInc                       19737    2020Ͳ05Ͳ29          7540    $300.00 $360.00      $750.00
SͲ1/A    Pending       8418   KathrynBurmeister                   FamilyDentalSolutions                        22441    2020Ͳ06Ͳ12          7551    $480.00 $576.00      $1,200.00
SͲ1/A    Pending       8418   KathrynBurmeister                   FamilyDentalSolutions                        22442    2020Ͳ06Ͳ12          7551    $280.80 $336.96      $702.00
SͲ1/A    Pending      10999   RonaldChalker                       NonͲSurgicalOrthopaedicsPC                  19232    2020Ͳ05Ͳ29          7523    $552.00 $662.40      $1,380.00
SͲ1/A    Pending      10999   RonaldChalker                       NonͲSurgicalOrthopaedicsPC                  19233    2020Ͳ05Ͳ29          7523    $284.00 $340.80      $710.00
SͲ1/A                 15535   Adame&Garza                       StatDiagnostics                               22073    2020Ͳ06Ͳ09          7548    $600.00 $720.00      $4,500.00
                                                                                                                                                                                                                                       Doc 75-1




SͲ1/A                 15533   AlexanderHouthuijzen                StatDiagnostics                               22072    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00          $9,000.00
SͲ1/A    pending      2517   DorianMurry                         PolarisSpine&NeurosurgeryCenter            19676    2020Ͳ05Ͳ29          7542    $154.00 $184.80      $385.00
SͲ1/A                 16219   MaathewR.Birdwell                  PrevaAdvancedSurgicareͲTheWoodlandsLLC   22469    2020Ͳ06Ͳ09    W52329102     $1,446.98 $1,736.38          $8,221.45
SͲ1/A    Pending      6536   NicholasLasso                       XL2XSLLC                                      22115    2020Ͳ06Ͳ12          7563    $4,830.00 $5,796.00          $13,800.00
SͲ1/A    Pending      9355   KDouglasCook                       BENCHMARKPHYSICALTHERAPY                     18201    2020Ͳ05Ͳ14          7511    $126.52 $151.82      $361.50
SͲ1/A    Pending      9355   KDouglasCook                       BENCHMARKPHYSICALTHERAPY                     18202    2020Ͳ05Ͳ14          7511    $196.35 $235.62      $561.00
SͲ1/A    Pending      9355   KDouglasCook                       BENCHMARKPHYSICALTHERAPY                     18247    2020Ͳ05Ͳ14          7511    $126.52 $151.82      $361.50
SͲ1/A    Pending      9355   KDouglasCook                       BENCHMARKPHYSICALTHERAPY                     18541    2020Ͳ05Ͳ14          7511    $126.52 $151.82      $361.50
SͲ1/A    Pending      9355   KDouglasCook                       BENCHMARKPHYSICALTHERAPY                     18542    2020Ͳ05Ͳ14          7511    $126.52 $151.82      $361.50
SͲ1/A    Pending      9355   KDouglasCook                       BENCHMARKPHYSICALTHERAPY                     19302    2020Ͳ05Ͳ29          7521    $150.68 $180.82      $430.50
SͲ1/A    Pending      9355   KDouglasCook                       BENCHMARKPHYSICALTHERAPY                     19303    2020Ͳ05Ͳ29          7521    $150.68 $180.82      $430.50
SͲ1/A    Pending      9355   KDouglasCook                       BENCHMARKPHYSICALTHERAPY                     19402    2020Ͳ05Ͳ29          7521    $150.68 $180.82      $430.50
SͲ1/A    Pending      9355   KDouglasCook                       BENCHMARKPHYSICALTHERAPY                     22142    2020Ͳ06Ͳ12          7558    $150.68 $180.82      $430.50
SͲ1/A                 15541   GeorgeK.Farah                      StatDiagnostics                               22075    2020Ͳ06Ͳ09          7548    $600.00 $720.00      $4,500.00
SͲ1/A                 15543   Adame&Garza                       StatDiagnostics                               22076    2020Ͳ06Ͳ09          7548    $600.00 $720.00      $3,100.00
                                                                                                                                                                                                                                       Entered 04/29/22 00:00:58




SͲ1/A    Pending      8701   MatthewBroun                        MDPainCarePC                                18251    2020Ͳ05Ͳ14          7497    $70.00 $84.00    $200.00
SͲ1/A    Pending      8701   MatthewBroun                        MDPainCarePC                                18705    2020Ͳ05Ͳ29          7539    $70.00 $84.00    $200.00
SͲ1/A    Pending     12275   CarolineOwings                      PeachtreeOrthopaedicClinic                   22122    2020Ͳ06Ͳ15          7567    $787.50 $945.00      $1,750.00
SͲ1/A    Pending     12275   CarolineOwings                      PeachtreeOrthopaedicSurgeryCenter           20062    2020Ͳ06Ͳ12          7554    $900.00 $1,080.00        $2,000.00
SͲ1/A    Pending      8970   JeffreySolomon                    PerimeterOrthopaedicsPC                      18293    2020Ͳ05Ͳ14          7506    $306.42 $367.70      $766.05
SͲ1/A    pending      5640   CarolineOwings                      (AHI)AmericanHealthImaging                  18316    2020Ͳ05Ͳ14          7510    $945.20 $1,134.24        $2,363.00
SͲ1/A    pending      5640   CarolineOwings                      (AHI)AmericanHealthImaging                  18317    2020Ͳ05Ͳ14          7510    $345.20 $414.24      $863.00
SͲ1/A    pending      5640   CarolineOwings                      PeachtreeOrthopaedicClinic                   18544    2020Ͳ05Ͳ14          7515    $216.00 $259.20      $480.00
SͲ1/A    pending      5640   CarolineOwings                      PeachtreeOrthopaedicClinic                   18712    2020Ͳ05Ͳ29          7525    $656.86 $788.23      $1,313.72
SͲ1/A    pending      5640   CarolineOwings                      PeachtreeOrthopaedicClinic                   18713    2020Ͳ05Ͳ29          7525    $216.00 $259.20      $480.00
SͲ1/A    Pending      9875   CharlesE(Ted)LakeJr.            (AHI)AmericanHealthImaging                  18559    2020Ͳ05Ͳ14          7510    $1,300.00 $1,560.00          $4,595.00
                                                                                                                                                                                                                                       Page 141 of 169




SͲ1/A    Pending      9347   NatanyaBrooks                       PeachtreeOrthopaedicClinic                   18295    2020Ͳ05Ͳ14          7515    $142.20 $170.64      $316.00
SͲ1/A    Pending      9347   NatanyaBrooks                       PeachtreeOrthopaedicClinic                   18296    2020Ͳ05Ͳ14          7515    $103.50 $124.20      $230.00
SͲ1/A    Pending      9347   NatanyaBrooks                       PeachtreeOrthopaedicClinic                   18325    2020Ͳ05Ͳ14          7515    $142.20 $170.64      $316.00
SͲ1/A    Pending      9347   NatanyaBrooks                       PeachtreeOrthopaedicClinic                   18326    2020Ͳ05Ͳ14          7515    $45.00 $54.00    $90.00
TECUMSEHͲInfinityMRFund
ListofReceivablesforSeriesͲ1/IntakeA
                                                                                                                                                                                    1.20
                                                                                                                                                              Receivables                                           Funding
Intake     Claim    ClaimId   Lawyer                       Provider                                       BillId   DatePaid    Check#Paid       PurchPrice             Cost            GFBAmount                Type
SͲ1/A    Pending      9347   NatanyaBrooks               PeachtreeOrthopaedicClinic                   18621    2020Ͳ05Ͳ14          7515    $179.10 $214.92      $398.00
SͲ1/A    Pending      9347   NatanyaBrooks               PeachtreeOrthopaedicClinic                   19312    2020Ͳ05Ͳ29          7525    $1,900.00 $2,280.00          $3,800.00
SͲ1/A    Pending      9347   NatanyaBrooks               PeachtreeOrthopaedicClinic                   19910    2020Ͳ05Ͳ29          7525    $8,055.90 $9,667.08          $17,902.00
SͲ1/A    Pending      9347   NatanyaBrooks               PeachtreeOrthopaedicClinic                   19911    2020Ͳ05Ͳ29          7525    $3,580.40 $4,296.48          $17,902.00
SͲ1/A    Pending      9347   NatanyaBrooks               PeachtreeOrthopaedicSurgeryCenter           19913    2020Ͳ05Ͳ29          7531    $14,841.00 $17,809.20            $32,980.00
SͲ1/A    Pending      8657   ReginaldAGreene            NonͲSurgicalOrthopaedicsPC                  20010    2020Ͳ05Ͳ29          7523    $2,220.00 $2,664.00          $5,550.00
                                                                                                                                                                                                                              Case 21-01167-abl




SͲ1/A                 15553   Salazar&VelazquezP.C.   StatDiagnostics                               22082    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00          $9,000.00
SͲ1/A                 15555   SarahYNhiHuynh            StatDiagnostics                               22083    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00          $9,000.00
SͲ1/A                 16313   TheNMWLawFirm            PrevaAdvancedSurgicareͲTheWoodlandsLLC   22522    2020Ͳ06Ͳ09    W52329102     $1,239.03 $1,486.84          $7,039.96
SͲ1/A                 16313   TheNMWLawFirm            PrevaAdvancedSurgicareͲTheWoodlandsLLC   22523    2020Ͳ06Ͳ09    W52329102     $177.55 $213.06      $1,008.81
SͲ1/A                 16313   TheNMWLawFirm            PrevaAdvancedSurgicareͲTheWoodlandsLLC   22524    2020Ͳ06Ͳ09    W52329102     $2,321.95 $2,786.34          $13,192.90
SͲ1/A                 16313   TheNMWLawFirm            PrevaAdvancedSurgicareͲTheWoodlandsLLC   22525    2020Ͳ06Ͳ09    W52329102     $123.20 $147.84      $700.00
                                                                                                                                                                                                                              Doc 75-1




SͲ1/A    Pending      8962   MyLowe                      AtlantaDermatologyandSurgery               18159    2020Ͳ05Ͳ14          7498    $120.00 $144.00      $300.00
SͲ1/A    Pending      5718   AlyssaMartins               CarrolltonOrthopaedicClinic                  18306    2020Ͳ05Ͳ14          7499    $50.00 $60.00    $125.00
SͲ1/A    Pending      5718   AlyssaMartins               CarrolltonOrthopaedicClinic                  18318    2020Ͳ05Ͳ14          7499    $404.00 $484.80      $1,010.00
SͲ1/A    Pending      11123   KathrynBurmeister           BENCHMARKPHYSICALTHERAPY                     19304    2020Ͳ05Ͳ29          7521    $196.35 $235.62      $561.00
SͲ1/A    Pending      11123   KathrynBurmeister           BENCHMARKPHYSICALTHERAPY                     19305    2020Ͳ05Ͳ29          7521    $196.35 $235.62      $561.00
SͲ1/A    Pending      11123   KathrynBurmeister           BENCHMARKPHYSICALTHERAPY                     19306    2020Ͳ05Ͳ29          7521    $97.65 $117.18     $279.00
SͲ1/A    Pending      11123   KathrynBurmeister           BENCHMARKPHYSICALTHERAPY                     19403    2020Ͳ05Ͳ29          7521    $97.65 $117.18     $279.00
SͲ1/A    Pending      11123   KathrynBurmeister           BENCHMARKPHYSICALTHERAPY                     19404    2020Ͳ05Ͳ29          7521    $73.50 $88.20    $210.00
SͲ1/A    Pending      11123   KathrynBurmeister           BENCHMARKPHYSICALTHERAPY                     19906    2020Ͳ05Ͳ29          7521    $126.52 $151.82      $361.50
SͲ1/A    Pending      11123   KathrynBurmeister           BENCHMARKPHYSICALTHERAPY                     19907    2020Ͳ05Ͳ29          7521    $126.52 $151.82      $361.50
SͲ1/A    Pending      11123   KathrynBurmeister           BENCHMARKPHYSICALTHERAPY                     20325    2020Ͳ06Ͳ12          7558    $126.52 $151.82      $361.50
SͲ1/A    Pending      11123   KathrynBurmeister           BENCHMARKPHYSICALTHERAPY                     20327    2020Ͳ06Ͳ12          7558    $126.52 $151.82      $361.50
SͲ1/A    Pending      11123   KathrynBurmeister           BENCHMARKPHYSICALTHERAPY                     22145    2020Ͳ06Ͳ12          7558    $131.25 $157.50      $375.00
SͲ1/A                 15569   Salazar&VelazquezP.C.   StatDiagnostics                               22090    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00          $9,000.00
SͲ1/A    Pending      8655   TiffanyAdams                PainConsultantsofAtlanta                    18323    2020Ͳ05Ͳ14          7504    $116.68 $140.02      $307.04
                                                                                                                                                                                                                              Entered 04/29/22 00:00:58




SͲ1/A    Pending      8655   TiffanyAdams                PainConsultantsofAtlanta                    18533    2020Ͳ05Ͳ14          7504    $397.10 $476.52      $1,045.00
SͲ1/A    Pending      8655   TiffanyAdams                PainConsultantsofAtlanta                    21886    2020Ͳ06Ͳ12          7561    $116.66 $139.99      $307.00
SͲ1/A    Pending      8428   CharlesE(Ted)LakeJr.    PainConsultantsofAtlanta                    18309    2020Ͳ05Ͳ14          7504    $78.66 $94.39    $207.00
SͲ1/A    Pending      8905   TimothyRevero               AnesthesiologyConsultants                    20502    2020Ͳ06Ͳ12          7557    $792.55 $951.06      $2,093.00
SͲ1/A                 15577   HectorL.Sandoval           StatDiagnostics                               22094    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00          $7,450.00
SͲ1/A                 10157   JohnnyPhillips              NonͲSurgicalOrthopaedicsPC                  18758    2020Ͳ05Ͳ14          7512    $284.00 $340.80      $710.00
SͲ1/A                 10157   JohnnyPhillips              NonͲSurgicalOrthopaedicsPC                  19908    2020Ͳ05Ͳ29          7523    $1,012.00 $1,214.40          $2,530.00
SͲ1/A                 10157   JohnnyPhillips              NonͲSurgicalOrthopaedicsPC                  20076    2020Ͳ06Ͳ12          7560    $208.00 $249.60      $520.00
SͲ1/A                 10157   JohnnyPhillips              TheCenterforSpineProcedures                19909    2020Ͳ05Ͳ29          7543    $1,570.00 $1,884.00          $3,925.00
SͲ1/A                 15603   KumarLawFirm              StatDiagnostics                               22108    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00          $7,450.00
SͲ1/A                 15617   CassandraEvansͲJones        StatDiagnostics                               22116    2020Ͳ06Ͳ09          7548    $600.00 $720.00      $4,500.00
                                                                                                                                                                                                                              Page 142 of 169




SͲ1/A                 16319   W.BrettCain                PrevaAdvancedSurgicareͲTheWoodlandsLLC   22528    2020Ͳ06Ͳ09    W52329102     $2,249.88 $2,699.86          $12,783.41
SͲ1/A    Pending      8439   WilliamWinters             GAPainManagementCenterLLC                  19924    2020Ͳ05Ͳ29          7536    $6,525.00 $7,830.00          $14,500.00
SͲ1/A    Pending      8439   WilliamWinters             PainManagementSpecialistsofAtlantaPC      19925    2020Ͳ05Ͳ29          7524    $1,485.00 $1,782.00          $3,300.00
SͲ1/A                 15619   CassandraEvansͲJones        StatDiagnostics                               22117    2020Ͳ06Ͳ09          7548    $2,400.00 $2,880.00          $14,900.00
TECUMSEHͲInfinityMRFund
ListofReceivablesforSeriesͲ1/IntakeA
                                                                                                                                                                                    1.20
                                                                                                                                                              Receivables                                            Funding
Intake     Claim    ClaimId   Lawyer                       Provider                                       BillId   DatePaid    Check#Paid       PurchPrice             Cost            GFBAmount                 Type
SͲ1/A    Pending       6506   ReginaldAGreene            AthensOrthopedicClinic                       19230    2020Ͳ05Ͳ29          7534    $122.40 $146.88      $306.00
SͲ1/A    Pending       6506   ReginaldAGreene            AthensOrthopedicClinic                       19231    2020Ͳ05Ͳ29          7534    $19.60 $23.52    $49.00
SͲ1/A    Pending     16447   BoBurke                     PainCareLLC                                  22599                                $400.00 $480.00      $1,000.01
SͲ1/A                 15625   MokaramLawFirm            StatDiagnostics                               22123    2020Ͳ06Ͳ09         7548     $1,200.00 $1,440.00          $9,000.00
SͲ1/A                 16323   MaathewR.Birdwell          PrevaAdvancedSurgicareͲTheWoodlandsLLC   22530    2020Ͳ06Ͳ09   W52329102      $2,249.88 $2,699.86          $12,783.41
SͲ1/A    Pending      6411   MatthewBroun                NonͲSurgicalOrthopaedicsPC                  18165    2020Ͳ05Ͳ14         7512     $440.00 $528.00      $1,100.00
                                                                                                                                                                                                                               Case 21-01167-abl




SͲ1/A    Pending      6411   MatthewBroun                NonͲSurgicalOrthopaedicsPC                  18320    2020Ͳ05Ͳ14         7512     $1,012.00 $1,214.40          $2,530.00
SͲ1/A    Pending      6411   MatthewBroun                NonͲSurgicalOrthopaedicsPC                  18321    2020Ͳ05Ͳ14         7512     $208.00 $249.60      $520.00
SͲ1/A    Pending      6411   MatthewBroun                NonͲSurgicalOrthopaedicsPC                  21889    2020Ͳ06Ͳ12         7560     $208.00 $249.60      $520.00
SͲ1/A    Pending      6411   MatthewBroun                TheCenterforSpineProcedures                18319    2020Ͳ05Ͳ14         7516     $1,512.00 $1,814.40          $3,780.00
SͲ1/A    Pending      8715   AliSalimi                   PolarisSpine&NeurosurgeryCenter            21890    2020Ͳ06Ͳ12         7562     $154.00 $184.80      $385.00
SͲ1/A    Pending      11793   DavidBence                 SouthAtlantaMUACenter                       19724    2020Ͳ05Ͳ22 Wire52192106     $2,107.70 $2,529.24          $6,022.00
                                                                                                                                                                                                                               Doc 75-1




SͲ1/A    Pending      11793   DavidBence                 SouthAtlantaMUACenter                       19725    2020Ͳ05Ͳ22 Wire52192106     $5,412.00 $6,494.40          $18,320.00
SͲ1/A                 16327   BergquistLawFirm           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22532    2020Ͳ06Ͳ09   W52329102      $5,631.97 $6,758.36          $7,039.96
SͲ1/A                 15627   MarcellOwens                StatDiagnostics                               22124    2020Ͳ06Ͳ09         7548     $1,200.00 $1,440.00          $9,000.00
SͲ1/A    Pending      14839   CharlesE(Ted)LakeJr.    (AHI)AmericanHealthImaging                  21749    2020Ͳ06Ͳ12         7552     $650.00 $780.00      $2,370.00
SͲ1/A    Pending      15645   CharlesE(Ted)LakeJr.    (AHI)AmericanHealthImaging                  22135    2020Ͳ06Ͳ12         7552     $650.00 $780.00      $2,225.00
SͲ1/A    Pending      15645   CharlesE(Ted)LakeJr.    (AHI)AmericanHealthImaging                  22136    2020Ͳ06Ͳ12         7552     $650.00 $780.00      $2,370.00
SͲ1/A                 15629   CassandraEvansͲJones        StatDiagnostics                               22125    2020Ͳ06Ͳ09         7548     $1,200.00 $1,440.00          $9,000.00
SͲ1/A                 15631   KumarLawFirm              StatDiagnostics                               22126    2020Ͳ06Ͳ09         7548     $1,800.00 $2,160.00          $11,950.00
SͲ1/A                 15635   DavidR.Sanders             StatDiagnostics                               22128    2020Ͳ06Ͳ09         7548     $600.00 $720.00      $4,500.00
SͲ1/A                 15637   Adame&Garza               StatDiagnostics                               22131    2020Ͳ06Ͳ09         7548     $1,200.00 $1,440.00          $7,450.00
SͲ1/A                 15639   MokaramLawFirm            StatDiagnostics                               22132    2020Ͳ06Ͳ09         7548     $600.00 $720.00      $2,950.00
SͲ1/A                 16333   N/A                         PrevaAdvancedSurgicareͲTheWoodlandsLLC   22535    2020Ͳ06Ͳ09   W52329102      $2,249.88 $2,699.86          $12,783.41
SͲ1/A                 15641   Adame&Garza               StatDiagnostics                               22133    2020Ͳ06Ͳ09         7548     $600.00 $720.00      $2,950.00
SͲ1/A                 16363   BergquistLawFirm           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22553    2020Ͳ06Ͳ09   W52329102      $2,424.93 $2,909.92          $13,778.00
SͲ1/A                 16363   BergquistLawFirm           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22554    2020Ͳ06Ͳ09   W52329102      $3,262.06 $3,914.47          $18,534.40
                                                                                                                                                                                                                               Entered 04/29/22 00:00:58




SͲ1/A    Pending     11005   SeanMcEvoy                 DanielD.EisenmanPh.D.LLC                 19237    2020Ͳ05Ͳ29         7527     $240.00 $288.00      $600.00
SͲ1/A                 15651   Salazar&VelazquezP.C.   StatDiagnostics                               22149    2020Ͳ06Ͳ09         7548     $1,800.00 $2,160.00          $11,950.00
SͲ1/A                 15653   AnthonyG.Buzbee            StatDiagnostics                               22150    2020Ͳ06Ͳ09         7548     $1,200.00 $1,440.00          $9,000.00
SͲ1/A    Pending       9337   RonaldChalker               AtlasOrthopaedics;DuncanWellsMD             19365    2020Ͳ05Ͳ29         7526     $1,766.85 $2,120.22          $6,295.92
SͲ1/A    Pending      7505   EdwardKim                  PeachtreeOrthopaedicClinic                   19525    2020Ͳ05Ͳ29         7525     $160.20 $192.24      $356.00
SͲ1/A    Pending      7505   EdwardKim                  PeachtreeOrthopaedicClinic                   19526    2020Ͳ05Ͳ29         7525     $179.10 $214.92      $398.00
SͲ1/A    Pending      7505   EdwardKim                  PeachtreeOrthopaedicClinic                   22129    2020Ͳ06Ͳ15         7567     $2,266.65 $2,719.98          $5,037.00
SͲ1/A    Pending      7505   EdwardKim                  PeachtreeOrthopaedicSurgeryCenter           22130    2020Ͳ06Ͳ12         7554     $2,655.45 $3,186.54          $5,901.00
SͲ1/A                 15655   Adame&Garza               StatDiagnostics                               22151    2020Ͳ06Ͳ09         7548     $1,200.00 $1,440.00          $9,000.00
SͲ1/A                 16335   StewartJ.Guss              PrevaAdvancedSurgicareͲTheWoodlandsLLC   22536    2020Ͳ06Ͳ09   W52329102      $1,917.02 $2,300.42          $10,892.20
SͲ1/A    Pending      8865   MichaelLonati               ParkaireConsultantsInc                       22169    2020Ͳ06Ͳ12         7553     $240.00 $288.00      $600.00
                                                                                                                                                                                                                               Page 143 of 169




SͲ1/A    Pending      8865   MichaelLonati               ParkaireConsultantsInc                       22176    2020Ͳ06Ͳ12         7553     $240.00 $288.00      $600.00
SͲ1/A    Pending      8865   MichaelLonati               ParkaireConsultantsInc                       22177    2020Ͳ06Ͳ12         7553     $240.00 $288.00      $600.00
SͲ1/A    Pending      8865   MichaelLonati               ParkaireConsultantsInc                       22178    2020Ͳ06Ͳ12         7553     $240.00 $288.00      $600.00
SͲ1/A    Pending      9415   KatieHingertyBarodin       PolarisSpine&NeurosurgeryCenter            18242    2020Ͳ05Ͳ14         7501     $246.40 $295.68      $616.00
TECUMSEHͲInfinityMRFund
ListofReceivablesforSeriesͲ1/IntakeA
                                                                                                                                                                                  1.20
                                                                                                                                                             Receivables                                          Funding
Intake     Claim    ClaimId   Lawyer                       Provider                                       BillId   DatePaid    Check#Paid       PurchPrice            Cost           GFBAmount                Type
SͲ1/A                 15659   HectorLongoria              StatDiagnostics                               22153    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00        $9,000.00
SͲ1/A    Pending      14161   ReginaldAGreene            (AHI)AmericanHealthImaging                  21303    2020Ͳ06Ͳ12          7552    $1,300.00 $1,560.00        $4,595.00
SͲ1/A    Pending      8887   RonaldChalker               SafewayPsychologicalServices                 18158    2020Ͳ05Ͳ14          7508    $436.00 $523.20    $1,090.00
SͲ1/A    Pending      8887   RonaldChalker               SafewayPsychologicalServices                 18546    2020Ͳ05Ͳ14          7508    $218.00 $261.60    $545.00
SͲ1/A    Pending      11357   ShannonRolen               PainCareLLC                                  19452    2020Ͳ05Ͳ29          7530    $400.00 $480.00    $1,000.01
SͲ1/A    Pending       9339   OrlandoAMarra              (AHI)AmericanHealthImaging                  18160    2020Ͳ05Ͳ14          7510    $1,300.00 $1,560.00        $4,740.00
                                                                                                                                                                                                                            Case 21-01167-abl




SͲ1/A    Pending       9339   OrlandoAMarra              PainConsultantsofAtlanta                    18302    2020Ͳ05Ͳ14          7504    $117.44 $140.93    $309.04
SͲ1/A                 15661   MokaramLawFirm            StatDiagnostics                               22154    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00        $8,850.00
SͲ1/A                 16229   DavidR.Feldman             PrevaAdvancedSurgicareͲTheWoodlandsLLC   22474    2020Ͳ06Ͳ09    W52329102     $1,917.02 $2,300.42        $10,892.20
SͲ1/A    Pending       6335   CraigMiller                 ENTofGeorgiaLLC                             19405    2020Ͳ05Ͳ29          7535    $117.31 $140.77    $293.28
SͲ1/A    Pending       6335   CraigMiller                 ENTofGeorgiaLLC                             20058    2020Ͳ06Ͳ12          7559    $2,302.68 $2,763.22        $5,756.70
SͲ1/A    Pending       6335   CraigMiller                 NorthsideHospital                             17581    2020Ͳ03Ͳ26          7426    $10,519.71 $12,623.65          $26,299.28
                                                                                                                                                                                                                            Doc 75-1




SͲ1/A    Pending       6335   CraigMiller                 NorthsideHospital                             23316    2020Ͳ03Ͳ26                  $(1,623.71) $(1,948.45)      $(4,059.28)
SͲ1/A    Pending      7835   TeresaRoss                  PeachtreeOrthopaedicClinic                   19523    2020Ͳ05Ͳ29          7525    $148.50 $178.20    $330.00
SͲ1/A                 15667   Adame&Garza               StatDiagnostics                               22157    2020Ͳ06Ͳ09          7548    $1,800.00 $2,160.00        $11,950.00
SͲ1/A                 15671   Salazar&VelazquezP.C.   StatDiagnostics                               22159    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00        $9,000.00
SͲ1/A                 15683   BenBlack                    StatDiagnostics                               22166    2020Ͳ06Ͳ09          7548    $600.00 $720.00    $4,500.00
SͲ1/A    Pending       4979   CaseyGeiger                 BENCHMARKPHYSICALTHERAPY                     19317    2020Ͳ05Ͳ29          7521    $249.38 $299.26    $712.50
SͲ1/A    Pending       4979   CaseyGeiger                 BENCHMARKPHYSICALTHERAPY                     19318    2020Ͳ05Ͳ29          7521    $154.88 $185.86    $442.50
SͲ1/A    Pending       4979   CaseyGeiger                 BENCHMARKPHYSICALTHERAPY                     19401    2020Ͳ05Ͳ29          7521    $126.00 $151.20    $360.00
SͲ1/A    Pending       4979   CaseyGeiger                 BENCHMARKPHYSICALTHERAPY                     19914    2020Ͳ05Ͳ29          7521    $147.00 $176.40    $420.00
SͲ1/A    Pending       4979   CaseyGeiger                 BENCHMARKPHYSICALTHERAPY                     19916    2020Ͳ05Ͳ29          7521    $126.00 $151.20    $360.00
SͲ1/A    Pending       4979   CaseyGeiger                 BENCHMARKPHYSICALTHERAPY                     22140    2020Ͳ06Ͳ12          7558    $147.00 $176.40    $420.00
SͲ1/A    Pending       4979   CaseyGeiger                 BENCHMARKPHYSICALTHERAPY                     22141    2020Ͳ06Ͳ12          7558    $150.68 $180.82    $430.50
SͲ1/A    Pending       4979   CaseyGeiger                 LegacyBrain&Spine                           18291    2020Ͳ05Ͳ14          7503    $220.00 $264.00    $550.00
SͲ1/A    Pending       4979   CaseyGeiger                 LegacyBrain&Spine                           18938    2020Ͳ05Ͳ29          7538    $220.00 $264.00    $550.00
SͲ1/A    Pending       4979   CaseyGeiger                 LegacyBrain&Spine                           19071    2020Ͳ05Ͳ29          7538    $310.00 $372.00    $775.00
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SͲ1/A    Pending       6478   RussellBoston               LegacyBrain&Spine                           18294    2020Ͳ05Ͳ29          7538    $103.60 $124.32    $259.00
SͲ1/A                 15685   KumarLawFirm              StatDiagnostics                               22167    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00        $9,289.35
SͲ1/A                 15687   MokaramLawFirm            StatDiagnostics                               22168    2020Ͳ06Ͳ09          7548    $1,200.00 $1,440.00        $9,000.00
SͲ1/A    Pending      9885   CharlesE(Ted)LakeJr.    (AHI)AmericanHealthImaging                  18564    2020Ͳ05Ͳ14          7510    $650.00 $780.00    $2,225.00
SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     18243    2020Ͳ05Ͳ14          7511    $150.15 $180.18    $429.00
SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     18244    2020Ͳ05Ͳ14          7511    $126.00 $151.20    $360.00
SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     18540    2020Ͳ05Ͳ14          7511    $126.00 $151.20    $360.00
SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     19331    2020Ͳ05Ͳ29          7521    $126.00 $151.20    $360.00
SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     19332    2020Ͳ05Ͳ29          7521    $126.00 $151.20    $360.00
SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     19333    2020Ͳ05Ͳ29          7521    $126.00 $151.20    $360.00
SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     19399    2020Ͳ05Ͳ29          7521    $150.15 $180.18    $429.00
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SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     19400    2020Ͳ05Ͳ29          7521    $126.00 $151.20    $360.00
SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     19919    2020Ͳ05Ͳ29          7521    $126.00 $151.20    $360.00
SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     19922    2020Ͳ05Ͳ29          7521    $150.68 $180.82    $430.50
SͲ1/A    Pending       5237   JonathanWade                BENCHMARKPHYSICALTHERAPY                     21901    2020Ͳ06Ͳ12          7558    $126.52 $151.82    $361.50
TECUMSEHͲInfinityMRFund
ListofReceivablesforSeriesͲ1/IntakeA
                                                                                                                                                                               1.20
                                                                                                                                                         Receivables                                           Funding
Intake     Claim    ClaimId   Lawyer                   Provider                                       BillId   DatePaid   Check#Paid       PurchPrice             Cost            GFBAmount                Type
SͲ1/A    Pending       5237   JonathanWade            LegacyBrain&Spine                           19072    2020Ͳ05Ͳ29         7538    $103.60 $124.32      $259.00
SͲ1/A    Pending       9491   BryceDurham             TobinBoneandJointSurgery                   18292    2020Ͳ05Ͳ14         7509    $152.50 $183.00      $305.00
SͲ1/A    Pending       9491   BryceDurham             TobinBoneandJointSurgery                   18566    2020Ͳ05Ͳ14         7509    $156.00 $187.20      $312.00
SͲ1/A                 15689   AdamJ.Rosenfeld        StatDiagnostics                               22170    2020Ͳ06Ͳ09         7548    $1,800.00 $2,160.00          $11,950.00
SͲ1/A    Pending       9353   MyLowe                  BetheaCPSP.C.                               18200    2020Ͳ05Ͳ14         7496    $540.00 $648.00      $1,350.00
SͲ1/A    Pending       6269   MichaelMoran            ResurgensOrthopaedics                         18164    2020Ͳ05Ͳ14         7507    $73.85 $88.62    $164.12
                                                                                                                                                                                                                         Case 21-01167-abl




SͲ1/A                 10097   J.FranklinBurns       BENCHMARKPHYSICALTHERAPY                     19926    2020Ͳ05Ͳ29         7521    $148.05 $177.66      $423.00
SͲ1/A                 10097   J.FranklinBurns       BENCHMARKPHYSICALTHERAPY                     19927    2020Ͳ05Ͳ29         7521    $131.78 $158.14      $376.50
SͲ1/A                 10097   J.FranklinBurns       BENCHMARKPHYSICALTHERAPY                     20390    2020Ͳ06Ͳ12         7558    $170.45 $204.54      $487.00
SͲ1/A                 10097   J.FranklinBurns       BENCHMARKPHYSICALTHERAPY                     20392    2020Ͳ06Ͳ12         7558    $145.78 $174.94      $416.50
SͲ1/A                 10097   J.FranklinBurns       BENCHMARKPHYSICALTHERAPY                     22146    2020Ͳ06Ͳ12         7558    $169.92 $203.90      $485.50
SͲ1/A                 10097   J.FranklinBurns       BENCHMARKPHYSICALTHERAPY                     22147    2020Ͳ06Ͳ12         7558    $141.05 $169.26      $403.00
                                                                                                                                                                                                                         Doc 75-1




SͲ1/A                 10097   J.FranklinBurns       BENCHMARKPHYSICALTHERAPY                     22148    2020Ͳ06Ͳ12         7558    $127.05 $152.46      $363.00
SͲ1/A                 10097   J.FranklinBurns       GeorgiaSpine&Orthopedics                    18748    2020Ͳ05Ͳ14         7500    $589.60 $707.52      $1,474.00
SͲ1/A                 16355   TheNMWLawFirm        PrevaAdvancedSurgicareͲTheWoodlandsLLC   22546    2020Ͳ06Ͳ09   W52329102     $1,904.58 $2,285.50          $10,821.52
SͲ1/A                 16355   TheNMWLawFirm        PrevaAdvancedSurgicareͲTheWoodlandsLLC   22547    2020Ͳ06Ͳ09   W52329102     $137.63 $165.16      $782.00
SͲ1/A                 16355   TheNMWLawFirm        PrevaAdvancedSurgicareͲTheWoodlandsLLC   22548    2020Ͳ06Ͳ09   W52329102     $123.20 $147.84      $700.00
SͲ1/A                 16355   TheNMWLawFirm        PrevaAdvancedSurgicareͲTheWoodlandsLLC   22549    2020Ͳ06Ͳ09   W52329102     $1,238.30 $1,485.96          $7,035.76
SͲ1/A                 15691   MokaramLawFirm        StatDiagnostics                               22171    2020Ͳ06Ͳ09         7548    $1,200.00 $1,440.00          $9,000.00
SͲ1/A                 15693   MokaramLawFirm        StatDiagnostics                               22172    2020Ͳ06Ͳ09         7548    $1,800.00 $2,160.00          $11,950.00
SͲ1/A    Pending     10455   JenniferDunlap         SouthAtlantaMUACenter                       18920    2020Ͳ05Ͳ15 Wire52118073    $6,504.00 $7,804.80          $21,680.00
SͲ1/A    Pending      8697   PeterRoss               PolarisCenterForOutpatients                 19229    2020Ͳ05Ͳ29         7541    $1,225.52 $1,470.62          $3,501.50
SͲ1/A    Pending      8697   PeterRoss               PolarisSpine&NeurosurgeryCenter            18324    2020Ͳ05Ͳ14         7501    $170.00 $204.00      $425.00
SͲ1/A    Pending      8697   PeterRoss               PolarisSpine&NeurosurgeryCenter            18934    2020Ͳ05Ͳ29         7542    $630.00 $756.00      $1,575.00
SͲ1/A    Pending      8697   PeterRoss               PolarisSpine&NeurosurgeryCenter            19321    2020Ͳ05Ͳ29         7542    $154.00 $184.80      $385.00
SͲ1/A    Pending      8697   PeterRoss               PolarisSpine&NeurosurgeryCenter            19839    2020Ͳ05Ͳ29         7542    $154.00 $184.80      $385.00
SͲ1/A    Pending       5668   AlyssaMartins           CarrolltonOrthopaedicClinic                  18313    2020Ͳ05Ͳ14         7499    $50.00 $60.00    $125.00
                                                                                                                                                                                                                         Entered 04/29/22 00:00:58




SͲ1/A    Pending      8695   JonathanWade            BENCHMARKPHYSICALTHERAPY                     20479    2020Ͳ06Ͳ12         7558    $171.68 $206.02      $490.50
SͲ1/A    Pending      8695   JonathanWade            BENCHMARKPHYSICALTHERAPY                     20480    2020Ͳ06Ͳ12         7558    $101.85 $122.22      $291.00
SͲ1/A    Pending      8695   JonathanWade            BENCHMARKPHYSICALTHERAPY                     22137    2020Ͳ06Ͳ12         7558    $101.85 $122.22      $291.00
SͲ1/A    Pending      8695   JonathanWade            BENCHMARKPHYSICALTHERAPY                     22138    2020Ͳ06Ͳ12         7558    $101.85 $122.22      $291.00
SͲ1/A    Pending      8695   JonathanWade            BENCHMARKPHYSICALTHERAPY                     22139    2020Ͳ06Ͳ12         7558    $101.85 $122.22      $291.00
SͲ1/A                 16357   ThomasF.BickhamJr.   PrevaAdvancedSurgicareͲTheWoodlandsLLC   22550    2020Ͳ06Ͳ09   W52329102     $2,249.88 $2,699.86          $12,783.41
SͲ1/A    Pending       8703   PaulMazur               NorthAtlantaSurgicalAssociates              18199    2020Ͳ05Ͳ14         7513    $123.06 $147.67      $293.00
SͲ1/A    Pending       8703   PaulMazur               NorthAtlantaSurgicalAssociates              19928    2020Ͳ05Ͳ29         7520    $123.06 $147.67      $293.00
SͲ1/A                  9172   MatthewAaron            StatDiagnostics                               22173    2020Ͳ06Ͳ09         7548    $600.00 $720.00      $2,950.00
SͲ1/A                  9172   MatthewAaron            StatDiagnostics                               22174    2020Ͳ06Ͳ09         7548    $1,800.00 $2,160.00          $10,400.00
SͲ1/A                 15695   ThomasN.Thurlow        StatDiagnostics                               22175    2020Ͳ06Ͳ09         7548    $600.00 $720.00      $5,200.00
                                                                                                                                                                                                                         Page 145 of 169




SͲ1/A    Pending      9359   JonathanWade            (AHI)AmericanHealthImaging                  18205    2020Ͳ05Ͳ14         7510    $1,300.00 $1,560.00          $4,595.00
SͲ1/A    Pending       5067   NatanyaBrooks           NonͲSurgicalOrthopaedicsPC                  20071    2020Ͳ06Ͳ12         7560    $208.00 $249.60      $520.00
SͲ1/A    Pending       5067   NatanyaBrooks           NonͲSurgicalOrthopaedicsPC                  21887    2020Ͳ06Ͳ12         7560    $620.00 $744.00      $1,550.00
SͲ1/A    Pending       6442   BenjaminBengtson       PainManagementSpecialistsofAtlantaPC      21879    2020Ͳ06Ͳ12         7550    $117.00 $140.40      $260.00
TECUMSEHͲInfinityMRFund
ListofReceivablesforSeriesͲ1/IntakeA
                                                                                                                                                                                                        1.20
                                                                                                                                                                                   Receivables                                          Funding
Intake     Claim      ClaimId   Lawyer                              Provider                                              BillId    DatePaid      Check#Paid         PurchPrice             Cost           GFBAmount                Type
SͲ1/A    Pending         6442   BenjaminBengtson                  PainManagementSpecialistsofAtlantaPC             21888     2020Ͳ06Ͳ12            7550      $87.75 $105.30    $195.00
SͲ1/A    Pending        7781   KeithFoster                        PeachtreeOrthopaedicClinic                          20055     2020Ͳ06Ͳ15            7567      $3,733.20 $4,479.84         $8,296.00
SͲ1/A    Pending        7781   KeithFoster                        PeachtreeOrthopaedicClinic                          22119     2020Ͳ06Ͳ15            7567      $2,056.50 $2,467.80         $4,570.00
SͲ1/A    Pending        7781   KeithFoster                        PeachtreeOrthopaedicClinic                          22121     2020Ͳ06Ͳ15            7567      $1,480.05 $1,776.06         $3,289.00
SͲ1/A    Pending        7781   KeithFoster                        PeachtreeOrthopaedicSurgeryCenter                  22120     2020Ͳ06Ͳ12            7554      $4,095.00 $4,914.00         $9,100.00
SͲ1/A    Pending        7781   KeithFoster                        PeachtreeOrthopaedicSurgeryCenter                  22941     2020Ͳ06Ͳ15            7566      $2,490.75 $2,988.90         $5,535.00
                                                                                                                                                                                                                                                  Case 21-01167-abl




SͲ1/A    Pending        12291   JohnWebb                           PainManagementSpecialistsofAtlantaPC             20079     2020Ͳ06Ͳ12            7550      $157.50 $189.00     $350.00
                                                                                                                                                                    $245,388.08 $294,465.70               $982,518.86

****     ThisListofReceivablessupportingSeries1ͲIntakeAintheamountofUS$982,518.86isingoodorderasForgetͲtheͲMarkethasperformedthefollowing:
                                                                                                                                                                                                                                                  Doc 75-1




         a.ReviewoftheinvoicesupportingeachlineitemonListofReceivablesconfirminglistaccuracyincludingtheinvoiceamount.

         b.Collectedandreviewed(viaSharingLink)thelienforeachlineitemontheListofReceivables.AnymissingliensarenotedontheListofReceivableswith
         anexplanationastowhy.

         c.Confirmedthatthevalueofpurchasedreceivablesrespectingthelistedinvoicesequals333.66%ofthepurchasedtotalof$294,465.70.


         WilliamBDalzell
         Director,ForgetͲtheͲMarketLimited
         SubͲAdvisorforTecumsehͲInfinityMRFund
                                                                                                                                                                                                                                                  Entered 04/29/22 00:00:58
                                                                                                                                                                                                                                                  Page 146 of 169
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                     EXHIBIT J-M
             Case 21-01167-abl        Doc 75-1      Entered 04/29/22 00:00:58          Page 148 of 169






From:OliverHemmers<oliver@infinitycapital.com>
Sent:Thursday,June25,202010:46PM
To:ChadMeyer<cmeyer@tecumsehalts.com>;MikeBelotz<mbelotz@tecumsehalts.com>
Cc:bill@ftmͲinvestments.com;'DobozyEndreS'<endre@ftmͲinvestments.com>
Subject:PurchaseOrderupdate

HiMike,

WereceivedtheactualbillforanpreviouslylistedestimateandthusIneedtoupdatethepurchaseorderamounts.We
have$245,388.08inreceivablesand$49,077.62forthe20%fee.Thetotalis$294,465.70.

KindRegards,Oliver




                                                           1
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                       EXHIBIT N
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Oliver Hemmers                                       In re: Infinity Capital Management, Inc.

                                                                             Page 163
 ·1· · · · · · · ·UNITED STATES BANKRUPTCY COURT

 ·2· · · · · · · · · · DISTRICT OF NEVADA

 ·3

 ·4
 · ·   ·   In re:· · · · · · · · · · · · )
 ·5·   ·   · · · · · · · · · · · · · · · )·                 CASE NO.:
 · ·   ·   · · · · · · · · · · · · · · · )·                 21-14486-abl
 ·6·   ·   INFINITY CAPITAL MANAGEMENT,· )
 · ·   ·   INC.; dba INFINITY HEALTH· · ·)·                 Chapter 7
 ·7·   ·   CONNECTIONS,· · · · · · · · · )
 · ·   ·   · · · · · · · · · · · · · · · )·                 Volume II
 ·8·   ·   · · · ·Debtor.· · · · · · · · )·                 Pages 163 - 219
 · ·   ·   ______________________________)
 ·9

 10

 11

 12· · · · · CONTINUED REMOTE FRCP 2004 EXAMINATION

 13· · · · · · · · · · · OF OLIVER HEMMERS

 14· · · · · · · · ·Taken on November 18, 2021

 15· · · · ·By a Stenographic Certified Court Reporter

 16· · · · · · · · · · · ·At 9:05 a.m.

 17· · · · · Location of Witness:· Las Vegas, Nevada

 18· · · · · ·Via Zoom Web-Based Videoconferencing

 19

 20

 21

 22

 23· ·Reported by:· Janet C. Trimmer,
 · · ·NV CCR 864, RPR, CRR
 24· ·Location of Reporter:· Las Vegas, Nevada

 25· ·Job No. 47158



www.oasisreporting.com                                                        702-476-4500
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Oliver Hemmers                                             In re: Infinity Capital Management, Inc.

                                                                                   Page 164
 ·1· ·APPEARANCES VIA ZOOM VIDEOCONFERENCING:

 ·2
 · · ·FOR PARTY IN INTEREST TECUMSEH - INFINITY MEDICAL
 ·3· ·RECEIVABLES FUND, L.P.:

 ·4·   ·   ·   ·   ·   ·   AKERMAN LLP
 · ·   ·   ·   ·   ·   ·   BY:· MICHAEL D. NAPOLI, ESQ.
 ·5·   ·   ·   ·   ·   ·   2001 Ross Avenue
 · ·   ·   ·   ·   ·   ·   Suite 3600
 ·6·   ·   ·   ·   ·   ·   Dallas, Texas· 75201
 · ·   ·   ·   ·   ·   ·   (214) 720-4360
 ·7·   ·   ·   ·   ·   ·   michael.napoli@akerman.com

 ·8
 · · ·FOR HA SELECT - MEDICAL RECEIVABLES LITIGATION
 ·9· ·FINANCE FUND INTERNATIONAL, SP:

 10·   ·   ·   ·   ·   ·   SHEA LARSEN
 · ·   ·   ·   ·   ·   ·   BY:· BART K. LARSEN, ESQ.
 11·   ·   ·   ·   ·   ·   1731 Village Center Circle
 · ·   ·   ·   ·   ·   ·   Suite 150
 12·   ·   ·   ·   ·   ·   Las Vegas, Nevada· 89134
 · ·   ·   ·   ·   ·   ·   (702)471-7432
 13·   ·   ·   ·   ·   ·   blarsen@shea.law

 14
 · ·   ·FOR HEALTHPLUS IMAGING OF TEXAS, LLC:
 15
 · ·   ·   ·   ·   ·   ·   IRELAN McDANIEL
 16·   ·   ·   ·   ·   ·   BY: JACOB M. STEPHENS, ESQ.
 · ·   ·   ·   ·   ·   ·   2520 Caroline Street
 17·   ·   ·   ·   ·   ·   Second floor
 · ·   ·   ·   ·   ·   ·   Houston, Texas· 77004
 18·   ·   ·   ·   ·   ·   (713) 222-7666
 · ·   ·   ·   ·   ·   ·   jstephens@imtexaslaw.com
 19

 20· ·FOR THE DEBTOR, INFINITY CAPITAL MANAGEMENT, INC.:

 21·   ·   ·   ·   ·   ·   LARSON & ZIRZOW
 · ·   ·   ·   ·   ·   ·   BY:· MATTHEW C. ZIRZOW, ESQ.
 22·   ·   ·   ·   ·   ·   850 East Bonneville Avenue
 · ·   ·   ·   ·   ·   ·   Las Vegas, Nevada· 89101
 23·   ·   ·   ·   ·   ·   (702) 382-1170
 · ·   ·   ·   ·   ·   ·   mzirzow@lzlawnv.com
 24

 25· ·ALSO PRESENT:· Igor Shleypak



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Oliver Hemmers                                       In re: Infinity Capital Management, Inc.

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 ·2

 ·3· · WITNESS· · · · · · · · EXAMINATION· · · · · · · PAGE

 ·4· · OLIVER HEMMERS· · · · ·BY MR. NAPOLI· · · · · · ·167

 ·5· · · · · · · · · · · · · ·BY MR. STEPHENS· · · · · ·203

 ·6· · · · · · · · · · · · · ·BY MR. LARSEN· · · · · · ·211

 ·7· · · · · · · · · · · · · ·BY MR. NAPOLI· · · · · · ·214

 ·8

 ·9

 10· · · · · · · · · · ·VOLUME II EXHIBITS

 11· · · · · · · · · · · ·(None offered.)

 12

 13

 14
 · ·   · · · · ·PREVIOUSLY MARKED EXHIBITS REFERRED TO
 15
 · ·   ·NUMBER· · · · ·PAGE· DESCRIPTION
 16
 · ·   ·Exhibit· 1· · · 173· Schedule
 17
 · ·   ·Exhibit· 8· · · 205· Document referencing draw 18
 18
 · ·   ·Exhibit 16· · · 204· Asset purchase agreement
 19
 · ·   ·Exhibit 17· · · 175· Tecumseh Infinity sub-advisory
 20·   · · · · · · · · · · · agreement

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Oliver Hemmers                                       In re: Infinity Capital Management, Inc.

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 ·1· ·understand the assets that are at issue here.
 ·2· · · · · ·It's correct that Infinity owned a set of
 ·3· ·receivables that secured HA Select's loan; is that
 ·4· ·correct?
 ·5· · · ·A.· Yes.
 ·6· · · ·Q.· Is it also correct that Infinity serviced a
 ·7· ·second set of receivables that were run by Tecumseh?
 ·8· · · ·A.· Yes.
 ·9· · · · · ·MR. LARSEN:· Michael.
 10· · · · · ·MR. NAPOLI:· Yes.
 11· · · · · ·MR. LARSEN:· Just to put something on the
 12· ·record here, to the extent you are getting into things
 13· ·that are going to relate to the adversary proceeding,
 14· ·I would object based on the pending proceeding rule as
 15· ·I -- it is not appropriate to seek discovery through a
 16· ·2004 examination relating to claims or defenses at
 17· ·issue in an adversary proceeding.· I just want --
 18· · · · · ·MR. NAPOLI:· No, I understand, Bart, but, you
 19· ·know, I'm going over ground that you covered.
 20· · · · · ·MR. LARSEN:· Understood.· I don't necessarily
 21· ·want to object every time you raise a question that
 22· ·goes in that direction.· Can we agree to just have a
 23· ·standing objection on that issue --
 24· · · · · ·MR. NAPOLI:· Yeah.
 25· · · · · ·MR. LARSEN:· -- so that if it comes up down


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                                                                             Page 170
 ·1· ·the road, the record is there?
 ·2· · · · · ·MR. NAPOLI:· Yeah, but I would note that I
 ·3· ·think this line of questioning and testimony is going
 ·4· ·to bear on this proposed sale.
 ·5· · · · · ·MR. LARSEN:· Understood.· Like I said, I
 ·6· ·don't want to have to object every time we go that
 ·7· ·direction.
 ·8· · · · · ·MR. NAPOLI:· No.
 ·9· · · · · ·MR. LARSEN:· So, I mean, if you prefer that I
 10· ·do it question by question, that's fine too.
 11· · · · · ·MR. NAPOLI:· No, Bart, I prefer that you
 12· ·didn't.· I understand what you are saying.· In all
 13· ·candor, I don't agree with you on that and I think --
 14· · · · · ·MR. LARSEN:· Understood.
 15· · · · · ·MR. NAPOLI:· -- you kicked the door open
 16· ·pretty wide in your direct.
 17· · · · · ·MR. LARSEN:· Yes, and I get that.· Like I
 18· ·said, I want to preserve the record here so that if it
 19· ·comes up down the road, the objection is preserved.
 20· · · · · ·MR. NAPOLI:· I get it, and we may be doing
 21· ·this again in our case, and that's fine.
 22· · · · · ·MR. LARSEN:· Okay.· All right.· Thank you.
 23· ·BY MR. NAPOLI:
 24· · · ·Q.· Infinity's internal records denote which
 25· ·receivables belong to Infinity and which belong to


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                                                    Page 173
 ·1· ·owned but which served as collateral for HA Select's
 ·2· ·loan; correct?
 ·3· · · ·A.· Yes.
 ·4· · · ·Q.· All right.· So I'm going to define a term
 ·5· ·with you that we can use for the next several
 ·6· ·questions.· I'm going to define the term "Tecumseh
 ·7· ·receivables" to be the receivables listed on the TIF
 ·8· ·dump spreadsheet that I showed you first, and that's
 ·9· ·marked TIF on the overlap spreadsheet.· Does that make
 10· ·sense?
 11· · · ·A.· Yes.
 12· · · ·Q.· And if I say "Tecumseh receivables" you'll
 13· ·know what I'm talking about?
 14· · · ·A.· Yes.
 15· · · · · · (Previously designated Exhibit 1 for
 16· ·identification in Volume I referred to as follows:)
 17· ·BY MR. NAPOLI:
 18· · · ·Q.· I'm now going to show you the schedule that
 19· ·was part of your deposition or the first day of your
 20· ·deposition, and this, I believe, was Exhibit 1 as
 21· ·marked by Mr. Larsen.· Do you see that, sir?
 22· · · ·A.· Yes.
 23· · · ·Q.· I want to direct your attention to page 4 of
 24· ·49 which I have up on your screen.· Do you see items
 25· ·10 and 11 under part 3?


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                                                                             Page 174
 ·1· · · ·A.· Yes.
 ·2· · · ·Q.· Okay.· This refers to accounts receivable in
 ·3· ·the amount of 5.78 million; is that correct?
 ·4· · · ·A.· Yes.
 ·5· · · ·Q.· It says "face amount" but really, as I
 ·6· ·recall, that's cost; is that correct?
 ·7· · · ·A.· That's the purchase cost.
 ·8· · · ·Q.· And remind me what purchase cost is.
 ·9· · · ·A.· It's the amount paid to the medical providers
 10· ·that originally owned those receivables.
 11· · · ·Q.· It does not -- therefore, it does not include
 12· ·the 20 percent or so that represents Infinity's
 13· ·overhead?
 14· · · ·A.· That's correct.
 15· · · ·Q.· Does this 5.78 million include any of what we
 16· ·have defined as the Tecumseh receivables?
 17· · · ·A.· No, it does not.
 18· · · ·Q.· Why not?
 19· · · ·A.· Because they are on a different schedule.
 20· · · ·Q.· Are the Tecumseh -- go ahead.· I interrupted
 21· ·you, sir.· Go ahead and finish your answer.
 22· · · ·A.· It's distinguished in the database that who
 23· ·paid for which receivables, and the Tecumseh
 24· ·receivables were not paid by the forum Infinity and,
 25· ·therefore, they don't show up in our accounting.


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 ·1· · · ·Q.· Is that because, in your view, Infinity does
 ·2· ·not own an interest in those receivables?
 ·3· · · ·A.· That's correct.
 ·4· · · · · · (Previously designated Exhibit 17 for
 ·5· ·identification in Volume I referred to as follows:)
 ·6· ·BY MR. NAPOLI:
 ·7· · · ·Q.· All right.· I want to move now to what was
 ·8· ·marked as Exhibit 17 to -- on the first day of your
 ·9· ·deposition, which is the Tecumseh/Infinity
 10· ·sub-advisory agreement.· This is Exhibit 17, the
 11· ·Tecumseh/Infinity sub-advisory agreement.· Is that
 12· ·visible on your screen, sir?
 13· · · ·A.· Yes.
 14· · · ·Q.· I want to direct your attention to exhibit A.
 15· · · ·A.· Yeah.
 16· · · ·Q.· Does exhibit A set forth the particular
 17· ·services that Infinity was to provide to Tecumseh?
 18· · · ·A.· Yes.
 19· · · ·Q.· All right.· I'd like to go through this.· So
 20· ·in this agreement "sub-advisor" refers to Infinity; is
 21· ·that correct?
 22· · · ·A.· Yes.
 23· · · ·Q.· And "company" refers to Tecumseh?
 24· · · ·A.· Yes.
 25· · · ·Q.· So under item 1(a), Tecumseh or Infinity is


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                                                                             Page 185
 ·1· · · ·Q.· The owner's ability to realize on the
 ·2· ·receivables is impacted by the servicing; is that
 ·3· ·correct?
 ·4· · · ·A.· Yes.
 ·5· · · ·Q.· Better servicing will lead to better
 ·6· ·outcomes?
 ·7· · · ·A.· Yes.
 ·8· · · ·Q.· Or servicing will lead to worse servicing --
 ·9· ·I'm sorry.· Worse servicing will lead to worse
 10· ·outcomes; correct?
 11· · · ·A.· Yes.
 12· · · ·Q.· And no servicing will lead to even worse
 13· ·outcomes; is that correct?
 14· · · ·A.· Yes.
 15· · · ·Q.· Going back to the sub-advisory agreement
 16· ·generally, the purpose of this agreement was for
 17· ·Infinity to assist Tecumseh in purchasing receivables
 18· ·directly from the medical service providers; is that
 19· ·correct?
 20· · · ·A.· Yes.
 21· · · ·Q.· The dollars to purchase these receivables
 22· ·were to come from Tecumseh and not Infinity; is that
 23· ·correct?
 24· · · ·A.· Yes.
 25· · · ·Q.· Certainly the dollars to pay for this were


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                                                                             Page 186
 ·1· ·not to come from HA Select; is that correct?
 ·2· · · ·A.· Yes.
 ·3· · · ·Q.· Infinity was not to acquire any interest in
 ·4· ·the receivable; correct?
 ·5· · · ·A.· Yes.
 ·6· · · ·Q.· And Infinity was not supposed to be part of
 ·7· ·the chain of title; correct?
 ·8· · · ·A.· Yes.
 ·9· · · ·Q.· Infinity was not buying or selling, it was
 10· ·brokering; is that fair?
 11· · · ·A.· Yes.
 12· · · ·Q.· So Infinity acquired no interest in the
 13· ·receivable?
 14· · · ·A.· Yes.
 15· · · ·Q.· It merely serviced the receivables on
 16· ·Tecumseh's behalf?
 17· · · ·A.· Yes.
 18· · · ·Q.· And all of the dollars were to go directly to
 19· ·Tecumseh; is that correct?
 20· · · ·A.· Yes.
 21· · · ·Q.· And that's because it was Tecumseh's money,
 22· ·not Infinity's money?
 23· · · ·A.· Yes.
 24· · · ·Q.· All right.· On the first day of your
 25· ·deposition, do you recall discussing a purchase of


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 ·1· ·receivables by Tecumseh in June of 2020?
 ·2· · · ·A.· Yes.
 ·3· · · ·Q.· As I recall -- and you can correct me if I'm
 ·4· ·wrong -- these receivables were receivables that
 ·5· ·Infinity had purchased in the hopes of obtaining
 ·6· ·another draw from HA Select?
 ·7· · · ·A.· Yes.
 ·8· · · ·Q.· But HA Select froze funding and Infinity was
 ·9· ·stuck holding these receivables, yes?
 10· · · ·A.· Yes.
 11· · · ·Q.· All right.· We'll talk about that one in a
 12· ·bit.· I want to -- and that was a -- actually, let me
 13· ·start over.
 14· · · · · ·This June 20 receivable purchase was not a
 15· ·typical purchase in the relationship between Tecumseh
 16· ·and Infinity; is that correct?
 17· · · ·A.· Yes.
 18· · · ·Q.· It was kind of a one off?
 19· · · ·A.· Yes.
 20· · · ·Q.· All right.· So I do want to talk about that
 21· ·purchase in a little bit, but before we do I want to
 22· ·talk about a more typical scenario.
 23· · · · · ·So, as I understand the process, Infinity
 24· ·would ID or identify likely receivables via its
 25· ·network of plaintiffs' attorneys; correct?


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Oliver Hemmers                                       In re: Infinity Capital Management, Inc.

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 ·1· · · ·Q.· And to your knowledge, no calls are being
 ·2· ·made or received on these receivables; is that
 ·3· ·correct?
 ·4· · · ·A.· That's correct.
 ·5· · · ·Q.· All right.· Prior to the bankruptcy, going
 ·6· ·back to the Tecumseh receivables, Infinity did all the
 ·7· ·collecting and the servicing for those receivables;
 ·8· ·correct?
 ·9· · · ·A.· Correct.
 10· · · ·Q.· And any dollar -- what happened to the money
 11· ·that was received from the plaintiffs' lawyers?· Where
 12· ·did it go?
 13· · · ·A.· For the last -- after filing or before?
 14· · · ·Q.· No, no, sir.· I'm asking you prior to the
 15· ·bankruptcy.
 16· · · ·A.· Prior.· It was deposited into either the Bank
 17· ·of America account or, if there was overlap receivable
 18· ·that had assets from Tecumseh and HAS, they were
 19· ·deposited into an account at First Savings Bank, and
 20· ·on a monthly basis the Tecumseh portion of those
 21· ·settlement amounts was then sent back to Infinity to
 22· ·be then sent to the Bank of America account for
 23· ·Tecumseh.
 24· · · ·Q.· So that I understand, can you tell me what an
 25· ·overlap account was?


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 ·1· · · ·A.· When an account had medical treatments for a
 ·2· ·patient where the medical bills were paid by the HAS
 ·3· ·fund, one of the draws, and by Tecumseh.· For example,
 ·4· ·you can have a patient who has maybe 50 different
 ·5· ·medical bills, so some of those bills were paid by
 ·6· ·either of those funds, and we had to then determine,
 ·7· ·okay, how much was the settlement, how much was paid
 ·8· ·from each fund and how much of the settlement would go
 ·9· ·to each of those funders.· And we provided reports,
 10· ·detailed reports on that to HAS so they could verify,
 11· ·and we also then provided similar reports to Tecumseh,
 12· ·and we made sure that those -- the settlement check
 13· ·got split up correctly.
 14· · · · · ·But we needed to deposit that check
 15· ·somewhere; right?· So -- and since we kind of
 16· ·historically started depositing those settlement
 17· ·checks into the First Savings Bank, we continued to do
 18· ·so for the overlap checks, and then HAS approved the
 19· ·wires to send the overlap funds that are Tecumseh's
 20· ·portion back to us and then we sent it to the Bank of
 21· ·America account.
 22· · · ·Q.· When you say HAS approved the amount to be
 23· ·sent out of the -- well, actually, let me back up.
 24· · · · · ·The First Savings account you are referring
 25· ·to, that's an Infinity account, yes?


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                                                                             Page 197
 ·1· · · ·A.· Yes.
 ·2· · · ·Q.· And Infinity's intent in putting the overlap
 ·3· ·money in there was not to exercise any ownership
 ·4· ·interest over Tecumseh's share of the money; is that
 ·5· ·correct?
 ·6· · · ·A.· That's correct.
 ·7· · · ·Q.· It simply put those in the account as a way
 ·8· ·to -- because it received a single check, yes?
 ·9· · · ·A.· Yes.
 10· · · ·Q.· And in order to divide up the money between
 11· ·the two groups, it had to deposit it somewhere, yes?
 12· · · ·A.· Yes.
 13· · · ·Q.· And you elected to deposit it in this First
 14· ·Savings account?
 15· · · ·A.· Yes.
 16· · · ·Q.· All right.· You said that HAS approved the
 17· ·split.· How did that happen?· I mean, what was the
 18· ·process?
 19· · · ·A.· The process was that we provided weekly
 20· ·reports to HAS with the breakdown of everything
 21· ·collected that involves their collateral, and with the
 22· ·overlap it also included details on the receivables
 23· ·that were non-HAS collateral.
 24· · · · · ·And that was then agreed upon between HAS and
 25· ·Infinity that those numbers are correct, and the First


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 ·1· ·Savings bank account had a requirement that in order
 ·2· ·to send funds out from there through wire transfer
 ·3· ·needed the approval from HAS as well.
 ·4· · · · · ·So usually we sent on a monthly basis three
 ·5· ·wire payments.· One was HAS collateral cost, one was
 ·6· ·HAS interest, and one was for the other funds that
 ·7· ·included Tecumseh.
 ·8· · · ·Q.· Was all of the communication back and forth
 ·9· ·between Infinity and HAS regarding splitting the
 10· ·proceeds of the overlap receivables via e-mail?
 11· · · ·A.· Yes.
 12· · · ·Q.· Who at Infinity would send those e-mails?
 13· · · ·A.· I would.
 14· · · ·Q.· So they would be in your sent box on your
 15· ·e-mail?
 16· · · ·A.· Yes.
 17· · · ·Q.· Did -- from a recordkeeping perspective, was
 18· ·it Infinity's practice to keep all of the sent e-mails
 19· ·in each individual's sent e-mail box?
 20· · · ·A.· Yes.
 21· · · ·Q.· In other words, there was not a repository
 22· ·of -- a general repository of e-mail communications?
 23· · · ·A.· That's correct.
 24· · · ·Q.· So if I want to -- so if I want to see all
 25· ·the e-mails, I've got to look at everybody's e-mail


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 ·1· ·account; correct?
 ·2· · · ·A.· Yes.
 ·3· · · ·Q.· And those were all housed on a server or on
 ·4· ·individual desktops or laptops?
 ·5· · · ·A.· That was housed on a dedicated e-mail server,
 ·6· ·that it's an off-site e-mail server.
 ·7· · · ·Q.· Was that through a provider?
 ·8· · · ·A.· Yeah.· We utilized GPmicro e-mail services
 ·9· ·for that.
 10· · · ·Q.· I think it was understood in your depo but
 11· ·probably may not have been stated.· GPmicro is
 12· ·affiliated with Infinity; is that correct?
 13· · · ·A.· Yes.
 14· · · ·Q.· Who owns GPmicro?
 15· · · ·A.· It's owned by several shareholders.                          I
 16· ·identified everybody in the last depo.· It was -- it's
 17· ·Kevin Elder, Miriam Seidel, John and Karen Laub, Anne
 18· ·Pantelas, and Oliver Hemmers.
 19· · · ·Q.· Did you and your wife own a controlling
 20· ·interest in GPmicro?
 21· · · ·A.· No.· Together we owned 49 percent.
 22· · · ·Q.· Was -- between the two of you you were the
 23· ·largest block of shares in GPmicro?
 24· · · ·A.· No.· The other largest was Kevin Elder and
 25· ·Miriam Seidel, they had the same 49 percent.


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 ·1· · · ·Q.· Then what happened to the extra 2 percent?
 ·2· · · ·A.· They were owned by John and Karen Laub.
 ·3· · · ·Q.· Okay.· All right.· I want to turn back to
 ·4· ·this June 2020 sale that was discussed in the first
 ·5· ·time.
 ·6· · · · · ·Prior to that sale, did Infinity communicate
 ·7· ·to HA Select its plan to sell these receivables to
 ·8· ·Tecumseh?
 ·9· · · ·A.· To be honest, I don't remember what was
 10· ·communicated at the time.
 11· · · ·Q.· Did Infinity tell -- notify HAS after the
 12· ·sale that the sale to Tecumseh had occurred?
 13· · · ·A.· At some point -- I mean, I just don't know
 14· ·when it was communicated, but they knew about it
 15· ·because we -- you know, we had the monthly transfers.
 16· ·So there must have been some communication, but I
 17· ·wouldn't know when and how and all that anymore.
 18· · · ·Q.· Who would know?
 19· · · ·A.· I don't know who would know exactly.
 20· · · ·Q.· My question, I guess -- let me see if I can
 21· ·make this easier for you.
 22· · · · · ·Do you simply not remember, or was it
 23· ·somebody else that would have had those
 24· ·communications?
 25· · · ·A.· No, I don't remember, and I don't -- I don't


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 ·1· ·think that somebody else did it, but, you know, I'm
 ·2· ·not even sure about that either.
 ·3· · · ·Q.· When you communicated with HA Select, was it
 ·4· ·typically by telephone or by e-mail?
 ·5· · · ·A.· It was mostly -- it was both.· It was mostly
 ·6· ·e-mail, but we had about, I would say, maybe weekly or
 ·7· ·biweekly calls on certain things.
 ·8· · · ·Q.· Were any records kept of these monthly or
 ·9· ·biweekly calls, minutes or anything of that nature?
 10· · · ·A.· No.
 11· · · ·Q.· Were any of these calls recorded?
 12· · · ·A.· No.
 13· · · ·Q.· Did -- by practice, did Tecumseh record the
 14· ·calls between it and the lawyers?· When I say "the
 15· ·lawyers," I mean the plaintiffs' lawyers that you are
 16· ·dealing with on the receivables.
 17· · · ·A.· No, we didn't record any of those.· We did --
 18· ·well, on the collection process, referring to the
 19· ·collection process --
 20· · · ·Q.· Yes.
 21· · · ·A.· -- of the receivables, yeah, yeah, that's
 22· ·where the collection team made notes on the calls,
 23· ·when was the last call, what time, what was discussed,
 24· ·you know, things like that.
 25· · · ·Q.· And where were those notes maintained?


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                                                                             Page 218
 ·1· ·THE REPORTER:· Yes.
 ·2· · (End of proceedings at 10:33 a.m.)
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                                                                             Page 219
 ·1· · · · · · I, the undersigned, an RPR, CRR, and

 ·2· ·Certified Court Reporter of the State of Nevada, do

 ·3· ·hereby certify:

 ·4· · · · · ·That the foregoing proceedings were taken

 ·5· ·before me at the time and place herein set forth; that

 ·6· ·any witnesses in the foregoing proceedings, prior to

 ·7· ·testifying, were duly sworn; that a record of the

 ·8· ·proceedings was made by me using machine shorthand

 ·9· ·which was thereafter transcribed under my direction;

 10· ·that the foregoing transcript is a true record of the

 11· ·testimony given.

 12· · · · · ·Further, that before completion of the

 13· ·proceedings, review of the transcript was not

 14· ·requested.

 15· · · · · · I further certify I am neither financially

 16· ·interested in the action nor a relative or employee

 17· ·of any attorney or party to this action.

 18· · · · · · IN WITNESS WHEREOF, I have this date

 19· ·subscribed my name.

 20· ·Dated:· 11-30-2021

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